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                         Exhibit 1
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                         Exhibit 3
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

   IN RE: XARELTO (RIVAROXABAN) PRODUCTS                       * MDL NO. 2592
   LIABILITY LITIGATION
                                                               * SECTION L
                                                               *
                                                               * JUDGE ELDON E. FALLON
                                                               *
                                                               * MAG. JUDGE NORTH
   **********************************************              *

   THIS DOCUMENT RELATES TO ALL CASES

                                       PRETRIAL ORDER #7

          Numerous applications/nominations for the Plaintiffs' Steering Committee (PSC)

   positions have been filed in accordance with the procedures set forth in Pretrial Order #1. The

   Court, after having reviewed the applications and carefully considered the matter, hereby

   appoints the following members to the PSC:

            Andy D. Birchfield, Jr. (Co-Lead Counsel)         Dr. Mark Alan Hoffman
            234 Commerce Street                               1650 Market Street, Suite 3450
            Post Office Box 4160                              Philadelphia, PA 19103
            Montgomery, Alabama 36103-4160                    Phone: (215) 574-2000
            Phone: (334) 269-2343                             Fax: (215) 574-3080
            Fax: (334) 954-7555                               Email: mhoffman@rossfellercasey.com
            Email: Andy.Birchfield@BeasleyAllen.com

            Brian H. Barr (Co-Lead Counsel)                   Bradley D. Honnold
            316 Baylen Street, Suite 600                      11150 Overbrook Rd., Ste. 200
            Pensacola, FL 32502                               Leawood, KS 66211
            Phone: (850) 435-7045                             Phone: (913) 266-2300
            Fax: (850) 436-6044                               Fax: (913) 266-2366
            Email: bbarr@levinlaw.com                         Email: bhonnold@bflawfirm.com

            Russell T. Abney                                  Frederick Longer
            2100 RiverEdge Parkway,                           510 Walnut Street, Suite 500
            Suite 720                                         Philadelphia, PA 19106
            Atlanta, Georgia 30328                            Phone: (215) 592-1500
            Email: rabney@lawyerworks.com                     Fax: (215-592-4663
                                                              Email: flonger@lfsblaw.com
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            Sindhu S. Daniel                                   Dianne M. Nast
            550 Broad Street, Suite 920                        1101 Market Street, Suite 2801
            Newark, NJ 07102                                   Philadelphia, Pennsylvania 19107
            Phone: (973) 639-9100                              Phone: (215) 923-9300
            Fax: (973) 639-9393                                Email: dnast@nastlaw.com
            Email: sdaniel@seegerweiss.com

            Roger C. Denton                                    Neil D. Overholtz
            100 S. 4th Street                                  17 E. Main Street , Suite 200
            St. Louis, MO 63102                                Pensacola, Florida 32501
            Phone: (314) 621-6115                              Phone: (850) 916-7450
            Email: rdenton@uselaws.com                         Fax: (850) 916-7449
                                                               Email: noverholtz@awkolaw.com

            Michael Goetz                                      Ellen Relkin
            201 N. Franklin St., 7th Floor                     700 Broadway
            Tampa, FL 33602                                    New York, New York 10003
            Phone: (813) 221-6581                              Phone: (212) 558-5500
            Fax: (813) 222-4737                                Fax: (212) 344-5461
            Email: MGoetz@ForThePeople.com                     Email: Erelkin@weitzlux.com


          The Court appoints Co-Plaintiffs’ Liaison Counsel, Leonard Davis and Gerald Meunier,

   and Co-Lead Counsel, Andy Birchfield and Brian Barr, to comprise the PSC Executive

   Committee. It shall be the Executive Committee’s duty to coordinate the responsibilities of the

   PSC, schedule PSC meetings, keep minutes or transcripts of these meetings, appear at periodic

   court noticed status conferences, perform other necessary administrative or logistic functions of

   the PSC, and carry out any other duty as the Court may order.

          Additionally, the Court appoints Dawn Barrios to serve as Chair of the State Liaison

   Committee, in which capacity she will serve as an ex-officio member of the PSC Committee.

   The Court will appoint additional members to the State Liaison Committee in the future.

          The appointment to the PSC is of a personal nature. Accordingly, the above appointees

   cannot be substituted by other attorneys, including members of the appointee's law firm, to

   perform the PSC's exclusive functions, such as committee meetings and court appearances,



                                                   [2]
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   except with prior approval of the Court. Furthermore, the appointment to the PSC is for one year

   from the date of this Order. Appointees may apply to be reappointed when their term expires. If

   or when they apply, their application should contain references to the nature and scope of their

   work on the PSC, including the time and resources expended during the past term.

          The PSC will have the following responsibilities:

          Discovery
                (1) Initiate, coordinate, and conduct all pretrial discovery on behalf of plaintiffs in
                    all actions which are consolidated with the instant multi district litigation.

                  (2) Develop and propose to the Court schedules for the commencement,
                      execution, and completion of all discovery on behalf of all plaintiffs.

                  (3) Cause to be issued in the name of all plaintiffs the necessary discovery
                             a. requests, motions, and subpoenas pertaining to any witnesses and
                                 documents needed to properly prepare for the pretrial of relevant
                                 issues
                             b. found in the pleadings of this litigation. Similar requests, notices,
                                 and
                             c. subpoenas may be caused to be issued by the PSC upon written
                                 request
                             d. by an individual attorney in order to assist him/her in the
                                 preparation of the pretrial stages of his/her client’s particular
                                 claims.

                  (4) Conduct all discovery in a coordinated and consolidated manner on behalf
                            e. and for the benefit of all plaintiffs.

          Hearings and Meetings

                  (1) Call meetings of counsel for plaintiffs for any appropriate purpose, including
                      coordinating responses to questions of other parties or of the Court. Initiate
                      proposals, suggestions, schedules, or joint briefs, and any other appropriate
                      matter(s) pertaining to pretrial proceedings.

                  (2) Examine witnesses and introduce evidence at hearings on behalf of plaintiffs.




                                                   [3]
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                 (3) Act as spokesperson for all plaintiffs at pretrial proceedings and in response to
                     any inquiries by the Court, subject of course to the right of any plaintiff’s
                     counsel to present non-repetitive individual or different positions.


         Trial
                 (1) Coordinate trial team(s)’ selection, management, and presentation of any
                     common issue, “bellweather” and/or “test” case trial(s).

                 (2) Assemble and prepare “trial packages” that can be utilized in future cases,
                     including cases that are remanded to transferor courts for trial.


         Miscellaneous

                 (1) Submit and argue any verbal or written motions presented to the Court or
                     Magistrate on behalf of the PSC as well as oppose when necessary any
                     motions submitted by the defendant or other parties which involve matters
                     within the sphere of the responsibilities of the PSC.

                 (2) Negotiate and enter into stipulations with Defendants regarding this litigation.
                     All stipulations entered into by the PSC, except for strictly administrative
                     details such as scheduling, must be submitted for Court approval and will not
                     be binding until the Court has ratified the stipulation. Any attorney not in
                     agreement with a non-administrative stipulation shall file with the Court a
                     written objection thereto within five (5) days after he/she knows or should
                     have reasonably become aware of the stipulation. Failure to object within the
                     term allowed shall be deemed a waiver and the stipulation will automatically
                     be binding on that party.

                 (3) Explore, develop, and pursue all settlement options pertaining to any claim or
                     portion thereof of any case filed in this litigation.

                 (4) Maintain adequate files of all pretrial matters, including establishing and
                     maintaining a document or exhibit depository, in either real or virtual format,
                     and having those documents available, under reasonable terms and conditions,
                     for examination by all MDL Plaintiffs or their attorneys.

                 (5) Perform any task necessary and proper for the PSC to accomplish its
                     responsibilities as defined by the Court’s orders, including organizing sub-
                     committees comprised of plaintiffs’ attorneys not on the PSC and assigning
                     them tasks consistent with the duties of the PSC.

                                                  [4]
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               (6) Keep counsel of all plaintiffs advised of all pertinent developments in the
                   MDL.

               (7) Perform such other functions as may be expressly authorized by further orders
                   of this Court.




               New Orleans, Louisiana this 9th day of February, 2015.



                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE




                                                [5]
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                         Exhibit 4
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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

                                                         )
                                                         )   Case No. 1:08-gd-50000
   In re: GADOLINIUM-BASED                               )
   CONTRAST AGENTS PRODUCTS                              )
   LIABILITY LITIGATION                                  )   Judge Dan Aaron Polster
   (MDL No. 1909)                                        )
   ---------------------------------------------------   )
   THIS DOCUMENT IS APPLICABLE TO:                       )
                                                         )
   ALL CASES                                             )



                                 CASE MANAGEMENT ORDER NO. 2
                               (Establishing Plaintiffs’ Steering Committee)


           IT IS HEREBY ORDERED THAT:

           1.       Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, the above-

   captioned actions, and any subsequently filed or transferred actions related to the claims asserted

   in these cases, are hereby coordinated for all pretrial purposes. This action shall be captioned “In

   re Gadolinium Based Contrast Agents Products Liability Litigation,” and the file shall be

   maintained under Master File No. MDL No. 1909.

           2.       This Order, and any additional case management orders entered in this litigation,

   shall govern each case coordinated in MDL No. 1909.

           3.       Peter W. Burg of the law firm of Burg Simpson Eldredge Hersh & Jardine and

   Troy Rafferty of Levin Papantonio Thomas Mitchell Eschner & Proctor shall serve as Co-Chairs

   of the PSC and Executive Committee. Peter J. Brodhead of the law firm Spangenberg, Shibley

   & Liber shall serve as Plaintiffs’ Liaison Counsel.
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          4.      This Court hereby appoints a Plaintiffs’ Executive Committee (“PEC”) which

   shall consist of the following attorneys:

   Peter W. Burg, Co-Chair                          Troy Rafferty, Co-Chair
   Burg Simpson Eldredge Hersh Jardine, P.C.        Levin Papantonio Thomas Mitchell Eschner &
   40 Inverness Drive East                          Proctor, P.A.
   Englewood, CO 80112                              316 South Baylen Street, Suite 600
   Tel: (303) 792-5595                              Pensacola, Florida 32502
   Fax: (303) 708-0527                              Tel: (850) 435-7000
   pburg@burgsimpson.com                            Fax: (850) 435-7020
                                                    trafferty@levinlaw.com
   Peter J. Brodhead, Plaintiffs’ Liaison Counsel
   Spangenberg, Shibley & Liber, LLP                Christopher A. Seeger
   1900 East Ninth Street, Suite 2400               Seeger Weiss LLP
   Cleveland, OH 44114                              One William Street
   Tel: (216)696-3232                               New York, New York 10004
   Fax: (216) 696-3924                              Tel: (212) 584-0700
   pbrodhead@spanglaw.com                           Fax: (212) 584-0799
                                                    cseeger@seegerweiss.com
   Steve Skikos
   Skikos, Crawford, Skikos, Joseph & Millican
   LLP
   625 Market Street, 11th Floor
   San Francisco, CA 94105
   Tel: (415) 956-5257
   Fax: (415) 956-4416
   sskikos@lopez-hodes.com




          5.      This Court hereby appoints a Plaintiffs’ Steering Committee (“PSC”) which shall

   consist of the following attorneys:

   Peter W. Burg, Co-Chair                          Troy Rafferty, Co-Chair
   Burg Simpson Eldredge Hersh Jardine, P.C.        Levin Papantonio Thomas Mitchell Eschner &
   40 Inverness Drive East                          Proctor, P.A.
   Englewood, CO 80112                              316 South Baylen Street, Suite 600
   Tel: (303) 792-5595                              Pensacola, Florida 32502
   Fax: (303) 708-0527                              Tel: (850) 435-7000
   pburg@burgsimpson.com                            Fax: (850) 435-7020
                                                    trafferty@levinlaw.com
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   Peter J. Brodhead, Plaintiffs’ Liaison Counsel   Christopher A. Seeger
   Spangenberg, Shibley & Liber, LLP                Seeger Weiss LLP
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   Fax: (216) 696-3924                              Fax: (212) 584-0799
   pbrodhead@spanglaw.com                           cseeger@seegerweiss.com

   Steve Skikos                                     Michelle Parfitt
   Skikos, Crawford, Skikos, Joseph & Millican      Ashcraft & Gerel
   625 Market Street, 11th Floor                    2000 L Street, N.W., Suite 400
   San Francisco, CA 94105                          Washington, D.C.20036
   Tel: (415) 956-5257                              Tel: (202) 783-6400
   Fax: (415) 956-4416                              Fax: (202) 416-6392
   sskikos@lopez-hodes.com                          mparf@aol.com

   Howard Nations                                   Russ Briggs
   Law Offices of Howard Nations                    Fibich, Hampton, Leebron & Garth
   4515 Yoakum Blvd.                                Five Houston Center
   Houston, TX 77006                                1401 McKinney, Suite 1800
   Tel: (713) 807-8400                              Houston, TX 77010
   Fax: (713) 807-8423                              Tel: (713) 751-0025
   nations@howardnations.com                        Fax: (713) 751-0030
                                                    rbriggs@fhl-law.com
   Roger Denton
   Schlichter Bogart & Denton                       Barry Hill
   100 South 4th Street, Suite 900                  Hill Williams
   St. Louis, MO 63102                              89 12th Street,
   Tel: (314) 621-6115                              Wheeling, WV 26003
   Fax: (314) 621-7151                              Tel: (304) 233-4966
   rdenton@uselaws.com                              Fax: (304) 233-4969
                                                    bhill@hwlaw.us
   Mark Robinson, Jr.
                                                    Tobias Milrood
   Robinson Calcagnie & Robinson Inc.
                                                    Pogust Braslow & Millrood, LLC
   620 Newport Center Drive, 7th Floor
                                                    8 Tower Bridge, Suite 1520
   Newport Beach, CA 92660
                                                    161 Washington Street
   Tel: (949) 720-1288
                                                    Conshohocken, PA 19428
   Fax: (949) 720-1292
                                                    Tel: (610) 941-4204
   mrobinson@rcrlaw.net
                                                    Fax: (610) 941-4245
                                                    tmillrood@pbmattorneys.com
   Jerrold Parker
   Parker Waichman Alonso LLP
   27399 Riverview Center Blvd., Suite 106
   Bonita Springs, FL 34134
   Tel: (239) 390-1000
   Fax: (239) 390-0055
   jparker@yourlawyer.com
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   Jayne Conroy                                       Ramon Rossi Lopez
   Hanly Conroy Bierstein Sheridan Fisher &           Lopez McHugh LLP
   Hayes LLP                                          100 Bayview Circle, Suite 5600
   112 Madison Avenue                                 Newport Beach, CA 92660
   New York, NY 10016                                 Tel: (949) 737-1501
   Tel: (212) 784-6402                                Fax: (949) 737-1504
   Fax: (212) 784-6420                                rlopez@lopezmchugh.com
   jconroy@hanlyconroy.com
                                                      Larry Gornick
                                                      Levin Simes Kaiser & Gornick LLP
                                                      44 Montgomery Street, 36th floor
                                                      San Francisco, CA 94104
                                                      Tel: (800) 901-4001
                                                      Fax: (415) 981-1270
                                                      lgornick@lskg-law.com




          6.      This Court hereby appoints the following attorneys as Federal-State Court Liaison

   to the PSC:

   David R. Buchanan                                     Tor Hoermann
   Seeger Weiss LLP                                      Simmons Cooper LLC
   One William Street                                    707 Berkshire Blvd.
   New York, NY 10004                                    East Alton, IL 62024
   Tel: (212) 584-0700                                   Tel: (618) 259-2222
   Fax: (212) 584-0799                                   Fax: (618) 259-2251
   dbuchanan@seegerweiss.com                             thoerman@simmonscooper.com

   Ramon Rossi Lopez
   Lopez McHugh LLP
   100 Bayview circle, Suite 5600
   Newport Beach, CA 92660
   Tel: (949) 737-1501
   Fax: (949) 737-1504
   rlopez@lopezmchugh.com

          7.      Responsibilities of the PSC include:

                  1.      Discovery

                  (a)     Initiate, coordinate, and conduct all pretrial discovery on behalf of all

   Plaintiffs who file civil actions in this Court or that are transferred to this Court pursuant to 28
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   U.S.C. § 1407, which contain any cause of action relating to a Gadolinium Contrast Dye,

   whether on an individual or class action basis;

                  (b)     Develop and propose to the Court schedules for the commencement,

   execution, and completion of all discovery on behalf of all Plaintiffs;

                  (c)     Cause to be issued in the name of all Plaintiffs the necessary discovery

   requests, motions, and subpoenas pertaining to any witnesses and documents needed to properly

   prepare for the pretrial of relevant issues found in the pleadings of this litigation. Similar

   requests, notices, and subpoenas may be caused to be issued by the PSC upon written request by

   an individual attorney in order to assist him/her in the preparation of the pretrial stages of his/her

   client’s particular claims; and

                  (d)     Conduct all discovery in a coordinated and consolidated manner on behalf

   of and for the benefit of all Plaintiffs including appointing lawyers to conduct depositions.

                  2.      Hearings and Meetings

                  (a)     Call meetings of counsel for Plaintiffs for any appropriate purpose,

   including coordinated responses to questions of other parties or of the Court;

                  (b)      Initiate proposals, suggestions, schedules, or joint briefs, and for any

   other appropriate matter(s) pertaining to pretrial proceedings;

                  (c)     The PSC or lawyers designated by them shall examine witnesses and

   introduce evidence at hearings on behalf of Plaintiffs; and

                  (d)     The PSC or lawyers designated by the PSC shall act as spokesperson for

   all Plaintiffs at pretrial proceedings and in response to any inquiries by the Court, subject of

   course to the right of any Plaintiffs counsel to present non-repetitive individual or different

   positions as permitted by the Court.
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                   3.      Miscellaneous

                   (a)     All communications by Plaintiffs with the Court should be through the

   Co-Chairs of the PEC or Plaintiffs’ Liaison Counsel.              If circumstances require direct

   correspondence with the Court by any individual counsel, copies of any said communications

   shall be served using the Court’s electronic filing sytem;

                   (b)     The PSC or lawyers designated by them shall submit and argue any verbal

   or written motions presented to the Court or on behalf of the PSC and all Plaintiffs as well as

   oppose when necessary any motions submitted by the Defendant or other parties that involve

   matters within the sphere of the responsibilities of the PSC (this provision does not apply to

   motions specifically directed to individual plaintiffs and their counsel);

                   (c)     The PSC or lawyers designated by them shall negotiate and enter into

   stipulations with Defendants’ Lead and Liaison Counsel regarding this litigation;

                   (d)     The PSC or lawyers designated by them are authorized to explore,

   develop, pursue, and recommend settlement options pertaining to any claim or portion thereof of

   any case filed in this litigation;

                   (e)     The PEC and PSC shall establish committees to enable the orderly and

   efficient prosecution of these actions;

                   (f)     The PSC or lawyers designated by them shall maintain adequate files of

   all pretrial matters and have them available, under reasonable terms and conditions, for

   examination by Plaintiffs or their attorneys;

                   (g)     The PEC and PSC are authorized to call meetings of plaintiffs’ counsel

   when appropriate and to consult with plaintiffs’ counsel on matters of common concern;

                   (h)     The PSC or lawyers designated by them shall perform any tasks necessary
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   and proper for the PSC to accomplish its responsibilities as defined by the Court’s orders;

                  (i)       The PSC or lawyers designated by them shall perform such other

   functions as may be expressly authorized by further orders of this Court; and

                  (j)       Except as to matters relevant only to a specific case, counsel that represent

   a plaintiff or plaintiffs who wish to initiate discovery or file motions must first seek authorization

   from the PEC to initiate such motions or discovery. If such authorization is granted, counsel that

   wishes to initiate discovery or file motions must provide written notification of such

   authorization within said discovery or motion papers. If after reasonable consultation with the

   PEC and for good cause, such counsel disagrees with the PEC’s determination, then counsel may

   petition the Court for relief to initiate such discovery or motions.

                  (k)       The PSC or lawyers designated by them shall create a method for

   reimbursement for costs and/or fees for services will be set at a time and in a manner established

   by subsequent order of the Court.

          8.      In addition to serving on the PSC, the responsibilities of Plaintiffs’ Liaison

   Counsel shall include:

                  (a)       To receive and distribute to plaintiffs’ counsel, as appropriate, orders,

   notices and correspondence from the Court;

                  (b)       To coordinate the filing of notices and papers by members of the PEC,

   PSC and all plaintiffs’ counsel, including the designation of responsibilities to encourage the

   filing of a single set of papers by counsel in situations where such group members have a

   common position;

                  (c)       To maintain and distribute to the Court, to counsel for plaintiffs, and to

   counsel for defendants an up-to-date comprehensive Service List of all plaintiffs’ counsel;
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                  (d)    To make himself available for any telephone conferences convened by the

   Court and to communicate the substance of any such telephone conference to all other Plaintiffs’

   counsel;

                  (e)    To receive and distribute pleadings, Orders, and motions to Plaintiffs’

   counsel by overnight courier service or telecopier within three business days after receipt, unless

   such service has been waived, in writing, by a receiving counsel;

                  (f)    To maintain and make available to all Plaintiffs’ counsel of record at

   reasonable hours a complete file of all documents served by or upon each party;

                  (g)    To carry out such other duties as the Court may Order; and

                  (h)    Liaison Counsel shall be entitled to seek reimbursement for costs

   expended at the time and in a manner approved by the Court.

                                                        SO ORDERED:



                24th 2008
   DATED: March _____,

                                                         /s/Dan Aaron Polster
                                                        ________________________________
                                                        HONORABLE DAN AARON POLSTER
                                                        UNITED STATES DISTRICT JUDGE
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS


   In re: Testosterone Replacement               )      Case No. 14 C 1748
   Therapy Products Liability Litigation         )      MDL No. 2545


                               This document relates to all cases

                                      CORRECTED
                            MDL CASE MANAGEMENT ORDER NO. 4

          By this order, the Court appoints plaintiffs' lead counsel, liaison counsel,

   executive committee, and steering committee, as well as the organizational structure for

   defense counsel. With regard to defense counsel, the Court approves and adopts

   Defendants' Submission In Support of Defendants' Liaison Counsel (docket no. 149),

   filed on July 3, 2014.

          A number of attorneys for various plaintiffs made a joint proposal for an

   organizational structure and assignments. Other attorneys who were not part of the

   joint proposal also made separate requests to be part of the organizational structure for

   plaintiffs' counsel. The Court interviewed applicants for the plaintiffs' counsel positions

   in open court on July 29, 2014.

          The joint proposal includes 32 attorneys in total: 3 proposed co-lead counsel;

   another 7 to serve on the plaintiffs' counsel executive committee along with co-lead

   counsel; a steering committee including 20 attorneys, and 2 co-liaison counsel. This is

   a significantly larger group than in the "typical" product liability multi-district litigation

   proceeding. Counsel have, however, made a reasonable argument that this is not the

   typical MDL proceeding, largely in view of the fact that it involves claims against six

   different defendants for different product forms. Some pretrial matters will involve
Case 3:16-md-02738-MAS-RLS    Document
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   issues common to all six defendants, but some will involve issues that are defendant-

   specific. The Court has some misgivings regarding the size of the group but is

   persuaded, at least for the time being, that the structure and size proposed is

   reasonable and appropriate. (As indicated below, the Court has added two attorneys

   who were not included in the joint proposal.)

            The Court has taken into account all applicants' written submissions as well as

   the oral presentations made in open court. With regard to some applicants, the Court

   has also consulted with other judges who have presided over MDL proceedings in

   which applicants had leadership roles. The Court has also considered the factors set

   forth in Case Management Order No. 1 and in the Manual for Complex Litigation (4th) §

   10.22.

            All appointments are made for a one-year period and will expire on August 15,

   2015. Appointees may apply for reappointment when their term expires. A re-

   application process will be established at an appropriate time in advance of the

   expiration date. Counsel are advised in advance that applications for reappointment will

   be required to include references to the nature and scope of the applicant's work,

   including time and resources expended during the previous term.

            The Court makes the following appointments:

   Co-lead counsel:             Ronald E. Johnson, Jr.
                                Trent B. Miracle
                                Christopher A. Seeger

   Executive Committee:       Timothy Becker
   (includes co-lead counsel) Michael Papantonio
                              Seth Katz
                              Michael London
                              Maury A. Herman
                              Michelle Kranz

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                              Bill Robins

   Steering Committee:        Martin Crump
   (includes counsel          T. Matthew Leckman
   listed above)              Lawrence J. Gornick
                              Matthew Teague
                              Gregory Spizer
                              Frank Petosa
                              Kristine Kraft
                              Elwood C. Stevens, Jr.
                              Christopher Tisi
                              Arnold Levin
                              Alex H. MacDonald
                              Mark A. Hoffman
                              Dawn M. Barrios
                              Derriel C. McCorvey
                              Roger W. Orlando
                              Rachel Abrams
                              W. Mark Lanier
                              David S. Ratner
                              Yvonne Flaherty
                              Dianne Nast
                              Kathleen Chavez1

   Co-Liaison Counsel:        Brian J. Perkins
                              Myron Cherry

          Plaintiffs' co-lead counsel are directed to promptly prepare, and provide to the

   Court by no later than August 7, 2014, a draft order embodying the Court's

   appointments and spelling out the responsibilities of co-lead counsel, the executive

   committee, the steering committee, and co-liaison counsel. The order may also include

   other matters that co-lead counsel, the executive committee, or the steering committee

   consider to be appropriate for inclusion in the order. Any objections to the form or

   content of the order must be filed by no later than August 11, 2014.

   1
     Ms. Chavez applied for a position on the steering committee. She did not appear at
   the July 29, 2014 hearing. One of her law partners orally advised the Court that Ms.
   Chavez's application was being withdrawn in consideration of the fact that the partner
   had also applied. The Court respectfully declines to accept the withdrawal of Ms.
   Chavez's application and hereby appoints her to the steering committee.
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          Defendants' liaison counsel, as designated in defendants' joint submission of July

   3, 2014, is directed to promptly prepare and circulate among "lead counsel" for each

   defendant, and is to propose to the Court by no later than August 7, 2014, a draft order

   embodying the Courts appointment(s) and spelling out the responsibilities of the

   counsel thus appointed. The order may also include other matters that liaison counsel

   and any defendant's "lead counsel" consider to be appropriate for inclusion in the order.

   Any objections to the form or content of the order must be filed by no later than August

   11, 2014.

          It is so ordered.


                                                   ________________________________
                                                        MATTHEW F. KENNELLY
                                                        United States District Judge
   Date: July 31, 2014




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                         Exhibit 6
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------------x
   IN RE:                                                                            ORDER NO. 5
                                                                               (Organization of Plaintiffs’
   MIRENA IUD PRODUCTS LIABILITY LITIGATION                                  Counsel, Protocols for Common
                                                                              Benefit Work and Expenses)
   This Document Relates To All Actions
   ----------------------------------------------------------------------x         13-MD-2434 (CS)


   Seibel, J.

           The Court has received an application for appointment of Plaintiffs’ Steering Committee

   from Plaintiff’s Liaison Counsel. (Doc. 193.) Having carefully reviewed all of the submissions,

   upon discussion of the applications during this Court’s case management conference of July 2,

   2013, and there being no opposition from counsel for any known Plaintiff, the Court hereby

   APPOINTS the following as Plaintiffs’ Steering Committee (“PSC”):

           Rachel Abrams (Levin Simes LLP)
           Richard Arsenault (Neblett, Beard & Arsenault)
           Dawn Chmielewski (Climaco, Wilcox, Peca, Tarantino & Garofoli Co., LPA)
           Steve Faries (Matthews & Associates)
           Yvonne Flaherty (Lockridge, Grindal, Nauen P.L.L.P.)
           Catherine Heacox (The Lanier Law Firm)
           Eric Holland (Holland Groves Schneller & Stolze)
           Michael Johnson (Johnson Becker PLLC)
           Randi Kassan (Sanders, Viener, Grossman LLP)
           Shelly Kaufman (Geragos and Geragos)
           Fred Longer (Levin, Fishbein, Sedran & Berman)
           Dianne Nast (NastLaw LLC)
           Roger Smith (Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.)




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  I. ORGANIZATION OF PLAINTIFFS’ COUNSEL

          The application also addressed the way in which Plaintiffs’ counsel should be organized,

   and enumerated the specific duties to be undertaken by Plaintiffs’ Lead counsel, Plaintiffs’

   liaison counsel, and PSC. After review of the application and the proposed order, and after

   discussion at the July 2, 2013 case management conference, the Court hereby ORDERS as

   follows:

      A. Lead Counsel

          In its May 22, 2013 Order (Doc. 103), the Court appointed Plaintiffs’ Lead Counsel and

   Liaison Counsel as follows:

          James R. Ronca – Plaintiffs’ Co-Lead Counsel
          Fred Thompson – Plaintiffs’ Co-Lead Counsel
          Matthew J. McCauley – Plaintiffs’ Co-Lead Counsel
          Diogenes P. Kekatos – Plaintiffs’ Liaison Counsel

          Lead Counsel will be responsible for prosecuting any potential common benefit claims,

   as well as coordinating the pretrial proceedings conducted by counsel for the individual

   Plaintiffs. With respect to the common benefit claims and coordinated pretrial proceedings,

   Lead Counsel must:

          1. determine (after such consultation with members of the PSC and other co-counsel as
              may be appropriate) and present (in briefs, oral argument, or such other fashion as
              may be appropriate, personally or by a designee) to the Court and opposing parties
              the position of the Plaintiffs on matters arising during the coordinated pretrial
              proceedings;

          2. coordinate the initiation and conduct of discovery on behalf of the Plaintiffs
              consistent with the requirements of Fed. R. Civ. P. 26, including the preparation of
              joint interrogatories and requests for production of documents and the examination of
              witnesses in depositions, except that discovery and motions initiated by the


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            Defendants directed to or regarding named individual Plaintiffs will be handled by the
            attorney(s) for those individuals;

         3. delegate specific tasks to other counsel in a manner to ensure that pretrial preparation
            for the Plaintiffs is conducted effectively, efficiently and economically;

         4. enter into stipulations with opposing counsel necessary for the conduct of the multi-
            district litigation (“MDL”);

         5. convene meetings of the PSC for the purpose of proposing joint action and discussing
            and resolving matters of common concern;

         6. organize themselves and agree on a plan for conducting the MDL on behalf of all
            Plaintiffs;

         7. assess members of the PSC payments into a Common Benefit “Shared Cost” Fund
            (“shared cost” being defined below), collect payments, maintain an account, pay
            generic expenses in accordance with this order, and account to the PSC and the Court
            upon request as to the collection and use of such funds;

         8. brief and argue motions for the Plaintiffs and file opposing briefs and argue motions
            and proceedings initiated by other parties (except as to matters specifically directed to
            individual Plaintiffs and their counsel);

         9. consult with and employ expert witnesses;

         10. maintain time and expense records for work performed, costs incurred and other
            disbursements made for any potential common benefit claim, proof of potential
            common benefit claims, and related matters on behalf of the PSC, and report with
            reasonable regularity, in writing, to the PSC concerning expenses, disbursements and
            receipts;

         11. monitor work performed by the PSC and those whose work it has specifically
            authorized;

         12. perform all tasks necessary to carry out the functions of Lead Counsel and to properly
            coordinate Plaintiffs’ pretrial activities;

         13. authorize Plaintiffs’ counsel to initiate case-specific motions and discovery;


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          14. negotiate settlements subject to court approval on behalf of Plaintiffs;

          15. if there is a settlement, propose a plan of allocation;

          16. prepare and distribute to the parties periodic status reports; and

          17. coordinate and communicate with Defendants’ counsel with respect to the matters
              addressed in this paragraph.

          No generic discovery or other common action or work in this litigation will be

   undertaken on behalf of the PSC except at the direction or with permission of Lead Counsel;

   provided, however, that any attorney aggrieved by any refusal of permission may seek Court

   review of the refusal.

      B. Liaison Counsel

          Liaison Counsel shall maintain an up-to-date service list of all Plaintiffs’ attorneys

   involved in this MDL, and shall be the point of contact between the Court and the Court-

   appointed Plaintiffs’ leadership. Liaison Counsel shall ensure that all Orders entered by this

   Court and all papers filed by the Defendants are timely distributed to all Plaintiffs’ counsel in the

   MDL and that all papers filed by the Court-appointed Plaintiffs’ leadership in this MDL are

   timely distributed to counsel for the Defendants. In addition, Liaison Counsel shall assume any

   other duties delegated by Lead Counsel.

      C. Plaintiffs’ Steering Committee

          The duties and responsibilities of the PSC are as follows. The PSC shall:

          1. from time to time consult with Plaintiffs’ Lead Counsel in conducting the Plaintiffs’
              coordinated pretrial activities and in planning for trial;

          2. establish procedures for documenting and monitoring costs and the computing of
              potential common benefit time;

          3. consult the Manual for Complex Litigation, Fourth (“Manual”) to consider
              recommendations and formation of internal committees (e.g., Law, Discovery,


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            Science, Briefing, Experts, and Trial), on which attorneys who are not designated as
            PSC members will have the opportunity to serve and have input in the litigation
            through the committee. Consistent with section 10.22 of the Manual, counsel
            appointed to leadership positions assume “an obligation to act fairly, efficiently, and
            economically” and “committees of counsel . . . should try to avoid unnecessary
            duplication of effort”;

         4. contribute to the Common Benefit Fund for “shared costs” (as defined below); and

         5. otherwise assist Lead Counsel in the their discharge of the following duties and
            responsibilities:

            a) determining and presenting (in briefs, oral argument, or such other fashion as may
                be appropriate) to the Court and opposing parties the Plaintiffs’ position on
                matters arising during coordinated pretrial proceedings;
            b) coordinating the initiation and conduct of discovery on behalf of the Plaintiffs
                consistent with the requirements of Fed. R. Civ. P. 26, including the preparation
                of joint interrogatories and requests for production of documents and the
                examination of witnesses in depositions, except that discovery and motions
                initiated by Defendants directed to or regarding named individual plaintiffs will
                be handled by the attorney for those individuals;
            c) delegating specific tasks to other counsel in a manner to ensure that coordinated
                pretrial preparation for the Plaintiffs is conducted effectively, efficiently and
                economically;
            d) entering into stipulations with opposing counsel necessary for the conduct of the
                MDL;
            e) organizing themselves and agreeing on a plan for conducting the MDL on behalf
                of all Plaintiffs;
            f) briefing and arguing motions for the Plaintiffs and filing opposing briefs and
                arguing motions and proceedings initiated by other parties (except as to matters
                specifically directed to individual plaintiffs and their counsel);
            g) consulting with and employing expert witnesses;




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                  h) convening meetings of Plaintiffs’ counsel to consult on matters of common
                      concern;
                  i) maintaining time and expense records for work performed, costs incurred, and
                      other disbursements made for any potential common benefit claim, proof of
                      potential common benefit claims, and related matters on behalf of the PSC;
                  j) monitoring work performed by PSC members and those whose work the PSC has
                      specifically authorized;
                  k) properly coordinating Plaintiffs’ pretrial activities;
                  l) authorizing Plaintiffs’ counsel to initiate case specific motions and discovery;
                  m) negotiating settlements subject to court approval on behalf of Plaintiffs;
                  n) if there is a settlement, proposing a plan of allocation;
                  o) preparing and distributing to the parties periodic status reports; and
                  p) coordinating and communicating with Defendants’ counsel with respect to the
                      aforementioned matters.

 II.     ADOPTION OF CASE MANAGEMENT PROTOCOLS

              The Court hereby adopts the following guidelines for the management of case-staffing,

       timekeeping, cost reimbursement, and related common benefit issues. The recovery of common

       benefit attorneys’ fees and cost reimbursements will be limited to “Participating Counsel.”

       “Participating Counsel” shall be defined as the members of the PSC (along with members and

       staff of their firm), any other counsel authorized by Lead Counsel who desire to be considered

       for common benefit compensation, or counsel who have been specifically approved by this Court

       as Participating Counsel prior to incurring any such cost or expense. Counsel are forewarned

       that no application for approval to incur common benefit fees, costs, or expenses will be

       considered by this Court unless counsel have first obtained approval from Lead Counsel.

              Participating Counsel shall be eligible to receive common benefit attorneys’ fees and

       reimbursement of costs and expenses only if the time expended, costs incurred, and activity in

       question were (a) for the common benefit of Plaintiffs; (b) appropriately authorized; (c) timely


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   submitted; (d) reasonable; and (e) approved by this Court. As detailed below in Parts II.A &

   II.B, Participating Counsel who seek to recover Court-awarded common benefit attorneys’ fees,

   costs, and expenses in connection with this litigation shall keep a daily, contemporaneous record

   of their time and expenses, noting with specificity the amount of time, billing rate, and particular

   activity, along with a brief note indicating the source of authorization for the activity in question.

          Participating Counsel, as defined above, shall agree to the terms and conditions herein,

   including submitting to this Court’s jurisdiction and agreeing that this Court has plenary

   authority regarding the award and allocation of common benefit attorneys’ fees and awards for

   cost and expense reimbursements in this matter.

      A. COMMON BENEFIT WORK

          1. Authorization for Compensable Common Benefit Work

          Authorized “Common Benefit Work” includes assignments made by Lead Counsel as set

   forth above. Unless specifically and explicitly authorized in writing, no time spent on

   developing or processing individual issues in any case for an individual client (claimant), and no

   time spent on any unauthorized work, will be considered or should be submitted.

          Examples of authorized and unauthorized work include, but are not limited to:

              a) Depositions: While it is impracticable to impose inflexible rules to cover every
                  conceivable situation, Lead Counsel shall exercise discretion, judgment, and
                  prudence to designate only that number of attorneys to participate in any given
                  deposition that is commensurate with the nature of that deposition so as to avoid
                  over-staffing. Thus, for example, the deposition of a causation expert proffered
                  by Defendants would typically justify the assignment of more attorneys than
                  would the defense of the deposition of one of Plaintiffs’ fact witnesses. Time and
                  expenses for Participating Counsel not designated as one of the authorized
                  questioners or otherwise authorized to attend the deposition by Lead Counsel
                  shall not be considered Common Benefit Work but, rather, considered as


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               attending on behalf of such counsel’s individual clients. Unnecessary attendance
               by counsel may not be compensated in any fee application to the Court.
            b) Periodic PSC Conference Calls and PSC meetings: Calls are held so that
               individual attorneys are kept up-to-date on the status of the litigation, and
               participation by listening to such calls is not common benefit work. All attorneys
               have an obligation to keep themselves informed about the litigation so that they
               can best represent their respective clients, and that is a reason to listen in on those
               calls. The attorneys designated by Lead Counsel to run or participate in those
               calls are working for the common benefit by keeping other attorneys educated
               about the litigation and their time will be considered for common benefit. During
               such telephone or conference calls and at PSC meetings, there is a presumption
               that only the PSC member’s time will qualify for common benefit time, unless
               non-PSC member participation is requested by the PSC member and expressly
               authorized for each call or meeting by Lead Counsel.
            c) Periodic MDL Status Conferences: Status conferences will be held so that the
               litigation moves forward and legal issues are resolved with the Court. Individual
               attorneys are free to attend any status conference held in open court in order to
               stay up to date on the status of the litigation, but attending and listening to such
               conferences is not Common Benefit Work. All attorneys have an obligation to
               keep themselves informed about the litigation so that they can best represent their
               respective clients. Mere attendance at a status conference will not be considered
               common benefit time, and expenses incurred in relation thereto will not be
               considered common benefit expenses. The attorneys designated by the Lead
               Counsel to address issues that will be raised at a given status conference or
               requested by the Lead Counsel to be present at a status conference are working for
               the common benefit and their time will be considered for the common benefit.
               Similarly, any attorney whose attendance at a status conference is specifically
               requested by the undersigned or by Magistrate Judge Smith (or by a Court-
               appointed Special Master) to address a common issue may submit his or her time
               for evaluation as common benefit time.




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            d) Identification and Work-Up of Experts: If a Participating Counsel retains an
               expert without the knowledge and approval of Lead Counsel, time and expenses
               attributable to the same may not be approved as Common Benefit Work, or the
               expenses pertaining thereto as Common Benefit Expenses.
            e) Attendance at Seminars: Attendance at seminars (e.g., American Association for
               Justice Section Meetings, Mass Torts Made Perfect, Harris Martin, and similar
               seminars and Continuing Legal Education programs) shall not qualify as Common
               Benefit Work, or the expenses pertaining thereto as Common Benefit Expenses.
            f) Document Review: Only document review specifically authorized by Lead
               Counsel and assigned to an attorney will be considered Common Benefit Work.
               If an attorney elects to review documents that have not been assigned to that
               attorney by Lead Counsel, that review is not considered common benefit. Unless
               approved in writing by Lead Counsel, only licensed attorneys may conduct
               common benefit document review. Descriptions associated with “document
               review” must contain sufficient detail to allow those reviewing the time entry to
               generally ascertain what was reviewed. For example, indicating the custodian,
               search query, or number of document folders reviewed is the kind of description
               needed.
            g) Review of Filings and Orders: All attorneys have an obligation to keep
               themselves informed about the litigation so that they can best represent their
               respective clients, and review of filings made and Orders entered in this litigation
               is part of that obligation. Only those attorneys designated by Lead Counsel to
               review or summarize those filings or Orders for the benefit of all plaintiffs in this
               MDL are working for the common benefit and their time will be considered for
               Common Benefit Work. All other counsel are reviewing those filings and Orders
               for their own benefit and that of their respective clients and such review will not
               be considered Common Benefit Work.
            h) Emails: Except for PSC members and their assigned attorneys and staff working
               on this MDL, time recorded for reviewing emails is not compensable unless
               germane to a specific task being performed by the receiving or sending attorney
               or party that is directly related to that email and that is for the common benefit of



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                  plaintiffs. Thus, for example, review of an email sent to dozens of attorneys to
                  keep them informed on a matter on which they are not specifically working would
                  not be compensable as Common Benefit Work. All attorneys have an obligation
                  to keep themselves informed about the litigation so that they can best represent
                  their clients and that is a reason to review emails to a larger group, which involves
                  a matter on which the recipient is not directly and immediately working.
              i) Review of Discovery: All attorneys have an obligation to keep themselves
                  informed about the litigation so that they can best represent their respective
                  clients, and that is a reason to review discovery served in this litigation. Except
                  for PSC members, only those attorneys designated by Lead Counsel to review
                  discovery are working for the common benefit and their time accordingly
                  considered Common Benefit Work. All other counsel are reviewing those
                  discovery responses for their own benefit and the benefit of their own clients, and
                  such review will not be considered Common Benefit Work.

          In the event that Participating Counsel are unsure if the action they are about to undertake

   is considered Common Benefit Work, they shall ask Lead Counsel in advance as to whether such

   time may be compensable.

          2. Timekeeping and Submission of Time Records

          All time must be accurately and contemporaneously maintained. Participating Counsel

   shall keep contemporaneous billing records of the time spent in connection with Common

   Benefit Work on this MDL, indicating with specificity the hours and billing rate, along with a

   brief note indicating the source of authorization for the activity in question and a brief

   description of the particular activity (such as “conducted deposition of John Doe as authorized by

   [name of Lead Counsel]”). Time submissions shall be made to Lead Counsel on a quarterly

   basis in accordance with the guidelines set forth herein and using the instructional memorandum

   and time-keeping form to be distributed by Lead Counsel and which are annexed hereto as

   Addenda A and B, respectively, so that Lead Counsel may retain those forms for later


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   submission to this Court if and when necessary. Time entries that are not sufficiently detailed

   will not be considered for payment of Common Benefit fees. All time for Common Benefit

   Work by each firm shall be recorded and maintained in tenth-of-an-hour increments. The failure

   to secure authorization from Lead Counsel to incur Common Benefit time and expenses, or to

   maintain and timely provide such records or to provide a sufficient description of the activity,

   will be grounds for denying the recovery of attorneys’ fees or expenses in whole or in part. Lead

   Counsel must maintain all time submissions in a format so that the Court may review any

   application for fees not only by lawyer but also by task (e.g., all time spent by anyone on

   responding to a particular motion or attending or preparing for a particular deposition).

      B. COMMON BENEFIT EXPENSES

          1. Shared Costs

          “Shared Costs” are costs that will be paid out of the PSC Fund administered by Plaintiffs’

   Lead Counsel. Each PSC member shall contribute to the PSC Fund at times and in amounts

   sufficient to cover plaintiffs’ expenses for the administration of this MDL. The timing and

   amount of each assessment will be determined by Plaintiffs’ Lead Counsel, and each assessment

   will be paid within 30 days as instructed by Plaintiffs’ Lead Counsel. Failure to pay assessments

   will be grounds for removal from the PSC. Shared Costs are costs incurred for the common

   benefit of Plaintiffs in this MDL as a whole. No client-related costs, save certain costs relating

   to future cases selected as bellwether cases that will be for the common benefit (e.g., related to

   liability and causation), shall be considered Shared Costs, unless exceptional circumstances exist

   and are approved by later order of this Court. All Shared Costs must be approved by Plaintiffs'

   Lead Counsel prior to payment.

          All costs that meet these requirements and fall under the following categories shall be

   considered Shared Costs and qualify for submission and payment directly from the PSC Fund:


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              a) court, filing and service costs related to common issues;
              b) deposition and court reporter costs for depositions (excluding those that are client-
                   specific);
              c) document depository creation, operation, staffing, equipment and administration;
              d) Plaintiffs’ Lead Counsel, Liaison Counsel, or PSC administration matters (e.g.,
                   expenses for equipment, technology, courier services, long distance, telecopier,
                   electronic service, photocopy and printing, secretarial/temporary staff, etc.);
              e) PSC administration matters, such as meetings and conference calls;
              f)   legal and accountant fees relating to the PSC Fund;
              g) expert witness and consultant fees and expenses for experts whose opinions and
                   testimony would be generic and for the common benefit of a substantial number
                   of cases. There shall be no reimbursement for case specific experts, except for
                   liability and causation experts in bellwether cases, at the discretion of the PSC;
              h) printing, copying, coding, scanning related to the above (out-of-house or
                   extraordinary firm costs);
              i) research by outside third-party vendors/consultants/attorneys, approved by
                   Plaintiffs’ Lead Counsel;
              j) translation costs related to the above;
              k) bank or financial institution charges;
              l) investigative services, approved by Plaintiffs’ Lead Counsel; and
              m) Any assessment paid by any member firm of the PSC, including particularly
                   funds used for the creation of the common document depository platform and for
                   retaining generic expert witnesses.

          Plaintiffs’ Lead Counsel shall prepare and be responsible for distributing reimbursement

   procedures and the forms associated therewith. Requests for payments from the PSC Fund for

   Common Benefit expenses shall include sufficient information to permit Plaintiffs’ Lead

   Counsel and a Certified Public Accountant (“CPA”) to account properly for costs and to provide

   adequate detail to the Court.

          2. Held Costs



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          “Held Costs” are those that will be carried by each attorney in this MDL and reimbursed

   as and when the PSC determines to do so. Held Costs are those that do not fall into the above

   Shared Costs categories but are incurred for the common benefit of all plaintiffs in this MDL. No

   client-specific costs can be considered Held Costs, other than certain Common Benefit costs

   relating to future bellwether cases at the discretion of the PSC. Held Costs shall be recorded in

   accordance with the guidelines set forth herein and on the form provided as Addendum B hereto.

   They shall be subject to the following limitations:

              a) Travel Limitations

          Only reasonable expenses will be reimbursed. Except in extraordinary circumstances

   approved by Lead Counsel, all travel reimbursements are subject to the following limitations:

                 i.   Airfare: Ordinarily, only the price of the lowest available, convenient coach
                      fare seat will be reimbursed. Business/First Class Airfare will not be
                      reimbursed. In the event that non-coach air travel is utilized, the attorney
                      shall be reimbursed only to the extent of the lowest available, convenient
                      coach fare, which must be contemporaneously documented. If non-coach,
                      private or charter travel is elected, the applicant is required to document what
                      the lowest available, convenient coach fare in effect at that time was, and that
                      is all that can be reimbursed.
                ii.   Hotel: Hotel room charges for the average available room rate of a business
                      hotel, such as the Hyatt, Hilton, Sheraton, Westin, and Marriott hotels, in the
                      city in which the stay occurred, will be reimbursed. Luxury hotels will not be
                      fully reimbursed but, rather, will be reimbursed at the average available rate of
                      a business hotel.
               iii.   Meals: Meal expenses must be reasonable. Expenses that significantly
                      exceed the meal allowances for federal employees may not be approved for
                      reimbursement. There will be no reimbursement for alcoholic beverages,
                      room service, mini-bar items, or movies.




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             iv.    Cash Expenses: Miscellaneous cash expenses for which receipts generally are
                    not available (e.g., tips, luggage handling) will be reimbursed up to $50.00 per
                    trip, as long as the expenses are properly itemized.
              v.    Automobile Rental: Luxury automobiles rentals will not be fully reimbursed,
                    unless only luxury automobiles are available. Counsel must submit evidence
                    of the unavailability of non-luxury vehicles. If luxury automobiles are
                    selected when non-luxury vehicles are available, then the difference between
                    the luxury and non-luxury vehicle rates must be shown on the travel
                    reimbursement form and only the non-luxury rate may be claimed.
             vi.    Mileage: Mileage claims must be documented by stating origination point,
                    destination, and total actual miles for each trip. The rate will be the maximum
                    rate allowed by the Internal Revenue Service.

            b) Non-Travel Limitations

               i.   Long Distance, Conference Call, and Cellular Telephone Charges: Common
                    Benefit long distance, conference call, and cellular telephone charges must be
                    documented as individual call expenses in order to be compensable. Copies
                    of the telephone bills must be submitted with notations as to which charges
                    relate to the MDL. Such charges are to be reported at actual cost.
              ii.   Shipping, Overnight, Courier, and Delivery Charges: All claimed Common
                    Benefit shipping, overnight, courier, or delivery expenses must be
                    documented with bills showing the sender, origin of the package, recipient,
                    and destination of the package. Such charges are to be reported at actual cost.
             iii.   Postage Charges: A contemporaneous postage log or other supporting
                    documentation must be maintained and submitted for Common Cenefit
                    postage charges. Such charges are to be reported at actual cost.
             iv.    Telefax Charges: Contemporaneous records should be maintained and
                    submitted showing faxes sent and received. The per-fax charge shall not
                    exceed $0.50 per page.
              v.    In-House Photocopy: A contemporaneous photocopy log or other supporting
                    documentation must be maintained and submitted. The maximum copy
                    charge is $0.15 per page.


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               vi.    Computerized Research – Lexis, Westlaw, or Bloomberg: Claims for Lexis,
                      Westlaw, Bloomberg, or other computerized legal research expenses should
                      be in the exact amount charged to the firm and appropriately allocated for
                      these research services.

              c) Verification

          The forms detailing expenses shall be certified by an attorney with authority in each firm

   attesting to the accuracy of the submissions. Attorneys shall provide receipts for all expenses.

   Credit card receipts (not the monthly statements) are an appropriate form of verification so long

   as accompanied by a declaration from counsel that the charge was incurred for the common

   benefit. Hotel costs must be proven with the full hotel invoice. The description of unclaimed

   expenses on the invoice may be redacted.

   SO ORDERED.

   Dated: July 10, 2013
          White Plains, New York


                                                        _____________________________
                                                            CATHY SEIBEL, U.S.D.J.




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                         Exhibit 7
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                         Exhibit 8
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   NOT FOR PUBLICATION                                                        (Doc. No. 10)


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE
   _____________________________________
                                       :
   IN RE: BENECAR (OLMESARTAN)         :  Master Docket No. 15-2606 (RBK/JS)
   PRODUCTS LIABILITY LITIGATION       :
                                       :
                                       :
                                       :
                                       :
                                       :  ORDER APPROVING PLAINTIFFS’
                                       :  PROPOSAL FOR THEIR EXECUTIVE
                                       :  AND STEERING COMMITTEES
                                       :
   ____________________________________:

          THIS MATTER having come before the Court upon Plaintiffs’ motion to approve

   appointment to the Plaintiffs’ Executive Committee and the formation of a Plaintiffs’ Steering

   Committee (Doc. No. 10); and the Court having considered the moving papers;

          IT IS HEREBY ORDERED that Plaintiffs’ motion is GRANTED. Plaintiffs’

   Executive Committee and Steering Committee shall each consist of the attorneys proposed for

   the respective committees in the above-referenced motion.




   Dated: 5/20/2015                                            s/ Robert B. Kugler
                                                               ROBERT B. KUGLER
                                                               United States District Judge




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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   IN RE: BENICAR (OLMESARTAN)                   Honorable Robert B. Kugler
   PRODUCTS LIABILITY LITIGATION                 Magistrate Judge Schneider

   This Document Relates To All Actions          Civil No. 15-2606(RBK)(JS)
                                                 MDL No. 2606


                PLAINTIFFS' MOTION TO APPROVE APPOINTMENTS TO THE
                PLAINTIFFS' EXECUTIVE COMMITTEE AND THE FORMATION
                        OF A PLAINTIFFS' STEERING COMMITTEE

          In accordance with Plaintiffs' Position Statement and presentation before the court on

   April 28, 2015, plaintiffs submit the following lawyers to serve as members of the Plaintiffs'

   Executive Committee:


          Christopher Coffin is a partner with Pendley, Baudin &Coffin, L.L.P., located in New

   Orleans, Louisiana, and has years of experience litigating complex cases involving defective

   pharmaceutical products and medical devices. He received his BSN from University of

   Cincinnati and his JD from University of Maryland. Mr. Coffin has been a leader in multiple

   MDL actions throughout the United States. He has served as Co-Lead Counsel in two

   separate MDL cases involving pharmaceutical products: In re: Celexa and Lexapro Products

   Liability Litigation, in the Eastern District of Missouri, and In re: Celexa and Lexapro

   Marketing and Sales Practices Litigation, in the District of Massachusetts. He has also

   served as Co-Lead Counsel in anon-pharmaceutical products MDL, In re: Atlas Roofing

   Products Liability Litigation, in the Northern District of Georgia. In addition, Mr. Coffin has

   served as acourt-appointed member of the Plaintiffs' Steering Committee in the following

   pharmaceutical and medical device MDL cases: In re: Paxil Products Liability Litigation, in

   the Central District of California; In re: Zoloft Products Liability Litigation, in the Eastern
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   District of Pennsylvania; In re: Effexor Products Liability Litigation, in the Eastern District of

   Pennsylvania; In re: Stryker Rejuvenate and ABG 11 Hip Implant Products Liability Litigation,

   in the District of Minnesota; and In re: Lipitor (Atorvastatin Calcium) Marketing, Sales

   Practices and Product Liability Litigation, in the District of South Carolina.

          In addition to his legal education and experience, Mr. Coffin has been a registered

   nurse for over nineteen (19) years. He has been licensed as a registered nurse in Ohio,

   Georgia, Maryland and Virginia, and he currently maintains his license in the State of

   Louisiana. Throughout his years of education and experience in nursing, Mr. Coffin has

   formally studied pharmacology, epidemiology, anatomy, physiology and pathophysiology,

   and he has treated hundreds of patients diagnosed with hypertension or gastrointestinal

   illnesses.

          Mr. Coffin filed the first Benicar (olmesartan) case in the country on January 13,

   2014, the von Eberstein case, and has been litigating olmesartan cases since that time.

   Over the last year, he has dedicated a significant amount of his time and resources to

   educating other lawyers about the law and science related to the Benicar (olmesartan)

   litigation through multiple presentations at national litigation conferences.

          Mr. Coffin would be in the position of Co-Lead counsel and a member of the Plaintiffs'

   Executive Committee.

          Adam Slater is a partner in the Roseland, New Jersey firm of Mazie, Slater, Katz &

   Freeman. He is a graduate of Tulane University and obtained his JD at Boston University.

   He has been a member of the New Jersey Bar since 1994 and is also admitted to the United

   States District Court of New Jersey, the Third Circuit U.S. Court of Appeals, and several

   other jurisdictions. Mr. Slater specializes in complex civil litigation, particularly personal



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   injury, product liability, and medical malpractice, and is a certified civil trial attorney.   Mr.

   Slater is currently co-liaison counsel for the New Jersey consolidation of pelvic mesh cases

   against Johnson &Johnson and Ethicon, numbering approximately 7600 cases. Mr. Slater

   was lead trial counsel for the first bellwether trial against these defendants, and has tried

   additional Johnson &Johnson/Ethicon mesh cases including an MDL bellwether trial in the

   Southern District of West Virginia before the Hon. Joseph Goodwin in March, 2015.

        Mr. Slater also litigates class actions, including appointment as co-class counsel in a

   class action in the District of Jersey against Volkswagen and Audi on behalf of 5 million

   owners and lessees, which settled before the Hon. Patty Schwartz, and was ultimately

   affirmed by the Third Circuit.    Finally, Mr. Slater has been directly involved in the early

   Olmesartan litigation in the New Jersey Superior Court, and has extensive familiarity with

   the legal and procedural issues, as well as the medical/scientific, and causation issues.

        Mr. Slater would be in the position of Co-Lead Counsel and a member of the Plaintiffs'

   Executive Committee.

          Tara Sutton is a Partner and Chair of the Mass Tort Litigation group of Robins

   Kaplan LLP., a nationwide firm of 240 lawyers that has been involved in products liability

   and medical device litigation for its entire 74 year history. Ms. Sutton is an honors graduate

   of the University of Iowa Law School. She was selected as one of the Outstanding Women

   Lawyers by the National Law Journal, in its list of 75 of the most accomplished female

   attorneys working in the profession. She has previously been named a "Plaintiff Top 150

   Women in Litigation" by Benchmark Litigation and a Minnesota Trial Lawyers Association

   "Member of the Year" honoree.




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        Ms. Sutton is also a member of the firm's Executive Board. Ms. Sutton has extensive

   trial and leadership experience in coordinated mass tort litigation. She was appointed by

   Judge Brian Martinotti to serve on the Plaintiffs' Steering Committee in the consolidated

   Stryker Rejuvenate & ABGII hip implant litigation pending in Bergen County, New Jersey.

   Judge Martinotti further appointed Ms. Sutton to serve on the settlement negotiation team to

   develop a global settlement program for all cases pending in New Jersey state court and the

   federal MDL. On November 4, 2014, a settlement program valued at over $1.4 billion was

   announced.

        Ms. Sutton served on the Plaintiff's Executive Committee in In re Chantix Products

   Liability Litigation, MDL No. 2092 (N.D. Alabama). Ms. Sutton served as Chair of the

   Science and Expert Committee and successfully defeated each Daubert motion brought by

   Pfizer. See In re Chantix (Varenicline) Prods. Liab. Litig., 2012 U.S. Dist. LEXIS 130144

   (N.D. Ala. Aug. 21, 2012). Ms. Sutton was lead trial counsel in the first Chantix bellwether

   trial case, Whitely v. Pfizer, which settled three days prior to jury selection and resulted in

   the subsequent settlement of more than 2,600 cases. Ms. Sutton was Lead Counsel and

   Liaison counsel in the In re Mirapex Products Liability Litigation, MDL No. 1836 (D. Minn.).

   She was lead trial counsel in the first Mirapex bellwether trial that resulted in an $8.3 million

   verdict (including more than $7.8 million in punitive damages).           She tried a second

   bellwether case that settled prior to closing arguments, leading to the settlement of all cases

   pending in the MDL.        Additionally, Ms. Sutton served on the Science & Discovery

   committees in the In re Vioxx Products Liability Litigation, MDL No. 1657 (E.D. La.) and Law

   & Briefing committee in the DePuy ASR Hip Implant Litigation, MDL No. 2197 (N.D. Ohio).




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   She was a member of the trial team in the Minnesota Tobacco Litigation, which settled in

   1998, after four months of trial, for wide-ranging injunctive relief and more than $6.6 billion.

        Ms. Sutton would be a member of the Plaintiffs' Executive Committee.

          Troy Rafferty is a partner in the law firm of Levin, Papantonio, Thomas, Mitchell,

   Rafferty and Proctor located in Pensacola, Florida. He specializes in litigating mass tort,

   pharmaceutical and major personal injury cases throughout the country. Levin, Papantonio

   has been a leader in mass tort litigation for decades. We have more than thirty (30) full time

   attorneys and over 120 staff members. The firm has participated in numerous Multi-District

   proceedings over the past three decades and has tried numerous mass tort and

   pharmaceutical cases.

          Mr. Rafferty graduated magna cum laude from Valparaiso University School of law.

   He is board certified in civil trial law by The Florida Bar, AV-rated by Martindale Hubbell, and

   has been included in The Best Lawyers in America, and The Legal 500. He is a fellow in the

   International Society of Barristers. He currently serves as President of the Florida Justice

   Association. He is currently licensed to practice law before all Florida state courts, the

   United States District Courts for the Northern and Middle Districts of Florida, and the United

   States Court of Appeals for the Eleventh Circuit.

          He has tried and litigated numerous pharmaceutical and mass tort cases.            He has

   also been appointed to leadership positions in several MDL's. He has been appointed to

   serve as Co-Lead Counsel in the In re: Gadolinium Based Contrast Action Litigation (MDL

   No. 1909). He also served on the Plaintiffs' Steering Committee and served as Co-Chair of

   the Plaintiffs' Discovery Committee in the In re: Vioxx Products Liability Litigation (MDL No.

   1657). He has also been appointed to the Plaintiffs' Executive Committee in the In re:



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   Yamaha Motor Corp. Rhino ATV Products Liability Litigation (MDL No. 2016), the Plaintiffs'

   Steering Committee in In re: Zyprexa Products Liability Litigation (MDL No. 1596), the

   Plaintiffs' Steering Committee in In re: Fosamax (Alendronate Sodium) Products Liability

   Litigation (No.11) (MDL No. 2243), the Plaintiffs' Steering Committee in In re: Actos

   (Pioglitazone) Products Liability Litigation (MDL No. 2299), and the Plaintiffs' Steering

   Committee in In res Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation

   (MDL No. 2428).

          Mr. Rafferty would be a member of the Plaintiffs' Executive Committee.

        Peter H. Weinberger is the managing partner of the firm of Spangenberg Shibley and

   Liber, LLP located in Cleveland, Ohio.      He is a graduate of Syracuse University and

   received his JD from Case Western Reserve University. He has been a member of the Ohio

   Bar since 1975 and is admitted to District courts in multiple jurisdictions. Mr. Weinberger is

   a fellow in the American College of Trial Lawyers and the International Society of Barristers.

   He was named Cleveland Lawyer of the Year in Personal Injury and Medical Malpractice in

   2012 and 2013.      He was named one of the top 10 lawyers in Ohio in 2012 by "Super

   Lawyers" Magazine. He is a past president of the Cleveland Metropolitan Bar Association.

        The Spangenberg Law firm has had a long history of litigation against the

   pharmaceutical industry beginning with cases involving the drug thalidomide in the 60's and

   70's followed by cases involving the drugs Halcion, Albuterol, and many others.            Mr.

   Weinberger specializes in product liability, medical malpractice, and catastrophic accidents.

         Mr. Weinberger was liaison counsel in the Gadolinium Contrast Dyes Products Liability

   Litigation, MDL No. 1909 (N.D.Ohio), served on the executive committee, managed the fee

   committee, and served as trial counsel in two bellwether trials one of which settled the


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   evening before trial resulting in the settlement of over 67 cases. He worked with the court

   and special master extensively in the settlement efforts that helped resolve more than 600

   cases.

            Mr. Weinberger also served on the plaintiffs' steering committee in the Teflon Product

   Liability Litigation MDL No. 1733 (S.D.lowa) and was on the trial team that presented the

   class certification issues at trial.

            Mr. Weinberger would be a member of the Plaintiffs' Executive Committee.



            Plaintiffs' propose that the following be appointed as members of the Plaintiffs'

   Steering Committee:

          F. Catfish Abbott of the Abbott Law Group is a board certified civil trial attorney in
   the state of Florida with over 36 years of experience and over 170 jury trials for the plaintiff.
   He has tried to verdict numerous product liability cases against General Motors, Ford,
   Kawasaki and other product manufacturers. From 2012 through 2014, Mr. Abbott was the
   head of continuing legal education for the entire state of Florida on behalf of the Florida
   Justice Association. He has spoken at numerous seminars on every facet of litigation from
   jury selection to closing argument, and all parts in between. Mr. Abbott has been
   participating in focus groups and mock trials for 35 years and has worked with trial
   consultants across the country. For the past three years he has been participating in mass
   pharmaceutical torts and have headed up that division within my law firm. We are involved
   in 9 or 10 different types of pharmaceutical products or drugs. Our firm is representing
   somewhere between 120 and 130 individuals who have Benicar claims.

           Esther Berezofsky is a partner with Williams Cuker Berezofsky in Cherry Hill New
   Jersey, and Philadelphia PA. She concentrates her practice on complex plaintiff's litigation
   in pharmaceutical and medical device products liability, environmental, and consumer
   litigation. Berezofsky has been in leadership roles in various pharmaceutical litigations
   including Hormone Replacement Therapy (HRT), Diet Drug, Ortho Evra, Rezulin, PPA,
   DePuy, and been appointed liaison counsel in Mass Tort Courts in N.J. and PA in Diet Drug,
   Hormone Replacement therapy (HRT), and others. She is on the DePuy ASR MDL Plaintiffs
   Steering Committee (PSC), and is experienced in coordinating discovery, developing
   scientific and medical evidence, as well as devising innovative settlement and resolution
   strategies in complex multi-party matters. One such case, involving a children's cancer
   cluster in which she was lead counsel became the subject of the Pulitzer Prize winning book
   called Toms River authored by Dan Fagin. She was co- lead trial counsel in the New Jersey
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   Diet Drug medical monitoring class action trial. In addition, Berezofsky is currently the
   President of Public Justice, a national public interest law firm.

          Stuart L. Goldenberg is the senior partner of Goldenberg Law in Minneapolis,
   Minnesota. He has been lead counsel on more than 50 jury trials involving mass tort,
   product liability, medical malpractice, and personal injury cases. He has thirty years of mass
   tort and MDL experience, including Dalkon Shield, Copper-7 IUD, DES, Fen Phen, Vioxx,
   Bextra, Celebrex, Mirapex, Avandia, Propecia, Yaz, DePuy ASR, Zimmer Durom Cup,
   Pinnacle Hips, Stryker Rejuvenate Hips, Biomet Hips, Fosamax, SSRIs, Contaminated
   Steroids, Medtronic Infuse Bone Graft„ GranuFlo, Testosterone and Talcum Powder.
   Currently he is co-lead counsel in more than 400 Medtronic Infuse Bone Graft cases in
   State and Federal Courts around the country including: New Jersey, California, Hawaii,
   Arizona, Wisconsin, Tennessee, Minnesota and Missouri.

          Lexi Hazam is a partner at Lieff Cabraser Heimann &Bernstein with 12 years of
   experience in mass tort litigation, including in several MDLs. Ms. Hazam played a key role in
   MDL litigation on behalf of foreign hemophiliacs allegedly infected with HIV and/or HCV by
   American pharmaceutical products, developing epidemiological experts, spearheading
   foreign language discovery, and leading the administration of a global settlement of the
   claims of 1,600 plaintiffs spread across 15 countries. In MDL litigation over the Gol Airlines
   Flight 1907 aviation disaster, Ms. Hazam handled the depositions of foreign law experts,
   including the former Chief Justice of Brazil. Most recently, Ms. Hazam developed a key
   regulatory expert, a former head of the FDA, for the DePuy ASR defective hip MDL. Ms.
   Hazam has spoken on two recent panels regarding Benicar. Ms. Hazam has been listed in
   Best Lawyers for Mass Torts. Ms. Hazam's firm is among the nation's largest plaintiffs' firms,
   and in 2014 was named Law360's "Product Liability Group of the Year" for plaintiffs, as well
   as a U.S News "Law Firm of the Year" for mass torts/class actions.

           Anthony Irpino graduated cum laude from Tulane Law School in 1996, and is the
   founding partner of the Irpino Law Firm — an eight attorney firm focusing on representation
   of plaintiffs. Mr. Irpino has devoted the vast majority of his legal career to working on multi-
   district litigation and class action cases. Mr. Irpino has served as class counsel for plaintiffs
   in more than forty class action, multi-district litigation, and mass joinder lawsuits, including:
   MDL No. 1657 — In Re: Vioxx Products Liability Litigation (Chairman of Privilege and
   Document Depository Committees); MDL No. 1789 — In Re: Fosamax Products Liability
   Litigation (PSC Member, Chairman of Administrative, Privilege and Bellwether Plaintiff
   Committees); MDL No. 2047 — In Re: Chinese-Manufactured Drywall Products Liability
   Litigation ("Of Counsel" to PSC, Trial Team and Appeal Team member, Chairman of
   Document Depository and Privilege/Confidentiality Committees, and member of Lead
   Deposition and Personal Jurisdiction Teams); and MDL 2179 — In Re: Oil spill by the Oil Rig
   "Deepwater Horizon" (Member of Phase I &Phase II MDL Trial Teams, Chairman of
   Privilege and Confidentiality Workgroups, and Co-Chairman of Document Depository and
   ESI Workgroups). Mr. Irpino teaches litigation practice and ESI matters as an Adjunct

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   Professor and Guest Lecturer at Tulane Law School. He is an active member of the Sedona
   Conference, and has presented CLEs on MDLs, clinical trials and ESI matters.

          Jeffrey M. Kuntz is a partner in the Kansas City, Mo. Firm of Wagstaff and Cartmell.
   He is currently the head of the Expert Committee and Bellwether Trial Committee in the In
   Re: Ethicon, Inc., Pelvic Repair System Products Liability Litigation (MDL No. 2327). He has
   assisted in the first three pelvic mesh cases to be tried in front of a jury against Ethicon. Jeff
   was co-lead trial counsel in the first Bellwether Sling case tried to a verdict in the Pelvic
   Repair System Products Liability Litigation. He is a member of the Plaintiff's Steering
   Committee and was co-lead counsel in the first Bellwether case in the multidistrict litigation,
   In Re: Kugel Mesh Hernia Patch Products Liability Litigation (MDL No. 1842) to be tried to a
   verdict. Jeff was also head of the Expert Committee in the Kugel MDL. He is also currently
   a member of the Plaintiff's Steering Committee in the Judicial Council Coordinated
   Proceedings (JCCP) 4615 In Re: Infusion Pump Cases. Jeff has been on numerous other
   committees for MDL proceedings related to drug and medical devices and has presented at
   numerous conferences on drug and device litigation.

          Mallory Mangold is an attorney with the law firm of Taylor Martino, P.C. in Mobile,
   Alabama. Her practice is devoted to mass tort litigation involving dangerous drugs and
   medical devices. Ms. Mangold is currently representing hundreds of women in the
   Transvaginal Mesh litigation. She has recently represented plaintiffs in the Countrywide
   Home Loan class action lawsuit, Stryker Rejuvenate and ABG II Hip MDL 2441, Wright
   Conserve MDL 2329, Deepwater Horizon oil spill MDL 2179, In Re: Kugel Mesh Hernia
   Repair Patch Litigation MDL 07-1842-ML, and pelvic repair system litigation, including
   American Medical Systems MDL 2325, Ethicon MDL 2327, Covidien MDL 2187, Coloplast
   MDL 2387, Bard MDL 2187, Neomedic MDL 2511 and Boston Scientific MDL 2326. Ms.
   Mangold currently serves on the Plaintiff's Steering Committee for the Boston Scientific,
   Massachusetts State Court Consolidation involving lawsuits against the manufacturers of
   transvaginal mesh implants. With regards to Benicar, Ms. Mangold has filed a case in the
   Northern District of Alabama and filed an Interested Party Response with the JPML in
   support of the formation of this MDL.

         Victoria J. Maniatis is a partner at Sanders Phillips Grossman, LLP working in their
   Manhattan office. After graduating high school in NJ, Ms. Maniatis earned her BA from
   Penn State (1990) and her JD from Hofstra (1993). Her plaintiffs' mass tort focus began in
   1998 after 5 years insurance defense practice in New Jersey. She's licensed in NJ and NY
   with many Pro Hac Vice admissions. Vicki has worked on behalf of numerous Plaintiffs'
   Steering Committees in both state and federal coordinated proceedings over the last 18
   years on Pharmaceutical, medical device and aviation matters including; Baycol, Avandia,
   Ortho Evra, Yaz, Accutane, Bausch &Lomb ReNu with MoistureLoc, Swiss Air, TWA 800,
   KAL (Guam).      Ms. Maniatis currently holds appointments on the TVM MDL (DWV) and
   Fosamax MDL PSC (DNJ), and serves as Lead Counsel in the Propecia New Jersey
   Coordinated litigation in Middlesex County. Over the years on these litigations Ms. Maniatis
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   has served on Marketing, science and experts, discovery and bellwether and trial
   committees taking and defending case specific and general depositions and drafting a
   variety of pleadings including the Avandia Plaintiffs Fact Sheet.

          Mark M. O'Mara of O'Mara Law group practices has offices in Orlando, Florida.
   Although new to the area of mass torts, having only been involved for the past 2 years, Mr.
   O'Mara has over 32 years of trial experience at the state and federal court levels, and is
   board certified in both Family Trial law and Criminal Trial Law, a double certification
   accomplished by very few lawyers nationwide. He has have handled many complex cases
   and extended trials in both areas and venues as solo and lead counsel. He lectures
   nationwide on various facets of trial preparation and practice, from theme and theory
   determination through jury selection to closing argument, and has also spoken specific to
   the Xarelto and Benicar matters. He has a particular interest in the process of selecting and
   trying the Bellwether cases for this MDL, along with discovery gathering and review
   appropriate for those decisions.

           Roger W. Orlando is founding partner of The Orlando Firm, P.C. with offices in
   Atlanta, Georgia and Morristown, New Jersey. Educational Background: Emory University
   School of Law, Juris Doctor, 1987; Bar admissions: New Jersey, 1988; Georgia 1989;
   District of Columbia; USDC, District of NJ; USDC, Northern District of Illinois; USDC, Middle
   and Northern Districts of Georgia; and USDC Eastern and Western Districts of Arkansas.
   Multi-District Litigation Experience: Member PSC, MDL no. 2545, In re: Testosterone
   Replacement Therapy Products Liability Litigation; Member PSC, MDL No. 2331, In re:
   Propecia (Finasteride) Product Liability Litigation; Lead Counsel, MDL No. 2087, In re:
   Hydroxycut Marketing and Sales Practice Litigation; and Member, PEC, MDL No. 1845, In
   re: ConAgra Peanut Butter Products Liability Litigation; Discovery Committee, MDL No.
   1431, In re: Baycol Products Liability Litigation; and Discovery Committee, MDL No. 1355, In
   re: Propulcid Products Liability Litigation, among others.

            Behram Parekh has represented both individuals and institutions in complex
   litigation matters. Mr. Parekh has been appointed as lead or co-lead counsel in numerous
   cases in the in the litigation of consumer fraud, false and misleading advertising, unfair
   competition, drug liability, securities litigation, and mass tort cases. Mr. Parekh has litigated
   plaintiff's class action, complex litigation, and mass tort claims for his entire legal careers
   and has been appointed as lead counsel or a member of a lead counsel committee in
   numerous cases, including most recently as co-lead counsel in the Apple iPhone4 Litigation,
   MDL-2188, and as sole lead counsel in the POM Wonderful LLC Litigation, MDL-2199, and
   the In re Oreck Corp. Halo Vacuum and Air Purifiers Marketing and Sales Practices
   Litigation, MDL-2317. Mr. Parekh's firm, Kirtland &Packard LLP has afull-fledged trial and
   appellate practice, with countless verdicts and over 180 published appellate opinions to its
   credit since the firm's founding in 1932 The Firm also has extensive experience in complex


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   multi-party and multi-district litigation, and has litigated numerous MDL proceedings,
   beginning with MDL-13 in 1967.

           Gale Pearson is a partner in the firm of Pearson, Randall, and Schumacher, PA, of
   Minneapolis, Minn. She is admitted to practice law in the State of Minnesota (1994), Eighth
   Circuit (1995), Eighth Circuit Court of Appeals (1996), Seventh Circuit (2011), Seventh
   Circuit Court of Appeals (2014), and the United States Supreme Court (2002). She has
   served on several State consolidated actions and Federal MDL's over the past twenty years,
   including Phen-fen, Baycol, PPA, Stryker, Guidant, and Medtronic. She has served on the
   discovery, deposition, privilege log, liaison, bellwether and science committees. She has
   been appointed by Federal Court Judges Donovan Frank and James Rosenbaum to serve
   on common benefit and injury allocation committees for the Guidant and Medtronic MDL
   litigation. Prior to attending law school, she was a Board Certified Clinical Laboratory
   Scientist a Laboratory Medical Technologist, certified by the American Society of Clinical
   Pathologists, and worked in the clinical lab.

          Paul Rheingold of Rheingold, Valet and Rheingold PCI has been on many mass tort
   steering committees over the years, federal and state. Recently he was co-lead counsel in
   the NuvaRing MDL 1964 (and later on the PSC). He was on the PSC of the Ephedra in
   S.D.N.Y., with Judge Jed Rakoff.      He is the author of the two-volume Thomson Reuters
   treatise, Litigating Mass Tort Cases, updated annually. He was consulted on the torts
   portion of MCL 4th, which cites in various places to my book. With regard to Benicar, he
   was the first lawyer to work on these cases and filed early ones in New Jersey.

           Joel Robert Rhine of Rhine Law Firm PC has decades of experience in complex
   litigation matters, including mass torts and products liability. After graduating from Wake
   Forest Law School in 1988, where he received the Wake Forest Law Review award for the
   second of his two published Notes, Mr. Rhine, associated with Hunton &Williams, one of
   the largest and most prestigious law firms in the country. After leaving Hunton &Williams,
   Mr. Rhine began working in the mass tort arena, when he filed the first lawsuit in what
   became the multi-decade, multi-state synthetic stucco (EIFS) litigation, where he
   represented thousands of homeowners against a variety of constructions participants and
   manufacturers. Mr. Rhine obtained the nation's first verdict against an EIFS manufacturer.
   This multimillion dollar verdict was a catalyst for a national EIFS settlement. Mr. Rhine
   currently serves as co-counsel and co-lead counsel in approximately 700 Chinese Drywall
   cases pending in the Eastern District of Louisiana, is co-lead counsel in consumer class
   actions against Louisiana Pacific. He is also involved in the Pella 2 MDL and is preparing
   for a prominent role in the upcoming bellwether trials. He has significant roles in the Rust-
   Oleum MDL, will be active in Lumber Liquidators litigation, Anthem data breach litigation,
   Premara Blue Cross and Blue Shield litigation, Intuit TurboTax litigation, and more. Simply
   put, Mr Rhine has been counsel, lead counsel, or a member of the Plaintiff Steering
   Committee in dozens of class actions and national mass tort cases. As a frequently
   requested speaker on legal topics for trial lawyers and judges, Mr. Rhine speaks at national
   and state continuing education seminars on topics such as trial skills, mass torts and class

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   actions (including ethics in Multi-District Litigation and Class Actions) and various specific
   litigation issues. Mr. Rhine is and has been recognized repeatedly by Business North
   Carolina's Legal Elite, Super Lawyers (presently listed as one of the Top 100 North Carolina
   Lawyers), Best Lawyers, National Trial Lawyers Top 100 Trial Lawyers, has enjoyed an AV
   rating by Martindale Hubbell since 2002, and much more.

           Peter Snowdon is an attorney with Johnson Becker, PLLC who has practiced law for
   over eight years. Mr. Snowdon primarily handles products liability cases, with a focus on
   medical device and pharmaceutical litigation. Since joining Johnson Becker, Mr. Snowdon
   has worked on several MDL teams including In re: Zimmer Nexgen Knee Implant Products
   Liability Litigation (MDL No. 2272) and In re: Incretin Mimetics Products Liability Ligation
   (MDL No. 2452). Specifically, in the Zimmer Nexgen Knee Implant MDL, Mr. Snowdon was
   intrinsically involved with the Daubert briefing and oral argument process. Similarly, he
   worked with the leadership in the In re: Incretin MDL to develop preemption and general
   causation expert reports. In addition, Mr. Snowdon participated in the negotiation of the
   Deposition Protocol and other preliminary Case Management Orders in the In re:
    Testosterone Replacement Therapy Products Liability Litigation (MDL No. 2545). Mr.
   Snowdon was an Economics major at the University of Virginia and earned his law degree
   from the University of Denver. He is licensed to practice law in Minnesota and Colorado.

           George Williamson is an attorney with the firm of Farr, Farr, Emerich, Hackett, Carr
   & Holmes, P.A. in Punta Gorda, Florida. He received his Juris Doctorate from the University
   of Miami School of Law in 2010 and is licensed to practice in all Florida state courts, the
   Middle and Southern Districts of Florida, and has been granted pro hac vice admissions in
   numerous federal courts around the country. Mr. Williamson's practice is devoted to mass
   tort litigation and complex civil disputes in both state and federal courts. He has recently
   represented plaintiffs in the Biomet M2A Magnum MDL 2391, Wright Conserve MDL 2329,
   Deepwater Horizon oil spill MDL 2179, Levaquin MDL 1943, pelvic repair system litigation,
   including Ethicon MDL 2327, Coloplast MDL 2387, Bard MDL 2187, and Boston Scientific
   MDL 2326. He has also represented plaintiffs injured by the da Vinci robotic surgical system
   as well as the hormone replacement therapy drug Prempro. With regard to the Benicar
   litigation, Mr. Williamson has filed cases in the Southern District of Florida and filed an
   Interested Party Response with the JPML in support of the formation of this MDL.


                                            Respectfully submitted,

                                            s/Richard M. Golomb
                                            RICHARD M. GOLOMB
                                            Golomb & Honik
                                            1515 Market Street, Suite 1100
                                            Philadelphia, PA 19102
                                            (215) 985-9177
                                            Fax: (215) 985-4169

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                                                rgolomb@golombhonik.Com
                                                PLAINTIFFS' LIAISON COUNSEL




                                      CERTIFICATE OF SERVICE

            hereby certify that a copy of the foregoing was filed electronically on May 4, 2015.
   Notice of this filing will be sent to all parties by operation of the Court's electronic filing system.
   Parties may access this filing through the Court's system.

                                                s/Richard Golomb
                                                RICHARD M. GOLOMB
                                                PLAINTIFFS' LIAISON COUNSEL




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                         Exhibit 9
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                                        P. Leigh O'Dell

           P. Leigh O’Dell is a shareholder in the Mass Torts Section and a member of the
    Executive Board of Beasley, Allen, Crow, Methvin, Portis, & Miles, P.C., a national law
    firm headquartered in Montgomery, Alabama. Beasley Allen’s Mass Torts Section is
    comprised of 34 attorneys and 90 staff members. The Mass Torts Section focuses on
    pharmaceutical and medical device product liability litigation. Overall, Beasley Allen is
    composed of 75 attorneys and over 200 staff members.

           Ms. O’Dell serves on the Plaintiffs Steering Committees in In re: C.R. Bard, Inc.,
    Pelvic Repair System Prod. Liab. Litig., MDL No. 2187; In re: Ethicon, Inc. Pelvic Repair
    System Prod. Liab. Litig., MDL No. 2327; In re: American Medical Systems, Inc., Pelvic
    Repair System Prod. Liab. Litig., MDL No. 2325; In re: Boston Scientific Corp., Pelvic
    Repair System Prod. Liab. Litig., MDL No. 2326; In re: Coloplast Corp., Pelvic Repair
    System Prod. Liab. Litig., MDL No. 2387; and In re: Cook Medical, Inc., Pelvic Repair
    System Prod. Liab. Litig., MDL No. 2440. Ms. O’Dell had extensive involvement in the
    transvaginal mesh litigation, deposing numerous corporate witnesses, defense general
    causation experts, and numerous other witnesses. She was lead counsel in two trial cases,
    which ultimately settled on the eve of trial. She served as lead negotiator on behalf of large
    groups of plaintiffs in the transvaginal mesh litigation.

           Previously, Ms. O’Dell served on the Law and Briefing Committee, Trial Package
    Committee, and Settlement Liaison Committee in In re: Vioxx Products Liability Litigation,
    MDL. 1657. She was trial counsel in Dedrick v. Merck & Co., Inc., a bellwether trial, and
    co-counsel in four other Vioxx bellwether trials.

            Ms. O’Dell exhibits fidelity, focus, and fortitude when charged with responsibilities
    related to a litigation. For example, in In re Vioxx Product Liability Litigation, she
    maintained a steadfast commitment to the successful resolution of the litigation even when
    the defendant was winning trials and consistently expressing a commitment to try each
    case. Ms. O’Dell, along with others, worked tirelessly to protect the rights of all persons
    injured as a result of taking Vioxx, not only during the discovery of the case and trials, but
    also throughout the negotiation and administration of the settlement.

           Ms. O’Dell has demonstrated the ability to work cooperatively with others throughout
    her career in mass torts. In the Vioxx litigation, she effectively and efficiently facilitated
    the cooperation of numerous firms involved in the litigation, particularly in conjunction with
    the preparation and trial of bellwether cases and the development of the trial package.

             Ms. O’Dell is class counsel in Krueger v. Wyeth, Inc., et al., No. 03-CV-2496
    (S.D.Ca.), where she represents a class of all purchasers of hormone replacement therapy from
    1995 through 2002. She has other significant mass tort experience, including participation in
    litigation involving Medtronic lead wires, genetically modified rice, and Fosamax.

           Beasley Allen has a reputation for leadership, cooperation, and hard work in
    multidistrict litigations. Currently, Beasley Allen lawyers serve on Plaintiffs’ Steering
    Committees in In re: Xarelto, Product Liability Litigation, MDL No. 2592; In re: Lipitor

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                                         P. Leigh O'Dell

    Products Liability Litigation, MDL No. 2502; In re: Actos Product Liability Litigation, MDL
    No. 2299; In re: Fosamax Products Liability Litigation, MDL No. 1789; In re: Fosamax
    (Alendronate Sodium) Products Liability Litigation (No. II), MDL No. 2243; In re: DePuy
    Orthopaedics, Inc., ASR Hip Implants Products, MDL No. 2197; In re: DePuy Orthopaedics,
    Inc., Pinnacle Hip Implant Products Liability Litigation, MDL No. 2244; In re: Prempro
    Products Liability Litigation, MDL No. 1507, among others.

            Ms. O’Dell graduated from Auburn University with a bachelor’s degree in accounting.
    She graduated from the University of Alabama School of Law, where she served as Managing
    Editor of the Alabama Law Review and was named Outstanding Senior. Following law
    school, she clerked for the Honorable Ira DeMent, United States District Judge for the Middle
    District of Alabama.

            Ms. O’Dell has been licensed to practice law since 1993. She is admitted to practice in
    the United States Supreme Court, the United States Court of Appeals for the Fifth Circuit, the
    United States Court of Appeals for the Eleventh Circuit, various United States District Courts
    across the country, and the Supreme Court of Alabama.

           She is a member of the Alabama State Bar, where she is a Treasurer of the Federal
    Court Practice Section; Alabama Trial Lawyers Association, Alabama Law Foundation,
    American Bar Association, Christian Legal Society, and the Federal Bar Association. Ms.
    O’Dell also is a member of the American Association for Justice and serves on the AAJ
    Transvaginal Mesh Litigation Group.

           Ms. O’Dell has been recognized in “The Best Lawyers in American” publication,
    and she is “AV” rated by Martindale-Hubbell. At Beasley Allen, she was named Litigator of
    the Year in 2013, and in 2015, she received the Chad Stewart Award, an award to recognize an
    attorney who exemplifies a spirit of service in the practice of law.
           .




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   Beasley Allen Law Firm

   In 1979, Jere Locke Beasley founded the firm, which is now known as Beasley, Allen, Crow, Methvin,
   Portis & Miles, P.C. The firm represents plaintiffs and claimants in civil litigation. The firm employs more
   than 75 lawyers and over 200 support staff.

   Our primary offices are based in Montgomery, Alabama, although we work with attorneys and clients
   throughout the country. In 2017, Beasley Allen will open a branch office in Atlanta, Georgia. We are
   excited about expanding our reach to handle more cases in the state of Georgia and especially in
   Atlanta.

   Beasley Allen represents plaintiffs and claimants in the following areas: Business Litigation, Personal
   Injury and Product Liability, Medical Devices and Drugs, Fraud, Employment Law, and Environmental.

   Our attorneys are leaders in complex litigation in courtrooms around the U.S., including state and
   federal courts. Our attorneys and cases have been profiled in major national media such as Time
   Magazine, Business Week, Fortune Magazine, Forbes.com, Wall Street Journal, Los Angeles Times, USA
   Today, U.S. News & World Report, New York Times, National Law Journal, New Orleans Times-Picayune,
   CNBC’s “The Closing Bell,” 60 Minutes, NPR, CNN, Headline News, NBC’s “Today Show,” MSNBC, ABC’s
   “Good Morning America” Fox News and Fox’s “The O’Reilly Factor.” We have also represented clients
   testifying before U.S. Congressional committees on Capitol Hill in Washington, D.C.

   Our support staff includes full time nurses, investigators, computer specialists, technologists, a public
   relations department and a comprehensive trial graphics department. We are one of the country’s
   leading firms involved in civil litigation on behalf of claimants, having represented hundreds of
   thousands of people.

   We hold state and national records for the largest jury verdicts in numerous categories. Beasley Allen
   currently holds U.S. records for largest verdicts/settlements in 6 categories:

   The largest verdict against an oil company in U.S. History – $11.9 Billion.
   The largest pharmaceutical drug settlement in U.S. History – $4.85 Billion.
   The largest state Medicaid fraud litigation – $1.3 Billion.
   The largest individual private environmental settlement in U.S. History – $700 Million.
   The largest predatory lending verdict in U.S. History – $581 Million.

   We have handled cases involving verdicts and settlements amounting to more than $26 billion.
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                       Exhibit 10
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

   IN RE: JOHNSON & JOHNSON   ) CASE NO: MDL No. 2738
   TALCUM POWDER PRODUCTS )
   MARKETING, SALES PRACTICES ) APPLICATION FOR CO-LEAD
   AND PRODUCTS LIABILITY     ) COUNSEL
   LITIGATION                 )
                              ) Judge Freda L. Wolfson
   This document relates to:  )
   ALL CASES                  )
                              )


          Michelle A. Parfitt, and the firm of Ashcraft & Gerel, LLP, pursuant to the Court’s Order,

   respectfully files this application for appointment as co-lead in the matter of In Re: Johnson &

   Johnson Talcum Powder Products Marketing, Sales Practices and Products Liability Litigation,

   MDL No. 2738.

          Ms. Parfitt has been involved in the prosecution of the talc cases since 2014. Her firm

   filed the first talc actions in the Superior Court of the District of Columbia. Since then, Ms.

   Parfitt and her firm have been one of a handful of firms actively committed to the prosecution of

   these cases before the courts.

          Ashcraft & Gerel, LLP was founded in 1953 in Washington, D.C. The firm and its team

   of experienced litigators have established themselves as among the nation’s leading personal

   injury and consumer advocate attorneys. Ashcraft & Gerel, LLP has developed a reputation for

   excellence in the area of mass tort, particularly pharmaceutical, medical device and product

   liability litigation. The firm operates five offices in Washington, D.C., Maryland and Virginia

   and employs 25 attorneys focused on representing plaintiffs. The firm’s practice is devoted

   exclusively to the representation of plaintiffs in all areas of personal injury and consumer



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   actions. These include Pharmaceutical and Medical Device Liability, Complex Mass Torts, Mass

   Disasters, Medical Malpractice, Toxic Torts, Qui Tam, and other personal injury actions. The

   firm attorneys have tried and argued appellate cases throughout the country before state and

   federal courts, including the Supreme Court of the United States. For sixty-three years, Ashcraft

   & Gerel, LLP has represented plaintiffs in complex litigation nationwide, and distinguished itself

   as a national leader for consumer rights.


      I.      Michelle A. Parfitt

           Michelle A. Parfitt is a Senior Partner in the law firm of Ashcraft & Gerel, LLP. Over the

   past thirty-six years of her professional career, Ms. Parfitt has sought to distinguish herself as a

   champion of individual rights as well as a nationally recognized leader before the bar in the area

   of complex mass torts specializing in pharmaceutical and product liability cases. In particular,

   Ms. Parfitt has championed issues of women’s public health. She currently heads the Mass Tort

   practice section of Ashcraft & Gerel, LLP and has had the privilege of representing thousands of

   individuals in various state and federal courts across the country who have filed suit against

   pharmaceutical and medical device manufacturers.

           Ms. Parfitt received her undergraduate degree at Northeastern University and graduate

   degree from Michigan State University where she graduated Magna Cum Laude. She was later

   awarded her Juris Doctor from Hofstra Law School in 1980. Ms. Parfitt is the past president of

   the Trial Lawyers Association of Metropolitan Washington, D.C. (TLA-DC) having previously

   served as an officer and member of the Board of Governors for that association since 1998. She

   is also a past committee member for the TLA-DC’s Women’s Trial Education programs. She

   currently sits as a Board member on The Council for Court Excellence located in Washington,




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   D.C., which is a nonpartisan, civic organization that works to improve the administration of

   justice in local and federal courts. This Council also works with related organizations

   nationwide. She is also a member of the Virginia Trial Lawyers Association (VTLA).

   Additionally, Ms. Parfitt has been selected by her peers to be included in “Best Lawyers in

   America,” “Super Lawyers,” “Best Lawyers in Washington, DC,” and the Washingtonian’s “Top

   Lawyers.” In addition, she was awarded the Clarence Darrow Award in 2013, is a member of

   the prestigious International Society of Barristers (ISOB) and the American Board of Trial

   Advocates (ABOTA), and was named “Trial Lawyer of the Year” in 2015 by the TLA-DC.

          Ms. Parfitt has also had the opportunity to serve in numerous leadership and committee

   positions for the American Association of Justice (AAJ), the District of Columbia Bar and the

   Women’s Bar Association of the District of Columbia (WBA). She has been an active lecturer

   and author on mass tort litigation, scientific and medical evidence in pharmaceutical and medical

   device cases for AAJ, State Bar Associations and numerous national legal education programs.

          With regard to the Women’s Bar Association, Ms. Parfitt has Co-Chaired its Sections on

   Litigation, Immigration and Naturalization and Executive Endorsements. The Endorsement

   Committee responsibilities included recommendations for judicial appointments. She has an AV

   Martindale-Hubbell rating and is licensed to practice law in the District of Columbia and the

   Commonwealth of Virginia. Ms. Parfitt is a member of the Supreme Court of the United States

   Bar, District of Columbia Bar and Virginia State Bar.

          Within her practice concentration in the area of pharmaceutical and device litigation, Ms.

   Parfitt has earned a reputation as one of the most knowledgeable attorneys in the areas of

   medical science and expert testimony preparation. Her reputation in this area is perhaps best

   evidenced by the fact that she has been appointed to leadership positions by Judges of Federal



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   District Courts in several jurisdictions to serve either as a member of the Plaintiffs’ Executive

   Committee, Plaintiffs’ Steering Committee, Discovery Committee, Chair or Co-Chair of the

   Science and Expert Committees in a number of complex mass pharmaceutical and medical

   device litigations. Ms. Parfitt has spent her career advocating for consumer rights. Her skills as a

   litigator are recognized by the significant jury verdicts and settlements achieved on behalf of her

   clients in the areas of complex pharmaceutical and device litigation, mass disasters, and women

   and children’s rights.

             Ms. Parfitt is committed to providing her firm’s expertise and resources to this very

   important public health issue on behalf of women. Ms. Parfitt has the requisite experience in law,

   science and medicine as well as general knowledge concerning the management of multidistrict

   pharmaceutical and product liability litigation to assist the Court in the efficient administration of

   this litigation.

       II.      James F. Green

             James F. Green is a Senior Partner with Ashcraft & Gerel, LLP charged with the

   organization and development of the legal team responsible for Toxic Tort work. He was born in

   Pittsfield, Massachusetts. Mr. Green was educated at St. Anselm College where he was a

   member of Delta Sigma Rho, Tan Kappa Alpha and graduated with a Bachelor of Arts Degree in

   Philosophy and Political Science in 1970. He received his Juris Doctor from Suffolk University

   School of Law in 1973, where he was a member of Phi Alpha Delta. He joined Ashcraft &

   Gerel, LLP in 1975.

             Mr. Green is a member of the Massachusetts, District of Columbia and Virginia Bars. He

   is also a member of the Bar of the Supreme Court of the United States, where he has had the

   honor to appear and argue cases on behalf of injured persons. He is an active member of the



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   District of Columbia Bar, The Virginia State Bar Association, The American Association for

   Justice, The Trial Lawyers Association of Metropolitan Washington, DC and The Virginia Trial

   Lawyers Association. He has also served as past National Chairman and Vice Chairman of

   various committees of these associations.

             He is an active lecturer and author in local and national Continuing Legal Education

   (CLE) programs. He has been repeatedly voted by his peers to membership in Best Lawyers in

   America for personal injury and mass toxic tort. He has been selected to be included in “Super

   Lawyers,” “Best Lawyers in Washington, DC,” the Washingtonian’s “Top Lawyers”, and has

   been named by The Washington Post in its list of “Washington DC’s Top Lawyers”. He holds an

   A.V. Preeminent Peer Reviewed rating from members of the Bar and Judiciary by the Martindale

   Law Directory. Over the past several decades, Mr. Green has been the subject of multiple

   biographical entries in Who’s Who in America and Who’s Who in American Law.

             Mr. Green has focused his practice on the areas of products liability, pharmaceutical and

   medical device litigation, mass disaster and mass toxic tort. He has been appointed by the Judges

   of various Federal Courts to serve on Multi-District Litigation committees including Plaintiff’s

   Steering Committees, Discovery Committees, Settlement Committees, and Bellwether Trial

   Committees where he has also served as trial counsel.

      III.      Christopher V. Tisi

             Christopher V. Tisi is a senior partner at Ashcraft & Gerel, LLP. Mr. Tisi received his

   Bachelor of Arts degree (cum laude) from the State University of New York at Albany in 1982

   and graduated from Wake Forest Law School in 1987. He is a member of the Maryland and

   District of Columbia State Bars. He is also a member of the Bars for the Court of Appeals for the

   District of Columbia Circuit, the United States Court of Appeals for the Fourth Circuit, the



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   United States Court of Appeals for the Sixth Circuit, the United States Court of Appeals for the

   Eleventh Circuit, and the Supreme Court of the United States. Mr. Tisi earned an “AV” rating

   from Martindale-Hubbell. In addition, he is a member of the prestigious International Society of

   Barristers (ISOB) and the Summit Council.

             Mr. Tisi has been actively involved in the day-to-day management of several MDL

   proceedings. Through appointments in various MDLs, he has overseen and managed discovery

   of complex issues relating to liability, causation and damages. For example, in one MDL, he

   actively managed discovery against four (4) defendants simultaneously, and was co-trial counsel

   or lead-trial counsel for three (3) of four (4) MDL bellwether cases. He has also briefed and/or

   argued numerous significant MDL motions involving experts, discovery and other complex

   issues.

             Mr. Tisi has been trial counsel in several significant pharmaceutical jury trials. Recently,

   he was lead trial counsel in Jackson v. McNeil-PPC-Inc., et al., and Hayes v. McNeil-PPC-Inc.,

   et al., consolidated mass tort cases in Atlantic County New Jersey. In 2013, he was lead trial

   counsel in the case of Decker v. GE Healthcare, Inc., a case involving the MRI contrast agent

   Omniscan, which resulted in significant jury verdict in plaintiffs’ favor. This case was appealed

   and later affirmed, 770 F.3d 378 (6th Cir. 2014). Similarly, in 2003, he was co-trial counsel in

   Morgado v. Warner-Lambert, a case involving Rezulin-induced liver injury where the jury found

   in favor of the plaintiff. In addition to the above, he has been involved in a number of significant

   trials involving complex pharmaceutical and product liability issues. He has lectured other

   plaintiffs’ attorneys on all aspects of the trial of a pharmaceutical case, including the use of MDL

   generated evidence at trial and in the management of bellwether trial procedures. Through his




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   extensive MDL and trial experience, he has a unique and first-hand understanding of the

   importance of developing an effective MDL trial package.

          Ashcraft & Gerel, LLP, and its mass tort practice partners, Ms. Parfitt, Mr. Green and Mr.

   Tisi, have been appointed to and have served on numerous Plaintiffs’ Executive and Steering

   Committees in national mass tort and complex litigations and have held leadership positions in

   some of the largest mass torts in recent years. Some of their professional leadership positions

   include the following:

      •   In re: Karl Storz Power Morcellator Products Liability Litigation – Plaintiff’s Executive
          Committee;
      •   In re: Testosterone Replacement Therapy Products Liability Litigation, MDL No. 2545 –
          Plaintiff’s Steering Committee and Discovery Committee;
      •   In re: Tylenol (Acetaminophen) Sales and Marketing Products Liability Litigation, MDL
          No. 2438 – Plaintiff’s Steering Committee and Discovery Committee. Mr. Tisi was lead
          trial counsel in the MDL Bellwether case, Hayes v. McNeil-PPC, Inc., et al., and state
          court cases;
      •   In re: Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation, MDL No.
          2428 – Plaintiff’s Executive Committee, Science Committee, Discovery Committee, and
          Expert Committee;
      •   In re: Pradaxa (Dabigatran Etexilate) Products Liability Litigation, MDL No. 2385 –
          Plaintiff’s Executive Committee, Science Committee, and Discovery Committee;
      •   In re: American Medical Systems, Inc., Pelvic Repair System Products Liability
          Litigation, MDL No. 2325; In re: Boston Scientific Corp., Pelvic Repair System Products
          Liability Litigation, MDL No. 2326; and In re: Ethicon, Inc., Pelvic Repair System
          Products Liability Litigation, MDL No. 2327 – Plaintiff’s Steering Committee;
      •   In re: Gadolinium Based Contrast Agent Litigation, MDL No. 1909 – Plaintiff’s Steering
          Committee, Science Committee, Discovery Committee, and Expert Committee. Ms.
          Parfitt and Mr. Tisi were co-lead trial counsel in the only case tried in the United States.
          They obtained a verdict on behalf of their clients in the amount of $5,000,000.00. This
          verdict was uphelf on appeal, Decker v. GE Healthcare, Inc., 770 F.3d 378 (6th Cir.
          2014);
      •   In re: Fosamax Products Liability Litigation, MDL No. 1789 – Plaintiff’s Steering
          Committee, Science Committee, Discovery Committee, Settlement Committee, and
          Bellwether Trial Committee. Ms. Parfitt and Mr. Green were co-lead trial counsel in the
          MDL Bellwether case, Boles v. Merck & Co., Inc.;
      •   In re: Ortho Evra Products Liability Litigation, MDL No. 1742 – Plaintiff’s Executive
          Committee, Science Committee, Discovery Committee, and Expert Committee;




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      •   In re: Phenylpropanolamine (PPA) Products Liability Litigation, MDL No. 1407 –
          Plaintiff’s Steering Committee, Science Committee, Discovery Committee, and
          Settlement Committee;
      •   In re: Vioxx Products Liability Litigation, MDL No. 1657 – Plaintiff’s Steering
          Committee, Science Committee, Discovery Committee, and Expert Committee. This
          litigation resulted in a $4.5 billion settlement;
      •   In re: Zyprexa Products Liability Litigation, MDL No. 1596 – Science Committee, and
          Discovery Committee;
      •   In re: Rezulin Products Liability Litigation, MDL No. 1348 – Plaintiff’s Steering
          Committee, Science Committee, Discovery Committee, and Settlement Committee. Mr.
          Tisi was co-lead trial counsel in the case of Morgado v. Warner-Lambert (Sup. Ct. N..,
          2003), which resulted in a plaintiff’s verdict;
      •   In re: Propulsid Products Liability Litigation, MDL No. 1355 – Plaintiff’s Steering
          Committee, Expert Committee, Science Committee, and Discovery Committee. Ms.
          Parfitt was co-lead trial counsel in Calvert v. Janssen Pharmaceuticals, filed in Superior
          Court of the State of California, County of Napa; and
      •   In re: Diet Drugs Phentermine/Fenfluramine/Dexfenfluramine Products Liability
          Litigation, MDL No. 1203 – Science Committee, and Discovery Committee.

          In closing, the reputation of Ashcraft & Gerel, LLP and its attorneys for working

   cooperatively and productively on Plaintiff Steering Committees is evidenced by the fact that we

   have been repeatedly asked to serve on numerous high-profile and successful cases. Importantly,

   Ashcraft & Gerel, LLP has significant and dedicated legal talent to devote to this case, including

   experienced partners and associates from its mass tort practice section who have played and will

   continue to play an important role in this litigation.

          WHEREFORE, Michelle A. Parfitt respectfully requests appointment as co-lead in MDL

   No. 2738.

    Date: November 21, 2016
                                                            Michelle A. Parfitt, Esq.
                                                            Ashcraft & Gerel, LLP
                                                            4900 Seminary Rd., Ste. 650
                                                            Alexandria, VA 22311
                                                            (703) 931-5500
                                                            (703) 820-1656 – Fax
                                                            mparfitt@ashcraftlaw.com




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                        Exhibit 11
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   Christopher M. Placitella, Esq.
   Cohen, Placitella & Roth, P.C.
   127 Maple Avenue
   Red Bank, NJ 07701
   Phone: (732) 747-9003
   Fax: (732) 747-9004
   cplacitella@cprlaw.com




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

   IN RE: JOHNSON & JOHNSON   ) CASE NO: MDL No. 2738
   TALCUM POWDER PRODUCTS )
   MARKETING, SALES PRACTICES )
   AND PRODUCTS LIABILITY     ) APPLICATION FOR
   LITIGATION                 ) APPOINTMENT AS PLAINTIFFS’
                              ) LIAISON COUNSEL
                              )
   This document relates to:  ) Judge Freda L. Wolfson
                              )
   ALL CASES
                              )
                              )
                              )
                              )



         NOW INTO COURT comes Christopher M. Placitella, and Cohen, Placitella
   & Roth, P.C., pursuant to Order No. 1, and respectfully files the within application
   for appointment as liaison counsel for the Plaintiffs.
          Along with other counsel at Cohen, Placitella & Roth, I have engaged with
   Plaintiffs’ counsel on numerous phone calls and in person meetings regarding the
   talc matters over the past several months. I have communicated and know all
   Counsel applying for lead as well as counsel applying for different positions on the
   Executive Committee & Steering Committee. I support the appointment of the
   lead counsel as previously submitted.
          I am a shareholder of Cohen, Placitella & Roth (hereinafter “CPR”) for more
   than ten years. I have tried numerous trials to verdict and worked tirelessly
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   supporting the Plaintiff’s bar in asbestos, pharmaceutical and other mass tort
   actions throughout the state of New Jersey and nationwide.
          This application will address my and my firm’s accomplishments that Courts
   often look to when appointing leadership and liaison positions.
         Introduction
          I respectfully request to be appointed as liaison counsel, a role that I will be
   as dedicated to as I have been to my clients over my thirty years of representing
   those injured by asbestos, pharmaceuticals, and other products. I have successfully
   fought for these clients in many different courtrooms at both the federal and state
   level.
         a. Cohen, Placitella & Roth is a Leader in Mass Tort Litigation in New
            Jersey
         CPR has more than twenty lawyers spread over two offices in Red Bank,
   New Jersey and Philadelphia, Pennsylvania. The attorneys at CPR strive to
   provide the highest quality advocacy in support of our clients in the most ethical
   and diligent manner.
          The Red Bank and Philadelphia offices, both near the Trenton courthouse,
   will both be instrumental in providing support for this litigation.
          Our firm has been litigating issues concerning the contamination and
   carcinogenic effect of talc since 2009 which includes talc extracted from the
   Vermont mine once owned by Johnson & Johnson. One of those cases is reported
   in the Third Circuit decision of Williams v. BASF et al, 765 F.3d 306 (3d Cir.
   2014).
          I have been appointed to leadership roles in other mass tort cases in the past
   including: Member of the Steering Committee for the Multi-District Trans Vaginal
   Mesh Litigation, National 23 Multi-District TMJ litigation, National Rezulin
   Litigation; Liaison Counsel for New Jersey Trans Vaginal Mesh Litigation; Class
   Counsel Johns Manville Class Action Litigation and New Jersey Diet Drug
   Litigation; Member of the Asbestos Advisory Committee to the Jersey Superior
   Court; and Lead Counsel for New Jersey Propulsid Litigation.
         CPR has maintained an integral role in many mass tort litigations over the
   years and has litigated them to completion. CPR is an established firm that has


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   shown it is willing to staff cases as needed and has an excellent reputation of
   helping and working with our co-litigants.
         b. Personal Experience
         I am licensed to practice in New York, New Jersey and several federal
   courts, including this one. I am a member in good standing of all courts to which I
   am admitted, and I have never been suspended or reprimanded by any court.
         I have been honored with the “Gold Medal for Distinguished Service” by
   The New Jersey Association for Justice, nominated as National ‘Trial Lawyer of
   the Year’, awarded the Clarence Darrow Award by the National Trial Lawyers
   Association, been listed as a New Jersey Super Lawyer from 2005 to present, listed
   on the list of The Best Lawyers in America from 2001 to the present in two fields,
   and in the National Association of Distinguished Counsel.
         I am a frequent participant in educational programs relating to mass torts. I
   am the editor of the NJ Mass Tort and Class Action Treatise and the moderator of
   the annual New Jersey Mass Tort & Class Action seminar sponsored by the New
   Jersey State Bar Association.
         I.     CPR Litigations Complex Litigation Regularly
           Whether it be prosecuting asbestos case, pharmaceutical injury cases, or a
   complex building collapse case, CPR works daily in complex litigation. Besides
   litigating single and multi-plaintiff cases, CPR also makes a business of
   prosecuting class action cases.
         II.    CPR is Invested in the Cases
         CPR has numerous cases filed in several different Courts. I have worked
   with most of the firms that represent many of the plaintiffs in this litigation
   several times over the years.
          Additionally, one of CPR’s attorneys has been involved in this litigation for
   approximately two years. He was present at the first Case Management
   Conference held in New Jersey State Court, and helped to negotiate the ESI
   Agreement, the protective order, as well as, Plaintiff’s fact sheets that are used in
   other jurisdictions. He has worked directly with many of the Plaintiff’s firms
   involved in the talc litigation throughout this time period.



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         III.   CPR Works Cooperatively
           CPR always works cooperatively with attorneys on both sides of the
   litigation. CPR has an excellent working relationship with members of the defense
   bar, and it known as a firm that is able to resolve litigation related disputes without
   the need for court intervention. This is evidenced by our appointment to several
   leadership positions in the past, including, the asbestos advisory council in
   Middlesex County, which is a council that includes members from both sides of
   the litigation. CPR has also served as local counsel and co-counsel with many
   firms nationwide.
         IV.    CPR is committed to Prosecuting the Cases Timely.
          CPR is committed to putting the time, effort and funding into these cases to
   bring them to a timely conclusion.
         V.     CPR Common Benefit Fund Framework.
          CPR believes that the lawyers should be compensated based on the effort
   and time they put forth contributing in their efforts to bring the litigation to a
   conclusion. If appointed as a liaison, CPR will work with the Court and the
   attorneys to come to a reasonable common benefit fee structure that the Court may
   seek to impose.


       WHEREFORE, I respectfully request appointment as Liaison Counsel in
   MDL No. 2738.


   Dated: November 21, 2016
                                                  COHEN, PLACITELLA & ROTH, PC
                                                  /s/ Christopher M. Placitella
                                                  Christopher M. Placitella, Esq.
                                                  cplacitella@cprlaw.com
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                                                  Ph: (732) 747-9003
                                                  Fax: (732) 747-9004


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                        Exhibit 12
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                                    WARREN TAVARES BURNS
       500 NORTH AKARD, SUITE 2810 | DALLAS, TX 75201 | (469) 904-4550 | WBURNS@BURNSCHAREST.COM


      Selecting a lawyer for your case is a very important decision. You want a lawyer
      who understands your concerns and who will fight to achieve your goals. You want
      a lawyer who believes in our system and knows how to succeed in it. And most
      importantly you want a lawyer who is going to give you candid and meaningful
      advice. I am that lawyer.

      I focus my practice on high-stakes, multidistrict antitrust litigation, along with other
      complex class action and commercial cases. I have handled numerous cases
      involving price fixing, monopolization, breach of contract, intellectual property,
      business torts, consumer protection statutes, and accounting malpractice.

      I achieve results. In 2012, I helped lead a trial team that took the first mortgage-
      backed-securities related case to trial. In a landmark and game-changing trial, we
      secured a $106 million judgment on behalf of our client and obtained key pre-trial
      determinations that had a domino effect in related cases.

      I want to know more about your case and to see if there is a way I can help you. I
      look forward to the opportunity to talk to you about your case.

      Education and Background

      Where a man comes from is important. I think it can tell you a lot about their
      character and approach to litigation and trials.

      I am from a small town in Mississippi called Kosciusko. My extended family on both
      sides has lived there for six generations. My upbringing had a profound impact on
      me. I learned the value of community, the importance of joining in the lives of those
      around you and of making an difference in them. Every day, my background helps
      me relate to witnesses and juries in ways that benefit my clients.

      I spent my college years at Ole Miss. I played four years of rugby for the Ole Miss
      Rugby Football Club, starting each season as a second-row forward. I use the skills I
      learned on the rugby pitch everyday in litigation. In a fast moving match, you have
      to be prepared to play offense and defense intelligently. You have to capitalize
      quickly on your opponents’ mistakes. And you have to bring maximum pressure at
      the right moment to win. The same is true in litigation.

      After college, I moved to the District of Columbia to work in public relations and
      fundraising. I took a job as a junior fundraising staffer at the Basilica of the National
      Shrine of the Immaculate Conception, the largest Catholic church in the Americas.
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      Within a year, I was promoted to serve as the Communications Director at the
      Basilica.

      I next moved to the Lt. Joseph P. Kennedy, Jr. Institute, a non-profit organization
      dedicated to assisting people with developmental disabilities in their efforts to live
      full and complete lives. There, I served as the Director of Development and Public
      Relations.

      Later, I moved to Asheville, North Carolina, to assume the role of Development
      Director at Riverlink, a regional non-profit organization. At Riverlink, our focus was
      on restoration of the French Broad River and developing the economy along its
      banks.

      I left Riverlink to attend Tulane Law School. There, I graduated summa cum laude
      and Order of the Coif, and received the John Minor Wisdom Award, Tulane’s highest
      prize for graduating law students. I also served as Editor in Chief of the Tulane Law
      Review.

      After law school, I clerked for the Hon. Paul J. Kelly, Jr. on the U.S. Court of Appeals
      for the Tenth Circuit.

      Honors and Professional Involvement

      I was elected in 2016 to the American Law Institute. The American Law Institute is
      the leading independent organization in the United States producing scholarly work
      to clarify, modernize, and improve the law.

      In 2015 and 2016, I was named to the Top 100 National Trial Lawyers.

      I am an active member of the Dallas Bar Association and the American Bar
      Association. In the ABA, I sit on the steering committee for the international
      litigation committee. I am a Life Fellow of the American Bar Foundation.

      I am also a member of the American Association for Justice and the Texas Trial
      Lawyers Association. And I am a Fellow in the Southern Trial Lawyers Association.

      Every year since 2014, I have been named to the International Who’s Who of
      Competition Lawyers. And since 2011, I have been named a Texas Rising Star in
      Business Litigation.

      I sit on the Board of Advisory Editors of the Tulane Law Review, a national board
      comprised of distinguished alumni.
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      Representative Cases

      ANTITRUST CLASS ACTION / CONFIDENTIAL SETTLEMENTS: I serve as co-lead
      counsel in In re Vehicle Carrier Services Antitrust Litigation (2013-present) now
      pending in the District of New Jersey. On the eve of arguing against defendants’
      consolidated motion to dismiss, I negotiated a confidential settlement with one of
      the principal defendants. I negotiated a second confidential settlement with another
      major defendant just weeks later.

      ANTITRUST CLASS ACTION / LEADERSHIP: I serve on the executive committee in
      In re Domestic Airlines Antitrust Litigation (2015-present) now pending in the
      District of Columbia. Our clients have alleged that the nation’s four major airlines
      conspired to restrict capacity to fuel record high profits.

      ANTITRUST CLASS ACTION / CONFIDENTIAL SETTLEMENTS: I previously
      served as co-lead counsel in In re Automotive Parts Antitrust Litigation (2011-
      present) in the Eastern District of Michigan. I personally negotiated settlements
      exceeding $100 million with foreign defendants while successfully organizing and
      managing this complex case.

      COMMERCIAL CASES / CONFIDENTIAL SETTLEMENTS: Lead trial counsel in three
      cases against gas giant Chesapeake for breach of contract and underpayment of
      royalties relating to the oil and gas lease on the Dallas/Fort Worth International
      Airport. I have represented minority and women-owned business enterprises in
      their efforts to enforce contractual provisions against Chesapeake. I have settled all
      three cases successfully over the past three years, including one case that settled
      two days before trial.

      COMMERCIAL CASE / CONFIDENTIAL SETTLEMENT: Lead trial counsel in a
      confidential arbitration representing a telecommunications company in its suit
      against its former billing aggregator. My client hired me with less than three months
      to go before trial.

      SECURITIES CLASS ACTION / DEFENSE COUNSEL: Counsel in Brady v. Kosmos
      Energy, Ltd. (N.D. Tex.) (2012-present) defending a start-up oil and gas company
      against allegations centering on its initial public offering. The court recently denied
      plaintiffs’ motion for class certification.

      COMMERCIAL CASE / JUDGMENT EXCEEDING $100 MILLION: Counsel in
      Assured Guaranty v. Flagstar Bank (S.D.N.Y.) (2011-2012), the first case to go to
      trial related to the residential mortgage backed securities market meltdown. I
      represented a bond insurer in a suit against the securities issuer, resulting in a
      judgment of over $100 million. In this expert-driven case, I managed plaintiff’s
      principal liability expert, on whose opinion Judge Jed Rakoff relied in reaching his
      judgment. At trial, I cross-examined defendant’s principal liability expert, whose
      opinion Judge Rakoff ultimately discredited.
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      CLASS ACTION / JUDGMENT EXCEEDING $16 MILLION: Counsel in In re Universal
      Service Fund Litigation (D. Kan.) (2005-2013). We prevailed at trial on a breach of
      contract claim for AT&T’s California landline telecommunications customers.

      ANTITRUST CLASS ACTION / SETTLEMENTS EXCEEDING $50 MILLION: Counsel
      in In re Ready-Mixed Concrete Antitrust Litigation (S.D. Ind. 2005-2010). We resolved
      the case before trial with class members receiving more than 100 percent of their
      actual damages after deduction of attorneys’ fees.

      PATENT CASE / CONFIDENTIAL SETTLEMENT: Counsel in Individual Network v.
      Apple (E.D. Tex.) (2007-2009) representing an inventor in its patent infringement
      case against Apple. This case involved Apple’s Genius recommendation engine. I
      managed all aspects of discovery and motion practice, including taking the
      depositions of all defense experts and managing plaintiffs infringement and validity
      expert. The case was resolved before trial.

      ANTITRUST CASE / CONFIDENTIAL SETTLEMENT: Counsel in Morris & Dickson
      Co. v. Abbot Labs. (M.D. La.) (2006-2008), representing a regional pharmaceutical
      wholesaler in its suit against Abbott Laboratories for violation of the Robinson-
      Patman Act by unfairly favoring my client’s competitors. I managed all aspects of the
      litigation, including settlement negotiations. The case was resolved before trial.
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                        Exhibit 13
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   Richard Golomb is managing shareholder and a founding partner of Golomb & Honik, PC. He
   has more than 30 years of experience representing those who have been catastrophically injured
   as a result of medical negligence, defective products, dangerous drugs, construction accidents
   and other personal injury claims. He also represents victims in consumer, medical monitoring
   and product liability class actions.

   Early in his career, Mr. Golomb was an associate, and then shareholder, with a Philadelphia
   personal injury firm for 11 years before striking out on his own in 1996. Since 1998, he has been
   a shareholder in Golomb & Honik, P.C., where he has served as counsel in more than 100 cases
   that resulted in million-dollar and multimillion-dollar verdicts and settlements for individual and
   class action clients.

   Mr. Golomb has served in leadership in more than a dozen multi-district litigations in
   pharmaceutical, consumer class action and anti-trust matters. Notably, Mr. Golomb has been
   extensively involved in the talc/ovarian cancer litigation for more than two years. Currently, Mr.
   Golomb represents more than 150 women who have been diagnosed with ovarian cancer
   following their prolonged use of talcum powder for feminine hygiene. He serves as lead counsel
   in Carl v. Johnson & Johnson, et al., the first talc case to be scheduled for trial in New Jersey
   state court. In addition, Mr. Golomb has lectured at numerous educational seminars to attorneys
   around the country on the subject of this litigation.

   Mr. Golomb currently serves in leadership positions in a number of current MDLs and
   coordinated matters representing individuals in pharmaceutical mass tort cases. For example,
   Mr. Golomb has been appointed by the Court as Liaison Counsel for Plaintiffs in In Re: Benicar
   (Olmesartan) Products Liability Litigation (MDL No. 2606) currently pending in the United
   States District Court for the District of New Jersey. Mr. Golomb was appointed to the Plaintiffs
   Steering Committee and took an active role in In Re: Fresenius Granuflo/Naturalyte Dialysate
   Products Liability Litigation (MDL No. 2428). Also, in In Re: New England Compounding
   Pharmacy, Inc. Products Liability Litigation (MDL No. 2419) Mr. Golomb was appointed by the
   Plaintiffs’ Executive Committee as Chair of the New Jersey Litigation Committee.

   With respect to class action matters, Mr. Golomb has served on the Bank Overdraft MDL
   executive committee which, to date, has recovered more than $1.3 billion dollars for consumers
   charged excessive overdraft fees through the re-sequencing of their transactions. He has also
   served as co-lead in a number of class actions against most of the major national banks for the
   deceptive sales and marketing of their payment protection products. To date, through these class
   actions and representation of various states through their Attorneys General, bank and credit card
   companies have been made to pay over $200 million.

   An active member of the bar, Mr. Golomb has served as president of the Philadelphia Trial
   Lawyers Association and currently sits on the Board of Governors of the Pennsylvania
   Association for Justice (formerly the Pennsylvania Trial Lawyers Association). He also served as
   an officer of the American Association for Justice for three years. As a governor for the
   American Association for Justice, Mr. Golomb was twice recognized with the Distinguished
   Service Award and is a three-time recipient of the Weidemann-Wysocki Association’s Medal of
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   Honor. He was also awarded the Citation of Excellence by the American Association for Justice
   for his pro bono service in representing families victimized by the events of Sept. 11, 2001.
   Mr. Golomb was honored by the Pennsylvania Association for Justice with the Distinguished
   Service Award in 2010 for a career advocating for the rights of innocent victims and the lawyers
   who represent them. He has also served as a trustee of the Civil Justice Foundation, a fellow of
   the Roscoe Pound institute, as the American Association for Justice’s delegate to the Civil
   Justice Round.

   Additionally, Mr. Golomb served as an elected member of the Board of Governors of the
   Philadelphia Bar Association and as the chairman of that body’s State Civil Committee. He
   served two terms as a hearing officer for the Pennsylvania Supreme Court Disciplinary Board,
   and was a member of the Judicial Selection and Retention Committee for five years.
   Mr. Golomb is a frequent lecturer and author who addresses trial advocacy subjects for the
   plaintiffs’ and defense bar in areas such as expert witness preparation, evidence, cross-
   examination, ethics and subjects related to multi-district litigation.
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   Golomb & Honik, P.C. is a boutique Philadelphia law firm that is nationally recognized
   as having the intellect, persistence, experience, and resources to succeed in the most
   challenging cases. We serve clients nationwide in the following practice areas:

         Individual and Class Pharmaceutical Litigation
         Consumer and Securities Class Action Litigation
         Toxic and Environmental Mass Torts
         Toxic, Environmental, and Pharmaceutical Litigation
         Personal Injury

   Success In The Most Difficult Cases

   Over the last 25 years, Golomb & Honik has established a reputation for successfully
   representing those victimized by medical or other professional negligence, insurance or
   corporate wrongdoing, complex consumer and commercial transactions, significant
   highway and construction accidents and those injured by pharmaceutical drugs and
   medical devices. Many of our greatest successes have come from cases that other
   firms declined to handle because of the complexity or expense. With experience ranging
   from challenging environmental cases involving chemicals and other toxins, to the most
   difficult class action and medical cases, our team has the intellect, persistence,
   experience, and resources to produce unmatched results.

   Other lawyers turn to Golomb & Honik with their most important cases. Referrals are a
   pillar of our practice. Leading attorneys across the nation refer their complex personal
   injury, commercial, and toxic exposure cases to us—particularly those with a class
   action or multi-plaintiff component.

   A Focused Team

   At Golomb & Honik we take an entrepreneurial approach. Every representation
   undertaken by the firm receives the highest degree of attention, resources, and skill.
   Our boutique size means that we are selective in what we accept and that every client
   receives the hands-on attention of a senior partner.

   The lawyers at Golomb & Honik are very active in professional and charitable
   organizations; our partners have earned leadership positions in regional and national
   trial bars and professional associations. We regularly instruct other professionals
   through continuing legal education, and undertake pro bono work ranging from the
   representation of 9/11 victims to assisting local underprivileged clients through
   Volunteers for the Indigent Program.
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   Partner Profiles

         Richard M. Golomb

   Mr. Golomb is managing shareholder and a founding partner of Golomb & Honik, P.C.
   He has more than twenty-five years experience representing the catastrophically injured
   as a result of medical negligence, defective products and pharmaceuticals, construction
   accidents and other personal injury claims. For the past fifteen years he has
   represented victims of environmental exposures and wronged consumers in class
   action litigation.

   Early in his career, Mr. Golomb was an associate, and then shareholder, with a
   Philadelphia personal injury firm for eleven years before striking out on his own in 1996.
   Since 1998, Mr. Golomb has been a shareholder in Golomb & Honik, P.C. where he has
   served as lead or co-counsel in many cases which resulted in million and multi-million
   dollar verdicts and settlements for clients in individual and class action claims.

   An active member of the bar, Mr. Golomb has served as President of the Philadelphia
   Trial Lawyers Association; currently sits on the Board of Governors of the Pennsylvania
   Trial Lawyers Association; and served as an officer of the American Association for
   Justice (formerly ATLA) for three years. As a governor for the American Association for
   Justice, Mr. Golomb has twice been recognized with the "Distinguished Service Award",
   and was awarded with the “Citation of Excellence” by the American Association for
   Justice for his pro bono service representing families victimized by the events of
   September 11, 2001. Mr. Golomb also serves as a trustee of the Civil Justice
   Foundation, fellow of the Roscoe Pound Institute, and serves as the American
   Association for Justice Delegate to the Civil Justice Round Table. Additionally, he
   served as an elected member of the Board of Governors of the Philadelphia Bar
   Association; as Chair of that body’s State Civil Committee; has served two terms as a
   hearing officer for the Pennsylvania Supreme Court Disciplinary Board; and sat for four
   years on the Judicial Selection and Retention Committee.

   Mr. Golomb is a frequent lecturer and author who addresses trial advocacy subjects for
   the plaintiffs’ and defense bar in areas such as expert witness preparation, evidence,
   cross-examination and ethics.

         Ruben Honik

   Ruben Honik has nearly a quarter century of experience as a civil trial lawyer
   representing plaintiffs across a broad range of tort cases. A founding partner of Greitzer
   & Honik, Mr. Honik merged his practice with that of Richard Golomb (declared among
   the Top 10 lateral moves for the year by the Legal Intelligencer) in 1998 to form Golomb
   & Honik. While at the firm, and for many years before that, Mr. Honik has litigated cases
   involving defective products, medical and other professional negligence, civil rights
   violations, and vehicle and highway design defects. In the more recent past, Mr. Honik
   has developed a national practice representing victims of environmental harm,
   particularly those exposed to the toxin beryllium in residential and workplace settings.
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   In 2001, Mr. Honik was co-lead counsel in Cullen v. Whitman Education Group, a
   federal RICO class action certified in the Eastern District of Pennsylvania; it resulted in
   the largest settlement of its kind against a publicly traded national chain of trade
   schools. More recently, in Whisnant, et al. v. General Chemical Corp., Mr. Honik
   represented thousands of chemically exposed oil refinery workers in connection with
   individual and class claims certified for settlement in Delaware County, Pennsylvania.

   A past president of the Philadelphia Trial Lawyers’ Association and the Pennsylvania
   Trial Lawyers’ Association, Mr. Honik is a frequent lecturer. In addition, he was the long-
   time editor of The Verdict, the monthly newsletter of the Philadelphia Trial Lawyers'
   Association.

         Kenneth J. Grunfeld

   Ken joined Golomb & Honik in January, 2010 after many years defending
   pharmaceutical manufacturers, national railroads, asbestos companies and corporate
   clients in consumer protection, products liability, insurance coverage and other complex
   commercial disputes while working at one of Philadelphia’s largest and most prestigious
   defense firms. He brings with him a unique perspective and a wealth of trial and
   appellate work experience in both state and federal courts in cases brought by injured
   people, shareholders, State Attorneys General and the U.S. Attorney General’s Office.
   In one important personal injury case defending a major pharmaceutical company’s
   blockbuster medication, he successfully argued a summary judgment motion before the
   esteemed Hon. Jack B. Weinstein in the U.S. District Court for the Eastern District of
   New York, securing an early victory for his client and eliminating the need for a trial.

   Today his practice focuses on representing consumers and payors in class actions
   against pharmaceutical manufacturers, financial institutions like banks, credits card
   companies and insurers, consumer electronics companies and other national corporate
   defendants.

   Ken received his undergraduate degree in 1996 from the University of Michigan and his
   J.D. in 1999 from the Villanova University School of Law. He was a member of the
   Villanova Law Review and graduated Order of the Coif.

   Attorney Profiles

         Steven D. Resnick

   Mr. Resnick joined Golomb & Honik in January 2012. Prior to joining the firm, Mr.
   Resnick was an associate at Kessler Topaz Meltzer & Check, LLP, where his practice
   was concentrated in securities fraud and consumer class action litigation, as well as
   mass tort litigation.
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   Previously, Mr. Resnick was an associate at a Philadelphia law firm where he focused
   on general civil litigation, medical malpractice, products liability and premises liability
   claims. Mr. Resnick has also worked as a senior consultant for a class action claims
   administration company, where he provided advice and counsel to dozens of class
   action law firms regarding the resolution of class action cases and settlement
   administration programs.

   Mr. Resnick received his law degree from The Pennsylvania State University -
   Dickinson School of Law, and he earned his undergraduate degree cum laude from
   West Chester University. During law school, Mr. Resnick received the CALI Award for
   the highest grade point average in Immigration Law. Mr. Resnick is a member of the
   American Association for Justice and has served on the Board of Governors of the New
   Lawyers Division. Recently, Mr. Resnick was honored as a Rising Star by Pennsylvania
   Super Lawyers magazine.

          Tammi Markowitz

   Ms. Markowitz has extensive experience handling complex litigation matters, particularly
   mass torts, product liability, and class action litigation for an array of corporate clients.
    Prior to joining Golomb & Honik in 2012, Ms. Markowitz was an associate at Hoyle,
   Fickler, Herschel & Mathes LLP where she played an integral role in litigating products
   liability matters, coordinated discovery efforts on behalf of large class action defendants,
   and briefed significant issues of law at the trial and appellate level. Earlier in her career
   Ms. Markowitz represented pharmaceutical defendants at one of the country’s largest
   and most prestigious law firms.

   Ms. Markowitz graduated cum laude from Temple University School of Law and
   received her undergraduate degree summa cum laude from the University of South
   Florida. She sits on the Hearing Committee for the Disciplinary Board of the Supreme
   Court of Pennsylvania and is a member of the Philadelphia and Pennsylvania Bar
   Associations.

          David Stanoch

   David Stanoch focuses his practice on class actions and mass torts. He has extensive
   experience representing clients in complicated matters involving antitrust, consumer
   fraud, product liability, and white collar issues.

   Mr. Stanoch has developed significant expertise in conducting all aspects of discovery
   and substantive briefing. He has taken lead roles in deposing corporate and individual
   witnesses in federal litigations, expert preparation and depositions, and negotiating with
   government investigators. He has extensively briefed discovery and merits issues from
   the pretrial stage forward, and has made substantial contributions towards posturing
   cases for favorable settlements.
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   Prior to Golomb & Honik, Mr. Stanoch clerked for a federal district court judge, the Hon.
   James F. McClure, Jr. (dec.) (M.D. Pa.). He also practiced at Dechert LLP for nearly
   ten years. While there, he advised Fortune 50, 100, and 200 clients on matters
   pertinent to complex and multi-district litigation, federal and state government
   investigations, and regulatory matters. He has represented individuals and companies
   in many industries, including: banking and consumer finance, biologics, chemicals, food
   & agriculture, forest products, healthcare, mortgages, pharmaceuticals, and steel. Mr.
   Stanoch now brings his substantial industry and legal knowledge to bear on behalf of
   individuals who are fighting to vindicate there rights and interests.

   David graduated magna cum laude from Temple University School of Law, and received
   his undergraduate degree cum laude and general university honors from La Salle
   University. He is licensed to practice in Pennsylvania and New Jersey, and is admitted
   to practice before the U.S. Court of Appeals for the Third Circuit, the U.S. Court of
   Appeals for the Sixth Circuit, the U.S. District Court for the Eastern District of
   Pennsylvania, the U.S. District Court for the Middle District of Pennsylvania, and the
   U.S. District Court for the District of New Jersey.

           Benjamin Isser

   Benjamin Isser is an associate with Golomb & Honik, P.C. Prior to joining the firm, Mr.
   Isser served as a law clerk at Kline & Specter, P.C., where he worked extensively on
   mass tort litigation and personal injury claims.

   Mr. Isser earned his law degree from Drexel University’s Thomas R. Kline School of
   Law, where he served as an associate editor of the Drexel Law Review. While on law
   review, Mr. Isser co-authored an article examining the current state of work product
   protection between attorneys and experts in light of the Pennsylvania Supreme Court’s
   decision in Barrick v. Holy Spirit Hospital. Mr. Isser also received the CALI award for
   highest grade point average in his first year torts class and was subsequently selected
   to serve as a Dean’s Scholar, where he provided supplemental instruction to first year
   torts students.

   Mr. Isser is currently licensed to practice law in Pennsylvania and New Jersey.

   Staff

   We have a dedicated and experienced support staff here at Golomb & Honik. While our
   clients always get hands-on attention from attorneys, we understand that it takes a
   motivated and cohesive team to manage complex cases. A number of our clerks,
   paralegals and administrative assistants have over 20 years of legal experience,
   specializing in the areas of class action, mass tort, and personal injury litigation.
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   Representative Cases, Settlements, And Reported Decisions

         Bank Overdraft Litigation

   Golomb & Honik has brought a number of class action complaints filed in state and
   federal courts against state and national banks that have wrongfully employed unfair
   and illegal business practices in charging overdraft fees to dramatically increase the
   likelihood customers using debit, ATM, or check cards will overdraw their accounts and
   be assessed fees. We are also proud to serve as one of only a handful of firms to serve
   on the Plaintiffs’ Executive Committee in In Re: Checking Account Overdraft Litigation,
   MDL No. 2036, a coordinated, nationwide effort to bring to these banks to justice on
   behalf of millions of Americans that have paid billions of dollars in overdraft fees to
   banks. In the first overdraft case litigated, a judge ordered Wells Fargo to pay over
   $200 million to a class of injured California bank customers. Bank of America alone has
   agreed to settle with a nationwide class of plaintiffs for $410 Million, and the total
   recovery for consumers in the MDL is now over $1 Billion.

         Federal Express Class Action

   Golomb & Honik sued Federal Express in the United States District Court for the Middle
   District of Florida on behalf of over 200 truckers over wrongfully-terminated hauling
   contracts. Despite an express clause in the contracts, Federal Express failed to provide
   the truckers with proper notice of termination.

         In Re: Budeprion XL Marketing & Sales Litigation, MDL No. 2107

   Golomb & Honik brought a number of class action complaints filed in federal courts
   against the manufacturer and distributor of a generic version of a popular anti-
   depressant medication under the Consumer Protection Laws of California and other
   states. We also served as liaison counsel in an MDL proceeding in the United States
   District Court for the Eastern District of Pennsylvania. After United States District Judge
   Berle Schiller denied defendants’ Motion to Dismiss based on the preemption defense,
   and after plaintiffs fully briefed class certification, the parties reached a favorable
   settlement on behalf of the proposed class.

         Credit Card Payment Protection

   Golomb & Honik led a collaboration of firms bringing dozens of class action complaints
   filed in federal courts across the country against a number of credit card companies
   regarding “Payment Protection plans”, an add-on product of virtually no value,
   wrongfully marketed and sold to unsuspecting credit card holders. Nationwide
   settlements were reached in actions against at least five credit card companies resulting
   in over $130 million in settlements for class members. Golomb & Honik also served as
   Deputy Attorney General to a number of state’s Attorneys General bringing actions on
   behalf of their citizens against credit card companies regarding Payment Protection and
   other protection-type products, resulting in settlements of more than $65 million.
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          Barba, et al. v. Shire US, Inc., et al., No. 1:11-cv-21158 (S.D. Fla. 2011)

   Golomb & Honik was co-counsel for a putative class of indirect purchaser plaintiffs who
   paid artificially inflated prices for Adderall XR® due to Shire's reverse-payment patent
   settlements that delayed rival drugmakers' selling cheaper generic versions of the drug.
   Related cases were also filed in the United States District Courts for the Southern
   District of Florida, for the Eastern District of Pennsylvania, for the District of New Jersey,
   and the District of Massachusetts. In late 2015, we successfully obtained a Magistrate
   Judge's recommendation that the case merits class certification. Following full
   exchanges of trial exhibit and witness lists, the parties reached a favorable global
   settlement worth approximately $14.75 million. The settlement was finally approved on
   November 9, 2016.

          Refund Anticipation Loan Litigation

   Golomb & Honik served as co-lead counsel in litigation against national tax preparation
   companies regarding their marketing and selling various illegal loan products secured
   by individual’s tax refunds. These loans were sold in direct violation of a number of
   states’ laws specifically enacted to regulate this type of practice and to protect the rights
   of taxpayers. The cases were settled for more than $11 million.

          Ford Windstar Class Action

   Golomb & Honik represents a national consumer class of owners of approximately one
   million Ford Windstars. Ford designed, developed and installed defective rear axles for
   these vehicles, using an inexpensive, stamped metal product. Consumers purchased a
   vehicle that would literally fall apart before its normal useful lifetime. Indeed, there
   exists a real possibility that these axles could break while these vehicles, marketed
   specifically to families, are operated at highway speed, causing serious injury or
   fatalities. After Golomb and Honik filed this lawsuit, Ford instigated a recall of these
   vehicles to fix or replace the defective rear axles.

          Mattel Lead Paint Class Action

   Golomb & Honik successfully represented plaintiffs in nationwide class action litigation
   against a toy manufacturer distributing dangerous products to consumers. We served
   on the Plaintiffs’ Executive Committee and helped to negotiate a favorable settlement in
   plaintiffs’ actions seeking medical monitoring.

          Suzuki GSX-R1000 Motorcycle Class Action Settlement

   Golomb & Honik negotiated a confidential settlement on behalf of a class of more than
   26,000 members for damages allegedly caused from a design defect in the 2005 and
   2006 models of the "sport bike" motorcycles. After this lawsuit was brought, Suzuki
   initiated a voluntary safety recall to enhance the frame strength and safety. The United
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   States District Court for the Southern District of Florida -- Miami Division approved the
   settlement.

          In Re Sterling Financial Corporation Securities Class Action

   Golomb & Honik facilitated settlement of a multimillion dollar matter on behalf of
   thousands of investors who were injured as a result of alleged violations of federal law.
   In the summer of 2009, the United States District Court for the Eastern District of
   Pennsylvania created a $10.25 million settlement fund for the benefit of those investors
   who acquired stock from 2004 through 2007 at allegedly inflated prices. It was
   estimated that $13.5 million shares were damaged as a result of fraud.

          Cullen, et al. v. Whitman Medical Corporation d/b/a Whitman Education Group,
          Inc., et al., 197 F.R.D. 136 (E.D. Pa. 2000)

   Golomb & Honik represented current and former students who sued a national
   vocational school, alleging that they had been fraudulently misled as to the education
   they would receive. Golomb & Honik served as co-lead counsel in this groundbreaking
   consumer class action in which plaintiffs and absent national class members sought
   education from a publicly traded corporation in the field of diagnostic medical
   sonography. Golomb & Honik succeeded in demonstrating the chain of schools
   fraudulently misrepresented the nature of the ultrasound program and otherwise failed
   to provide the education represented. Students received federally guaranteed student
   loans but were largely unable to obtain promised jobs in their area of study. The school
   had no meaningful admissions criteria and often hired unqualified administrative and
   educational personnel. Field placements did not materialize, and students were
   unprepared to take qualifying exams. Students were stuck with loan repayments for
   which they received little or nothing in return. In approving certification of the class, and
   later the class settlement, the United States District Court said of counsel representing
   plaintiffs that “[t]he skill of each of these attorneys is reflected both in settlement and in
   the aggressive manner in which they pursued this litigation from start to finish.” Cullen,
   197 F.R.D. at 149. The Court noted in conclusion, “the highly skilled class counsel
   provided excellent representation both for named plaintiffs and absent class members.”
   Id. The class settlement of $7.3 million was the largest common fund of its kind.

          Whisnant, et al. v. General Chemical Corp., et al., No. 99-12286, Court of
          Common Please of Delaware County, Pa.

   Golomb & Honik successfully represented dozens of individual workers—and a class of
   more than 1,000 additional workers—in a case arising from ongoing occupational
   exposure to sulfur dioxide and sulfur trioxide in Delaware County, Pennsylvania. For
   more than a decade, workers at an oil processing facility were exposed to emissions of
   sulfur dioxide and sulfur trioxide gasses from a neighboring plant. Those emissions
   caused reactive airways disease and occupational asthma in many workers. In addition,
   many others were exposed and require medical monitoring to detect the potential onset
   of pulmonary disease. Following years of protracted litigation, and the bankruptcy of the
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   defendant polluter, Golomb & Honik achieved a multi-million dollar settlement against
   the bankrupt polluter, instead of the pennies on the dollar that many other creditors
   received.

         Debiec v. Cabot Corp., et al., 352 F.3d 117 (3d Cir. 2003)

   Golomb & Honik represented the plaintiffs in this seminal decision on the discovery rule
   and the statute of limitations in latent disease cases involving beryllium exposure.
   Summary judgment was overturned resulting in multi-million dollar settlements for
   estates of victims, the first of numerous cases for this affected community of exposed
   persons.

         $1.5 Million for Estate of 9/11 Victim

   On September 11, 2001, a motivational speaker giving a speech in the World Trade
   Center was one of the thousands who lost his life after airplanes struck the twin towers
   in a terrorist attack. In response to that tragic day, the Association of Trial Lawyers of
   America created Trial Lawyers Care (TLC). TLC was a group of more than 2,000
   lawyers from across the country who, on a pro bono basis, represented the victims of
   9/11 and their families as they negotiated a complicated compensation system
   established by Congress. Golomb & Honik lawyers had the privilege of representing the
   motivational speaker’s family in this process—compiling hundreds of pages of
   documents, completing the extensive forms necessary to obtain an “award” through the
   compensation system, hiring economic experts, and attending a hearing in New York.
   His family received more than $1.5 million.

         Additionally, Golomb & Honik has received more than 100 verdicts or
   settlements in excess of $1 million for their clients in individual cases.
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                        Exhibit 14
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 7

 8
                          UNITED STATES DISTRICT COURT
 9
                             DISTRICT OF NEW JERSEY
10
     IN RE: JOHNSON & JOHNSON   ) CASE NO: MDL No. 2738
11
     TALCUM POWDER PRODUCTS )
12   MARKETING, SALES PRACTICES ) APPLICATION FOR
13
     AND PRODUCTS LIABILITY     ) APPOINTMENT OF COUNSEL TO
     LITIGATION                 ) THE PLAINTIFFS’ EXECUTIVE
14
                                ) COMMITTEE
15   This document relates to:  )
     ALL CASES                  ) Judge Freda L. Wolfson
16
                                )
17                              )
18
                                )
                                )
19                              )
20

21
           NOW INTO COURT comes Richard D. Meadow, and The Lanier Law
22
     Firm, pursuant to Order No. _1_, and respectfully files the within application for
23
     appointment to the Plaintiffs’ Executive Committee.
24
           Along with other counsel from The Lanier Law Firm, I have engaged in
25
     multiple and meaningful conversations with Counsel that are applying for lead
26
     counsel within this MDL, and I have participated in conferences concerning their
27

28



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 1   anticipated proposed structure. This application is therefore submitted in support
 2   of Co-leads’ application.
 3         I spearheaded the formation of The Lanier Law Firm’s New York office in
 4   2004 (hereinafter, “LLF”), where I served as the firm’s Managing Attorney for 11
 5   years. After successfully helping to lead and build LLF’s New York office, and its
 6   Pharmaceutical and Medical Device Mass Torts practice, I moved to the Houston
 7   office of LLF in December of 2015 to oversee our firm’s national mass tort
 8   practice and to work alongside our firm’s founder, W. Mark Lanier.
 9         This application will address the criteria that Courts have identified as
10   relevant for consideration of applications for leadership appointments, and will
11   conclude by addressing my extra-curricular work.
12                                      Introduction
13         I proudly apply for consideration to be appointed to a leadership role within
14   the Talc litigation with the same dedication and commitment that has made LLF
15   one of the most successful and sought-after trial practices in the country. For
16   nearly twenty (20) years, LLF has provided sound legal representation to
17   thousands of individuals, families and businesses in matters concerning serious
18   personal injuries and complex commercial disputes.
19      a. Overview of The Lanier Law Firm
20         In 1990, W. Mark Lanier founded LLF as a two-attorney firm in Houston,
21   Texas. Today, LLF is composed of forty-eight (48) attorneys, with more than one
22   hundred (100) support staff, with offices located in Los Angeles, Houston, and
23   New York City. Our primary goal has always been to provide the highest quality
24   legal care in an honest, ethical, and professional manner. That goal is shared
25   throughout the entire LLF organization, and it has been a significant component to
26   LLF’s continued success.
27         LLF’s New York and Los Angeles offices have played, and will continue to
28   play, a critically important role in this litigation. Although LLF was founded in

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 1   Houston, we have invested tremendous resources and technology into creating a
 2   seamlessly-integrated nationwide infrastructure. As a result, our New York office,
 3   which is in such close proximity to this Honorable Court, is at all times supported
 4   by the full, nationwide resources of the Lanier Law Firm.
 5   I have played a significant role in many pharmaceutical, medical device and
 6   product liability MDL litigations, serving either on the PEC, PSC or in other
 7   leadership roles in: IN RE: Bextra and Celebrex Liability Litigation, MDL 1699,
 8   N.D.CA.; IN RE: Zyprexa Litigation, MDL 1596, E.D.N.Y.; IN RE: Levaquin
 9   Litigation, MDL 1943, D.MN. (Co-Liaison); IN RE: Heparin Litigation, MDL
10   1657, N.D.OH.; IN RE: Zimmer NexGen Knee Implant Products Liability
11   Litigation, MDL X, N.D. IL.; IN RE: Yasmin Litigation, MDL 2100; IN RE:
12   Ethicon, Inc., Pelvic Repair System Products Liability Litigation, MDL 2327,
13   S.D.W.V.; IN RE: Boston Scientific Corp. Pelvic Repair System Products
14   Liability Litigation, MDL 2326, S.D.W.V.; IN RE: American Medical Systems,
15   Inc., Pelvic Repair System Products Liability Litigation, MDL 2325, S.D.W.V.
16          LLF has also maintained leadership roles in many State Court mass tort
17   litigations, as well as has litigated substantial dockets in many other mass tort cases
18   not listed.
19          In short, as further reflected throughout the remainder of this application,
20   LLF spares no expense when it comes to hiring and staffing our cases with the
21   legal talent required to provide our clients, our co-litigants, and the Courts, with
22   top-notch work product.      Our work product in this litigation will reflect that
23   philosophy.
24      b. Personal Experience and Honors
25          I am licensed to practice law in New Jersey, New York, Pennsylvania, , and
26   multiple federal courts throughout the nation including this Honorable Court. I am
27   a member in good standing of the New York and New Jersey and Pennsylvania
28



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 1   State bars and I have never been suspended, placed on inactive status or
 2   reprimanded.
 3         I bring to the Talc litigation significant pre-trial and trial-related MDL mass
 4   tort experience that our firm has historically been involved in. I have been honored
 5   to have been recognized by my peers and to have been named a New York
 6   SuperLawyer (Mass Torts) from 2009 through 2015.
 7   c.    LLF’s Recent MDL Leadership, Mass Tort,
 8         Product Liability & General Litigation Experience
 9         LLF has substantial experience representing numerous clients in mass tort
10   proceedings throughout the nation, including:
11                 IN RE: Vioxx Marketing, Sales Practice and Products Liability
12                Litigation, MDL 1657, E.D. La.;
13             IN RE: Bextra and Celebrex Marketing, Sales Practices and Products
14                Liability Litigation, MDL 1699, N.D. Ca.;
15             IN RE: Zyprexa Products Liability Litigation, MDL 1596, E.D.N.Y.;
16             IN RE: Avandia Marketing, Sales Practices and Products Liability
17                Litigation, MDL 1871, E.D. Pa.;
18             IN RE: Neurontin Marketing, Sales Practices and Products Liability
19                Litigation, MDL 1629, D. Ma.;
20             IN RE: Levaquin Products Liability Litigation, MDL 1943, D. Mn.;
21             IN RE: Heparin Products Liability Litigation, MDL 1657, N.D. Oh.;
22             IN RE: Digitek Products Liability Litigation, MDL 1968, S.D.W.V.;
23             IN RE: Fosamax Products Liability Litigation, MDL 1789, S.D.N.Y.;
24             IN RE: Chantix (Varenicline) Products Liability Litigation, MDL
25                2092, N.D. Al.;
26             IN RE: Trasylol Products Liability Litigation, MDL 1928, S.D. Fl.;
27             IN RE: Viagra Products Liability Litigtion, MDL 1724, D.MN.; and
28



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 1              IN RE: Gadolinium Contrast Dyes Products Liability Litigation, MDL
 2                 1909, N.D. Oh.
 3          I have also been involved in State Court litigation concerning the drugs
 4   Vioxx® (Atlantic County, NJ), Bextra®/Celebrex® (New York County, NY),
 5   Avandia® (Philadelpia County, PA), Neurontin® (New York County, NY),
 6   Levaquin® (Atlantic County, NJ), Chantix® (pending in New York State), Ortho
 7   Evra® (Middlesex County, NJ), and Yasmin® (Bergen County, NJ).
 8          From a historical perspective, LLF began its prominence in the field of mass
 9   tort pharmaceutical litigation when our firm was the lead trial counsel responsible
10   for trying the liability case against Merck in three of the five trials in which juries
11   found for plaintiffs.    Indeed, LLF was the first law firm in the nation to
12   successfully try a case against Merck concerning the drug Vioxx®. The result was
13   a record-setting $253 Million verdict in favor of the Plaintiff. Thereafter, LLF
14   successfully tried the liability portion of two additional Vioxx® cases in the State
15   of New Jersey, which further paved the way for a $4.85 Billion nationwide
16   personal injury settlement. Merck won defense verdicts in eleven of the thirteen
17   trials that LLF did not try. Had Merck continued to win every trial, the largest
18   single national settlement in the history of mass tort litigation would either not
19   exist, or it would undoubtedly have been far less favorable to plaintiffs.
20          More recently, LLF achieved a record $9.2 billion verdict in the Actos MDL
21   litigation.   W. Mark Lanier put on every liability witness throughout that
22   successful trial.   Although that verdict was substantially reduced, it played a
23   significant role in causing the defendant to arrive at a national settlement program
24   to resolve all then-existing and qualifying cases within the MDL, and
25   encompassing all state court litigation. LLF played a lead role in the creation and
26   negotiation of the $4.3 billion national settlement program. Further, throughout
27   the past two years, LLF has been leading the Pinnacle Hip Implant MDL in the
28   Northern District of Texas, where W. Mark Lanier is currently in the midst of our

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 1   nation’s third MDL trial. The last trial ended with a plaintiffs’ verdict in the
 2   amount of $502 million. W. Mark Lanier put on every liability witness at that
 3   successful trial.
 4          It is now LLF’s intention to bring the very same level of commitment to this
 5   MDL, so that all plaintiffs before this MDL that allege to have gotten ovarian
 6   cancer as a result of talc use, can one day receive recompense for their injuries.
 7

 8
     I.     LLF Has Demonstrated Knowledge and Experience
            Prosecuting Complex Litigation, Including Class Actions
 9
            LLF’s involvement in numerous complex and massive MDL litigations
10
     underscores our dedication, acumen, and willingness to participate in leading the
11
     prospectively complex Talc litigation in all respects.
12
            The resources and aptitude that LLF brings to litigation are significant. In
13
     2002 – years before Merck pulled Vioxx® from the market, and years before most
14
     other firms in the country ever began working on Vioxx® litigation – LLF began
15
     prosecuting Vioxx-related personal injury actions. LLF continued its leadership
16
     role by trying the first Vioxx® case, Ernst v. Merck & Co., Inc., resulting in a $253
17
     million verdict. The Ernst case took a year to prepare (including multiple mock
18
     trials done in-house, meaning no expenses for a jury consulting firm were ever
19
     charged); it took eight weeks to try; it cost several million dollars; and, it provided
20
     a road map with arguments and testimony used by nearly every firm that
21
     eventually tried a Vioxx® case. The momentum and press attention against Merck
22
     as a result of LLF’s success was substantial. Since that victory, LLF has invested
23
     several million dollars spearheading various other MDL litigations, including,
24
     specifically, the Actos and Pinnacle Hip Implant MDL litigations.
25
            In addition to our single-plaintiff and multi-plaintiff complex commercial
26
     litigations, during the past years, LLF has gained significant experience in
27
     traditional class action work.
28



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 1
     II.    LLF Is Willing and Able to Commit
            Significant Time to the Talc Litigation
 2

 3          Again, the best example of LLF’s ability and willingness to devote
 4   significant time and personnel to the Talc Litigation is exemplified by our past
 5   conduct, rather than by words. In addition to what has been addressed concerning
 6   our role in the Vioxx® litigation, the Actos litigation, and the DePuy Pinnacle
 7   litigation, it is also important to note that LLF incurred significant time, labor and
 8   financial risk prosecuting all of the aforementioned cases. Throughout that time,
 9   LLF invested tens of thousands of hours and willingly placed many millions of
10   dollars at risk to fund costly pre-trial discovery and numerous trials.        LLF’s
11   significant commitment of time included: (a) prosecuting numerous trials with
12   national implications; (b) engaging in extensive discovery, including the review
13   and analysis of countless pages of discovery and the creation of trial exhibit lists
14   which served as an outline for future trials; (c) retaining and collaborating with
15   significant medical experts; (d) taking key depositions of the defendants’ most
16   senior employees who have historically been involved in the production, marketing
17   and labeling associated with the subject products; (e) working with top experts in
18   the relevant medical, scientific and engineering fields, who want to work with our
19   firm; (f) briefing countless motion oppositions; and (g) corresponding and meeting
20   with counsel and with the Court.
21          LLF is committed to this litigation. We have filed hundreds of cases in the
22   State of Missouri 22nd Circuit Court, City of St. Louis. LLF is anticipated to try
23   its first case in Missouri on July 10, 2017.
24   III.   LLF Is Able to Work Cooperatively With Others
25          I have consistently proven my ability, and the general ability of all attorneys
26   at LLF, to work cooperatively and obtain consensus. This is evidenced by my
27   repeated appointments to key leadership positions within various mass tort MDL
28   litigation and/or the liaison leadership roles that I have performed in state-wide

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 1   coordinated litigation. Additionally, our firm’s ability to work well with others
 2   within leadership structures is evidenced by the numerous significant settlements
 3   and jury verdicts that we have achieved within cases that LLF has co-counseled
 4   with many other attorneys across the United States and/or for which LLF has led
 5   trials within MDL litigation, or coordinated state litigation trial efforts.
 6

 7
     IV.   LLF Is Willing and Able to Commit Significant Personnel
           and Funding to Prosecute the Litigation In a Timely Manner
 8

 9         LLF is willing and able to commit significant personnel and funding to help
10   lead the prosecution of the Talc litigation against Defendants. Here again, our
11   ability to commit significant resources to this litigation is best exemplified by what
12   what our firm has done in the past, rather than what I will say my firm will do.
13

14   V.    LLF’s Fee Proposals, Rates & Common Fund Framework
15         Ultimately, the consumers and the injured parties must receive the lion’s
16   share of any ultimate recovery in this litigation and the lawyers should be awarded
17   reasonable fees based upon their relative contributions.            If appointed to a
18   leadership position within the Talc litigation, LLF is committed to arrive at a fair
19   fee application, including, but not limited to, working with the Court to address a
20   reasonable common benefit fee structure that the Court may seek to impose.
21

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 1           WHEREFORE, I respectfully request appointment as Counsel in MDL No.
 2   2738.
 3

 4   Dated: November 15, 2016
 5                                                THE LANIER LAW FIRM, PC
 6

 7
                                                  /s/ Richard D. Meadow
 8                                                RICHARD D. MEADOW, Esq.
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                        Exhibit 15
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    HUNTER J. SHKOLNIK APPLICATION FOR APPOINTMENT TO THE PLAINTIFFS’
     EXECUTIVE COMMITTEE IN RE: JOHNSON & JOHNSON TALCUM POWDER
                   PRODUCTS MARKETING, SALES PRACTICES
               AND PRODUCTS LIABILITY LITIGATION MDL No. 2738

        Our office represents 1500 women who have been diagnosed with ovarian cancer and were

  users of products containing talc manufactured and distributed by the Defendants. I submit this

  application in support of the leadership structure and slate proposed by Michelle A. Parfitt and

  Leigh O’Dell to lead this complex mass tort. As if often the situation in “mega” mass tort cases

  such as the talc litigation many highly experienced and well financed law firms seek leadership and

  often this is a battle of wills. However, the later is not the case here. Ms. Parfitt and O’Dell have

  adeptly put together a group of otherwise competing firms into a uniform structure which will allow

  the Talc MDL to be staffed adequately and financed appropriately to compete on an equal footing

  with the teams of lawyers put forth by the various defendants. The Co-Lead Counsel with a smaller

  Executive Committee and a larger PSC structure has been used successfully in many Mega MDL’s.

  Most recently Judge Doherty in In Re: Actos Product Liability Litigation MDL: 2299           appointed

  the exact type of structure suggested here and was able to bring the MDL to conclusion in less than

  3 years. The large leadership structure provided the resources needed to move the case along

  aggressively against two major pharmaceutical companies.

        Currently, I am acting as the coordinating counsel in the Plavix Litigation pending before this

  Court, where my Partner Shayna Sacks is Liaison Counsel, (In Re: Plavix Marketing, Sales

  Practices, and Products Liability Litigation MDL No. 2418), as well as, in the Courts of the states of

  New York, Delaware & California. As correctly pointed out by the Court at the November 17, 2016

  Talc CMC the Plavix leadership is comprised of a very small group of lawyers and no Plaintiff

  Steering Committee. The Court questioned the need of anything more than that here. As a member
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  of the Plavix leadership team and the partner of the Court appointed Liaison Counsel I am able to

  explain how this litigation is quite different. First and foremost, there is simple no other firms with

  cases to work on the Plavix litigation than the small group before the court. As was pointed out to

  the JPML in Plavix, the small group of lawyers were all working together from the inception of the

  litigation and were a de facto leadership group ie I was leading the California JCCP cases; Ms.

  Sacks and Mr. Salim were leading the MDL proceeding; the Parker Waichman firm was leading the

  New York cases and I was overseeing the Cook County and Delaware State Court litigations; and

  the State Attorney General cases were moving on their own track but coordinating with us for the

  most part. Here the larger proposed structure brings the similar approach but on a grander scale

  thereby tying those disparate groups together under the control of the MDL court and ensuring

  coordination and cooperation.

        I am a founding Partner at Napoli Shkolnik PLLC (NS), a law firm with over 200 employees,

  55 lawyers, and offices in New York, New Jersey, Pennsylvania, Illinois, California, Delaware,

  Texas, and Florida. We are recognized nationally for handling complex product liability and other

  significant class action and mass tort actions. NS is heavily involved in litigations requiring client

  representation all over the country, for drug, product and other toxic exposures; as well as consumer

  class actions. I personally have presented and published extensively in such areas as class actions,

  ethics in class actions, toxic tort, trial practice, drug and medical device litigation, medical

  malpractice, automobile, substantial truck product liability, expert witness preparation and Daubert

  hearings.

        I have had the privilege of serving as court-appointed Co-Lead Counsel, Liaison Counsel,

  National Settlement Counsel and as a member of the Plaintiffs’ Steering and Executive Committees

  in many complex multidistrict proceedings in the United States, including those described in
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  greater detail in the list of cases attached as Exhibit “A”. From these experiences I have learned

  how important it is to have strong leadership, supported by a diverse steering committee, with

  highly skilled lawyers with the knowledge and skill set to address the demands and challenges

  presented in massive litigations like the present action. Moreover, I understand the importance of

  having, not only first-rate legal minds, as well as seasoned and respected leaders, but top notch

  lawyers who will accept any assignment.

        It would be my privilege to apply my experience to the plaintiffs’ common benefit here, and, if

  appointed, I will commit my personal and firm’s time and resources to so serve. I would welcome

  the opportunity to serve as a member of the Plaintiffs’ Executive Committee.

        As Exhibit “A” shows, I personally am, or have been, a court appointed member of the

  Plaintiffs Steering Committee, Liaison and/or a Lead Counsel in various drug product liability, class

  action and other mass tort litigation areas. I have been appointed by state and federal courts

  throughout the country to serve in leadership capacities, including lead counsel, settlement counsel

  and executive committee member. This includes over 5 high-profile MDLs. I have been appointed

  to MDL trial teams, MDL negotiating teams and participated in negotiating over $2 billion in MDL-

  related settlements. I have also been appointed to a variety of MDL Federal and MDL State

  Coordination Committees. These appointments and opportunities have provided me with the

  knowledge and ability to be a useful member of the Plaintiffs’ Steering Committee in this litigation.

        In the last two and half years I have been appointed Lead or Co-Class Counsel in 4 diverse

  class actions: (1) In Re: Daily Fantasy Sports Litigation, a consumer class action for damages

  arising out of improper or illegal conduct by the nation’s two largest operators of online daily

  fantasy sports contests; (2) Sterling, et al. v. Stratfor Enterprises, LLC, et al., a consumer class

  action for damages arising from Defendants’ failure to secure its computer storage systems to
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  protect Defendant Stratfor’s users’, subscribers’, and those persons and entities that provided

  Defendant Stratfor with personal and financial information; (3) Hernandez-Ortiz, et al. v. 2 Gold,

  L.L.C., et al., a class action alleging that Defendants caused Plaintiffs damages due to Defendants’

  failure to exercise due care to adequately secure Premises before Hurricane Sandy; (4) Carolyn

  Roberts, Alexander Wood and Mayer & Lee, P.C. v. Ocean Prime, LLC, a class action alleging that

  Defendants caused Plaintiffs damages due to Defendants’ failure to exercise due care to adequately

  secure, Premises before Hurricane Sandy; In Re: Taxotere (Docetaxel) Products Liability Litigation,

  appointed to Plaintiffs Steering Committee a product liability mass tort alleging that cancer victims

  that used the defendants products were left with permanent hair loss; In Re: Edgewell Consumer

  Products Litigation, appointed interim co-lead counsel in a consumer class action arising from a

  suntan lotion manufacturer falsely labeling the SPF factor its products.

        I have a proven track record of working well with others in the many Class and Mass Torts

  Actions where I have been appointed as either Lead Counsel and/or to the Plaintiffs Steering

  Committee, and in many cases various sub-committees. As the extensive list of cases set forth in

  Exhibit “A” reveals, I have served in every level of the MDL structure, from my early days doing

  document review, to leading discovery committees, science committees, deposition teams,

  bellwether trial selection teams, trial teams, as well as serving as national settlement counsel. This

  vast experience of working within complex MDL structures and very different leaderships allows

  me to bring a wealth of knowledge that is needed in this litigation. I am further willing to commit

  the necessary resources to assist Lead Counsel in pursuing this litigation at an expeditious pace. I

  believe that without exception, I have succeeded in maintaining the highest standards of decorum,

  cooperation and collegiality among plaintiff and defense counsels alike. Should the Court so desire,

  I would be pleased to provide a list of co-counsel and defense counsels who will vouch for my
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  professionalism and ability. I represent to the Court that my firm possesses ample resources, in

  terms of personnel and funding, to prosecute this case in a timely and efficient manner.

        Over the course of 30 years of practice I have the opportunity to teach, lecture and write on

  various topics related trial practice, class actions, mass tort, ethics, product liability, complex

  litigation, etc. These important opportunities have helped me develop a very pragmatic outlook on

  complex litigation and the need to effectively, economically and expeditiously litigate and resolve

  very complex matters. I believe these characteristics will be important in bringing this case to

  resolution.



                                                                Respectfully Submitted,


                                                                 /s/ Hunter Shkolnik
                                                                 Hunter J. Shkolnik
                                                                 NAPOLI SHKOLNIK PLLC
                                                                 360 Lexington Avenue, 11th Floor
                                                                 New York, New York 10017
                                                                  (212) 397-1000
                                                                  hunter@napolilaw.com
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                                       HUNTER J. SHKOLNIK

                                COURT APPOINTED LEADERSHIP
                                         POSITIONS

       In Re: New York Diet Drug/Phen Fen Litigation; Plaintiffs Steering Committee and as

           Co-Lead counsel (Justice Helen Freedman) (retired) (t: 212-751-2700);

       In Re: New York Sulzer Inter Op Hip and Knee Implant Litigation; Plaintiffs Steering

           Committee and as Lead counsel; Plaintiffs' Steering Committee Member, Trial, Expert,

           Discovery Sub Committees and Co-Lead Trial Team (Justice Helen Freedman) (retired)

           (t: 212-751-2700);

       MDL No.05-1708 In Re: Guidant Corp. Implantable Defibrillators Products Liability

           Litigation; Plaintiffs Steering Committee Member- C o - L e a d T r i a l T e a m , Strategic

           Planning, Expert and Discovery Subcommittees (Honorable Donovan Frank) (t: 651-

           848-1290);

          MDL N o . 05-1726 In Re: Medtronic INc.; Plaintiffs Steering Committee, (Honorable

           James M. Rosenbaum) (retired) (t: 612-332-8225);


       MDL No. 1785 In Re: Bausch & Lomb, Inc., Contact Lens Solution Product Liability

           Litigation; Appointed State Federal Liaison Counsel, (Honorable David C. Norton) (t:

           843-579-1450);

          In Re: New York Consolidated Bausch & Lomb Contact Lens Solution Litigation.

           (Justice Helen Freedman) (retired) (t: 212-751-2700); Plaintiff Steering Committee and

           Lead trial attorney for the first scheduled bellwether trials; Plaintiffs Steering

           Committee; State Federal Liaison Counsel;

       In Re: Medtronic, Inc., Sprint Fide/is Leads Product Liability Litigation, MDL No.
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          08-1905 (Dist. Minn.); Plaintiffs Steering Committee (Honorable Richard H.

          Kyle) (651-848-1162);

       In Re: PepsiCo. Inc., Bottled Water Marketing and Sales Practices Litigation, MDL

          No. 08-1903); Plaintiffs Steering Committee (Honorable Cathy Seibel) (t: 914-390-

          4077);

       In Re: Pom Wonderful Sales and Marketing Practices Litigation, MDL No. 10-2199;

          Plaintiffs Liaison Committee for Personal Injury and Wrongful Death (Honorable Dean

          D. Pregerson) (t: 213-894-3913);

         In re: Toyota Motor Corp.Unintended Acceleration Marketing,Sales Practices, and

          Products Liability Litigation, MDL 2151 (Plaintiffs Steering Committee) (Honorable

          James V. Selna) (t: 714-338-2848)

       In Re: Kaba Simplex Push Button Lock Sales and Marketing Litigation, MDL No.

          2220;(EDOH); Co-Lead Counsel (Honorable Donald C. Nugent) (t: 216-357-7160);

       In Re: Fleet Oral Sodium Phosphate Solutions Litigation, MDL No. 2066 (NDOH);

          Co-Lead Counsel (Honorable Dan A. Polster) (t: 216-357-7190);

       In Re: Nuvaring Products Liability L i t i g a t i o n , MDL NO. 1964 (MOED); Co-Lead
      Counsel (Honorable Rodney W. Sippel) (t: 314-244-7430);

       In Re: Zimmer NexGen Knee Implant Products Liability Litigation: MDL No. - 2272

          (NDill); P l a i n t i f f S t e e r i n g C o m m i t t e e (Honorable Rebecca R. Pallmeyer) (t: 312-
          435-5636)

       New Jersey Nuvaring Products Liability Consolidated Mass Tort Litigation;
         Liaison Counsel (Honorable Brian R. Martinotti) (t: 210-527-2385);

       New Jersey Metaclopromide            (Reglan) Product Liability Consolidated             Mass Tort
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           Litigation; Plaintiffs Steering Committee (Honorable Carol Higbee) (t: 609-343-2190);

       MDL- 2244 In Re: DePuy Orthopaedics. lnc., Pinnacle Hip Implant Products

           Liability Litigation; P laintiff Steering Committee (Honorable James Edgar Kinkeade) (t:

           214-753-2720);

         MDL No.2319,        In Re: Bayer Healthcare LLC and Merial Limited Flea Control

           Marketing and Sales Practices Litigation (Nd. Ill) (Honorable Dan A. Polster) (t:

           216-357-7190);

       In re: Incretin Mimetics Product Liability Litigation MDL No.1331;(Co-Lead

           Counsel) (Honorable Maurice M. Paul) (t: 352-380-2415);

         In Re: Nuvaring Products Liability L i t i g a t i o n , MDL NO. 1964 (MOED) (National

           Settlement Counsel) (Honorable Rodney Sippel) (t: t: 314-244-7430);

          In Re: Pradaxa (Dabigatran Etexilate) Products Liability Litigation, MDL No. 2385

           (National Settlement Committee) (Honorable David R. Herndon) (t: 618-482-9077)

          Sterling, et al. v. Stratfor Enterprises, LLC, et al., Eastern District of New York 2:12-cv-

           00297; Lead Class Counsel; (Honorable Judge Denis R. Hurley) (t: 631-712-5650);

          Hernandez-Ortiz, et al. v. 2 Gold, L.L.C., et al., Supreme Court of the State of New York,

           Index No. 158155/2012; Lead Class Counsel; (Honorable Ellen M. Coin) (t: 646-386-

           3875);

          Roberts, et al. v. Ocean Prime, LLC, et al., Supreme Court of the State of New York,

           Index. No. 150612/2013; Lead Class Counsel; (Honorable Manuel J. Mendez) (t: 646-

           386-5705);

          In Re: American Medical Systems, Inc., Pelvic Repair Systems Products MDL No. 2325,

           Liability Litigation; Plaintiffs Steering Committee; (Honorable Joseph Goodwin)

          In Re: Daily Fantasy Sports Litigation MDL No. 2677, Co-Lead Counsel; (Honorable
           George A. O’Toole )

          In Re: Edgewell Personal Care Products Litigation Case No. 16 Civ. 5036 Interim Co-
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          Lead Counsel (EDNY Roanna Mann USMJ)

         In e Taxotere (Docetaxel) Products Liability Litigation MDL No. 2740, Plaintiff Steering
          Committee ( Kurt D. Englehart)
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                        Exhibit 16
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   Laurence S. Berman, Esquire
   LEVIN FISHBEIN SEDRAN & BERMAN
   510 Walnut St., Suite 500
   Philadelphia, PA 19106

           Mr. Berman is a Philadelphia native who attended Central High School and then Temple
   University for both his undergraduate and law degrees. He obtained his undergraduate degree
   (B.B.A.) at the Fox School of Business, graduating magna cum laude in 1974 and as a member
   of Beta Gamma Sigma National Honor Society, and obtained his juris doctor degree from
   Temple University Law School in 1977. He was admitted to the bar in 1977 and is admitted to
   practice before the Pennsylvania state courts, the U.S. District Courts for the Eastern and Middle
   Districts of Pennsylvania and the U.S. Courts of Appeals for the Third, Fourth and Seventh
   Circuits.

         Following his graduation from law school, he was a judicial clerk for two years with the
   Honorable Charles R. Weiner, of the United States District Court for the Eastern District of
   Pennsylvania until 1980, when he began a private practice of law.

            In 1982, Mr. Berman joined the law firm of Levin & Fishbein as an associate and became
   a partner in 1985 when the firm name was changed to Levin, Fishbein, Sedran & Berman
   (“LFSB”). Mr. Berman has had extensive experience in litigating and managing complex
   litigation.

          In the early 1980’s he became a member of the discovery, law and trial committees of In
   re: Asbestos School Litigation, Master File No. 83-0268 (E.D. Pa.). As a member of those
   committees, he drafted discovery and legal briefs that lead to the successful resolution of the case
   on behalf of a nationwide class of schools seeking recovery of damages for the costs and expenses
   they were required to expend to assess the presence of asbestos in school buildings and to
   remediate under newly enacted rules and regulations of the Environmental Protection Agency,
   promulgated in the 1970’s. In connection with that litigation, he was one of the architects of
   approaching class certification issues for a nationwide class by the use of a “50” state analysis of
   the law, in order to demonstrate the similarity of laws and therefore the manageability of a
   nationwide class action. The “50” state approach has been followed in other cases.

           During the early stages of his career, he litigated numerous environmental class/mass tort
   cases to successful conclusions. An example would be his litigating a lead contamination case for
   the residents of a community in the Port Richmond area of Philadelphia, where he drafted the legal
   briefs and presented the oral argument to obtain class certification of a property damage and
   medical monitoring class against NL Industries and Anzon. That litigation produced a multi-
   million-dollar recovery for the residents in the class area. Another example would be his
   representation of homeowners located near Ashland, Kentucky for environmental pollution
   damage. This case involved representing approximately 700 individual clients for personal injury
   and medical monitoring relief which also resulted in a multi-million-dollar recovery for his clients.
   There are many other examples of similar cases that he litigated in his early stages of his career
   for victims of mass environmental torts that produced multi-million dollar recoveries.
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           Beginning in the 1990’s Mr. Berman began his representation of victims of the Three Mile
   Island accident. The firm represented approximately 2,000 plaintiffs in that matter, and Mr.
   Berman was responsible for the legal briefing and experts in the case, along with addressing
   Daubert issues. When that case was commenced, Daubert had not yet been decided and the
   governing standard of law was Frye. However, during the course of the Three Mile Island case,
   Daubert was decided and Mr. Berman was called upon by the presiding Court (Middle District of
   Pennsylvania) to litigate one of the first Daubert hearings conducted. The Three Mile Island
   Daubert hearings involved approximately ten full weeks of in court live hearings, and thousands
   of pages of legal briefing. Ultimately the trial court determined that the expert witnesses offered
   by the plaintiffs did not meet the Daubert requirements, and an appeal was taken to the Third
   Circuit Court of Appeals, where Mr. Berman both briefed and argued the issues. The Third Circuit
   affirmed parts of the decision and remanded for further proceedings by the trial court.

          In 1989, Mr. Berman began his representation of approximately 1,000 plaintiffs who
   suffered damages as a result of the Exxon Valdez oil spill. In that role, he managed the claims of
   each of his firm’s clients and worked in the development of their expert evidence and claim
   materials. As a subset of that litigation, he handled the claims of the Native Opt-Out Settlement
   Class.

            While working on the Exxon Valdez matter, and as his involvement in the Three Mile
   Island was concluding, Mr. Berman began his role in litigating In re Diet Drugs, MDL 1203 (E.D.
   Pa.). The Diet Drugs case was commenced in 1997 and is still active to this date. Mr. Berman’s
   firm was appointed as co-lead counsel, co-class counsel and liaison counsel. The massive size of
   the Diet Drugs case required the commitment of three of the named partners to the case, Arnold
   Levin, Michael Fishbein and Mr. Berman, as well as a substantial commitment by partner Fred
   Longer. While Messrs. Levin and Fishbein were formally named as co-class counsel to the case,
   Mr. Berman had a de facto role as co-class counsel and co-lead counsel for the case. Mr. Berman
   briefed many legal issues, argued issues in court, participated in discovery, helped negotiate the
   settlement(s) and managed the oversight of the AHP Settlement Trust that was created to oversee
   the settlement and the Seventh Amendment Fund Administrator that was created to oversee the
   Seventh Amendment aspect of the settlement. He also managed the claims of the firm’s individual
   clients.

           Although the Diet Drug case remains active today, and still occupies some of Mr. Berman’s
   time, over the recent years he became active in various other pharmaceutical cases. In particular,
   beginning in about 2010, he became active in the MDL case, In re Yaz/Yasmin/Ocella, Southern
   District of Illinois, where he was appointed as a member of the discovery and legal briefing
   committees. In addition, his partner Michael M. Weinkowitz was appointed as Co-Liaison Counsel
   in the parallel state court litigation pending in the Court of Common Pleas of Philadelphia and
   served in the parallel action on the discovery and science committees and was appointed to the
   Plaintiffs Negotiating Committee by the Honorable Arnold New, Philadelphia Court of Common
   Please. Mr. Berman worked with his partner in these roles and the firm’s administrative staff was
   essential as liaison counsel in the Yaz litigation.

         Mr. Berman’s pharmaceutical case experience includes litigating numerous other
   pharmaceutical cases. He is currently Plaintiffs’ Co-Lead and Liaison Counsel for the In Re
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   Tylenol MDL case, (MDL 2436) pending in the Eastern District of Pennsylvania and is a member
   of the executive committee of the In Re Granuflo MDL case (MDL2428) pending in the District
   of Massachusetts.

          With regard to the Tylenol case, as Plaintiffs’ Co-Lead and Liaison counsel, he has
   appeared in Court for the Plaintiffs at virtually all of the monthly status conferences, drafted
   numerous briefs, engaged in discovery, drafted numerous case management orders that were
   entered by the Court, argued motions and otherwise managed the case on behalf of the Plaintiffs.

           With regard to the Granuflo case, Mr. Berman’s partner Arnold Levin was formally
   appointed to that case’s Executive Committee for the Plaintiffs. Mr. Berman was appointed as a
   co-chair of the law and briefing committee. However, he became a de facto member of the
   executive committee for the firm. In his role on the law and briefing committee, he drafted
   numerous briefs for the case, including Daubert briefs, drafted various case management orders
   that were entered by the Court, and assisted in the negotiation of the global settlement including
   the drafting of the settlement documents and the allocation plan.

           In the In re Fosamax litigation, MDL 2243 (D.N.J.), Mr. Berman spearheaded the
   plaintiff’s position relating to privilege log issues as well as pre-emption and in limine issues raised
   in the bellwether case.

            Mr. Berman has also been a lecturer about mass tort matters. He has lectured about the
   Tylenol case at several seminars and is a member of the American Association of Justice (AAJ)
   litigation group for the case. Aside from having spoken about Tylenol at various seminars, Mr.
   Berman has been a frequent speaker for the Pennsylvania Bar Institute, Mealy’s Publications and
   Harris Martin. His lectures have been accredited for providing CLE credit to the attendees. Mr.
   Berman has an A.V. Peer Review rating by Martindale-Hubbell, and is an AAJ National College
   of Advocacy Advocate. He is also a member of The National Trial Lawyers, as well as a member
   of the American, Pennsylvania and Philadelphia Bar Associations and has been recognized as a
   Super Lawyer. His published works include "Class Actions in State and Federal Courts,"
   Pennsylvania Bar Institute (Continuing Legal Education), November, 1997; "New Pennsylvania
   Rule of Civil Procedure 207.1," Pennsylvania Bar Institute (Continuing Legal Education),
   November, 2001, and membership on the Board of Editors, "Fen-Phen Litigation Strategist,"
   Leader Publications, (1998).

           The firm has been particularly active in litigating cases in the Third Circuit, being based in
   the Philadelphia area. Other cases based in the Third Circuit with which the firm has been involved
   include: the “NFL Concussion Litigation”; the “Zoloft” litigation; and the “Avandia” Litigation.

            The firm, also has been involved in numerous pharmaceutical cases pending outside of the
   Third Circuit where the firm has had a leadership role, such as in: In re Vioxx Products Liability
   Litigation, MDL No. 1657 (E.D.La.); In re Pradaxa Products Liability Litigation, MDL 2385 (S.
   D. Ill.); In re Mirena Products Liability Litigation, MDL No. 2434 (S.D.N.Y.) and In re Xarelto
   Products Liability Litigation, MDL 2592 (E. D. La.).
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            The firm is listed in the Martindale-Hubbell Bar Register of Pre-Eminent Lawyers, which
   lists only those select law practices and law firms that have earned the AV Rating in the
   Martindale-Hubbell Law Directory by being designated by their colleagues as preeminent in
   their field. The firm prides itself on its good name and reputation among other attorneys, judges
   and the clients it serves, demonstrated by its many national referrals of cases from all over the
   United States.

           The firm was recently named as one of the U.S. News Best Law Firms --ranked National
   Tier 1 for Plaintiffs' Mass Torts and Class Actions; Philadelphia Tier 1 for Plaintiffs' Mass Torts,
   Class Actions and Personal Injury; and Philadelphia Tier 3 for Antitrust Law. The firm is rated
   Tier 2 in "Mass Tort and Class Action: Plaintiff Representation - Pharmaceuticals and Medical
   Devices" by The Legal 500.

          Mr. Berman’s firm, LFSB and Mr. Berman himself, are Martindale-Hubbell A.V. peer-
   rated. This Philadelphia-based law firm has an extraordinary track record of litigating complex
   cases and is well-known in the legal community.

           For more than 30 years, the firm has successfully prosecuted hundreds of cases involving
   defective pharmaceutical and over-the-counter drugs and medical devices, and has led in mass tort
   and environmental liability exposure litigations. The firm is prepared to devote its considerable
   resources and experiences to the successful litigation of each and any litigation with which it
   becomes involved and has never shirked responsibility.
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                          L EVIN , F ISHBEIN , S EDRAN & B ERMAN
                                           F IRM B IOGRAPHY

           The law firm of Levin, Fishbein, Sedran & Berman (formerly known as Levin & Fishbein)

   was established on August 17, 1981. Earlier, the founding partners of Levin, Fishbein, Sedran &

   Berman, Messrs. Arnold Levin and Michael D. Fishbein, were with the law firm of Adler, Barish,

   Levin & Creskoff, a Philadelphia firm specializing in litigation. Arnold Levin was a senior partner

   in that firm and Michael D. Fishbein was an associate. Laurence S. Berman was also an associate

   in that firm.
           The curricula vitae of the attorneys are as follows:

           (a)     A RNOLD L EVIN, a member of the firm, graduated from Temple University, B.S.,

   in 1961, with Honors and Temple Law School, LLB, in 1964. He was Articles Editor of the Temple

   Law Quarterly. He served as a Captain in the United States Army (MPC). He is a member of the

   Philadelphia, Pennsylvania, American and International Bar Associations. He is a member of the

   Philadelphia Trial Lawyers Association, Pennsylvania Trial Lawyers Association and the Association

   of Trial Lawyers of America. He is admitted to the Supreme Court of Pennsylvania, United States

   District Court for the Eastern District of Pennsylvania, United States District Court for the Middle

   District of Pennsylvania, the Third, Fourth, Fifth, Sixth, Seventh, Tenth and Eleventh Circuit Courts

   of Appeals and the United States Supreme Court. He has appeared pro hac vice in various federal

   and state courts throughout the United States. He has lectured on class actions, environmental,

   antitrust and tort litigation for the Pennsylvania Bar Institute, the Philadelphia Trial Lawyers

   Association, the Pennsylvania Trial Lawyers Association, The Association of Trial Lawyers of

   America, The Belli Seminars, the Philadelphia Bar Association, American Bar Association, the New

   York Law Journal Press, and the ABA-ALI London Presentations.

           Mr. Levin is a past Chairman of the Commercial Litigation Section of the Association of

   Trial Lawyers of America, and is co-chairman of the Antitrust Section of the Pennsylvania Trial

   Lawyers Association. He is a member of the Pennsylvania Trial Lawyers Consultation Committee,

   Class Action Section, a fellow of the Roscoe Pound Foundation and past Vice-Chairman of the
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   Maritime Insurance Law Committee of the American Bar Association. He is also a fellow of the

   International Society of Barristers, and chosen by his peers to be listed in Best Lawyers of America.

   He has been recognized as one of 500 leading lawyers in America by Lawdragon and The Legal 500

   USA. U.S. News and World Report has designated Levin, Fishbein, Sedran & Berman as one of the

   top 22 national plaintiffs’ firms in mass torts and complex litigation In addition, he has been further

   recognized as one of the top 100 trial lawyers by The National Trial Lawyers Association. He was

   also named to the National Law Journal’s Inaugural List of America’s Elite Trial Lawyers. He also

   has an “av” rating in Martindale-Hubbell and is listed in Martindale-Hubbell’s Register of

   Preeminent Lawyers.
          Mr. Levin was on the Executive Committee as well as various other committees and lead trial

   counsel in the case of In re Asbestos School Litigation, U.S.D.C., Eastern District of Pennsylvania,

   Master File No. 83-0268, which was certified as a nationwide class action on behalf of all school

   districts. Mr. Levin was also on the Plaintiffs’ Steering Committee in In re Copley Pharmaceutical,

   Inc., “Albuterol” Products Liability Litigation, MDL Docket No. 94-140-1013 (Dist. Wyoming);

   In re Norplant Contraceptive Products Liability Litigation, MDL No. 1038 (E.D. Tex.); and In re

   Telectronics Pacing Systems, Inc., Accufix Atrial "J" Lead Products Liability Litigation, MDL No.

   1057 (S.D. Ohio).

          Mr. Levin was appointed by the Honorable Sam J. Pointer as a member of the Plaintiffs’

   Steering Committee in the Silicone Gel Breast Implants Products Liability Litigation, Master File

   No. CV-92-P-10000-S. The Honorable Louis L. Bechtle appointed Mr. Levin as Co-Lead Counsel

   of the Plaintiffs’ Legal Committee and Liaison Counsel in the MDL proceeding of In re Orthopedic

   Bone Screw Products Liability Litigation, MDL 1014 (E.D. Pa.). Mr. Levin also serves as Co-

   Chairman of Plaintiffs’ Management Committee, Liaison Counsel, and Class Counsel in In re Diet

   Drug Litigation, MDL 1203. He was also a member of a four lawyer Executive Committee in In re

   Rezulin Products Liability Litigation, MDL No. 1348 (S.D.N.Y.) and is a member of a seven person

   Steering Committee in In re Propulsid Products Liability Litigation, MDL No. 1355 (E.D. La.). He

   was Chair of the State Liaison Committee in In re Phenylpropanolamine (PPA) Products Liability

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   Litigation, MDL 1407 (W.D.WA); and is a member of the Plaintiffs’ Steering Committee and

   Plaintiffs’ Negotiating Committee in In re Vioxx Products Liability Litigation, MDL No. 1657

   (E.D.La.) and Court approved Medical Monitoring Committee in In re Human Tissue Products

   Liability Litigation, MDL No. 1763 (District of N.J.). He is currently lead counsel and plaintiffs’

   class counsel in In Re Chinese-Manufactured Drywall Product Liability Litigation, MDL No. 2047

   (E.D.La.). He was Plaintiffs’ Liaison Counsel in In re CertainTeed Corp. Roofing Shingles Products

   Liability Litigation, MDL No. 1817 (E.D. Pa.). He is a member of the Plaintiffs’ Steering

   Committee in In re National Football League Players’ Concussion Litigation, MDL No. 2323; In

   re Pool Products Distribution Market Antitrust Litigation, MDL No. 2328); In Re Testosterone

   Replacement Therapy Products Liability Litigation, MDL No. 2545 (N.D. Ill.); In re Zoloft

   (Sertraline Hydrochloride) Products Liability Litigation, MDL No. 2342 (E.D. Pa.); and In re

   Yasmin and Yaz Marketing, Sales Practices and Relevant Products Liability Litigation, MDL No.

   2100 (S.D. Ill.). He is a member of Plaintiffs’ Executive Committee in In Re: Fresenius

   Granuflo/Naturalyte Dialysate Products Liability Litigation, MDL No. 2428 (D. Mass).

             Mr. Levin was also a member of the Trial and Discovery Committees in the Exxon Valdez

   Oil Spill Litigation, No. 89-095 (D. Alaska) In addition, Mr. Levin is lead counsel in the prosecution

   of individual fishing permit holders, native corporations, native villages, native claims and business

   claims.

             (b)    M ICHAEL D. F ISHBEIN, a member of the firm, is a graduate of Brown University

   (B.A., 1974). He graduated from Villanova University Law School with Honors, receiving a degree

   of Juris Doctor in 1977. Mr. Fishbein was a member of the Villanova Law Review and is a member

   of the Villanova University Law School Chapter of the Order of Coif. He is admitted to practice

   before the Pennsylvania Supreme Court, the United States District Court for the Eastern District of

   Pennsylvania, and the Third Circuit Court of Appeals. Mr. Fishbein has been extensively involved

   in the prosecution of a variety of commercial class actions. He is Class Counsel in In re Diet Drug

   Litigation, MDL 1203, and the principal architect of the seminal National Diet Drug Settlement

   Agreement.       He is also a member of the Plaintiffs’ Steering Committee in In re

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   Phenylpropanolamine (PPA) Products Liability Litigation, MDL 1407 (W.D.WA).

            (c)    H OWARD J. S EDRAN , a member of the firm, graduated cum laude from the

   University of Miami School of Law in 1976. He was a law clerk to United States District Court

   Judge, C. Clyde Atkins, of the Southern District of Florida from 1976-1977. He is a member of the

   Florida, District of Columbia and Pennsylvania bars and is admitted to practice in various federal

   district and appellate courts. From 1977 to 1981, he was an associate at the Washington, D.C. firm

   of Howrey & Simon which specializes in antitrust and complex litigation. During that period he

   worked on the following antitrust class actions: In re Uranium Antitrust Litigation; In re Fine Paper

   Antitrust Litigation; Bogosian v. Gulf Oil Corporation; FTC v. Exxon, et al.; and In re Petroleum

   Products Antitrust Litigation.

            In 1982, Mr. Sedran joined the firm of Levin, Fishbein, Sedran & Berman and has continued

   to practice in the areas of environmental, securities, antitrust and other complex litigation. Mr.

   Sedran also has extensive trial experience. In the area of environmental law, Mr. Sedran was

   responsible for the first certified “Superfund” class action.

            As a result of his work in an environmental case in Missouri, Mr. Sedran was nominated to

   receive the Missouri Bar Foundation’s outstanding young trial lawyer’s award, the Lon Hocker

   Award.

            Mr. Sedran has also actively participated in the following actions: In re Dun & Bradstreet
   Credit Services Customer Litigation, Civil Action Nos. C-1-89-026, C-1-89-051, 89-2245, 89-3994,

   89-408 (S.D. Ohio); Raymond F. Wehner, et al. v. Syntex Corporation and Syntex (U.S.A.) Inc., No.

   C-85-20383(SW) (N.D. Cal.); Harold A. Andre, et al. v. Syntex Agribusiness, Inc., et al., Cause No.

   832-05432 (Cir. Ct. of St. Louis, Mo.); In re Petro-Lewis Securities Litigation, No. 84-C-326 (D.

   Colo.); In re North Atlantic Air Travel Antitrust Litigation, No. 84-1013 (D. D.C.); Jaroslawicz v.

   Engelhard Corp., No. 84-3641 (D. N.J.); Gentry v. C & D Oil Co., 102 F.R.D. 490 (W.D. Ark.

   1984); In re EPIC Limited Partnership Securities Litigation, Nos. 85-5036, 85-5059 (E.D. Pa.);

   Rowther v. Merrill Lynch, et al., No. 85-Civ-3146 (S.D.N.Y.); In re Hops Antitrust Litigation, No.

   84-4112 (E.D. Pa.); In re Rope Antitrust Litigation, No. 85-0218 (M.D. Pa.); In re Asbestos School

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   Litigation, No. 83-0268 (E.D. Pa.); In re Catfish Antitrust Litigation, MDL No. 928 (Plaintiffs’

   Executive Committee); In re Carbon Dioxide Antitrust Litigation, MDL No. 940 (N.D. Miss.)

   (Plaintiffs’ Executive Committee); In re Alcolac, Inc. Litigation, No. CV490-261 (Marshall, Mo.);

   In re Clozapine Antitrust Litigation, MDL No. 874 (N.D. Ill.) (Co-lead counsel); In re Infant

   Formula Antitrust Litigation, MDL No. 878 (N.D. Fla.); Cumberland Farms, Inc. v. Browning-

   Ferris Industries, Inc., Civil Action No. 87-3713 (E.D. Pa.); In re Airlines Antitrust Litigation, MDL

   No. 861 (N.D. Ga.); Lazy Oil, Inc. et al. v. Witco Corporation, et al., C.A. No. 94-110E (W.D. Pa.)

   (Plaintiffs’ Co-Lead Counsel); In re Nasdaq Market-Makers Antitrust Litigation, MDL No. 1023

   (S.D.N.Y.) (Co-Chair Discovery); and In re Travel Agency Commission Antitrust Litigation, Master
   File No. 4-95-107 (D. Minn.) (Co-Chair Discovery); Erie Forge and Steel, Inc. v. Cyprus Minerals

   Co., C.A. No. 94-0404 (W.D. Pa.) (Plaintiffs’ Executive Committee); In re Commercial Explosives

   Antitrust Litigation, MDL No. 1093 (Plaintiffs’ Co-Lead Counsel); In re Brand Name Prescription

   Drug Antitrust Litigation, MDL No. 997; In re High Fructose Corn Syrup Antitrust Litigation, MDL

   No. 1087; In re Carpet Antitrust Litigation, MDL 1075; In re Graphite Electrodes Antitrust

   Litigation, C.A. No 97-CV-4182 (E.D. Pa.) (Plaintiffs’ Co-Lead Counsel); In re Flat Glass Antitrust

   Litigation, MDL No. 1200 (Discovery Co-Chair); In re Commercial Tissue Products Antitrust

   Litigation, MDL No. 1189; In re Thermal Fax Antitrust Litigation, C.A. No. 96-C-0959 (E.D.

   Wisc.); In re Lysine Indirect Purchaser Antitrust Litigation, (D. Minn.); In re Citric Acid Indirect

   Purchaser Antitrust Litigation, C.A. No. 96-CV-009729 (Cir. Ct. Wisc.).

          Recently, in Lazy Oil Co. v. Witco Corp., et. al., supra, the District Court made the following

   comments concerning the work of Co-Lead Counsel:

                  [t]he Court notes that the class was represented by very competent

                  attorneys of national repute as specialists in the area of complex

                  litigation. As such Class Counsel brought considerable resources to

                  the Plaintiffs’ cause. The Court has had the opportunity to observe

                  Class counsel first-hand during the course of this litigation and finds

                  that these attorneys provided excellent representation to the Class.

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                  The Court specifically notes that, at every phase of this litigation,

                  Class Counsel demonstrated professionalism, preparedness and

                  diligence in pursuing their cause.

          (d)     L AURENCE S. B ERMAN, a member of the firm, was born in Philadelphia,

   Pennsylvania on January 17, 1953. He was admitted to the bar in 1977. He is admitted to practice

   before the U.S. Courts of Appeals for the Third, Fourth and Seventh Circuits; the U.S. District Court,

   Eastern District of Pennsylvania; and the Bar of Pennsylvania. He is a graduate of Temple

   University (B.B.A., magna cum laude, 1974, J.D. 1977). He is a member of the Beta Gamma Sigma

   Honor Society. Mr. Berman was the law clerk to the Honorable Charles R. Weiner, U.S. District
   Court for the Eastern District of Pennsylvania 1978-1980. Member: Philadelphia, Pennsylvania and

   American Bar Associations. In 1982, Mr. Berman joined the law firm of Levin & Fishbein as an

   associate and became a partner in 1985 when the firm name was changed to Levin, Fishbein, Sedran

   & Berman ("LFSB").

          Mr. Berman has had extensive experience in litigating and managing complex litigation. In

   the early 1980's he became a member of the discovery, law and trial committees of In re: Asbestos

   School Litigation, Master File No. 83-0268 (E.D. Pa.). As a member of those committees, he drafted

   discovery and legal briefs that lead to the successful resolution of the case on behalf of a nationwide

   class of schools seeking recovery of damages for the costs and expenses they were required to
   expend to assess the presence of asbestos in school buildings and to remediate under newly enacted

   rules and regulations of the Environmental Protection Agency, promulgated in the 1970's. In

   connection with that litigation, he was one of the architects of approaching class certification issues

   for a nationwide class by the use of a "50" state analysis of the law, in order to demonstrate the

   similarity of laws and therefore the manageability of a nationwide class action. The "50" state

   approach has been followed in other cases.

          During the early stages of his career, he litigated numerous environmental class/mass tort

   cases to successful conclusions. He successfully litigated a lead contamination case for the residents

   of a community in the Port Richmond area of Philadelphia, where he drafted the legal briefs and

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   presented the oral argument to obtain class certification of a property damage and medical

   monitoring class against NL Industries and Anzon. That litigation produced a multi-million-dollar

   recovery for the residents in the class area. Ursula Stiglich Wagner, et al. v. Anzon, Inc., et al., No.

   4420, June Term, 1987 (C.C.P. Phila. Cty.)

              Similarly, he represented homeowners located near Ashland, Kentucky for environmental

   pollution damage. This case involved representing approximately 700 individual clients for personal

   injury and medical monitoring relief that also resulted in a multi-million-dollar recovery for his

   clients.

              Beginning in the 1990's Mr. Berman began his representation of victims of the Three Mile
   Island accident. The firm represented approximately 2,000 plaintiffs in that matter, and Mr. Berman

   was responsible for the legal briefing and experts in the case, along with addressing Daubert issues.

   The presiding Court (Middle District of Pennsylvania) determined to conduct extensive Daubert

   hearings in Three Mile Island, resulting in approximately ten full weeks of in court live hearings, and

   thousands of pages of legal briefing. Ultimately the trial court determined that several of the expert

   witnesses offered by the plaintiffs did not meet the Daubert requirements, and an appeal was taken

   to the Third Circuit Court of Appeals, where Mr. Berman both briefed and argued the issues. The

   Third Circuit affirmed parts of the decision and remanded for further proceedings by the trial court.

   His representation of clients in the Three Mile Island litigation spanned well over a decade.

              In 1989, Mr. Berman began his representation of approximately 1,000 plaintiffs who suffered

   damages as a result of the Exxon Valdez oil spill. In that role, he managed the claims of each of his

   firm's clients and worked in the development of their expert evidence and claim materials. As a

   subset of that litigation, he handled the claims of the Native Opt-Out Settlement Class. This

   representation also spanned well over a decade.

              Mr. Berman began his role in litigating In re Diet Drugs, MDL 1203 (E.D. Pa.) in 1997 at

   the outset of that litigation. The Diet Drugs case is still active to this date. Mr. Berman's firm was

   appointed as co-lead counsel, co-class counsel and liaison counsel. The massive size of the Diet

   Drugs case required the commitment of three of the named partners to the case, Arnold Levin,

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   Michael Fishbein and Mr. Berman, as well as a substantial commitment by partner Fred Longer.

   While Messrs. Levin and Fishbein were formally named as co-class counsel to the case, Mr. Berman

   had a de facto role as co-class counsel and co-lead counsel for the case. Mr. Berman briefed many

   legal issues, argued issues in court, participated in discovery, appeared frequently before the Special

   Discovery Master, helped negotiate the settlement(s) and helped in the management of the oversight

   of both the AHP Settlement Trust that was created to oversee the Settlement and the Seventh

   Amendment Fund Administrator that was created to oversee the Seventh Amendment aspect of the

   Settlement. He also managed the claims of the firm's individual clients.

          Although the Diet Drug case remains active today, and still occupies some of Mr. Berman's
   time, over the recent years he became active in various other pharmaceutical cases. In particular,

   beginning in about 2010, he became active in In re Yaz/Yasmin/Ocella, MDL 2100 (S. D. Ill.) where

   he was appointed as a member of the discovery and legal briefing committees. Mr. Berman worked

   with his partner Michael Weinkowitz as Co-Liaison Counsel in the parallel state court litigation

   pending in the Court of Common Pleas of Philadelphia.

          As the Yaz case began to wind down, Mr. Berman became active in litigation Tylenol cases

   where he was appointed and remains currently Plaintiffs' Co-Lead and Liaison Counsel. In Re

   Tylenol, MDL 2436, (E.D.Pa.). As Plaintiffs' Co-Lead and Liaison counsel, Mr. Berman has

   appeared in Court for the Plaintiffs at virtually all of the monthly status conferences, drafted

   numerous briefs, engaged in discovery, drafted numerous case management orders that were entered

   by the Court, argued motions and otherwise managed the case on behalf of the Plaintiffs.

          Mr. Berman is also a de facto member of the executive committee of In Re Granuflo, MDL

   MDL2428, (D. Mass.). Mr. Berman's partner Arnold Levin was formally appointed to that case's

   Executive Committee for the Plaintiffs and Mr. Berman was appointed as a co-chair of the law and

   briefing committee. H has acted as a de facto member of the executive committee for the firm. In

   his role on the law and briefing committee, he drafted numerous briefs for the case, including

   Daubert briefs, drafted various case management orders that were entered by the Court, and assisted

   in the negotiation of the global settlement including the drafting of the settlement documents and the

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   allocation plan.

           In In re Fosamax, MDL 2243 (D.N.J.), Mr. Berman spearheaded the plaintiff's position

   relating to privilege log issues as well as preemption and in limine issues raised in the bellwether

   case.

           Mr. Berman has lectured about mass tort matters. He lectured about the Tylenol case at

   several seminars and is a member of the American Association of Justice (AAJ) litigation group for

   the case. He is also a member of various other AAJ litigation groups involving pharmaceutical

   products. Mr. Berman has been a frequent speaker for the Pennsylvania Bar Institute, Mealy's

   Publications and Harris Martin. His lectures have been accredited for providing CLE credit to the
   attendees. Mr. Berman has an A.V. Peer Review rating by Martindale-Hubbell, and is an AAJ

   National College of Advocacy Advocate. He is also a member of The National Trial Lawyers, as

   well as a member of the American, Pennsylvania and Philadelphia Bar Associations and has been

   recognized as a Super Lawyer. His published works include "Class Actions in State and Federal

   Courts," Pennsylvania Bar Institute (Continuing Legal Education), November, 1997; "New

   Pennsylvania Rule of Civil Procedure 207.1," Pennsylvania Bar Institute (Continuing Legal

   Education), November, 2001, and membership on the Board of Editors, "Fen-Phen Litigation

   Strategist," Leader Publications, (1998).



           (e)    F REDERICK S. L ONGER, specializes in representing individuals who have been

   harmed by dangerous drugs, medical devices, other defective products and antitrust violations. Mr.

   Longer has extensive experience in prosecuting individual, complex and class action litigations in

   both state and federal courts across the country. Mr. Longer has been involved in the resolution of

   several of the largest settlements involving personal injuries including the $6.75 billion settlement

   involving Diet Drugs and the $4.85 billion settlement involving Vioxx. Mr. Longer was a member

   of the negotiating counsel responsible for the settlements in the Chinese Drywall litigation involving

   various suppliers and manufacturers of Chinese Drywall valued in excess of $1 billion. Mr. Longer

   has a wealth of experience in mass torts and has frequently been the chairman or member of the Law

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   and Briefing Committee in numerous multi-district litigations in In re Propulsid Products Liability

   Litigation, MDL No. 1355 (E.D. La.); In re Rezulin Products Liability Litigation, MDL No. 1348

   (S.D.N.Y.); In re Vioxx Products Liability Litigation, MDL No. 1657 (E.D.La.); In re Orthopedic

   Bone Screw Products Liability Litigation, MDL No. 1014 (E.D. Pa.); and In re Diet Drug Litigation,

   MDL No. 1203 (E.D. Pa.). He is currently a member of the Plaintiffs’ Steering Committee in In re

   Mirena Products Liability Litigation, MDL No. 2434 (S.D.N.Y.)

            Mr. Longer has substantial trial experience and is one of the few counsel in the country to

   have a client’s claim involving Baycol tried to verdict in Philadelphia County Court of Common

   Pleas.
            Mr. Longer, originally from Philadelphia, Pennsylvania, completed his undergraduate work

   at Carnegie Mellon University. He then attended the University Pittsburgh School of Law and was

   a Notes and Comments Editor for the University of Pittsburgh Law Review. Mr. Longer practiced

   for 3 years in Allegheny County with the law firm of Berger, Kapatan, Malakoff & Myers on

   complex litigation and civil rights matters, including Kelly v. County of Allegheny, No. 6D 84-17962

   (C.P. Allegheny County, PA). Thereafter, Mr. Longer joined the law firm of Levin, Fishbein, Sedran

   & Berman and is now a member in the firm.

            Mr. Longer is a frequent lecturer and has presented numerous seminars on various legal

   topics for professional groups. Some of Mr. Longer’s speaking engagements include: Plaintiff Only

   Consumer Warranty Class Action Litigation Seminar, American Association for Justice Education

   and the National Association of Consumer Advocate (June 3-4, 2014);               "No Injury" and

   "Overbroad"      Class   Actions After     Comcast,    Glazer    and   Butler:   Implications   for

   Certification-Navigating Complex Issues of Overbreadth and Damages in Consumer Product Cases,

   Strafford Webinar (April 1, 2014); Service of Process in China, ABA Annual Conference (April

   18-20, 2012); Chinese Drywall Litigation Conference, Harris Martin (October 20-21, 2011); Current

   Issues in Multi-district Litigation Practice, Harris Martin (September 26, 2011); FDA Preemption:

   Is this the end?, Mass Torts Made Perfect (May 2008). He has authored several articles including,

   The Federal Judiciary’s Super Magnet, TRIAL (July 2009). He also contributed to Herbert J. Stern

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   & Stephen A. Saltzburg, TRYING CASES TO WIN : ANATOMY OF A TRIAL (Aspen 1999).

          Mr. Longer is a member of the American Bar Association, American Association for Justice,

   Pennsylvania and Philadelphia Association for Justice, the Pennsylvania Bar Association and the

   Philadelphia Bar Association. He is an active member of the Historical Society for the Eastern

   District of Pennsylvania. He is admitted to practice before the Supreme Court of Pennsylvania and

   the Supreme Court of New Jersey, the United States Supreme Court; the United States Courts of

   Appeals for the Second, Third, Fourth, Fifth, Seventh and Ninth Circuits, and the United States

   District Courts for the Western and Eastern Districts of Pennsylvania, United States District Court

   Northern District of New York; United States District Court for the Western District of New York;
   United States District Court of New Jersey; United States District Court for District of Arizona; and

   the United States District Court District of Nebraska.

          Mr. Longer has received Martindale-Hubbell’s highest rating (AV) as a pre-eminent lawyer

   for his legal ability and ethical standards. He has also been recognized by his peers as a Super

   Lawyer since 2008.

          (f)     D ANIEL C. L EVIN, a member of the firm, was born in Philadelphia, Pennsylvania.

   He received his undergraduate degree from the University of Pittsburgh (B.A. 1994) and his law

   degree from Oklahoma City University (J.D. 1997). He is a member of Phi Delta Phi. He serves

   on the Board of Directors for the Philadelphia Trial Lawyers Association. He is also member of the
   Pennsylvania Bar Association; Pennsylvania Trial Lawyers Association, and the Association of Trial

   Attorneys of America. He is admitted to practice before the Supreme Court of Pennsylvania; the

   United States District Court for The Eastern District of Pennsylvania, and the United States Court

   of Appeals for the Second and Third Circuits. Mr. Levin has been part of the litigation team in In

   re Orthopedic Bone Screw Products Liability Litigation, MDL No. 1014 (E.D. Pa.); In re Diet Drug

   Litigation, MDL No. 1203 (E.D. Pa.); Galanti v. The Goodyear Tire and Rubber Co., Civil Action

   No: 03-209; Muscara v. Nationwide, October Term 2000, Civil Action No.: 001557, Philadelphia

   County; and Wong v. First Union, May Term 2003, Civil Action No. 001173, Philadelphia County,

   Harry Delandro, et al v. County of Allegheny, et al, Civil Action No. 2:06-CV-927; Nakisha Boone,

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   et al v. City of Philadelphia, et al, Civil Action No. 05-CV-1851; Mary Gwiazdowski v. County of

   Chester, No. 08-4463 (E.D.Pa.); Helmer, et al v. the Goodyear Tire & Rubber Co., D.Co. Civil

   Action No. 1:12-00685-RBJ; Cobb v. BSH Home Appliance Corporation, et al, C.D.Ca. Case No.

   SACV10-711 DOC (ANx) and In Re Human Tissue Products Liability Litigation, MDL No. 1763

   (E.D.NJ.).

          Mr. Levin was lead counsel in Joseph Meneghin v. Exxon Mobil Corporation, et al, Superior

   Court of New Jersey, Docket No. OCN-L-002696-07; Johnson, et al v. Walsh, et al, PCCP April

   Term, 2008, No. 2012; Kowa, et al v. The Auto Club Group, N.D.Il. Case No. 1:11-cv-07476. Mr.

   Levin is currently lead counsel in Ortiz v. Complete Healthcare Resources, Inc., et al, Montgomery

   CCP No. 12-12609; Gordon v. Maxim Healthcare Services, Inc., E.D.Pa. Civil Action No.

   2:13-cv-07175 and Shafir v. Continuum Health Partners, Inc.

          Daniel Levin is recognized by his peers as a Super Lawyer.

          (g)     C HARLES E. S CHAFFER, a member of the firm, born in Philadelphia, Pennsylvania,

   is a graduate of Villanova University, (B.S., Magna Cum Laude, 1989) and Widener University

   School of Law (J.D. 1995) and Temple University School of Law (LL.M. in Trial Advocacy, 1998).

   He is admitted to practice before the Supreme Court of Pennsylvania, the Supreme Court of New

   Jersey, the United States District Court for the Eastern District of Pennsylvania, the United States

   District Court for the Western District of Pennsylvania and the Third Circuit Court of Appeals. He

   is also a member of the American Bar Association, Association of Trial Attorneys of America,

   Pennsylvania Association for Justice, Philadelphia Trial Lawyers Association, and the National Trial

   Lawyers Association.



          Mr. Schaffer has participated in, inter alia, the following actions: Davis v. SOH Distribution

   Company, Inc., Case No. 09-CV-237 (M.D. Pa.) (Plaintiffs’ Co-Lead Counsel); In re CertainTeed

   Corporation Roofing Shingles Products Liability Litigation, MDL No. 1817 (E.D. Pa.) (Plaintiffs’

   Discovery and Settlement Committees); Gwaizdowski v. County of Chester, Civil Action No. 08-

   CV-4463 (E.D. Pa. 2012); Meneghin, v. The Exxon Mobile Corporation, et al., Civil Action No.

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   OCN-002697-07 (Superior Court, Ocean County, NJ 2012) (Plaintiffs’ Co-lead Counsel);

   Gulbankian et. al. v. MW Manufacturers, Inc., Case No. 1:10-cv-10392-RWZ (D.C. Mass.)

   (Plaintiffs’ Discovery and Settlement Committees); Eliason, et al. v. Gentek Building Products, Inc.,

   et al., Case No. 1:10-cv-2093 (N.D. Ohio) (Plaintiffs’ Executive Committee); Smith, et al. v.

   Volkswagon Group of America, Inc., Case No. 3:13-cv-00370-SMY-PMF (S.D. Ill.) (Plaintiffs’

   Discovery and Settlement Committees); Melillo, et al. v. Building Products of Canada Corp., Civil

   Action No. 1:12-CV-00016-JGM (D. Vt. Dec. 2012); Vought, et al., v. Bank of America, et al., Civil

   Action No. 10-CV-2052 (C.D. Ill. 2013) (Plaintiffs’ Discovery and Settlement Committees); In re

   Navistar Diesel Engine Products Liability Litigation, MDL No. 2223 (N.D. Ill.) (Plaintiffs’ Steering
   Committee); United Desert Charities, et. el. v. Sloan Valve, et. el., Case No. 12-cv-06878 (C.D. Ca.)

   (Plaintiffs’ Executive Committee); Kowa, et. el. v. The Auto Club Group AKA AAA Chicago, Case

   No. 1:11-cv-07476 (N.D. Ill.); In re Chinese-Manufactured Drywall Product Liability Litigation,

   MDL No. 2047 (E.D. La.); In re Vioxx Products Liability Litigation, MDL No. 1657 (E.D. La.); In

   re Orthopedic Bone Screw Products Liability Litigation, MDL No. 1014 (E.D. Pa.); In re Diet Drug

   Litigation, MDL No. 1203 (E.D. Pa.); In re: CertainTeed Fiber Cement Siding Litigation, MDL No.

   2270 (E.D. Pa. 2014) (Plaintiffs’ Discovery and Settlement Committees) and In re JP Mortgage

   Modification Litigation, MDL No. 2290 (D.C. Mass.) (Plaintiffs’ Co-Lead Counsel).

          Currently, Mr. Schaffer is serving as lead counsel in In re IKO Roofing Products Liability

   Litigation, MDL No. 2104 (C.D. Ill.), a member of Plaintiffs Steering Committee in In re Pella

   Corporation Architect And Designer Series Windows Marketing Sales Practices and Product

   Liablility Litigation, MDL No. 2514 (D.C. SC.); a member of the Plaintiffs’ Executive Committee

   in In re Azek Decking Sales Practices Litigation, Civil Action No. 12-6627 (KM)(MCA)(D. NJ.),

   a member of the Plaintiffs’ Executive Committee in In re Citimortgage, Inc. Home Affordable

   Modification (“HAMP”), MDL No. 2274 (C.D. Ca.); a member of the Plaintiffs’ Executive

   Committee in In re Carrier IQ Consumer Privacy Litigation, MDL 2330 (N.D. Ca.); a member of

   the Plaintiffs’ Executive Committee In re Dial Complete Marketing and Sales Practices Litigation;

   MDL No. 2263 (D. NH.); a member of Plaintiffs’ Executive Committee in In re Emerson Electric

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   Co. Wet/Dry Vac Marketing and Sales Litigation, MDL No. 2382 (E.D. Miss.); a member of the

   Plaintiffs’ Executive Committee In re Colgate–Palmolive Soft Soap Antibacterial Hand Soap

   Marketing and Sales Practice Litigation, (D. NH.); a member of the Plaintiffs’ Executive Committee

   In re HardiePlank Fiber Cement Siding Litigation, MDL No. 2359 (D.C. Minn.) and is actively

   participating in a number of other class actions and mass tort actions across the United States in

   leadership positions.

          In recognition of his accomplishments, Mr. Schaffer has achieved and maintained an AV

   Martindale-Hubbell rating. Mr. Schaffer speaks nationally on a multitude of topics relating to class

   actions and complex litigation.

                  (h)      A USTIN B. C OHEN, a member of the firm, is a graduate of the University of

   Pennsylvania (B.A., 1990) and a graduate of the University of Pittsburgh School of Law (J.D., cum

   laude, 1996) where he served on the Journal of Law and Commerce as an assistant and executive

   editor. He has authored an article titled “Why Subsequent Remedial Modifications Should Be

   Inadmissible in Pennsylvania Products Liability Actions,” which was published in the Pennsylvania

   Bar Association Quarterly. He is a member of the Pennsylvania and New Jersey bars, and is a

   member of the Pennsylvania and American Bar Associations.

                  (i)      MICHAEL M. WEINKOWITZ, a member of the firm, born Wilmington,

   Delaware, June 11, 1969; admitted to bar 1995, Pennsylvania and New Jersey, U.S. District Courts,
   Eastern District of Pennsylvania, District of New Jersey; U.S. Court of Appeals, Third Circuit.

   Education: West Virginia University (B.A., magna cum laude, 1991); Temple University (J.D., cum

   laude, 1995); Member, Temple International & Comparative Law Journal, 1994-95; American

   Jurisprudence Award for Legal Writing.

                  (j)      MATTHEW C. GAUGHAN , born in Boston, Massachusetts, is a graduate of the

           University of Massachusetts at Amherst, (B.B.A., 2000) and Villanova University School

   of Law (J.D., Cum Laude, 2003). He is admitted to practice in the States of New Jersey, New York

   and Pennsylvania. He is also admitted to practice before the United States District Court for the

   Eastern District of Pennsylvania and the United States District Court for the District of New Jersey.

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   Mr. Gaughan has extensive involvement in products liability and commercial litigation cases.

                  (k)     KEITH J. VERRIER , is a graduate of Temple University School of Law (J.D.,

   magna cum laude, 2000), where he was a member of the Law Review, and the University of Rhode

   Island (B.S., 1992).   After law school, he was a law clerk for the Honorable Herbert J. Hutton in

   the United States District Court for the Eastern District of Pennsylvania. Mr. Verrier has experience

   litigating a wide range of commercial disputes with an emphasis on litigating and counseling clients

   on antitrust matters. He currently spends the majority of his time litigating antitrust class actions,

   predominantly those seeking overcharge damages on behalf of direct purchasers of products under

   both Section 1 and Section 2 of the Sherman Act. He is admitted to practice in the Commonwealth

   of Pennsylvania and the State of New Jersey as well as in the United States Court of Appeals for the

   Third Circuit, the United States District Court for the Eastern District of Pennsylvania and the United

   States District Court for the District of New Jersey. He is a member of the American Bar

   Association.

                  (l)     LUKE T. PEPPER, is a graduate of King's College (B.A. 1997) and the

   Temple University School of Law (J.D. 2000). While in law school, Mr. Pepper served as an intern

   for United States Magistrate Judge Peter Scuderi. He is admitted to the Pennsylvania Supreme Court,

   and the U.S. District Court for the Eastern District of Pennsylvania, U.S. Court of Appeals, Third

   Circuit, and United States Court of Appeals for the Armed Forces. He is a member of the

   Pennsylvania and American Association of Justice. He served as claimant and attorney liaison for

   Class Counsel MDL No. 1203 In re Diet Drugs, (E.D. Pa.). His responsibilities included assisting

   claimants with the adjudication of their claims and resolution of settlement issues. In addition, Mr.

   Pepper is part of the litigation teams In Re: Pradaxa (Dabigatran Etexilate) Products Liability

   Litigation, MDL No. 2385 (S.D. Ill.), MDL No. 2100 In re: Yasmin and YAZ (Drospirenone)

   Marketing, Sales Practices and Products Liability Litigation, (S.D. Ill.); MDL 1950 Municipal

   Derivatives (SD NY); MDL 2436 Tylenol (Acetaminophen) Marketing, Sales Practices and Products

   Liability Litigation (E.D. Pa); MDL 2328 Pool Products Distribution Market Antitrust Litigation

   (E.D. LA).

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          (m)      NICOLA F. SERIANNI, is a graduate of The Johns Hopkins University (B.A.

   International Relations, 2000) and Widener University School of Law (J.D., 2006). While in law

   school, Ms. Serianni served as an intern for Pennsylvania Superior Court Judge Susan Peikes

   Gantman, and upon graduation continued to work in the Superior Court of Pennsylvania for Judges

   Richard B. Klein (Ret.) and Anne E. Lazarus. Ms. Serianni is admitted to practice in the

   Commonwealth of Pennsylvania, the State of New Jersey as well as in the United States District

   Court for the Eastern District of Pennsylvania. Ms. Serianni works extensively on products liability

   and class action litigation cases.



                                    SUCCESSFULLY LITIGATED CLASS CASES
                  Levin, Fishbein, Sedran & Berman’s extensive class action practice includes many

   areas of law, including: Securities, ERISA, Antitrust, Environmental and Consumer Protection. The

   firm also maintains a practice in personal injury, products liability, and admiralty cases.

                  The firm has successfully litigated the following class action cases: James J. and

   Linda J. Holmes, et al. v. Penn Security Bank and Trust Co., et al., U.S.D.C., Middle District of

   Pennsylvania Civil Action No. 80-0747; In re Glassine & Greaseproof Antitrust Litigation, MDL

   No. 475, U.S.D.C., Eastern District of Pennsylvania; In re First Pennsylvania Securities Litigation,

   Master File No. 80-1643, U.S.D.C., Eastern District of Pennsylvania; In re Caesars World

   Shareholder Litigation, Master File No. MDL 496 (J.P. MDL); In re Standard Screws Antitrust

   Litigation, Master File No. MDL 443, U.S.D.C., Eastern District of Pennsylvania; In re Electric

   Weld Steel Tubing Antitrust Litigation - II, Master File No. 83-0163, U.S.D.C., Eastern District of

   Pennsylvania; Leroy G. Meshel, et al. v. Nutri-Systems, Inc., et al., U.S.D.C., Eastern District of

   Pennsylvania, Civil Action No. 83-1440; In re Corrugated Container Antitrust Litigation, U.S.D.C.,

   Southern District of Texas, Houston Division, MDL 310; In re Three Mile Island Litigation,

   U.S.D.C., Middle District of Pennsylvania, Civil Action No. 79-0432; Township of Susquehanna,

   et al. v. GPU, et al., U.S.D.C., Middle District of Pennsylvania, Civil Action No. 81-0437 (a Three

   Mile Island case); Donald A. Stibitz, et al. v. General Public Utilities Corporation, et al., No. 654

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   S 1985 (C.P. Dauphin County, Pa.) (a Three Mile Island case); Raymond F. Wehner, et al. v. Syntex

   Corporation and Syntex (U.S.A.) Inc., No. C-85-20383(SW) (N.D. Cal.) (first Superfund Class

   Action ever certified); In re Dun & Bradstreet Credit Services Customer Litigation, U.S.D.C.,

   Southern District of Ohio, Civil Action Nos. C-1-89-026, 89-051, 89-2245, 89-3994, 89-408;

   Malcolm Weiss v. York Hospital, et al., U.S.D.C., Middle District of Pennsylvania, Civil Action No.

   80-0134; In re Ramada Inns Securities Litigation, U.S.D.C., District of Delaware, Master File No.

   81-456; In re Playboy Securities Litigation, Court of Chancery, State of Delaware, New Castle

   County, Civil Action No. 6806 and 6872; In re Oak Industries Securities Litigation, U.S.D.C.,

   Southern District of California, Master File No. 83-0537-G(M); Dixie Brewing Co., Inc., et al. v.
   John Barth, et al., U.S.D.C., Eastern District of Pennsylvania, Civil Action No. 84-4112; In re

   Warner Communications Securities Litigation, U.S.D.C., Southern District of New York, Civil

   Action No. 82-CV-8288; In re Baldwin United Corporation Litigation, U.S.D.C., Southern District

   of New York, MDL No. 581; Zucker Associates, Inc., et al. v. William C. Tallman, et al. and Public

   Service Company of New Hampshire, U.S.D.C., District of New Hampshire, Civil Action No. C86-

   52-D; In re Shopping Carts Antitrust Litigation, MDL No. 451, Southern District of New York;

   Charal v. Andes, et al., C.A. No. 77-1725; Hubner v. Andes, et al., C.A. No. 78-1610 U.S.D.C.,

   Eastern District of Pennsylvania; In re Petro-Lewis Securities Litigation, 84-C-326, U.S.D.C.,

   District of Colorado; Gentry v. C & D Oil Co., 102 F.R.D. 490 (W.D. Ark. 1984); In re Hops

   Antitrust Litigation, C.A. No. 84-4112, U.S.D.C., Eastern District of Pennsylvania; In re North

   Atlantic Air Travel Antitrust Litigation, No. 84-1013, U.S.D.C., District of Columbia;

   Continental/Midlantic Securities Litigation, No. 86-6872, U.S.D.C., Eastern District of

   Pennsylvania; In re Fiddler’s Woods Bondholders Litigation, Civil Action No. 83-2340 (E.D. Pa.)

   (Newcomer, J.); Fisher Brothers v. Cambridge-Lee Industries, Inc , et al., Civil Action No. 82-4941,

   U.S.D.C., Eastern District of Pennsylvania; Silver Diversified Ventures Limited Money Purchase

   Pension Plan v. Barrow, et al., C.A. No. B-86-1520-CA (E.D. Tex.) (Gulf States Utilities Securities

   Litigation); In re First Jersey Securities Litigation, C.A. No. 85-6059 (E.D. Pa.); In re Crocker

   Shareholder Litigation, Cons. C.A. No. 7405, Court of Chancery, State of Delaware, New Castle

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   County; Mario Zacharjasz, et al. v. The Lomas and Nettleton Co., Civil Action No. 87-4303,

   U.S.D.C., Eastern District of Pennsylvania; In re People Express Securities Litigation, Civil Action

   No. 86-2497, U.S.D.C., District of New Jersey; In re Duquesne Light Shareholder Litigation, Master

   File No. 86-1046 U.S.D.C., Western District of Pennsylvania (Ziegler, J.); In re Western Union

   Securities Litigation, Master File No. 84-5092 (JFG), U.S.D.C., District of New Jersey; In re TSO

   Financial Litigation, Civil Action No. 87-7903, U.S.D.C., Eastern District of Pennsylvania; Kallus

   v. General Host, Civil Action No. B-87-160, U.S.D.C., District of Connecticut; Staub, et al. v.

   Outdoor World Corp., C.P. Lancaster County, No. 2872-1984; Jaroslawicz, et al. v. Englehard

   Corp., U.S.D.C., District of New Jersey, Civil Action No. 84-3641F; In re Boardwalk Marketplace
   Securities Litigation, U.S.D.C., District of Connecticut, MDL No. 712 (WWE); In re Goldome

   Securities Litigation, U.S.D.C., Southern District of New York, Civil Action No. 88-Civ-4765; In

   re Ashland Oil Spill Litigation, U.S.D.C., Western District of Pennsylvania, Master File No. M-

   14670; Rosenfeld, et al. v. Collins & Aikman Corp., U.S.D.C., Eastern District of Pennsylvania, Civil

   Action No. 87-2529; Gross, et al. v. The Hertz Corporation, U.S.D.C., Eastern District of

   Pennsylvania, Master File, No. 88-661; In re Collision Near Chase, Maryland on January 4, 1987

   Litigation, U.S.D.C., District of Maryland, MDL Docket No. 728; In re Texas International

   Securities Litigation, U.S.D.C., Western District of Oklahoma, MDL No. 604, 84 Civ. 366-R; In re

   Chain Link Fence Antitrust Litigation, U.S.D.C., District of Maryland, Master File No. CLF-1; In

   re Winchell’s Donut House, L.P. Securities Litigation, Court of Chancery of the State of Delaware,

   New Castle County, Consolidated Civil Action No. 9478; Bruce D. Desfor, et al. v. National

   Housing Ministries, et al., U.S.D.C., Eastern District of Pennsylvania, Civil Action No. 84-1562;

   Cumberland Farms, Inc., et al. v. Browning-Ferris Industries, Inc., et al., U.S.D.C., Eastern District

   of Pennsylvania, Master File No. 87-3717; In re SmithKline Beckman Corp. Securities Litigation,

   U.S.D.C., Eastern District of Pennsylvania, Master File No. 88-7474; In re SmithKline Beecham

   Shareholders Litigation, Court of Common Pleas, Phila. County, Master File No. 2303; In re First

   Fidelity Bancorporation Securities Litigation, U.S.D.C., District of New Jersey, Civil Action No.

   88-5297 (HLS); In re Qintex Securities Litigation, U.S.D.C., Central District of California, Master

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   File No. CV-89-6182; In re Sunrise Securities Litigation, U.S.D.C., Eastern District of Pennsylvania,

   MDL No. 655; David Stein, et al. v. James C. Marshall, et al., U.S.D.C., District of Arizona, No.

   Civ. 89-66 (PHX-CAM); Residential Resources Securities Litigation, Case No. 89-0066 (D. Ariz.);

   In re Home Shopping Network Securities Litigation -- Action I (Consolidated Actions), Case No. 87-

   428-CIV-T-13A (M.D. Fla.); In re Kay Jewelers Securities Litigation, Civ. Action Nos. 90-1663-A

   through 90-1667-A (E.D. Va.); In re Rohm & Haas Litigation, Master File Civil Action No. 89-2724

   (Coordinated) (E.D. Pa.); In re O’Brien Energy Securities Litigation, Master File No. 89-8089 (E.D.

   Pa.); In re Richard J. Dennis & Co. Litigation, Master File No. 88-Civ-8928 (MP) (S.D. N.Y.); In

   re Mack Trucks Securities Litigation, Consolidated Master File No. 90-4467 (E.D. Pa.); In re Digital
   Sound Corp., Securities Litigation, Master File No. 90-3533-MRP (BX) (C.D. Cal.); In re Philips

   N.V. Securities Litigation, Master File No. 90-Civ.-3044 (RPP) (S.D.N.Y.); In re Frank B. Hall &

   Co., Inc. Securities Litigation, Master File No. 86-Civ.-2698 (CLB) (S.D.N.Y.); In re Genentech,

   Inc. Securities Litigation, Master File No. C-88-4038-DLJ (N.D. Cal.); Richard Friedman, et al. v.

   Northville Industries Corp., Supreme Court of New York, Suffolk County, No. 88-2085; Benjamin

   Fishbein, et al. v. Resorts International, Inc., et al., No. 89 Civ.6043(MGC) (S.D.N.Y.); In re Avon

   Products, Inc. Securities Litigation, No. 89, Civ. 6216 (MEL), (S.D.N.Y.); In re Chase Manhattan

   Securities Litigation, Master File No. 90 Civ. 6092 (LJF) (S.D.N.Y.); In re FPL Group Consolidated

   Litigation; Case No. 90-8461 Civ. Nesbitt (S.D. Fla.); Daniel Hwang, et al v. Smith Corona Corp.,

   et al, Consolidated No. B89-450 (TFGD) (D. Ct.); In re Lomas Financial Corp. Securities

   Litigation, C.A. No. CA-3-89-1962-G (N.D. Tex.); In re Tonka Corp. Securities Litigation,

   Consolidated Civil Action No. 4-90-2 (D. Minnesota); In re Unisys Securities Litigation, Master File

   No. 89-1179 (E.D. Pa.); In re Alcolac Inc. Litigation, Master File No. CV490-261 (Cir. Ct. Saline

   Cty. Marshall, Missouri); In re Clozapine Antitrust Litigation, Case No. MDL874 (N.D. Ill.); In re

   Jiffy Lube Securities Litigation, C.A. No. JHY-89-1939 (D. Md.); In re Beverly Enterprises

   Securities Litigation, Master File No. CV-88-01189 RSWL (Tx.) [Central District CA]; In re Kenbee

   Limited Partnerships Litigation, CV-91-2174 (GEB) (District of NJ); Greentree v. Procter &

   Gamble Co., C.A. No. 6309, April Term 1991 (C.C.P. Phila. Cty.); Moise Katz, et al v. Donald A.

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   Pels, et al and Lin Broadcasting Corp., No. 90 Civ. 7787 (KTD) (S.D.N.Y.); In re Airlines Antitrust

   Litigation, MDL No. 861 (N.D. GA.); Fulton, Mehring & Hauser Co., Inc., et al. v. The Stanley

   Works, et al., No. 90-0987-C(5) (E.D. Mo.); In re Mortgage Realty Trust Securities Litigation,

   Master File No. 90-1848 (E.D. Pa.); Benjamin and Colby, et al. v. Bankeast Corp., et al., C.A. No.

   C-90-38-D (D.N.H.); In re Royce Laboratories, Inc. Securities Litigation, Master File Case No. 92-

   0923-Civ-Moore (S.D. Fla.); In re United Telecommunications, Inc. Securities Litigation, Case No.

   90-2251-0 (D. Kan.); In re U.S. Bioscience Securities Litigation, C.A. No. 92-678 (E.D. Pa.); In re

   Bolar Pharmaceutical Co., Inc. Securities Litigation, C.A. No. 89 Civ. 17 (E.D. N.Y.); In re PNC

   Securities Litigation, C.A. No. 90-592 (W.D. Pa.); Raymond Snyder, et al. v. Oneok, Inc., et al., C.A.
   No. 88-C-1500-E (N.D. Okla.); In re Public Service Company of New Mexico, Case No. 91-0536M

   (S.D. Cal.); In re First Republicbank Securities Litigation, C.A. No. CA3-88-0641-H (N.D. Tex,

   Dallas Division); and In re First Executive Corp. Securities Litigation, Master File No. CV-89-7135

   DT (C.D. Calif.).

                                               *     *     *

                  Several courts have favorably commented on the quality of work performed of Arnold

   Levin, Levin, Fishbein, Sedran & Berman, and Mr. Levin’s former firm, Adler, Barish, Levin &

   Creskoff.

                  Judge Rambo of the United States District Court for the Middle District of

   Pennsylvania has favorably acknowledged the quality of work of the law firm in her opinion in In

   re Three Mile Island Litigation, 557 F. Supp. 96 (M.D. Pa. 1982). In that case, the firm was a

   member of the Executive Committee charged with overall responsibility for the management of the

   litigation. Notably, the relief obtained included the establishment of a medical monitoring fund for

   the class. See also, Township of Susquehanna, et al. v. GPU, et al., U.S.D.C., Middle District of

   Pennsylvania, Civil Action No. 81-0437.

                  In certifying the class in Weiss v. York Hospital, Judge Muir found that “plaintiff’s

   counsel are experienced in the conduct of complex litigation, class actions, and the prosecution of

   antitrust matters.” Weiss v. York Hospital, No. 80-0134, Opinion and Order of May 28, 1981 at 4

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   (M.D. Pa. Mar. 1981). See also, Weiss v. York Hospital, 628 F. Supp. 1392 (M.D. Pa. 1986). Judge

   Muir, in certifying a class for settlement purposes, found plaintiff’s attorneys to be adequate

   representatives in In re Anthracite Coal Antitrust Litigation, Nos. 76-1500, 77-699, 77-1049 and

   found in the decision that “the quality of the work performed by Mr. Levin and by the attorneys from

   Adler-Barish [a predecessor to Levin, Fishbein, Sedran & Berman] who assisted him -- as exhibited

   both in the courtroom and in the papers filed -- has been at a high level.” In re Anthracite Coal

   Antitrust Litigation, (M.D. Pa., Jan. 1979). Judge Muir also approved of class counsel in the

   certification decision of Holmes, et al. v. Penn Security and Trust Co., et al., No. 80-0747. Chief

   Judge Nealon found plaintiffs’ counsel to satisfy the requirement of adequate representation in
   certifying a class in Beck v. The Athens Building & Loan Assn., No. 73-605 at 2 (D. Pa. Mar. 22,

   1979). Judge Nealon’s opinion relied exclusively on the Court’s Opinion in Sommers v. Abraham

   Lincoln Savings & Loan Assn., 66 F.R.D. 581, 589 (E.D. Pa. 1975) which found that “there is no

   question that plaintiffs’ counsel is experienced in the conduct of a class action....”

                   Judge Bechtle in the Consumer Bags Antitrust Litigation, Civil Action No. 77-1516

   (E.D. Pa.), wherein Arnold Levin was lead counsel for the consumer class, stated with respect to

   petitioner:

                           Each of the firms and the individual lawyers in this
                           case have extensive experience in large, complex
                           antitrust and securities litigation.

                           Furthermore, the Court notes that the quality of the
                           legal services rendered was of the highest caliber.

                   In Gentry v. C&D Oil Company, 102 F.R.D. 490 (W.D. Ark. 1984), the Court

   described counsel as “experienced and clearly able to conduct the litigation.”

                   In Jaroslawicz v. Engelhard Corp., No. 84-3641 (D.N.J.), in which this firm played

   a major role, the Court praised plaintiffs’ counsel for their excellent work and the result achieved.

                   In In Re: Orthopedic Bone Screw Products Liability Litigation, 2000 WL 1622741,

   *7 (E.D.Pa. 2000), the Court lauded Levin, Fishbein, Sedran & Berman counsel as follows: “The

   court also finds that the standing and expertise of counsel for [plaintiffs] is noteworthy. First, class


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   counsel is of high caliber and most PLC members have extensive national experience in similar class

   action litigation.”

                   In In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Products Liability

   Litigation, MDL Docket No. 1203, the Court commented on Levin, Fishbein, Sedran & Berman’s

   efforts regarding the creation of the largest nationwide personal injury settlement to date as a

   “remarkable contribution”. PTO No. 2622 (E.D.Pa. October 3, 2002).

                   The firm has played a major role in most pharmaceutical litigation in the last 20 years.

   The firm is listed by Martindale-Hubbell in the Bar Register of Preeminent Lawyers.




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                        Exhibit 17
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                              IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY



   IN RE: JOHNSON & JOHNSON                                Master Docket No. 3:16-md-2738 (FLW)
   TALCUM POWDER PRODUCTS
   MARKETING, SALES PRACTICES                              MDL 2738
   AND LIABILITY LITIGATIONS
                                                           Honorable Freda L. Wolfson

   This document relates to:

   Mihalich v. Johnson & Johnson, et al.,                  Case No.: 3:16-cv-6695 (FLW)
   S.D. Illinois, C.A. No. 3:14-00600

   Estrada v. Johnson & Johnson, et al.,                   Case No.      3:16-cv-7492 (FLW)
   E.D. California, C.A. No. 2:14-01051




   ---------------------------------------------------------------------------------------------------------------------
    CONSUMER PROTECTION PLAINTIFFS’ APPLICATION FOR APPOINTMENT OF
          TIMOTHY G. BLOOD AS INTERIM LEAD CLASS COUNSEL AND TO THE
                                  PLAINTIFFS’ STEERING COMMITTEE
   ---------------------------------------------------------------------------------------------------------------------



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                                                                  Paula R. Brown
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   I.         INTRODUCTION

              This MDL proceeding involves both personal injury cases and consumer protection class

   actions that generally relate to the sale of talc-based baby powder. There are two Consumer

   Protection Actions currently in this MDL – Mihalich v. Johnson & Johnson, No. 3:13-cv-00600

   (S.D. Ill.) and Estrada v. Johnson & Johnson, No. 2:14-cv-01051 (E.D. Cal.). Plaintiffs in the

   Consumer Protection Actions respectfully request appointment pursuant to Fed. R. Civ. Proc.

   23(g) of Timothy G. Blood of Blood Hurst & O’Reardon, LLP as Interim Lead Class Counsel for

   the Consumer Protection Actions and appointment to the Plaintiffs’ Steering Committee (“PSC”)

   for formal coordination with the personal injury cases.

              Mr. Blood readily meets the criteria for appointment as Interim Lead Class Counsel under

   Rule 23(g). He is recognized nationally for his ability to lead and successfully resolve complex

   consumer class action cases, including in complex multi-district litigation. Mr. Blood has spent

   his career litigating on behalf of consumers and has achieved extraordinary results in numerous

   class actions involving deceptive trade practices and false advertising similar to those at issue

   here. He has also achieved successful recoveries in class actions adjudicated in MDL matters,

   and is well-versed in Third Circuit, local, and MDL practice and procedure. In light of these

   accomplishments, all counsel for the Consumer Protection Action plaintiffs support his

   appointment and defendants in the Consumer Protection Actions do not oppose the appointment.

              Mr. Blood has already invested substantial resources towards advancing the litigation.

   With the assistance of co-counsel, Mr. Blood has briefed four rounds of motions to dismiss,

   engaged in discovery, consulted with and retained experts, and coordinated litigation efforts with

   attorneys in the personal injury cases.

              For these reasons, more fully explained below, the Consumer Protection Action plaintiffs


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   request that Mr. Blood be appointed Interim Lead Class Counsel for the Consumer Protection

   Actions and to the PSC to efficiently and effectively coordinate with the personal injury cases.

   II.        STATEMENT OF FACTS

              Each of the Consumer Protection Actions was brought as a class action under state

   consumer protection laws generally alleging that Johnson & Johnson and Johnson & Johnson

   Consumer, Inc. (together, “J&J”) violated these laws by selling its talc-based Baby Powder

   through false advertising, including implied advertising messages that the products are safe to

   use and omitting material facts that using cosmetic talc in the very manner intended can result in

   an increased risk of ovarian cancer. Unlike the personal injury actions, the Consumer Protection

   Actions concern the sale of a falsely advertised product and seek traditional legal and equitable

   relief available under the state consumer protection laws, and not personal injury damages.

              The plaintiffs in both Consumer Protection Actions are represented by the same counsel

   and all agree that Mr. Blood should be appointed Interim Lead Class Counsel.

   III.       ARGUMENT

              When appointing plaintiffs’ interim lead counsel, courts generally consider: (1) counsel’s

   experience in litigating class actions, other complex litigation, and the type of claims asserted in

   the action; (2) counsel’s knowledge of applicable law; (3) the work counsel performed in

   investigating potential claims relating to the action; (4) counsel’s ability to commit sufficient

   resources to represent the class; and (5) any other matters pertinent to counsel’s ability. Fed. R.

   Civ. P. 23(g)(1); Waudbey v. Verizon Wireless Servs., LLC, 248 F.R.D. 173, 175-76 (D.N.J.

   2008).

              Mr. Blood’s experience leading and successfully resolving complex class actions,

   familiarity with applicable law, proven willingness and ability to commit the necessary resources


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   to ensure the vigorous prosecution of this matter, and demonstrated ability to work cooperatively

   with others, support that Mr. Blood is well-qualified to serve as Interim Lead Class Counsel.

              A.     Mr. Blood Is Highly Experienced in Leading and Successfully Resolving
                     Complex Consumer Class Actions Involving Claims Similar to Those at Issue
                     in This MDL

              Mr. Blood has extensive experience litigating a variety of significant class actions with an

   emphasis on the type of state consumer protection claims at issue here. As detailed below, and in

   the resume submitted to the Court as Exhibit A, this experience includes leading a team of

   lawyers in multistate litigation to obtain the largest food industry false advertising recovery in

   history. In another first for consumer protection, Mr. Blood has also partnered with the Federal

   Trade Commission, with one case resulting in the largest false advertising recovery in FTC

   history.

              Mr. Blood has exhibited the ability to successfully and efficiently lead by coordinating

   with groups of plaintiffs’ counsel and defendants. Examples include an MDL proceeding

   procedurally similar to this one, In re Hydroxycut Mktg. and Sales Practices Litig., MDL No.

   2087 (S.D. Cal., Hon. Ted Moskowitz), where he led all discovery, motion practice, and

   settlement negotiations for the class actions from inception. This required coordination of dozens

   of separately filed consumer class actions from most of the states with numerous plaintiffs’

   counsel and counsel from hundreds of parallel personal injury actions. Mr. Blood coordinated

   efforts between the consumer class actions and personal injury cases to effectively and

   efficiently move the litigation forward.

              Similarly, in In re Sony Gaming Networks and Customer Data Sec. Breach Litig., MDL

   No. 2258 (S.D. Cal.), Judge Anthony J. Battaglia selected a six member steering committee to

   run the case. Mr. Blood was appointed to the steering committee, which was the group that led



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   the case, but also gave Mr. Blood authority and duties beyond those of the steering committee

   members, including responsibility for actively coordinating discovery, motion practice, and

   settlement among the other appointed steering committee members.

              As one of two lead class counsel and a member of plaintiffs’ steering committee in the

   California statewide coordinated action, In re Toyota Motor Cases, JCCP No. 4621 (Cal. Super.

   Ct., Los Angeles Cnty., Hon. Anthony J. Mohr), Mr. Blood was responsible for litigating the

   consumer class actions brought on behalf of California owners/lessees of Toyota vehicles

   relating to unintended acceleration. This required extensive coordination with other plaintiffs’

   counsel, including the court-appointed leaders of the parallel MDL action pending in the Central

   District of California.

              Confidence in Mr. Blood’s ability in consumer protection actions extends to the primary

   federal agency tasked with consumer protection, the Federal Trade Commission (“FTC”), and

   other government agencies. As lead counsel, Mr. Blood has worked with the FTC and nearly all

   of the state attorneys’ general (or corresponding state consumer protection offices) in a

   coordinated effort to resolve corresponding public and private false advertising actions brought

   on behalf of consumers. As lead counsel in In re Skechers Toning Shoes Prods. Liab. Litig.,

   MDL No. 2308 (W.D. Ky., Hon. Thomas B. Russell) and In re Reebok Easytone Litig., No. 4:10-

   cv-11977 (D. Mass., Hon. F. Dennis Saylor), Mr. Blood worked with the FTC in a unique

   public-private partnership to obtain record setting recoveries for consumers. The class action

   settlement in In re Skechers was the largest false advertising recovery in the history of the FTC.

              Other recent appointments as lead class counsel in national or multistate consumer class

   actions involving falsely advertised consumer products include Mullins v. Premier Nutrition

   Corp., No. 3:13-cv-01271 (N.D. Cal., Hon. Richard Seeborg) (false advertising concerning


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   glucosamine/chondroitin supplement); Rikos v. The Procter & Gamble Co., No. 1:11-cv-226

   (S.D. Ohio, Hon. Timothy S. Black)( false adverting concerning probiotic dietary supplement);

   Murr v. Capital One Bank (USA), N.A., No. 1:13-cv-1091 (E.D. Va., Hon. Leonie M. Brinkema)

   (consumer protection claims involving credit cards); Johns v. Bayer Corp., No. 09-cv-1935 (S.D.

   Cal., Hon. Anthony J. Battaglia) (certifying UCL and CLRA claims in action involving false

   advertising); Rosales v. FitFlop USA LLC, No. 11-cv-0973 (S.D. Cal., Hon. Thomas J. Whelan)

   (nationwide false advertising action); Johnson v. Gen. Mills, Inc., No. 8:10-cv-61 (C.D. Cal.,

   Hon. Cormac J. Carney) (certifying UCL and CLRA claims in action involving false

   advertising); In re Enfamil Lipil Mktg. and Sales Practices Litig., MDL No. 2222 (S.D. Fla.,

   Hon. James I. Cohn) (false advertising and labelling of infant formula).

              Mr. Blood is also responsible for a number of favorable published appellate decisions. A

   partial list of precedent-setting consumer protection decisions relevant to this matter, include:

   Rikos v. P&G, 799 F.3d 497 (6th Cir. 2015) (consumer protection and false advertising), cert.

   denied, 2016 U.S. LEXIS 2244 (U.S. Mar. 28, 2016); Corvello v. Wells Fargo Bank, N.A., 728

   F.3d 878 (9th Cir. 2013) (consumer protection); Fitzpatrick v. General Mills, Inc., 635 F.3d 1279

   (11th Cir. 2011) (consumer protection and false advertising); Kwikset Corp. v. Super. Ct., 51 Cal.

   4th 310 (2011) (consumer protection and false advertising); McKell v. Wash. Mut. Bank, Inc.,

   142 Cal. App. 4th 1457 (2006); Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070 (2004);

   and Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003) (consumer law and false

   advertising).

              Finally, Mr. Blood brings to this action a demonstrated capacity for a productive,

   cooperation-based approach to litigation that is essential to efficiently handling complex matters

   such as an MDL proceeding. See Juan Carlos Rodriguez, Titan of the Plaintiffs Bar: Tim Blood,


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   Law360 (Sept. 25, 2014), http://www.law360.com/articles/580600/titan-of-the-plaintiffs-bar-tim-

   blood. Mr. Blood’s ability to work productively with defense counsel in false advertising and

   consumer product cases such as this also is demonstrated by the regular invitations he receives to

   speak at organizations such as the Grocery Manufacturers Association, the primary trade group

   for food, beverage, and consumer product companies. His ability to productively lead other

   lawyers is also demonstrated by his involvement in bar activities, including serving as the 2015

   president of the Consumer Attorneys of San Diego and an executive officer from 2013 to the

   present of Consumer Attorneys of California.

              B.     Mr. Blood’s Advancement of the Matter

              As repeatedly demonstrated in other cases, Mr. Blood and his firm are willing and able to

   commit the necessary resources to this litigation to adequately represent plaintiffs and the

   proposed classes through trial and, if needed, on appeal.

              Mr. Blood and his firm have committed appropriate, yet substantial time and resources to

   organizing and working with the other Consumer Protection Action plaintiffs’ counsel toward

   the advancement of the litigation, investigating and researching the potential legal theories and

   claims at issue and researching and reviewing information related to the factual issues of this

   litigation.

              Mr. Blood and his firm diligently devoted substantial time and effort to investigating the

   facts and potential claims at issue including, gathering and reviewing numerous documents from

   public sources, reviewing numerous scientific studies on the health effects at issue, consulting

   with experts, researching and considering potentially applicable legal theories and claims, and

   considering and discussing the most efficient means to streamline the prosecution of the

   Consumer Protection Actions. Mr. Blood and his firm, along with the assistance of co-counsel,


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   have also briefed four rounds of motions to dismiss, engaged in discovery, and began to prepare

   for class certification. They have created a document database and have been reviewing the

   documents in that database.

              Organizing plaintiffs’ counsel is crucial to litigating complex class actions in an efficient

   and effective manner – particularly in an MDL like this involving both personal injury and

   consumer protection cases. Recognizing this fact, before the start of the MDL process and during

   the MDL process, Mr. Blood reached out to personal injury plaintiffs’ counsel to organize and

   coordinate efforts. As a result, Mr. Blood has an excellent working relationship with the

   Proposed Lead Counsel for the personal injury plaintiffs and has already begun to coordinate the

   litigation so that costs and efforts, to the extent they can be shared, are not duplicated.

              C.     Mr. Blood’s Firm Is Well-Capitalized and Has the Demonstrated Willingness
                     and Ability to Expend the Resources Required to Advance the Litigation

              Mr. Blood is willing and able to expend the necessary resources to ensure the vigorous

   prosecution of Consumer Protection Plaintiffs’ claims. Mr. Blood’s resume (Ex. A) demonstrates

   his records of success leading and funding complex consumer class action cases against some of

   the largest and wealthiest corporations in the world. The experience here will be no different. Mr.

   Blood and his firm possess and will devote the resources necessary to fund the Consumer

   Protection Actions through pretrial, trial, and appeals.

   IV.        APPOINTMENT OF MR. BLOOD TO THE PSC IS APPROPRIATE

              Consumer Protection Plaintiffs also ask that Mr. Blood be appointed to the PSC to permit

   formal coordination of the Consumer Protection Actions with the personal injury cases.

   Coordination is particularly important with regard to discovery. Although there is overlap, each

   set of cases has different discovery needs and different emphasis within a topic of discovery with

   regard to certain documents or witnesses. If discovery is not coordinated, a witness may end up

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   being deposed twice, documents inefficiently produced or reviewed, or third parties inefficiently

   subpoenaed. Mr. Blood’s presence on the PSC will ensure that the cooperative approach the

   lawyers in both sets of cases have taken to date continues and that both sets of cases are

   effectively and efficiently coordinated.

   V.         CONCLUSION

              For the foregoing reasons, the Court should appoint Timothy G. Blood pursuant to Rule

   23(g) as Interim Lead Class Counsel for the Consumer Protection Actions, and to the Plaintiffs’

   Steering Committee.

                                                  Respectfully submitted,

   Dated: November 21, 2016                       BLOOD HURST & O’REARDON, LLP
                                                  Timothy G. Blood
                                                  Paula R. Brown


                                                  By:           s/ Timothy G. Blood
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                                     CERTIFICATE OF SERVICE

              The undersigned hereby certifies that a copy of the foregoing was electronically filed

   with the United States District Court, District of New Jersey, via the Court’s CM/ECF filing

   system, which will send notification of such filing to counsel of record, on November 21, 2016.

                                                                  s/ Timothy G. Blood
                                                                 TIMOTHY G. BLOOD




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                        Exhibit 18
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                                            Sindhu S. Daniel

   Introductory Blurb
   Sindhu Daniel is a shareholder and co-manages the Pharmaceutical Litigation Group at Baron &
   Budd. For the past 16 years, Sindhu’s practice has been concentrated in complex personal injury
   litigation involving pharmaceutical drugs and medical devices. She has played significant roles
   in cases involving the marketing practices and product liability issues of companies which make
   drugs and devices like Vioxx, Tylenol, Granuflo, Fosamax, Celebrex, and total Hip and Knee
   Replacements .

   Full Biography
   Sindhu Daniel has a passion for representing people harmed by big pharmaceutical companies
   which have marketed their products as safe when they are not or have otherwise misrepresented
   the efficacy and toxicity of their medical commodities. Over the course of her career Ms. Daniel
   has played significant roles in complex multi-district litigation involving Vioxx, Fresenius
   Granuflo/Naturalyte dialysis products, Actos, DePuy Orthopaedics and Celebrex, to name a few.
   Among her work on numerous settlements, she was instrumental in the $4.85 billion settlement
   in In Re: Vioxx Products Liability Litig. (E.D. La, MDL No. 1657), involving injuries of heart
   attack, stroke and sudden cardiac death caused by the pain killer’s blockage of an important
   blood pressure regulating enzyme in the body, a $2.5 billion settlement in In Re: DePuy
   Orthopaedics ASR Products Liability Litig. (N.D. Ohio, MDL No. 2197), involving injuries
   caused by design flaws in hip implants, and a substantial settlement in In Re: Fosamax Products
   Liability Litig. (S.D.N.Y, MDL No. 1789), involving the injury of osteonecrosis of the jaw.

   Ms. Daniel has also served as co-lead negotiator on behalf of a large group of plaintiffs in a case
   involving severe and permanent injuries caused by transvaginal mesh implants. She was
   instrumental in building consensus with other plaintiffs’ attorneys and actively led negotiations
   with defendants. In addition, Ms. Daniel has extensive experience in devising settlement
   matrices used to allocate funds in pharmaceutical and medical device mass torts. She has also
   successfully negotiated numerous confidential settlements in complex mass tort litigations.

   In 2015, Sindhu Daniel was appointed as a Plaintiff’s Steering Committee (PSC) member by the
   Honorable Judge Eldon E. Fallon in In Re: Xarelto (Rivaroxaban) Products Liability Litigation
   (E.D. La., MDL No. 2592), involving uncontrolled bleeding and a tenfold increase in the risk of
   wound infection following certain surgeries. She currently holds positions as co-chairs of the
   Administrative Committee and Privilege-Log Subcommittee. Additionally, as a member of the
   Bellwether Committee, Ms. Daniel serves as the point person between plaintiffs and MDL
   Centrality, an online exchange portal that facilitates the assembly, organization, inventory,
   exchange, and analysis of massive amounts of data and documents, and provides an automated
   method to serve, store, monitor and use Plaintiff and Defendant Fact Sheet information. In this
   capacity, Ms. Daniel organizes and evaluates large amounts of data and provides critical case
   information to her respective plaintiff’s committees which is used to devise bellwether strategy
   and analyze cases for trial selection. In 2016, she was appointed as a PSC member by the
   Honorable Kathryn Vratil in In Re: Ethicon, Inc., Power Morcellator Products Liability
   Litigation (D. Kansas, MDL No. 2652).
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   Ms. Daniel was also appointed by the Plaintiffs’ Executive Committee to serve as co-chair of the
   Plaintiff’s Bellwether Committee in In Re: Fresenius Granuflo/Naturalyte Dialysis Products
   Liability Litig. (D. Mass., MDL No. 2428), which involves sudden, fatal heart attacks caused by
   drugs used to neutralize the buildup of acid in the body during kidney dialysis. As part of her
   responsibilities on these important cases, Ms. Daniel has worked with her colleagues to develop
   case evaluation grids instrumental in tracking similar themes among large pools of plaintiffs.

   Serving in these leadership roles, Ms. Daniel routinely navigates the intricate issues which
   frequently present themselves in complex mass torts. She works closely with other plaintiffs’
   attorneys to build consensus on a coordinated approach to litigation. With such extensive
   experience, Ms. Daniel is a frequent speaker and presenter at various continuing legal education
   seminars and webinars which deal with issues pertaining to emerging mass tort litigation. She
   has also been invited to share her knowledge by lecturing at national litigation seminars.

   Ms. Daniel graduated from Temple University in Philadelphia, Pennsylvania in 1991 and Temple
   University James E. Beasley School of Law in 1994. She is licensed in Pennsylvania, New
   Jersey and Michigan.

   Education
   Temple University School of Law, (J.D. 1994)
   Temple University (BA 1991)

   Bar and Court Admissions
   Michigan
   New Jersey
   Pennsylvania
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                       Baron & Budd’s Practice and Accomplishments


                       FIRM OVERVIEW

                       Baron & Budd, P.C. is among the largest and most accomplished plaintiffs’ law
                       firms in the country. With almost 40 years of experience, Baron & Budd has the
                       expertise and resources to handle complex litigation throughout the United States.
                       As a law firm that takes pride in remaining at the forefront of litigation, Baron &
                       Budd has spearheaded many significant cases for entities and individuals.

                       Since the firm was founded in 1977, Baron & Budd has achieved substantial
                       national acclaim for its work on cutting-edge litigation:

                               In 2016, shareholders Russell Budd and Thomas Sims were appointed to
                               the Plaintiffs’ Steering Committee in litigation involving health issues
                               linked to Fluoroquinolone use; Russell Budd was also appointed
                               Plaintiffs’ Co-lead Counsel in this litigation.

                               In 2016, shareholder Carla Burke Pickrel was named to the named to the
                               National Trial Lawyers Top 100 Trial Lawyers List for her tireless work
                               representing hundreds of public entities over more than a decade in a wide
                               variety of cases involving drinking water contamination from dangerous
                               chemicals such as atrazine, PCE, MTBE and PCBs.

                               In 2016, shareholder J. Todd Kale was named to the National Trial
                               Lawyers Top 100 Trial Lawyers List for his work fighting against
                               companies that knowingly exposed people to asbestos. Kale has spent
                               more than two decades helping victims of asbestos exposure and their
                               families.

                               In 2016, shareholder Roland Tellis was appointed to the Plaintiffs’
                               Steering Committee in litigation involving the marketing and sales
                               practices of Volkswagen’s “clean diesel” vehicles.

                               In 2015, shareholder Russell Budd was appointed to the Plaintiffs’
                               Steering Committee in litigation involving health issues linked to the drug
                               Zofran.

                               In 2015, shareholder Russell Budd was appointed to the Plaintiffs’
                               Steering Committee in litigation involving health issues linked to Inferior
                               Vena Cava Filters (IVCs).
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                        Shareholder Scott Summy was selected to the 2016 edition of The Best
                        Lawyers in America. Shareholders Russell Budd and Scott Summy were
                        both selected to Best Lawyers for 2014 and Summy has been selected to
                        Best Lawyers every year since 2006.

                        In 2014 Baron & Budd was named to the list of America’s Elite Trial
                        Lawyers by The National Law Journal in partnership with Law.com. This
                        illustrious list is comprised of 50 law firms that have achieved significant
                        results on behalf of plaintiffs within the previous year and have an
                        established track record of delivering impressive results.

                        In 2013, Baron & Budd was a finalist for the Public Justice Trial Lawyers
                        of the Year Award for the firm’s work on a $105 million settlement on
                        behalf of hundreds of public water providers across the Midwest who are
                        struggling with atrazine contamination in their source water.

                        In 2013, shareholder Burton LeBlanc was appointed to the Plaintiffs’
                        Steering Committee in litigation involving health issues linked to dialysis
                        product GranuFlo and its sister product, NaturaLyte.

                        In 2002-2006, 2008, 2011-2012, Baron & Budd was named to the
                        National Law Journal’s “Plaintiffs’ Hot List” of exemplary plaintiffs’
                        firms in the United States.

                        In September 2010, Baron & Budd was one of only four firms chosen to
                        serve on both the Plaintiffs’ Executive Committee and the Plaintiffs’
                        Steering Committee of the Multi-District Litigation in the Gulf Oil Spill
                        litigation.

                        In 2009, Baron & Budd was a finalist for the Public Justice Trial Lawyer
                        of the Year Award for its recovery of more than $400 million on behalf of
                        more than 150 municipalities from 17 states regarding contamination of
                        groundwater by the gasoline additive MTBE.

                        In 2007, shareholders Russell Budd and Burton LeBlanc were among 14
                        attorneys nationwide to be honored with the Wiedemann Wysocki
                        National Finance Council Award from the American Association for
                        Justice in recognition of their commitment to the legal profession and their
                        efforts to improve the civil justice system. LeBlanc was recognized for a
                        second time with the award in 2010.

                        In 2006, a team of Baron & Budd attorneys received the esteemed Trial
                        Lawyer of the Year Award by the legal non-profit organization, Public
                        Justice, for its work on Arizona groundwater contamination litigation that
                        spanned 21 years, involved over 1,600 plaintiffs, and resulted in a total
                        recovery of more than $150 million.
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                         In 2004, American Lawyer named Baron & Budd one of the sixteen most
                         successful plaintiffs’ firms in the country.

                         Baron & Budd has been repeatedly selected by The Legal 500 as one of
                         the country’s premier law firms in mass tort claims and class action
                         litigation.

                         Baron & Budd is serving, or has served, on the Plaintiffs’ Steering
                         Committee’s for the following: Fluoroquinolones, GranuFlo, IVC Filters,
                         Ethicon Power Morcellator, Transvaginal Mesh, Zofran, BP Oil Spill,
                         Chinese Drywall, Takata Air Bags and Volkswagen Clean Diesel.

                         Shareholder Burton LeBlanc served as president of the American
                         Association of Justice (AAJ) in 2013. AAJ is the largest trial lawyer non-
                         profit group in the United States.

                  Additional information about Baron & Budd is available on the firm’s website,
                  www.baronandbudd.com.
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                  SUMMARY OF SIGNIFICANT AREAS OF LITIGATION


                  FINANCIAL LITIGATION

                  $50 Million Wells Fargo Settlement Regarding Improper Markup of Fees for
                  Broker Price Opinions

                  Baron & Budd attorneys reached a $50 million settlement with Wells Fargo Bank,
                  resolving a case alleging improper markups of fees for broker price opinions
                  (BPOs). A BPO is an informal type of home appraisal prepared by a real estate
                  broker that a lender will typically demand once a borrower defaults on a
                  residential loan. Plaintiffs in the case alleged that their mortgage agreements
                  allowed Wells Fargo to pass through the costs of obtaining the BPOs from third
                  party real estate brokers, but Wells Fargo secretly charged more for the BPOs than
                  the company paid for them. Many homeowners sued, alleging violations of the
                  Racketeering Influenced and Corrupt Organizations (RICO) Act as well as fraud.
                  Plaintiffs’ RICO claim was certified as a class action months earlier. Under the
                  terms of the settlement, Wells Fargo will be required to automatically mail checks
                  to more than 250,000 mortgage holders, and class members will not need to fill
                  out a claim form or provide any other type of documentation in order to obtain
                  compensation.

                  $410 Million Bank of America Settlement Over Excessive Bank Overdraft Fees

                  Baron & Budd attorneys worked closely with other law firms in a class action
                  lawsuit asserting manipulation of data by banks to increase revenue from overdraft
                  fees. The firm helped achieve a $410 million settlement with Bank of America, the
                  largest bank involved in the bank overdraft fee litigation. The case alleged that
                  Bank of America, along with many other major banks, intentionally reordered
                  debit card transactions to promote overdraft fees. Not only did the case result in
                  repayment of most of these charges, but it also led to widespread changes in the
                  banking system. Because of this lawsuit, many large banks changed their overdraft
                  fee policies, no longer “reordering debits” and not offering “courtesy” overdraft
                  services without customer consent.

                  $110 Million Settlement with JP Morgan Chase Over Overdraft Fees Plus $150
                  Million in Business Practice Changes

                  Baron & Budd served on the Plaintiffs’ Steering Committee in a class action
                  lawsuit asserting manipulation of data by numerous national banks in order to
                  increase overdraft fee revenue. The firm led the negotiations in a $110 million
                  settlement with JP Morgan Chase regarding the bank’s manipulative overdraft fee
                  policies. The case alleged that JP Morgan Chase, along with a number of other
                  banks, intentionally reordered debit card transactions to promote overdraft fees.
                  Not only did the case result in repayment of many of these charges to consumers,
                  it also led to widespread changes in the banking system, affecting virtually every
                  American with a bank account. Because of the lawsuit, many large banks have
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                  changed their overdraft fee policies, no longer reordering debits and not offering
                  “courtesy” overdraft services without customer consent. Also, as part of the
                  negotiations, Chase agreed to not charge overdraft fees on debits of $5 or less.

                  In 2012, Baron & Budd lawyers were selected as finalists for the 2012 Trial
                  Lawyer of the Year Award by the legal non-profit organization Public Justice for
                  their groundbreaking work on the bank overdraft fee litigation.

                  Predatory Credit Card Practices

                  Baron & Budd represented the states of West Virginia, Mississippi and Hawaii in
                  litigation against national banks and other financial institutions regarding their
                  unfair and deceptive marketing practices related to their credit card service plans,
                  including payment protection plans. These defendants have preyed upon
                  unsuspecting consumers, including the elderly and the disabled, by charging them
                  for products ancillary to their credit cards when the consumers either did not
                  authorize such charges or could never qualify to benefit from them. The firm
                  settled the state of West Virginia’s claims in this litigation in 2013 for more than
                  $12.5 million. In 2014, the firm settled the claims of the state of Mississippi for
                  more than $15 million. The firm also settled the claims of the state of Hawaii in
                  2014 for more than $15.5 million.

                  Unlawful Default-Related Fees Charged to Home Mortgage Borrowers

                  Baron & Budd currently represents homeowners throughout the United States in
                  three separate class action cases regarding unlawfully marked-up and unnecessary
                  fees charged to borrowers who were late on their mortgage payments. The cases,
                  which have been brought against Wells Fargo, JP Morgan Chase and Citi, assert
                  that when borrowers fall behind on their mortgages, the banks assess fees for
                  property preservation, maintenance and appraisal services. According to the
                  lawsuits, however, in order to generate a profit, the banks add a mark-up to the
                  cost of the services and they order them when they are unnecessary. Furthermore,
                  the lawsuits assert that the banks use deceptive language on borrowers’ statements
                  to hide the true nature of the fees.

                  Manipulation of the London Interbank Offered Rate (“LIBOR”)

                  Baron & Budd represents homeowners throughout the United States in a case
                  regarding the unlawful manipulation of the London Interbank Offered Rate (the
                  “LIBOR” rate) by sixteen different banks, including Bank of America, Citi and JP
                  Morgan Chase. The LIBOR rate is one of the most popular benchmarks for
                  adjustable rate mortgages. The case asserts that the banks’ manipulation of the
                  LIBOR rate caused homeowners to pay higher interest rates on their adjustable
                  rate mortgage loans.

                  Stock Option Back-Dating

                  Baron & Budd achieved a $20 million settlement on behalf of individuals who
                  purchased Semtech stock. Firm shareholder Burton LeBlanc served as co-lead
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                  counsel in the case. Plaintiffs in the case alleged that Semtech manipulated grant
                  dates for stock options, which resulted in understatement of Semtech’s
                  compensation expenses and overstatement of its reported income.

                  Protecting Shareholders’ Interest in Corporate Transition

                  As co-lead counsel in In Re: 7-Eleven, Inc. Shareholders Litigation, Baron &
                  Budd represented shareholders in negotiations to increase the amount of an offer
                  in a transaction turning a publicly-traded company into a privately-held entity.
                  Baron & Budd achieved a $5 per share increase in the offer that provided an
                  additional $145 million to 7-Eleven shareholders.

                  Settlement of Mutual Fund Advisors’ Breaches of Fiduciary Duties

                  Baron & Budd represented shareholders in recovering funds in various mutual
                  fund families against the fund advisors for their breach of fiduciary duties for
                  failing to file proof of claim forms in settled securities cases for which the funds
                  were eligible. Baron & Budd reached a series of confidential settlements that
                  resulted in money being returned from the fund advisor to the mutual fund.

                  Protecting Public Investors from Corporate Self-Dealing

                  In 2010, Baron & Budd successfully protected the interests of public investors in
                  Affiliated Computer Services, Inc. (ACS). While ACS was being sold to Xerox,
                  ACS’s management and largest shareholder negotiated a better price for their own
                  shares as well as remarkable future employment compensation packages. The
                  insiders at the same time voted to sell ACS at a price well below its fair market
                  value, which would have forced public shareholders to sell their shares for less.
                  Working with other national law firms, Baron & Budd was able to obtain $69
                  million in additional compensation for ACS public shareholders.

                  PHARMACEUTICAL AND MEDICAL DEVICE LITIGATION

                  Actos

                  Baron & Budd attorneys represented hundreds of individuals who were harmed by
                  diabetes drug Actos. In April 2014, a landmark settlement was reached in this
                  litigation, requiring Takeda Pharmaceuticals and Eli Lilly & Co. to pay a
                  combined $9 billion in punitive damages after a jury found that the companies hid
                  the cancer risks associated with Actos use.

                  Avandia

                  Baron & Budd represented over 7,000 victims harmed by use of the diabetes drug
                  Avandia. Shareholder Steve Baron was one of the lead negotiators of a nationwide
                  settlement of Avandia cases favorable to victims.
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                  $177 Million Settlement for Seven States Against Manufacturer GlaxoSmithKline

                  Baron & Budd represented the states of Kentucky, Maryland, Mississippi, New
                  Mexico, South Carolina, Utah and West Virginia in litigation regarding the
                  fraudulent marketing of the diabetes drug Avandia by manufacturer
                  GlaxoSmithKline. This result is the largest settlement of a pharmaceutical case
                  ever recorded for several of the involved states. These seven states courageously
                  chose to opt out of the 2012 multistate settlement and, as a result, each state
                  received a much higher settlement than they otherwise would have received.

                  The lawsuit alleged that GlaxoSmithKline had misrepresented the safety and
                  efficacy of the drug Avandia, stating that Avandia reduced adverse cardiac events,
                  when actually it increases them.

                  Baron & Budd shareholders Russell Budd, Burton LeBlanc, Laura Baughman and
                  of counsel Ann Saucer served as co-lead counsel in the litigation, alongside co-
                  counsel and each state’s Office of the Attorney General.

                  Fen-Phen

                  Baron & Budd played a leading role in representing people harmed by the diet
                  drug Fen-Phen. The firm was instrumental in negotiating the Seventh Amendment
                  to the AHP Settlement Agreement, which required the defendants to place an
                  additional $1.275 billion into a trust for those affected. In addition, Baron & Budd
                  settled Fen-Phen personal injury claims for approximately 3,300 individuals.

                  Fluoroquinolone Antibiotics

                  Baron & Budd represents many men and women who developed peripheral
                  neuropathy as a result of Fluoroquinolone use. Baron & Budd and co-counsel
                  filed the first lawsuits in the country against Johnson & Johnson and Janssen
                  Pharmaceuticals and Baron & Budd shareholders Russell Budd and Thomas Sims
                  were appointed to the Plaintiffs’ Steering Committee for In Re: Fluoroquinolone
                  Products Liability Litigation, MDL 2642, and Russell Budd serves as Co-Lead
                  counsel for Plaintiffs.

                  GranuFlo

                  Baron & Budd shareholder Burton LeBlanc was appointed to the Plaintiffs’
                  Steering Committee in the litigation surrounding dialysis product GranuFlo and its
                  sister product NaturaLyte. Baron & Budd also currently represents hundreds of
                  individuals who were harmed by the use of GranuFlo in their dialysis treatments.
                  Litigation is ongoing against the manufacturers of GranuFlo and NaturaLyte.

                  Inferior Vena Cava Filter (IVC)

                  Baron & Budd attorneys currently represent individuals with health issues related
                  to faulty IVC filters. Baron & Budd shareholder Russell Budd has been appointed
                  to the Plaintiffs’ Steering Committee for In re: Cook Medical, Inc., IVC Filters
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                  Marketing, Sales Practices and Products Liability Litigation, MDL 2570; and In
                  Re: Bard IVC Filters Products Liability Litigation, MDL 2641. Baron & Budd
                  shareholder Laura Baughman and associate Daniel MacDonald work closely with
                  other members of the PSC on many aspects of these two multi-district cases,
                  including discovery assessments, document review and taking depositions.

                  Lipitor

                  Baron & Budd attorneys currently represent hudndreds of individuals who
                  developed Type II diabetes after taking the cholesterol-lowering drug Lipitor.
                  Litigation is ongoing.

                  Risperdal

                  Baron & Budd represents men who developed abnormal breast growth after taking
                  Risperdal, a medication that was frequently marketed for “off-label” uses. Baron
                  & Budd has filed lawsuits for over 200 clients adversely affected by Risperdal use
                  and litigation is ongoing in this matter. The firm’s attorneys are investigating
                  potential claims on behalf of hundreds of individuals.

                  Transvaginal Mesh

                  Baron & Budd managing shareholder and co-founder Russell Budd serves on the
                  Plaintiffs’ Steering Committee in litigation regarding transvaginal mesh. Baron &
                  Budd attorneys currently represent hundreds of individuals who have been harmed
                  by the use of transvaginal mesh. Litigation is ongoing in this case.

                  Xarelto

                  Baron & Budd represents individuals that suffered severe internal bleeding as a
                  result ingesting the blood thinner Xarelto. Baron & Budd and their co-counsel are
                  filing cases for clients and are investigating potential claims on behalf of hundreds
                  of individuals. Baron & Budd shareholder Sindhu Daniel works with the
                  Plaintiffs’ Steering Committee for In Re: Xarelto (Rivaroxaban) Products
                  Liability Litigation, MDL 2592, on discovery and other issue affecting Plaintiffs
                  nationwide.

                  Zofran

                  Baron & Budd attorneys represent children born with health issues and their
                  parents as a result of the ingestion of Zofran during pregnancy. Baron & Budd
                  shareholder Russell Budd serves on the Plaintiffs’ Steering Committee for In Re:
                  Zofran (Ondansetron) Products Liability Litigation, MDL 2657. Baron & Budd
                  shareholder Sindhu Daniel and associate Daniel MacDonald work closely with
                  other members of the PSC on many aspects this case, including discovery
                  assessments and document review.
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                  Other Pharmaceutical and Medical Devices

                  Baron & Budd is at the forefront of pharmaceutical and medical device litigation
                  and is continually adding new case areas to its litigation practice. Other areas of
                  litigation include (but are not limited to): Benicar, Depakote, Defibrillator
                  Implants, Eliquis, Essure, Metal on Metal Hip Replacements, Invokana, Low
                  Testosterone, Power Morcellator, Pradaxa, Proton Pump Inhibitors, Talc, and
                  Zoloft.

                  ENVIRONMENTAL LITIGATION

                  Lead Role in the BP Gulf Oil Spill Litigation

                  Immediately after the explosion that caused the massive BP Gulf Oil Spill, Baron
                  & Budd got to work, helping individuals and businesses that had sustained
                  economic and/or physical damages. Scott Summy, shareholder and head of Baron
                  & Budd’s environmental litigation group, serves on the Plaintiffs’ Executive
                  Committee and the Plaintiffs’ Steering Committee in the oil spill litigation. The
                  firm currently represents hundreds of individuals and companies in ongoing
                  litigation.

                  $420 Million National MTBE Settlement

                  In May 2008, Baron & Budd helped negotiate a $423 million settlement on behalf
                  of more than 150 water providers in 17 states regarding Methyl Teritary Butyl
                  Ether (MTBE) contamination in groundwater. The settlement, reached with many
                  of the country’s leading gas companies, requires gasoline refiners to pay water
                  providers’ costs to remove MTBE from public drinking water wells and for
                  refiners to pay for treatment of qualifying wells that may become contaminated
                  within the next 30 years.

                  Plaintiffs’ cases were initially filed in their respective state courts before they were
                  later transferred to a Multi-District Litigation (MDL) court in New York. Baron &
                  Budd shareholder Scott Summy, who filed the first-ever MTBE case in the United
                  States, served as national co-lead counsel. Baron & Budd shareholders Celeste
                  Evangelisti, Cary McDougal, Laura Baughman, Carla Burke Pickrel, Stephen
                  Johnston also represented the plaintiffs.

                  In 2009, the attorneys who were involved in the MTBE litigation were recognized
                  as finalists for the Trial Lawyer of the Year Award, an annual award given by
                  Public Justice, a non-profit legal organization, for outstanding contributions to the
                  public interest.

                  $105 Million Atrazine Settlement

                  Baron & Budd served as Class Counsel in litigation regarding the contamination
                  of approximately 1,200 public drinking water systems by the chemical atrazine.
                  Atrazine is a widely used agricultural chemical that is commonly applied to crops
                  throughout the United States to control weeds. Despite the threat of water
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                  contamination and industry knowledge of the environmental risks, approximately
                  77 million pounds of atrazine are sprayed on U.S. crops each year.

                  The firm represented over thirty water providers primarily throughout the
                  Midwest, including Missouri, Kansas, Ohio and Illinois. In 2012, the Court
                  approved a $105 million settlement for water systems that have detected atrazine
                  in their water supplies to reimburse the costs of removing the chemical from
                  finished water.

                  In 2013, the attorneys who worked on the atrazine contamination litigation were
                  recognized as finalists for the Trial Lawyer of the Year Award by legal non-profit
                  organization Public Justice.

                  Toxins in Schools

                  In 2014, shareholder Scott Summy filed a lawsuit against the Monsanto Company
                  and its corporate successors on behalf of the Town of Westport and Westport
                  Community Schools in Massachusetts regarding the use of polychlorinated
                  biphenyls (PCBs) in schools. According to the court documents, Monsanto
                  allegedly knew about the dangers of PCBs for decades, but failed to warn people
                  of these dangers. The goal of the lawsuit is to force Monsanto to pay for the
                  removal of the PCBs from the schools.

                  According to the EPA, PCBs are probable human carcinogens and can have
                  serious toxic effects on a person’s immune system, nervous system, endocrine
                  system and reproductive system, particularly in developing schoolchildren.

                  Unfortunately, thousands of schools across America likely contain PCBs.
                  However, because there is no requirement to test, many schools aren’t aware of its
                  existence. Baron & Budd intends to fight for awareness and remediation.

                  Clean Air for Schoolchildren

                  In 2008, Baron & Budd shareholders Laura Baughman and Thomas Sims
                  represented three San Francisco Bay-area environmental organizations in
                  negotiating a settlement with Laidlaw Transit, Inc. In the settlement, Laidlaw
                  agreed to invest a minimum of $4.7 million dollars over five years to retrofit older
                  buses in its California fleet with air pollution control devices to reduce harmful
                  diesel exhaust. Laidlaw also agreed to invest $23.6 million in its fleet over seven
                  years to either retrofit additional buses or purchase new buses that meet the most
                  stringent air pollution standards in the country, which would ultimately protect
                  young children from being exposed to harmful diesel exhaust. The following year,
                  Baron & Budd settled with two additional bus companies, which helped ensure
                  that even more polluting buses would be replaced with newer, cleaner models or
                  retrofitted with pollution control devices.
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                  Clean Groundwater in California

                  In 2004, Baron & Budd shareholders Scott Summy and Laura Baughman
                  negotiated a string of settlements on behalf of California non-profit Communities
                  for a Better Environment (CBE) that required several major oil companies to
                  upgrade gas station storage tanks, clean up groundwater contamination and take
                  steps to prevent gasoline leakage from thousands of underground storage tanks in
                  California. Monetary and injunctive relief granted in this case was valued at $107
                  million.

                  MTBE Settlement on Behalf of the City of Santa Monica

                  In 2003, Baron & Budd represented the City of Santa Monica in a MTBE
                  contamination settlement with several major oil companies. MTBE had
                  contaminated five of Santa Monica’s 11 wells, forcing the City to import water for
                  $3 million a year.

                  In total, the oil companies paid $250 million, which provided funds for Santa
                  Monica to build a water treatment system to clean MTBE from its supply, to
                  continue buying water until the supply was deemed clean and to monitor
                  groundwater quality during and after the cleanup.

                  The Exxon Valdez Oil Spill

                  In 1993, Baron & Budd was awarded the Public Justice Award for “outstanding
                  contribution to environmental protection and public interest” for its work on the
                  rehabilitation of the damage caused by the Exxon Valdez oil spill in Alaska’s
                  Prince William Sound.

                  The Exxon Valdez oil spill occurred in remote Prince William Sound, Alaska, on
                  March 24, 1989 when the Exxon Valdez, an oil tanker bound for Long Beach,
                  California, struck Prince William Sound’s Bligh Reef, ran aground and spilled
                  nearly 11 million gallons of crude oil.

                  Similar to the 2010 BP Gulf Oil Spill, the cause of Exxon Valdez spill can be
                  pointed primarily at the oil company for neglecting to properly adhere to safety
                  regulations. Exxon failed to repair the tanker’s Raycas radar system, which would
                  have warned the crew of an impending collision with the Bligh reef, because it
                  was just too expensive to fix and operate. The tanker had been operating for more
                  than a year without a functioning Raycas radar.

                  As a result of the Valdez spill, the Oil Pollution Act of 1990 (OPA) was passed,
                  allowing those who lost income or profits because of an oil spill to recover
                  compensation from those responsible for the spill.
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                  Groundbreaking Water Contamination Case in Tucson, Arizona

                  In 1985, Baron & Budd filed a lawsuit on behalf of more than 1,600 Tucson-area
                  residents against an aircraft manufacturer, the City of Tucson and the Tucson
                  Airport Authority over TCE contamination of the community’s groundwater.
                  Since Tucson is the largest city in the United States that receives all of its drinking
                  water from underground sources, the industrial solvents used at the airport and
                  aircraft company were of particular concern. Spilled on the ground and seeping
                  through the sandy soil into the groundwater, the invisible yet harmful
                  contaminants caused several unusual forms of cancer and other diseases at almost
                  epidemic levels, particularly among children in the area.

                  The firm’s cutting-edge work on this case not only brought compensation to
                  individuals to help them deal with the consequences of their injuries, it also helped
                  define Arizona law on pollution coverage issues. The litigation spanned 21 years,
                  involved more than 1,600 plaintiffs and resulted in a more than $150 million total
                  recovery for the people of Tucson.

                  As a result, the public interest legal organization Public Justice presented the
                  Baron & Budd legal team with its Trial Lawyer of the Year Award in 2006. The
                  award recognizes the trial attorney or attorneys who have made the greatest
                  contribution to the public interest each year by trying or settling a precedent-
                  setting case or group of cases.

                  TOXIC EXPOSURE LITIGATION

                  Closing Down the West Dallas Lead Smelter

                  In the West Dallas Lead Smelter case, Baron & Budd took on local environmental
                  contamination to protect future generations of children from exposure to lead. One
                  of Dallas’ largest public housing projects sat in a low-income neighborhood
                  directly across the street from a secondary lead smelter. For many years, the
                  smelter converted used automotive batteries into lead components for resale.
                  Particulate emissions from the factory smokestacks literally blanketed the
                  surrounding community with lead-bearing soot.

                  Baron & Budd represented more than 200 families in a lawsuit that ultimately
                  closed the lead smelter and paid sizable confidential settlements to court-
                  supervised trusts for 445 children affected by lead poisoning. Although the
                  neurological damage to these children was irreversible, the funds recovered in the
                  settlement have enabled the children to move into adulthood with medical,
                  rehabilitative and vocational assistance. Closing the lead smelter and requiring the
                  company to fund a community soil clean-up project helped prevent future damage
                  to other neighborhood children.

                  Settlement for Central Texas Residents Harmed by Lead Exposure

                  Baron & Budd shareholder Laura Baughman represented more than 130 people
                  who were exposed to high levels of lead and other toxic substances while growing
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                  up in a small town in Central Texas. Baron & Budd obtained a sizeable
                  confidential settlement for the firm’s clients, providing them with the resources to
                  help pay for rehabilitative, psychological and other medical expenses.

                  Settlement for Harms Caused by Chemical Leaks

                  Baron & Budd successfully represented more than 850 workers injured by
                  exposure to ethylene dichloride (EDC) in Lake Charles, Louisiana as a result of
                  the negligent and reckless conduct of Conoco, Inc., Condea Vista Chemical
                  Company, and a number of contractors that caused one of the largest chemical
                  spills in U.S. history. In addition to its status as a probable human carcinogen,
                  EDC can cause serious damage to the heart, central nervous system, liver, kidneys,
                  lungs, gastrointestinal system and commonly results in depression, memory loss
                  and personality changes.

                  CONSUMER RIGHTS

                  Asbestos

                  Years ago, Baron & Budd led the fight for victims’ rights in two landmark
                  Supreme Court victories, Amchem Products v. Windsor and Ortiz v. Fibreboard
                  Corp., which are still widely recognized as among the most significant appellate
                  decisions for consumer rights.

                  Ortiz v. Fibreboard Corp., 526 U.S. 815, 119 S. Ct. 2295 (1999) was one of the
                  last decisions handed down by the United States Supreme Court in 1999. The
                  Court’s 7-2 decision was reached after months of fierce debate over whether
                  future claims by victims of asbestos exposure should be handled as a class action.

                  Baron & Budd led the charge to dismiss the Fibreboard mandatory class action
                  settlement that would have severely limited the rights of people to pursue
                  individual claims based on the severity of their specific illness and specific
                  circumstances of their exposure.

                  Writing on behalf of the Court, Justice Souter questioned the fairness of the
                  settlement because, if allowed to go forward, Fibreboard would essentially have
                  had a “get out of jail free card.” Fibreboard would have been able to settle all
                  asbestos claims, including all future claims, with only $500,000 of the company’s
                  own money, thus retaining virtually all of its net worth at the expense of the
                  victims of its asbestos-containing products.

                  The Ortiz decision corroborated another significant Supreme Court decision in
                  which Baron & Budd also fought for victims’ rights: Amchem Products v.
                  Windsor, 521 U.S. 591, 117 S. Ct. 2231, 138 L.Ed2d 689 (1997).

                  Food Product Litigation – Deceptive Advertising

                  Baron & Budd represents consumers in several cases concerning deceptive and
                  misleading advertising practices committed by food and beverage companies.
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                  These cases include an action against a popular protein drink company, which
                  asserted that its meal replacement drinks and bars were unlawfully labeled
                  “healthy” when, in fact, they contained levels of fat and saturated fat deemed to be
                  excessive by the FDA for products labeled as “healthy”, an action against a frozen
                  potato company for allegedly misrepresenting that certain products were “all
                  natural”, although they contained a synthetic chemical preservative; and an action
                  against Abbott Laboratories, which asserts that its “Ensure Muscle Health” drink
                  misleads consumers about the products’ promise that it contains an ingredient that
                  will help the elderly rebuild strength.

                  Lancôme and Avon Anti-Aging Cream Multi-District Litigation – Deceptive
                  Advertising

                  Baron & Budd attorneys are co-lead counsel for plaintiffs in class action lawsuits
                  currently pending against Lancôme and Avon concerning certain anti-aging and
                  wrinkle cream skincare products. According to the lawsuits, the companies market
                  and advertise the purported unique age-defying benefits of the products to
                  consumers using deceptive and misleading references to clinical studies, trials,
                  tests, patents and other indicia of scientific credibility. But, as alleged in the
                  complaints, the products do not, and cannot, provide the specific age-negating
                  effects they promise to provide.

                  VEHICLE LITIGATION

                  Attorneys at Baron & Budd represent owners and lessees of certain vehicles
                  regarding the vehicle manufacturers’ misrepresentations and failures to disclose
                  material safety information. Baron & Budd attorneys represent owners and lessees
                  of certain Nissan vehicles in a case alleging that the company failed to disclose its
                  knowledge of a defective engine component that could lead to catastrophic engine
                  failure. Baron & Budd attorneys represent owners and lessees of Ford, Lincoln
                  and Mercury vehicles in cases concerning the MyFord Touch/MyLincoln
                  Touch/MyMercury Touch systems, which use Microsoft’s “Sync” software, an in-
                  car communication system thought to put drivers at risk of an accident.

                  Takata Airbags

                  Baron & Budd, along with co-counsel Labaton Sucharow LLP and Podhurst
                  Orseck P.A., filed the nation’s first lawsuits in the Southern District of Florida and
                  the Central District of California regarding the recall of Takata-brand air bags.
                  Litigation is ongoing.

                  Volkswagen “Clean Diesel” vehicles

                  Baron & Budd attorneys represent owners of Volkswagen “Clean Diesel” vehicles
                  in cases concerning allegations that Volkswagen installed software in these cars
                  that allowed the vehicles to “cheat” emissions tests. Baron & Budd shareholder
                  Roland Tellis was appointed to the Plaintiffs’ Steering Committee in this
                  litigation.
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                  Trucking Accident Litigation

                  Baron & Budd is investigating significant trucking accidents where someone has
                  been seriously injured or even killed as a result of a collision involving a
                  commercial truck. Baron & Budd attorneys and their co-counsel have filed several
                  lawsuits on behalf of seriously injured clients and litigation is ongoing.

                  EMPLOYMENT LITIGATION

                  Baron & Budd is not only dedicated to protecting a person’s right to work in a safe
                  workplace, but also to protecting a person’s right to earn wages as required by
                  law.

                  Overtime Violations

                  Baron & Budd currently represent workers in lawsuits regarding overtime pay,
                  misclassification of workers and other violations of overtime pay laws. Baron &
                  Budd attorneys and their co-counsel have filed lawsuits on behalf of fast food
                  workers, mechanics, healthcare workers, construction equipment workers and
                  media company workers. Litigation is ongoing.

                  WARN Act Violations

                  Many employees are unaware of their rights under the Worker Adjustment and
                  Retraining Notification Act (WARN) of 1989, which requires many large
                  employers to provide affected employees with at least 60 days’ notice in the event
                  of mass layoffs or plant closings. Currently, under the provisions of the WARN
                  Act, Baron and Budd is representing scores of oilfield workers denied the required
                  60-day notice when they were laid-off.
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                  THE FIRMS’ SHAREHOLDERS
                  Russell W. Budd is a major force in the world of plaintiff’s attorneys, having
                  devoted his more than three-decade career to championing the rights of people and
                  communities injured by corporate malfeasance. Currently Mr. Budd presides over
                  one of the nation’s largest plaintiff’s firms, Baron & Budd, PC, headquartered in
                  Dallas, Texas with offices in Austin, Texas; Los Angeles, California; Baton
                  Rouge, Louisiana; and New Orleans, Louisiana.

                  Mr. Budd, a shareholder of Baron & Budd since 1985 and president and managing
                  shareholder since 2002, has expanded the firm from its cornerstone asbestos
                  practice to a national firm capable of tackling the biggest defendants in areas as
                  diverse as pharmaceutical and medical device injury, water contamination, the BP
                  Gulf oil spill, financial fraud and various other areas of practice.

                  Over the last decade, Mr. Budd has played significant roles in asbestos litigation
                  on a national level. As chair and member of several asbestos creditors’ bankruptcy
                  committees, Mr. Budd successfully resolved over 100,000 victims’ claims with
                  some of Wall Street’s biggest companies. Mr. Budd was the chief negotiator of a
                  $4 billion national settlement with Halliburton that established a trust fund to
                  protect present and future asbestos victims throughout the United States – the
                  largest asbestos trust fund of its kind anywhere in the world. He was on the
                  committee that negotiated a $3.9 billion settlement with United States Gypsum to
                  benefit asbestos claimants. And he participated in negotiations that led W.R.
                  Grace to agree to fund a bankruptcy trust on behalf of asbestos claimants with
                  nearly $3 billion in cash and stock equity.

                  Under Mr. Budd’s direction, Baron & Budd provided the initial funding for the
                  launch of the International Pleural Mesothelioma Program at Brigham and
                  Women’s Hospital to research curative therapy for mesothelioma, a cancer caused
                  by exposure to asbestos. The firm has also given generously to the Asbestos
                  Disease Awareness Organization, Lung Cancer Alliance and to other asbestos
                  awareness advocacy organizations.

                  Mr. Budd serves on the Board of Governors of the American Association for
                  Justice (AAJ) and previously served on the Board of Directors and Executive
                  Committee of the Texas Trial Lawyers Association (TTLA). He also served on the
                  board of the National Comprehensive Cancer Network (NCCN) Foundation for
                  two years.

                  On July 13, 2010, Mr. Budd was awarded the prestigious Harry M. Philo Trial
                  Lawyer of the Year Award from the American Association for Justice (AAJ) at the
                  organization’s annual conference in Vancouver, BC. The award was presented in
                  recognition of his dedicated and consistent leadership in protecting the rights of
                  individuals through the civil-justice system. In 2007, he earned the prestigious
                  Wiedemann Wysocki National Finance Council Award from the American
                  Association for Justice, an award honoring attorneys for their commitment to the
                  legal profession and their efforts to improve the civil justice system.
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                  Under Mr. Budd’s leadership, Baron & Budd has won numerous awards. The firm
                  was named by the National Law Journal’s to its “Elite List” of plaintiffs’ firms in
                  the United States and has been included in the publication’s Hot List eight times.

                  Mr. Budd and his wife are also involved in their local community. One of the
                  causes closest to his heart is Habitat for Humanity, which gives hardworking
                  Dallas families a chance at first-time home ownership. He has personally
                  contributed generously to the “Building on Faith” project, a collaborative initiative
                  between the Dallas Faith Communities Coalition (DFCC), the City of Dallas and
                  Habitat for Humanity to build 100 affordable single-family homes in West Dallas.
                  In addition, Mr. Budd has donated land to the City of Dallas that enabled the
                  completion of a massive bike and hike trail.

                  In 2014, Mr. Budd, along with his wife, donated $2.5 million to Southern
                  Methodist University in Dallas to endow The Budd Center for Involving
                  Communities in Education. The Center is a radical concept that works closely with
                  numerous non-profit organizations to help children exit poverty through
                  education. Though initially focused on West Dallas, the program hopes to create a
                  template for the nation in promoting truly substantial change.

                  Steve Baron, Baron & Budd shareholder, is an accomplished litigator known for
                  his tenacity in pursuing justice for victims of corporate misconduct. He currently
                  heads Baron & Budd’s mesothelioma and asbestos practice.

                  As the head of Baron & Budd’s litigation teams, Mr. Baron has helped build the
                  firm’s reputation as a watchdog for consumer protection. Mr. Baron represents
                  clients in cases that have resulted in some of the largest verdicts and settlements
                  for people with mesothelioma and asbestos diseases.

                  Over the past decade, Mr. Baron has been the lead negotiator on many of the
                  firm’s mesothelioma settlements and has also been the clients’ representative on
                  all major bankruptcy creditor committees. He has represented the firm’s clients in
                  major bankruptcy negotiations with asbestos companies including W.R. Grace,
                  Owens Corning, Pittsburgh Corning, Babcock & Wilcox Co., and Halliburton.

                  Mr. Baron served as a lead negotiator in a landmark case against Halliburton that
                  resulted in a $4 billion settlement, helping to bring financial compensation to tens
                  of thousands of asbestos cancer victims. The Halliburton settlement is still one of
                  the largest asbestos settlements on record.

                  Mr. Baron earned a business degree from the University of Texas at Austin (1986)
                  and a JD from the University of Texas School of Law (1988). He is licensed to
                  practice in Texas, New York and Pennsylvania.

                  Scott Summy is a shareholder at Baron & Budd where he heads up the firm’s
                  Environmental Litigation Group, which litigates complex environmental
                  contamination cases all over the country. The Group represents public entities in
                  litigation to recover costs of removing chemical contamination from public water
                  supplies, governmental facilities, natural resources and public property. Through
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                  this type of litigation, the Group seeks to shift the costs of remediation to the
                  chemical manufacturers and suppliers responsible for the contamination – and
                  away from public entities and taxpayers.

                  The Group recently filed a lawsuit against the Monsanto Company and its
                  corporate successors on behalf of a public school district in Massachusetts. The
                  lawsuit alleges that Monsanto knew about the dangers of PCBs as early as the
                  1930s but failed to warn people of the severe dangers associated with PCBs and
                  their use in common building materials. The litigation seeks to require Monsanto
                  to pay for removing PCB-containing materials from the contaminated schools.

                  Mr. Summy regularly represents public water providers (e.g., municipalities, water
                  districts, utilities and school districts) whose water is contaminated by intrusive
                  chemicals. On behalf of these clients, Mr. Summy seeks cost recovery for
                  treatment facilities, operation and maintenance costs, out-of-pocket expenses, and
                  administrative costs. Mr. Summy also represents private well owners around the
                  country whose wells are contaminated.

                  The Environmental Litigation Group has represented hundreds of public water
                  providers in litigation arising from contamination of water supplies with MTBE, a
                  gasoline additive. Mr. Summy has recovered over a billion dollars against major
                  oil companies who decided to blend MTBE into gasoline knowing that it would
                  likely contaminate water supplies. In one set of cases involving approximately 150
                  water providers, Mr. Summy negotiated settlements totaling over $450 million.
                  Mr. Summy continues to file new MTBE cases across the country and currently
                  represents the State of Vermont and a number of municipalities in new MTBE
                  litigation.

                  Mr. Summy also represented all public water providers in the United States whose
                  water was contaminated with atrazine, a common agricultural chemical used on
                  corn and other crops. On behalf of these water providers, the Group brought
                  claims against Syngenta, the company that makes atrazine and is aware that its
                  normal use causes drinking water contamination. Mr. Summy negotiated a
                  settlement awarding $105 million to over 2,000 water providers.

                  Mr. Summy’s experience with environmental litigation led to a leadership role in
                  the litigation arising from the Deepwater Horizon explosion and oil spill in the
                  Gulf of Mexico. In 2010, he was appointed to the Plaintiffs’ Steering Committee
                  and Plaintiffs’ Executive Committee in the Gulf Oil Spill Multi-District Litigation
                  in the Eastern District of Louisiana. In that capacity, he played a critical role in
                  negotiating a settlement and claim procedure for the tens of thousands of
                  individuals, businesses, and governmental entities injured by the oil spill.

                  The Group also represents public water providers and other public entities in
                  litigation involving other chemicals that contaminate water supplies and property
                  including TCP, TCE, PCE, and PCBs.

                  The Group’s important work for public water providers has been recognized by
                  the legal community on a number of occasions. His groundbreaking work for
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                  California communities affected by MTBE won Mr. Summy and his legal team
                  the “Attorneys of the Year” award from California Lawyer in 2001. And Public
                  Justice twice named Mr. Summy and his team Finalists for the organization’s Trial
                  Lawyer of the Year Award – in 2009, for cases arising from MTBE
                  contamination, and again in 2013, for cases arising from atrazine contamination.
                  Mr. Summy was also included in The Best Lawyers in America 2006-2015
                  editions.

                  Mr. Summy is licensed to practice law in Texas, North Carolina and New York.
                  He is AV-rated by Martindale Hubbell.

                  Dan Alberstone co-manages Baron & Budd’s Los Angeles office. He has nearly
                  30 years of broad experience prosecuting and defending complex litigation
                  matters, including extensive jury trial experience. His practice focuses on financial
                  and other business torts, consumer class actions, environmental contamination
                  cases, real estate disputes and entertainment cases.

                  Mr. Alberstone has been selected as lead trial counsel by both institutional and
                  individual clients in their most significant and high-profile matters, including
                  partnership cases, real estate cases, breach of contract cases, entertainment cases,
                  environmental cases and cases alleging unfair business practices.

                  In the real estate sector, Mr. Alberstone successfully prosecuted a case for the
                  American Skiing Company, the owner of the Canyons Ski Resort in Park City,
                  Utah, in an action to force the resort’s landlord to agree to an assignment of
                  ground lease in a $123 million transaction. He also obtained a more than $14
                  million award for a major real estate developer in connection with the purchase
                  and sale of an historic bank building in downtown Los Angeles. Mr. Alberstone
                  achieved a significant award for the owner of the Edison Bar in downtown Los
                  Angeles in an action involving the purchase and sale of a large commercial
                  building, and successfully defended the Estate of Jonathan Ritter in an action
                  brought to compel specific performance of a contract to purchase three citrus
                  farms owned by the estate.

                  In the entertainment area, he has successfully defeated an action by a union
                  president and three board members against the Screen Actors’ Guild and 41 other
                  members of its national board and successfully defended screenwriters in work-
                  for-hire actions brought by employers claiming ownership of screenplays. He also
                  represented ESPN and Good Morning America reporter Erin Andrews in
                  connection with the prosecution of a stalker who had surreptitiously videotaped
                  Ms. Andrews in the privacy of her hotel rooms.

                  The Los Angeles Daily Journal recognized Mr. Alberstone for obtaining one of the
                  top plaintiff’s verdicts in 2009 and he was selected for inclusion in the Southern
                  California Super Lawyers list from 2005-2007 and in 2010 (Thompson Reuters).

                  Mr. Alberstone earned a J.D. from the Southwestern University of Law in 1982
                  and a B.A. from the University of California, Los Angeles.
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                  Laura Baughman co-manages the firm’s pharmaceutical litigation group,
                  representing both individuals and public entities. Ms. Baughman represented
                  seven public entities (the states of Mississippi, West Virginia, South Carolina,
                  Kentucky, Maryland, New Mexico and Utah) against GlaxoSmithKline regarding
                  misrepresentations made in the marketing of the diabetes drug Avandia. This
                  litigation settled for over $170 million.

                  Ms. Baughman represents individual personal injury and wrongful death victims
                  and public entities regarding harm caused by GranuFlo, used during dialysis. Ms.
                  Baughman also represents many men in litigation who developed abnormal breast
                  growth after taking Risperdal. She has taken an active role in Inferior Vena Cava
                  Filter multi-district litigation, working closely with other members of the PSC on
                  many aspects of the cases, including motion practice and depositions.

                  As managing shareholder of the firm’s Qui Tam litigation team, Ms. Baughman
                  focused on strategies to ferret out and litigate against those who have perpetrated
                  fraud against the government. Sometimes called “whistleblower” cases, Ms.
                  Baughman’s team handled a variety of cases in which the government has been
                  defrauded of Medicare, Medicaid, defense and other monies.

                  Ms. Baughman served as co-lead counsel in a California Proposition 65 water
                  contamination case that required several major oil companies to clean up
                  groundwater that had been contaminated by gasoline leaking from storage tanks
                  and to take steps to prevent similar leaks in the future. The settlement was valued
                  at $107 million. Ms. Baughman settled another Proposition 65 case that required
                  the retrofitting of school buses with devices to reduce diesel engine exhaust
                  emissions, a known human carcinogen.

                  When Ms. Baughman was a small child living in New Jersey, there was an
                  outbreak of childhood leukemia in her neighborhood. Ms. Baughman was
                  hospitalized at the age of five. Her parents were told that she, too, had leukemia. It
                  turned out that Ms. Baughman did not have the disease. The children in her
                  neighborhood had been sickened from drinking water contaminated by a company
                  which had dumped toxic waste onto the ground nearby. Ms. Baughman made a
                  full recovery, but her parents were told that many of the stricken children would
                  not live past their 20th birthdays. The experience left an indelible impression.
                  From the time she was old enough to understand what had happened, Ms.
                  Baughman wanted to become a lawyer so that she could help put a stop to the
                  poisoning of people and natural resources by unscrupulous businesses.

                  In addition to her legal advocacy, Ms. Baughman has a long history of community
                  service. She has represented several clients on a pro bono basis through the Dallas
                  Volunteer Attorney Program and over the years has served as co-chair of several
                  committees for Attorneys Serving the Community.

                  Ms. Baughman is a graduate of The Cooper Union for the Advancement of
                  Science & Art (M.E. 1992, B.S. 1990) and University of Texas School of Law
                  (J.D., with honors, 1994), and is licensed in Texas, California, New York and
                  Missouri.
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                  Carla Burke Pickrel, a shareholder with Baron & Budd’s Environmental
                  Litigation Group, began her legal career with the firm’s appellate section. She has
                  a gift for writing and oral advocacy that has been very persuasive in the MTBE
                  Multi-District Litigation cases. Ms. Burke Pickrel has also authored and presented
                  numerous papers and presentations on the topics of toxic tort and water
                  contamination litigation and premises liability law.

                  After several years in Baron & Budd’s appellate section, Ms. Burke Pickrel joined
                  the Environmental Litigation Group in 2004. In her time with the Group, she has
                  represented hundreds of public entities — villages, towns, cities, utilities, school
                  districts, and states.

                  As one of the pioneers of the Group, she has worked to develop legal strategy for
                  cases arising from MTBE, atrazine and PCE contamination of drinking water
                  supplies. Ms. Burke Pickrel has played a critical part in nationwide litigation
                  arising from MTBE contamination on behalf of more than 200 water providers in
                  more than 20 states. She also played a major role in a nationwide class action
                  settlement for providers whose water supplies are contaminated with atrazine, an
                  agricultural chemical.

                  Putting her experience to work in new areas is an energizing part of Ms. Burke
                  Pickrel’s work. She is currently representing school districts whose buildings are
                  contaminated with PCBs, chemical compounds found in some construction
                  materials. This channels her deep respect for all those who work in the nation’s
                  public schools. “My mother worked for public schools for thirty years. She felt
                  that she was a part of her students’ and parents’ lives and took that responsibility
                  seriously. So do I.”

                  Ms. Burke Pickrel’s work has earned her recognition by professional
                  organizations. She was named a Super Lawyers “Rising Star of Texas Law”
                  (Thomson Reuters, 2006) and, with her colleagues, was twice-nominated for
                  Public Justice’s Trial Lawyer of the Year Award — in 2009 and in 2013. In 2016,
                  Ms. Burke Pickrel was named to the named to the National Trial Lawyers Top 100
                  Trial Lawyers List for her tireless work representing hundreds of public entities
                  over more than a decade in a wide variety of cases involving drinking water
                  contamination from dangerous chemicals such as atrazine, PCE, MTBE and
                  PCBs.

                  While in law school at Southern Methodist University, Carla Burke Pickrel was on
                  a team that successfully represented a disabled man whose lack of medical
                  treatment while in the custody of the Dallas county jail amounted to cruel and
                  unusual punishment. After graduation, she returned to SMU as an adjunct clinical
                  instructor of law to brief and argue the appeal of Lawson v. Dallas County, 112
                  F.3d 257 (5th Cir. 2002) before the United States Court of Appeals for the 5th
                  Circuit.

                  Ms. Burke Pickrel’s work is motivated by the results she sees at Baron & Budd.
                  “The work we do helps entire communities. Baron & Budd makes people’s
                  everyday lives better,” she says.
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                  Sindhu Daniel co-manages the Pharmaceutical Litigation Group at Baron &
                  Budd. For the past 17 years, Sindhu’s practice has been concentrated in complex
                  personal injury litigation involving pharmaceutical drugs and medical devices.

                  Over the course of her career Ms. Daniel has played significant roles in complex
                  multi-district litigation involving Vioxx, Fresenius Granuflo/Naturalyte dialysis
                  products, Actos, DePuy Orthopaedics and Celebrex, to name a few. Among her
                  work on numerous settlements, she was instrumental in negotiating the $4.85
                  billion settlement in In Re: Vioxx Products Liability Litig. (E.D. La, MDL No.
                  1657), involving injuries of heart attack, stroke and sudden cardiac death caused
                  by the pain killer’s blockage of an important blood pressure regulating enzyme in
                  the body, a $2.5 billion settlement in In Re: DePuy Orthopaedics ASR Products
                  Liability Litig. (N.D. Ohio, MDL No. 2197), involving injuries caused by design
                  flaws in hip implants, and a substantial settlement in In Re: Fosamax Products
                  Liability Litig. (S.D.N.Y, MDL No. 1789), involving the injury of osteonecrosis
                  of the jaw.

                  Ms. Daniel has also served as co-lead negotiator on behalf of a large group of
                  plaintiffs in a case involving severe and permanent injuries caused by transvaginal
                  mesh implants. She was instrumental in building consensus with other plaintiffs’
                  attorneys and actively led negotiations with defendants. In addition, Ms. Daniel
                  has extensive experience in devising settlement matrices used to allocate funds in
                  pharmaceutical and medical device mass torts. She has also successfully
                  negotiated numerous confidential settlements in complex mass tort litigations.

                  In 2015, Sindhu Daniel was appointed as a Plaintiff’s Steering Committee (PSC)
                  member by the Honorable Judge Eldon E. Fallon in In Re: Xarelto (Rivaroxaban)
                  Products Liability Litigation (E.D. La., MDL No. 2592), involving uncontrolled
                  bleeding and a tenfold increase in the risk of wound infection following certain
                  surgeries. She currently holds positions as co-chairs of the Administrative
                  Committee and Privilege-Log Subcommittee. Additionally, as a member of the
                  Bellwether Committee, Ms. Daniel serves as the point person between plaintiffs
                  and MDL Centrality, an online exchange portal that facilitates the assembly,
                  organization, inventory, exchange, and analysis of massive amounts of data and
                  documents, and provides an automated method to serve, store, monitor and use
                  Plaintiff and Defendant Fact Sheet information. In this capacity, Ms. Daniel
                  organizes and evaluates large amounts of data and provides critical case
                  information to her respective plaintiff’s committees which is used to devise
                  bellwether strategy and analyze cases for trial selection. In 2016, she was
                  appointed as a PSC member by the Honorable Kathryn Vratil in In Re: Ethicon,
                  Inc., Power Morcellator Products Liability Litigation (D. Kansas, MDL No.
                  2652).

                  Ms. Daniel was also appointed by the Plaintiffs’ Executive Committee to serve as
                  co-chair of the Plaintiff’s Bellwether Committee in In Re: Fresenius
                  Granuflo/Naturalyte Dialysis Products Liability Litig. (D. Mass., MDL No. 2428),
                  which involves sudden, fatal heart attacks caused by drugs used to neutralize the
                  buildup of acid in the body during kidney dialysis. As part of her responsibilities
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                  on these important cases, Ms. Daniel has worked with her colleagues to develop
                  case evaluation grids instrumental in tracking similar themes among large pools of
                  plaintiffs.

                  Serving in these leadership roles, Ms. Daniel routinely navigates the intricate
                  issues which frequently present themselves in complex mass torts. She works
                  closely with other plaintiffs’ attorneys to build consensus on a coordinated
                  approach to litigation. With such extensive experience, Ms. Daniel is a frequent
                  speaker and presenter at various continuing legal education seminars and webinars
                  which deal with issues pertaining to emerging mass tort litigation. She has also
                  been invited to share her knowledge by lecturing at national litigation seminars.

                  Ms. Daniel graduated from Temple University in Philadelphia, Pennsylvania and
                  Temple University James E. Beasley School of Law. She is licensed in
                  Pennsylvania, New Jersey and Michigan.

                  Celeste A. Evangelisti, a shareholder in the Environmental Litigation Group at
                  Baron & Budd, has devoted the bulk of her career to helping individuals,
                  municipalities and water suppliers obtain recovery of costs to clean up
                  contamination. A tenacious fighter for environmental responsibility, Ms.
                  Evangelisti has been nominated twice for Public Justice’s prestigious “Trial
                  Lawyer of the Year” award (2009, 2013) and was named a “Texas Super Lawyer”
                  for three straight years (Thompson Reuters, 2003-2005).

                  Ms. Evangelisti has devoted almost two decades of her career to representing
                  individuals, municipalities and public water suppliers who seek to recover costs to
                  clean up contamination from the companies responsible – those who put
                  dangerous products into the stream of commerce without ensuring they will not
                  cause extensive environmental contamination. Ms. Evangelisti currently represents
                  plaintiffs in several states across the country who face a variety of contamination
                  issues.

                  Ms. Evangelisti is a well-known figure in national litigation arising from
                  contamination caused by the gasoline additive Methyl tertiary-butyl ether
                  (MTBE), having been among the first lawyers to litigate cases against oil refiners
                  who blended MTBE into gasoline.

                  Ms. Evangelisti started her career at a large defense firm, representing some of the
                  biggest corporations in the world in product liability cases. In 1999, she used the
                  knowledge she gained representing defendants in those cases and began working
                  with Scott Summy, who represented corporate victims of wrongdoing. Mr.
                  Summy was then expanding his groundwater contamination practice to California
                  and other states. Mr. Summy brought his team to Baron & Budd in 2002,
                  ultimately forming and expanding what is now the Environmental Litigation
                  Group. Throughout the years, Ms. Evangelisti has assisted in the representation of
                  over 150 water providers in MTBE cases.

                  Ms. Evangelisti’s knowledge and skill have been put to work in many other water
                  contamination cases as well, including those involving perchloroethylene (PCE),
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                  Trichloropropane (TCP) and Atrazine. She is currently working on the firm’s
                  PCBs-in-schools cases, which inspire her every day. “I can’t imagine a more
                  important cause than to protect the nation’s children,” she says.

                  Hard-driving and tenacious, Ms. Evangelisti’s legal prowess has earned her many
                  professional honors and awards. She is AV-rated by Martindale-Hubbell, its top
                  rating. She was a member of the legal team representing Communities for a Better
                  Environment (CBE) which was named “Attorneys of the Year” for Environmental
                  Law in 2001 by California Lawyer (Daily Journal Corp.) for the resolution of a
                  precedent-setting case requiring major oil companies to clean up more than a
                  thousand sites contaminated by the gasoline additive MTBE. She has been
                  nominated twice for Public Justice’s prestigious “Trial Lawyer of the Year” award
                  (2009, 2013) for her work on MTBE and Atrazine respectively, and she was
                  named a “Texas Super Lawyer” for three straight years (Thompson Reuters, 2003-
                  2005).

                  Ms. Evangelisti has been a frequent speaker and presenter on legal topics
                  concerning the prosecution of water contamination cases involving the gasoline
                  additive MTBE and other contaminants of concern. “The lengths some polluters
                  will go to increase their profits at the expense of the well-being of entire
                  communities never ceases to amaze me,” she says. “It is ultimately very satisfying
                  to bring these companies to justice and protect the environmental integrity of our
                  water supplies.”

                  Stephen C. Johnston puts his degree in Wildlife and Fisheries Sciences to good
                  use as a shareholder with the firm’s Environmental Litigation Group, representing
                  individuals and communities seeking clean-up costs for contaminated water
                  supplies.

                  Mr. Johnston began his career with Baron & Budd in 1997 as part of the firm’s
                  asbestos litigation group. Mr. Johnston’s time in the asbestos group was marked
                  by his respect for the individual client and a reputation for thoughtful attention to
                  their cases and their lives. His advocacy resulted in the recovery of millions of
                  dollars for those injured by asbestos exposure.

                  Mr. Johnston brought his hard work and determined advocacy to the
                  Environmental Litigation Group in 2004. Since that time he has represented
                  hundreds of public entities seeking clean-up costs for water supplies contaminated
                  by MTBE, Atrazine and TCP. He has also represented hundreds of individuals and
                  businesses along the Gulf Coast impacted by the BP oil spill which resulted from
                  the sinking of the Deepwater Horizon drilling rig.

                  For the past several years Mr. Johnston has led the firm’s litigation arising from
                  TCP contamination of drinking water supplies. Under his leadership the firm has
                  successfully resolved numerous TCP contamination cases.

                  For Stephen Johnston, Baron & Budd was a good match for his goals to bring
                  about justice to those who have been wronged through no fault of their own: “I
                  saw in Baron & Budd a law firm committed to helping those injured by corporate
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                  indifference and greed. I wanted to help those who could not otherwise help
                  themselves.” His dedication to this mission and his legal talent earned him
                  recognition as a Super Lawyers “Rising Star” (Thomson Reuters, 2006).

                  J. Todd Kale is a shareholder with Baron & Budd. He joined the firm in 2008
                  when the firm consolidated with Dallas-based law firm Silber Pearlman. Mr. Kale
                  worked with mesothelioma sufferers and other victims of asbestos-related disease
                  at Silber Pearlman from 1993 and continues that work at Baron & Budd.

                  Mr. Kale has dedicated his career to fighting the companies that knowingly
                  exposed people to the deadly carcinogen known as asbestos. He enjoys partnering
                  with patients and families and helping them navigate the legal process during the
                  most difficult time in their lives. Mr. Kale works on the front lines with the firm’s
                  Asbestos Litigation Team. He meets with mesothelioma patients and their families
                  across the country to gather the information necessary to successfully pursue their
                  cases. More than any other aspect of his job, he enjoys meeting with these patients
                  and their families. Through these meetings, Mr. Kale becomes part of each of
                  these families and becomes involved in each family’s specific struggles, needs and
                  hopes. He is honored to be trusted by so many patients and families as they deal
                  with the diagnosis and prognosis of mesothelioma. His 20 years of experience in
                  this field make him a valuable resource for any information a client may need —
                  both legal and medical.

                  For more than two decades, Mr. Kale has worked on numerous asbestos lawsuits,
                  managing thousands of cases from start to finish. Through his many years as an
                  asbestos lawyer, he has developed an in-depth understanding of the legal system
                  and how to best navigate that system on behalf of clients. Since 1993, he has
                  helped clients recover significant amounts in settlements. Mr. Kale has experience
                  pursuing not only asbestos manufacturers, but also equipment manufacturers and
                  employers who are responsible for a client’s exposure to asbestos. Never one to
                  back down from a fight, Mr. Kale is proud to have fought on behalf of
                  mesothelioma and asbestos clients for his entire career.

                  Todd Kale earned his J.D. from the University of Tulsa College of Law in 1990
                  and his B.B.A. from the University of Texas.

                  J. Burton LeBlanc is a powerhouse advocate for individuals who have been
                  harmed by corporate wrongdoing, having begun his legal career representing
                  victims of toxic exposure and workplace hazards in his home state of Louisiana.
                  His lifelong commitment to service through the legal system began as a child in
                  Louisiana, a state where danger in the workplace was common and expectations
                  for most workers were of a life shortened by the necessity of making a living.
                  Observing this, Mr. LeBlanc knew early that his life mission would be to seek
                  justice for the downtrodden.

                  Today Mr. LeBlanc’s passion for championing the rights of individuals extends to
                  the national stage where he recently served as president of the American
                  Association for Justice (AAJ). As president of AAJ, the largest trial lawyer non-
                  profit group in the United States, Mr. LeBlanc advocated for protection of
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                  America’s civil justice system and rallied resources when corporate interests
                  attempted to infringe on individual rights. He is an adamant crusader for the
                  abolition of forced arbitration and a supporter of the fundamental right to a trial by
                  jury.

                  Mr. LeBlanc’s appointment as AAJ president followed a long history of
                  involvement on both the local and national levels of AAJ and its affiliate
                  organizations. He previously served as president-elect, vice president, treasurer
                  and parliamentarian of AAJ. In addition, Mr. LeBlanc has been a member of
                  AAJ’s Executive Committee and the Board of Governors, where he was awarded
                  the Wiedemann Wysocki National Finance Council Award two separate times,
                  most recently in July 2010. Mr. LeBlanc has been a member of the Board of
                  Trustees of the AAJ PAC Committee, chairman of the AAJ National Finance
                  Council, a sustaining member of the AAJ and a member of the Leaders Forum. He
                  is also a member of the AAJ’s Section on Toxic Torts and Business Torts.

                  Mr. LeBlanc has also served the Louisiana Association for Justice (LAJ) as past
                  president, member of the Council of Directors, Board of Governors and the
                  Committee for the Environmental Law/Toxic Tort Section. He currently serves on
                  the Executive Committee of the LAJ.

                  Mr. LeBlanc’s extensive accomplishments are equally renowned in the courtroom,
                  paving the way for him to be named as one of the top 75 plaintiffs’ attorneys in the
                  United States by The American Lawyer (ALM Media, 2010). He was recently
                  included in the Louisiana Super Lawyers list (Thomson Reuters, 2008, 2012-
                  2015). In addition to his work representing individuals, Mr. LeBlanc has
                  successfully represented many governmental entities, including the States of
                  Hawaii, Mississippi, Louisiana, and West Virginia in complex consumer fraud
                  litigation.

                  Today Burton LeBlanc concentrates his practice in the areas of pharmaceutical,
                  environmental, securities and asbestos litigation.

                  Mr. LeBlanc is a member of the American Bar Association’s (ABA) State
                  Attorney General and State Department of Justice Issues Committee as well as a
                  committee member of the ABA’s Section on Toxic Torts. He is also a member of
                  the National Association of Public Pension Attorneys (NAPPA) the National
                  Association of Shareholder & Consumer Attorneys (NASCAT), the Texas Trial
                  Lawyers Association, Louisiana State Bar Association, Baton Rouge Bar
                  Association, Texas State Bar Association, College of the State Bar of Texas, the
                  Louisiana Bar Foundation and a supporting member of the Trial Lawyers for
                  Public Justice Foundation. He is a frequent lecturer on the issues of environmental
                  law, asbestos litigation, chemical exposure cases and the importance of access to
                  the civil justice system.

                  Mr. LeBlanc and his wife are active in the Baton Rouge community and serve on
                  multiple boards, including Cancer Services of Greater Baton Rouge, where he has
                  served as president.
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                  Renée Melançon, a shareholder with Baron & Budd’s litigation group, focuses
                  her practice on appellate work, drafting pleadings, and motion practice. Since
                  joining the firm in 2001, Ms. Melançon has worked on a variety of toxic tort cases
                  involving complex and novel legal issues, and she has successfully defended
                  several multi-million dollar verdicts on appeal.

                  Renée Melançon has made it her life’s work to represent plaintiffs who have been
                  harmed by contaminants in the environment, most recently workers who have
                  developed cancer from occupational exposure to asbestos. Through her diverse
                  practice, she has had extensive experience in toxic torts, mass torts, multi-district
                  litigation, and complex litigation. All of her practice has the common theme of
                  representing individuals who have been wronged by big business. Indeed, Ms.
                  Melançon says she selected Baron & Budd to pursue her career because “Baron &
                  Budd has the resources, talent, and tenacity to zealously represent those who have
                  been harmed.”

                  Ms. Melançon has successfully defended on appeal multi-million dollar verdicts
                  on behalf of plaintiffs who were afflicted with asbestos-related diseases. She has
                  prevailed on appeals in several intermediate and supreme state courts, and in 2008
                  she argued a case before the Louisiana Supreme Court, whose opinion remains
                  one of the most cited and relied-upon rulings on asbestos in that state.

                  Ms. Melançon was among a team of lawyers who received the 2006 “Trial Lawyer
                  of the Year” award from Trial Lawyers for Public Justice for her work seeking
                  redress for more than 1600 residents who were injured by contaminated
                  groundwater in Tucson, Arizona. She has been named a “Rising Star of Texas
                  Law” by Texas Super Lawyers and Texas Monthly magazine, a distinction
                  awarded to less than 5% of Texas lawyers under the age of 40.

                  In addition to her work at the firm, Ms. Melançon lectures at legal seminars, and
                  in 2012 she gave a presentation on legal issues in asbestos litigation at Harvard
                  Medical School. Her devotion to helping those in need extends beyond her legal
                  practice. For example, she represented victims of the 9/11 attacks as a member of
                  Trial Lawyers Care, Inc., a non-profit organization established by the Association
                  of Trial Lawyers of America, and she volunteered in a program which helped
                  Hurricane Katrina evacuees relocate to Dallas.

                  After law school Ms. Melançon clerked for the Honorable Martha Craig
                  Daughtrey of the United States Court of Appeals for the Sixth Circuit and for the
                  Honorable Robert E. Jones of the United States District Court for the District of
                  Oregon. Before joining Baron & Budd, Ms. Melançon lived in Asia and Europe,
                  where she volunteered with nonprofit organizations focusing on women’s rights
                  and environmental issues in developing countries. As she explains, “My work at
                  Baron & Budd is a natural extension of my lifelong interest in pursuing justice for
                  others”.

                  Ms. Melançon graduated law school Magna Cum Laude and Order of the Coif
                  from the University of Arizona School of Law. Her law review note has been cited
                  by the United States Supreme Court. Melançon is licensed in Texas and Louisiana.
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                  Cary L. McDougal, a shareholder with Baron & Budd, has served as lead
                  attorney in more than 75 jury trials in state and federal court. Over the nearly two
                  decades that he has practiced law, Mr. McDougal has proven to be a formidable
                  trial lawyer with unflinching resolve to serve his clients. He has tried cases
                  involving such diverse areas of the law as premises liability, product liability,
                  general personal injury, medical malpractice, insurance litigation and
                  environmental litigation.

                  For the first 14 years of his legal career, Mr. McDougal handled the defense of
                  matters involving complex litigation throughout Texas and Oklahoma as a partner
                  at two Dallas firms. He focused his practice on civil litigation, and he managed
                  and tried all litigation for several North Texas health care agencies. He co-founded
                  the law firm Aldous and McDougal, which gained recognition for its trial
                  successes on behalf of plaintiffs in medical malpractice, contractual disputes and
                  other matters. Mr. McDougal joined Baron & Budd in 2005.

                  A shareholder and manager of Baron & Budd’s Environmental Litigation Group,
                  Mr. McDougal currently represents over 200 municipalities and water providers
                  across the country that are seeking clean-up costs for the contamination of their
                  water supplies. His practice includes management of Baron & Budd’s cases in the
                  Multi-District (MDL) MTBE water contamination litigation, which is considered
                  one of the most complex pieces of litigation in the country. He also manages other
                  environmental contamination cases involving chemicals such as TCP, TCE and
                  dioxin.

                  Mr. McDougal completed his law degree at the University of Texas School of
                  Law and attained a Master of Public Policy degree from the University of Texas
                  LBJ School of Public Affairs. He continues to serve as a consultant to the LBJ
                  school on issues concerning public policy. He has authored numerous legal papers
                  on civil litigation and trial practice and has spoken at seminars before health care
                  professionals, consumer groups, the insurance industry and attorneys on issues
                  relative to civil litigation.

                  Mr. McDougal has been inducted into the prestigious American Board of Trial
                  Advocates (ABOTA), a recognition by his peers for his jury trial experience,
                  commitment to the jury process, and ethics. He also holds the top rating from the
                  Martindale-Hubbell Law Directory and was named a Texas Super Lawyer
                  (Thomson Reuters 2005-2006).

                  Thomas M. Sims devotes the majority of his practice at Baron & Budd to seeking
                  compensation on behalf of individuals and public entities that have been harmed
                  by unsafe prescription drugs. Mr. Sims was recently appointed to the Plaintiffs’
                  Steering Committee for In Re: Fluoroquinolone Products Liability Litigation,
                  MDL 2642. Baron & Budd was the first law firm to represent the many men and
                  women who developed peripheral neuropathy as a result of Fluoroquinolone use.

                  Mr. Sims spent much of his career at Baron & Budd litigating complex cases
                  ranging from unsafe pharmaceuticals to water contamination to air pollution. He
                  was part of the litigation team that helped seven states’ attorneys general recover a
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                  $177 million settlement against GlaxoSmithKline regarding its fraudulent
                  marketing of the diabetes drug Avandia. He was lead counsel in one of the largest
                  Proposition 65 cases in history. Proposition 65 is a California state law that
                  permits private citizens to enforce certain environmental regulations on behalf of
                  the public. Mr. Sims represented three environmental groups in their efforts to
                  reduce diesel exhaust emissions from school buses. Working as lead counsel, Mr.
                  Sims was a driving force in securing a settlement in which the defendant agreed to
                  invest more than $28 million to replace or retrofit school buses that were built
                  before 2003 with air pollution control devices.

                  Mr. Sims has worked on behalf of communities that were harmed by toxic releases
                  from nearby industrial activities. In 2006 he received the Trial Lawyer of the Year
                  award from the non-profit Trial Lawyers for Public Justice in connection with his
                  work on a long-running insurance coverage dispute. Originally filed in 1985, the
                  case involved groundwater contamination of public aquifers in Tucson, Arizona.
                  As a result of the efforts of Mr. Sims and his co-counsel, the case finally settled in
                  2005. During the intervening twenty years, Baron & Budd won two trials and
                  prevailed on three separate appeals. Mr. Sims also represented the Governor of the
                  State of Louisiana in his efforts to secure natural resource damages resulting from
                  the BP Oil Spill.

                  Mr. Sims has also represented whistleblowers under state and federal false claims
                  acts. He represented two mechanics who alleged that their former employer, the
                  largest school bus operator in the country, consistently shortcut health and safety
                  procedures in order to increase profits. In connection with his work on that case,
                  Mr. Sims persuaded the California Court of Appeals to adopt the theory of implied
                  certification as a basis for liability under the California False Claims, the first time
                  a California court adopted this theory; the case settled in favor of Mr. Sims’ clients
                  in 2015.

                  Mr. Sims graduated with honors from the University of Texas School of Law and
                  he is licensed in Texas and California.

                  Roland Tellis co-manages Baron & Budd’s Los Angeles office. His practice
                  focuses on complex, high-profile litigation, including consumer class actions,
                  financial fraud, business torts, corporate misconduct, automobile defect, food
                  labeling, false advertising, securities fraud and environmental contamination.

                  Mr. Tellis has represented clients in numerous jury trials, including several
                  multimillion dollar disputes. In 2005, Mr. Tellis received commendation from the
                  U.S. Department of Justice and the Federal Bureau of Investigation for his
                  assistance in the successful prosecution of a $120 million securities Ponzi scheme
                  perpetrated by foreign currency traders. Mr. Tellis also represented a multinational
                  food company in litigation directed at the theft of its trade secrets by competing
                  scientists. Mr. Tellis represented the owner of a commercial real estate portfolio in
                  a large-scale litigation. And Mr. Tellis also represented the Screen Actors’ Guild
                  and members of its national board.
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                  Mr. Tellis has become a leader in representing plaintiffs in multidistrict class
                  action litigation and has become a formidable force in protecting consumer rights.
                  Mr. Tellis is lead class counsel in several complex class action cases, including
                  cases in the financial services sector, the automobile industry and the food and
                  beverage group. His experience exemplifies the depth and breadth of resources
                  that Baron & Budd provides for its clients.

                  Some of Mr. Tellis’ consumer class actions include Bias et al. v. Wells Fargo
                  Bank, a putative class action concerning fraud in the setting of default related bank
                  fees; Stitt et al. v. Citibank et al., putative class action concerning fraud in the
                  setting of default-related bank fees; Ellis et al. v. JPMorgan Chase et al., a
                  putative class action concerning fraud in the setting of default-related bank fees;
                  Payne et al. v. Bank of America, et al., a putative class action involving
                  manipulation of the LIBOR U.S. Dollar rate; In re L’Oreal Wrinkle Cream
                  Marketing and Sales Practices Litigation, a putative class action involving
                  fraudulent marketing of skin care products; In re: Avon Anti-Aging Skincare
                  Creams and Products Marketing and Sales Practices Litigation, a putative class
                  action involving fraudulent marketing of skin care products; In Re: Brazilian
                  Blowout Litigation, where he was class counsel in a certified class action
                  concerning issues of fraud in connection with the sale of Brazilian Blowout hair
                  products; Delacruz v. Cytosport, Inc., a putative class action concerning false
                  advertising, fraud, and misrepresentations regarding dietary supplement products;
                  Aarons et al. v. BMW of North America, LLC et al., a putative class action
                  concerning premature transmission failure in MINI Cooper vehicles; In re: Alexia
                  Foods, Inc. Litigation, a putative class action concerning false advertising, fraud,
                  and misrepresentations concerning frozen food products; and in In re Volkswagen
                  “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation, a
                  cases concerning allegations that Volkswagen installed software in these cars that
                  allowed the vehicles to “cheat” emissions tests.

                  Mr. Tellis served on the Board of Governors of the Association of Business Trial
                  Lawyers and is a Lawyer Representative to the Ninth Circuit Judicial Conference.
                  Mr. Tellis is also Co-Chair of the Settlement Panel of the United States District
                  Court for the Central District of California.

                  Mr. Tellis is a faculty member of the Practicing Law Institute and was Chair of an
                  annual program entitled “Taking and Defending Depositions.” He was recognized
                  as a “Rising Star” from 2004-2007 (Thompson Reuters) and a “Super Lawyer”
                  from 2008-2012 (Thompson Reuters).

                  Mr. Tellis earned a J.D. from the University of California, Hastings College of
                  Law in 1996 and a B.S. from the University of California, Los Angeles in 1992.

                  OF COUNSEL ATTORNEYS
                  Alicia Butler has worked with Baron & Budd in numerous roles, ranging from
                  major toxic exposure cases to widesweeping consumer cases. Currently, Ms.
                  Butler focuses on pharmaceutical litigation and Medicare fraud cases.
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                  Previously, Ms. Butler worked on a variety of toxic exposure cases with Baron &
                  Budd that impacted thousands of people harmed by dangerous toxins. She
                  represented hundreds of residents in a Pennsylvania community contaminated by
                  radiation from local nuclear fuel facilities. She has also represented more than
                  1,500 workers suffering from health problems associated with arsenic, asbestos,
                  benzene, beryllium, lead, mercury, and silica exposure at a plant in West Virginia.
                  Ms. Butler has experience working with public entities, as she helped achieve a
                  major settlement on behalf of the City of Santa Monica to hold the oil industry
                  accountable for MTBE contamination in the local water supply.

                  Ms. Butler currently serves as a pro bono legal adviser to the Workers’ Defense
                  Project in Austin, Texas in the area of occupational safety and health issues.

                  Ms. Butler earned her J.D., with honors, from the University of Texas School of
                  Law. She also holds a B.A. in English and Sociology from Rice University, where
                  she graduated magna cum laude.

                  S. Ann Saucer is an Of Counsel lawyer with Baron & Budd. She joined the firm
                  in 2000 with almost a decade of litigation experience behind her in Louisiana and
                  Texas, the previous five years of which were with the Dallas-based law firm Silber
                  Pearlman, P.C.

                  Ms. Saucer’s practice focuses on appellate advocacy and briefing in complex
                  litigation. She has successfully argued before the United States Fifth Circuit Court
                  of Appeals, the United States Ninth Circuit Court of Appeals, the Texas Court of
                  Appeals, Dallas, and federal and state trial courts across the country.

                  Ms. Saucer was a key author of the federal court briefing defending the rights of
                  Fen Phen victims when the American Home Products Corp. (AHP) class action
                  settlement was renegotiated. She has been a keynote speaker at Fen Phen litigation
                  seminars.

                  Ms. Saucer has also spoken and published articles on federal procedure issues. Her
                  background covers the spectrum of environmental law, consumer protection,
                  product liability and toxic torts.

                  Ms. Saucer graduated first in her class from Loyola University School of Law,
                  New Orleans, in 1991. During that time she edited articles for the Loyola Law
                  Review. After graduation she clerked for the Honorable Henry A. Politz, Chief
                  Judge of the United States Fifth Circuit Court of Appeals, before joining a private
                  practice in 1992.

                  Ms. Saucer devotes her time to commercial and pharmaceutical cases, arguing
                  complex legal issues in federal and state court, writing legal briefs, conducting
                  legal research, and strategizing.

                  Allen Vaught is a decorated U.S. Army veteran and former Texas State
                  Representative. A member of the U.S. Army Reserve from 1997 to 2005, Mr.
                  Vaught took leave from Baron & Budd in 2003 to serve in Operation Iraqi
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                  Freedom. He commanded one of the Army’s first units to enter Fallujah and
                  served as the city’s de facto mayor. As an attorney at Baron & Budd, Mr. Vaught
                  heads the firm’s FLSA litigation section, where he spearheads new litigation
                  against employers who are not fairly compensating their employees.

                  Mr. Vaught has more than 15 years of experience working as a litigator on
                  complex, multi-party litigation. Recently, Mr. Vaught won a major award for a
                  group of mechanics who were incorrectly classified as independent contractors by
                  their employer, which earned him the distinction of being recognized as the
                  “Litigator of the Week” by the state of Texas by legal publication Texas Lawyer.

                  He is currently leading litigation against several oil and gas companies regarding
                  lay-offs that were not made in accordance with the Worker Adjustment and
                  Retraining Notification (“WARN”) Act, a U.S. labor law which protects
                  employees by requiring most employers with 100 or more employees to provide
                  60 calendar-day advance notification of plant closings and mass layoffs.

                  FIRM ASSOCIATES
                  Melinda Arbuckle works in the Employment Law Group of Baron & Budd,
                  representing workers who were not fairly paid or were not given proper notice that
                  they would be let go from their jobs. As a former law clerk in the Northern District
                  of Texas, Ms. Arbuckle enjoys the challenge of Federal employment cases. Now
                  an associate attorney at Baron & Budd, she routinely handles complex multi-party
                  and class action cases.

                  Ms. Arbuckle’s practice with Baron & Budd’s Employment Law Group centers on
                  litigating cases that make a difference not only in the lives of specific individuals,
                  but also in shaping policy for the better protection of workers at large. In trying
                  cases under the Fair Labor Standards Act (FLSA) and Worker Adjustment
                  Retraining and Notification (“WARN”) Act, Ms. Arbuckle values her role as an
                  advocate for employees to be treated equitably.

                  Ms. Arbuckle received her Juris Doctor at Southern Methodist University. She
                  chose law school because of her affinity for resolving problems. “I love the puzzle
                  of complex cases. Learning rules, understanding complexities and simplifying
                  them is my passion.” While in law school, Ms. Arbuckle was a research assistant
                  to Civil Procedure Professor Elizabeth Thornburg. She studied issues and assisted
                  in the preparation of coursework relevant to the litigation surrounding the BP Oil
                  Spill and Multidistrict Litigation generally.

                  After law school, Ms. Arbuckle worked for Baron & Budd prior to clerking for
                  Federal Judge W. Royal Furgeson. While at Baron & Budd the first time, she
                  represented clients who were harmed by asbestos products. The ability to help
                  those whose health had been detrimentally affected while working was extremely
                  rewarding. During her clerkship, she drafted orders of the court regarding
                  employment cases, particularly regarding workplace discrimination. She also
                  observed and assisted with the Multidistrict Litigation Panel’s hearing at Southern
                  Methodist University, as Judge Furgeson was head of the Panel at the time.
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                  Ms. Arbuckle is pleased to return to Baron & Budd as an associate attorney. “I
                  always knew I wanted to represent individuals, not companies. My clients are
                  people who may believe they have only a quiet voice in law and in life. It’s my
                  mission to make sure their voices are clearly heard.”

                  Jeremiah Boling works at the Louisiana office of Baron & Budd. He is a member
                  of the firm’s Mesothelioma Litigation Group. Originally from the South, Mr.
                  Boling is a Georgia native. He attended Mississippi State University where he
                  received a degree in Political Science. He then moved to Louisiana to attend law
                  school at Tulane University. During law school, he served as managing editor of
                  the Sports Lawyers Journal.

                  After finishing his law degree, Mr. Boling began his career at Barrios Kingsdorf &
                  Casteix where he gained experience working on Chinese drywall, Actos and
                  Vioxx litigation. Now Mr. Boling is proud to be a part of the Baron & Budd team
                  where he can continue giving a voice to those who have been victimized by the
                  asbestos industry.

                  David Cannella is an attorney at the New Orleans office of Baron & Budd. As a
                  member of the Mesothelioma Litigation Group, David Cannella serves asbestos
                  victims across the gulf state. After graduating from Louisiana State University’s
                  Paul M. Hebert Law Center in 1999, Mr. Cannella served as a law clerk to the
                  Honorable Pascal F. Calogero, Jr., Chief Justice of the Louisiana Supreme Court.
                  Following his service to Chief Justice Calogero, Mr. Cannella served as Assistant
                  District Attorney for Orleans Parish. While working in Harry Connick’s office,
                  Mr. Cannella was assigned to the Narcotics Screening Division and the Felony
                  Trial Division. In addition, he served as an advisor to the Orleans Parish Grand
                  Jury.

                  In addition to practicing law, Mr. Cannella is a faculty member at the Tulane
                  University Law School Intersession Program, where he teaches an advocacy and
                  practical skills course to second and third year law students. “I find it rewarding to
                  pass on to a younger generation what I’ve learned in my years of legal service,” he
                  says.

                  Since 2001, Mr. Cannella has focused on litigation pertaining to toxic torts,
                  product liability, serious personal injury, and wrongful death, successfully
                  handling multi-million dollar cases and numerous jury and bench trials, both in
                  state and federal court. In one such case, Mr. Cannella obtained a $6.4 million
                  verdict against Asbestos Corporation Limited for a 60-year-old surgical nurse who
                  was diagnosed with mesothelioma in 2012. In another, he won a $5.6 million
                  verdict for the husband and son of a woman who died of mesothelioma in 2013.
                  Mr. Cannella continues to focus on mesothelioma and other product liability cases
                  for Baron & Budd throughout the state of Louisiana.

                  Brittany Clark works closely with clients suffering from serious health problems
                  after using various pharmaceuticals, such as Fluoroquinolones, Risperdal, Lipitor,
                  Testosterone therapy drugs, Zoloft, GranuFlo, transvaginal mesh and several
                  others. Ms. Clark remains at the forefront of the firm’s pharmaceutical litigation
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                  practice, often spearheading investigation into new drugs or devices that may be
                  causing serious physical harm to patients – and most importantly, what Baron &
                  Budd can do to help these people.

                  Prior to her work at Baron & Budd, Ms. Clark represented tens of thousands of
                  patients suffering from harmful pharmaceutical products against numerous multi-
                  billion dollar pharmaceutical corporations. She worked closely with countless
                  clients and their families throughout the litigation process to fully understand each
                  client’s needs, as well as fulfill the legal needs of each client’s case.

                  Ms. Clark graduated cum laude with her J.D. from the Thurgood Marshall School
                  of Law at Texas Southern University in Houston. She also holds a B.A. in
                  Business Administration from Baylor University.

                  Christopher C. Colley has dedicated his career to protecting the rights of asbestos
                  victims and seeking compensation for their injuries. Mr. Colley worked with the
                  Dallas-based law firm Silber Pearlman and the Baton Rouge based law firm of
                  LeBlanc & Waddell until the firms consolidated with Baron & Budd in 2008.

                  Mr. Colley began helping asbestos victims and their families in 2000, primarily
                  along the Texas coast. He participated in hundreds of asbestos cases representing
                  various trades of construction along with chemical and oil refinery workers,
                  including pipefitters, boilermakers, carpenters, electricians and certainly those
                  involved with insulation materials.

                  Starting in 2006 Mr. Colley began to work almost exclusively in the state of
                  Louisiana. He utilized his extensive experience from having worked with
                  individuals in the industrial settings of Beaumont, Houston, Galveston and
                  Freeport and put it to work representing asbestos victims who live and work along
                  the lower Mississippi River. Since 2006 he has successfully litigated or settled
                  hundreds of asbestos cases in Louisiana representing victims and their families
                  from Baton Rouge all the way down the river to New Orleans.

                  Mr. Colley handles an active docket in Louisiana and appears in courts across the
                  state. He has managed cases in East and West Baton Rouge, Ascension, St. James,
                  New Orleans, Calcasieu, Morehouse, Ouachita, Caddo, Iberville, Point Coupee,
                  and St. Bernard parishes.

                  Mr. Colley strives to help his clients make sense of what has happened to them
                  and their families through his experience and keen understanding of toxic tort law.
                  “The best thing I can do as a lawyer,” he says, “is help people in the most difficult
                  time of their lives to find answers and seek justice.”

                  Chad Cotten’s convictions as a lawyer are founded on his resolute belief that the
                  law is the bedrock of civilization and the cornerstone of the democracy in which
                  we live. “The law is how we order society without resorting to violence and brute
                  force. It protects all people, not just those with power,” he says. “Therefore, the
                  law is very important to me, and the best way to participate in the process of law is
                  to practice it.”
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                  Mr. Cotten practices law as an attorney with Baron & Budd’s Mesothelioma
                  Litigation Group, representing individuals with mesothelioma and other asbestos-
                  related diseases. He concentrates his practice on the liability of employers and the
                  owners of the premises where his clients were exposed to asbestos. He finds his
                  work challenging and rewarding: “I particularly enjoy the intellectual challenge of
                  understanding legal issues on the broadest general level, as well as mastering the
                  individual details of each specific case,” he says. “No two clients’ cases are alike.”

                  He also finds satisfaction as an advocate for Baron & Budd’s clients, who are
                  typically working men and women whose injuries were caused by the actions of
                  large corporate interests. “Baron & Budd has never taken a case against a poor
                  man,” he remarks.

                  In addition to serving Baron & Budd’s clients, Mr. Cotten puts his legal skills to
                  use for the benefit of the community by providing his services, pro bono, to low-
                  income individuals seeking assistance with divorces and income tax issues. He has
                  consulted with a local professional rehabilitation association on the possibility of
                  acquiring non-profit status. He is also keenly interested in legal issues involving
                  white-collar crime, unions and organized labor and employment law.

                  Irma Espino is an attorney with Baron & Budd’s Environmental Litigation
                  Group, where she works primarily with clients who have been harmed by the Gulf
                  Coast BP Oil Spill. In this capacity, Ms. Espino represents a variety of clients,
                  from family-owned businesses whose incomes were wiped out by the
                  contamination of fishing waters to complex real estate development companies
                  whose multi-million dollar shoreline investments lost much of their value when
                  pristine beaches were sullied. Ms. Espino is proud to be part of a team that has
                  helped clients affected by the spill and her work has contributed significantly to its
                  success. She has personally helped clients in the hospitality and tourism industries
                  recover significant settlement proceeds. “My work helps these businesses recover
                  their losses and remain viable. That has a ripple effect that benefits communities
                  and families, too”.

                  Ms. Espino has a long association with Baron & Budd. She originally joined the
                  firm in 2002 as a paralegal in the pharmaceutical litigation section. In 2004, she
                  enrolled at the University of Miami School of Law, where she received honors in
                  the Litigation Skills and Trial Advocacy Program and was a member of the
                  Business Law Review. Upon graduation, Ms. Espino joined a boutique litigation
                  firm and successfully litigated a number of business disputes in Atlanta, Georgia.
                  In her second year of practice, she chaired a business tort bench trial, which she
                  successfully settled for her client. Ms. Espino rejoined Baron & Budd as an
                  associate in 2010.

                  Ms. Espino earned her J.D. from the University of Miami School of Law in 2007,
                  graduating cum laude, and her B.A. from the University of Texas at Austin in
                  2002 with high honors. She has served as Chair of Communications for the
                  Georgia Association of Women Lawyers (GAWL) and on the Board of Directors
                  for the Georgia Bar Association’s Young Lawyers Division.
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                  When she isn’t fighting for the rights of her clients, Ms. Espino enjoys testing her
                  mettle with outdoor fitness challenges. She recalls a hike up Table Mountain in
                  Cape Town, South Africa, as particularly dynamic. “My joy of the great outdoors
                  reminds me why I fight so hard for preservation of the environment in my work”.

                  David Fernandes joined Baron & Budd’s California office in August 2014. He
                  represents clients across the United States in class action litigation involving
                  automobile safety, fraudulent banking practices, and deceptive advertising.

                  Born and raised in Los Angeles, California, Mr. Fernandes earned his J.D. from
                  Pepperdine University School of Law. He also holds a Bachelor of Science degree
                  in Business Administration from the University of Southern California. While at
                  Pepperdine University, Mr. Fernandes served as president of the Student Bar
                  Association from 2010 to 2011. During law school, he also clerked at the
                  Children’s Law Center of California, which serves as appointed counsel for
                  abused and neglected children who come under protection of the Los Angeles
                  county juvenile dependency court systems.

                  Mr. Fernandes was heavily involved with Pepperdine’s Geoffrey H. Palmer Center
                  for Entrepreneurship and the Law, where he was an integral member of the Palmer
                  Center’s first Student Advisory Board from 2009 to 2010 and served as the
                  board’s vice-chairman from 2010 to 2011. Prior to joining Baron & Budd, he
                  spent several years at a mid-size firm, representing clients in a variety of consumer
                  fraud cases and residential construction defect actions.

                  Despite being well-beyond his law school years and fully involved in a rewarding
                  career with Baron & Budd, Mr. Fernandes finds time to mentor first-year law
                  students at his alma mater. As a preceptor at Pepperdine Law School, he works
                  with a new group of first-year law students every year to provide mentorship
                  regarding a variety of student decisions, from resume preparation to interviewing
                  techniques. By giving his time to these students, Mr. Fernandes uses his
                  experience to prepare future colleagues for successful entry into the legal field.
                  "Providing substantive feedback and support to these promising law students is
                  very rewarding and allows me to give back to the school which shaped my world
                  view about the legal field and what is possible".

                  David Fernandes has committed himself to a life of purpose, service and
                  leadership. His passion for public service and social responsibility drew him to
                  Baron & Budd’s mission.

                  John Fiske has a “thing” for environmental justice. This dynamic powerhouse
                  joined Baron & Budd’s Environmental Litigation Group in 2016 and is an integral
                  component of Ecolawyers, a joint venture between Baron & Budd and Gomez
                  Trial Attorneys in San Diego, California. The Ecolawyers logo is marked by four
                  elements involved in Mr. Fiske’s practice, including the pollution of water, land,
                  and air, and the devastating effects of corporate-caused wildfires.

                  John Fiske has dedicated his career to “protecting what’s right” in so many ways:
                  mentoring youth, rescuing farm animals, and seeking justice for those whose
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                  health and homes have been decimated by polluters and the manufacturers of
                  pollutants throughout the United States. Mr. Fiske represents large cities such as
                  San Diego, San Jose, Oakland, Berkeley, Seattle, Spokane, and Portland in
                  environmental and public nuisance actions against Monsanto Company for
                  polluting America’s waterways with polychlorinated biphenyls (PCBs).

                  Mr. Fiske also represents students and teachers exposed to toxic fumes by the
                  multi-billion dollar aerospace company Ametek, Inc., which improperly dumped
                  toxic chemicals into groundwater, creating one of the largest trichloroethylene
                  (TCE) plumes in the state of California. Additionally, Mr. Fiske represents victims
                  of devastating and unnatural wildfires caused by negligent companies, such as
                  Pacific Gas & Electric Co. (PG&E), and other multi-billion dollar corporations.

                  John Fiske earned his law license at age 23 from California Western School of
                  Law, a private, non-profit law school located in San Diego which was founded in
                  1924. Mr. Fiske attended law school on a full scholarship and served as Associate
                  Editor of the Law Review while there.

                  Mr. Fiske has been declared a Super Lawyer in 2015, 2016 and 2017. In 2013, San
                  Diego Metro Magazine named John Fiske to its list of “40 Under 40” (people to
                  watch). He was a 2012 “Top Influential” (The Daily Transcript), a 2009 “Top
                  Young Attorney” (The Daily Transcript), and a 2007 “50 People to Watch” (San
                  Diego Magazine). Mr. Fiske has also served as a Barrister with the Louis M.
                  Welsh Inn of Court, an amalgam of judges and lawyers who come together
                  throughout the year to improve the skills, professionalism and ethics of the bench
                  and bar.

                  John Fiske is a past-president of the board of directors of the San Diego Brain
                  Injury Foundation, getting involved after receiving a $10.8 million jury verdict for
                  a brain injured client. He has also served as an advisory board member for the
                  University of California San Diego’s Bannister Family House, which acts as a
                  home away from home for families of patients undergoing long-term care. In
                  addition, Mr. Fiske has been a board member of Solutions: Exploring Success
                  Post-High School, which provides an affordable way for high school students and
                  their families to shape a clear, actionable vision of their post-high school path
                  based on individual interests, aptitudes, and financial resources. On top of that,
                  Mr. Fiske served as a “Red Coat” for the San Diego Bowl Game Association, a
                  group of dedicated men and women who volunteer their time throughout the
                  bowl’s year-around events, leading up to and including the Holiday and Poinsettia
                  Bowl games in San Diego. And as if all that were not enough, Mr. Fiske mentored
                  two young men in a very personal way, by having been a “Big Brother” to two
                  “Little Brothers” in the Big Brothers Big Sisters of America organization.

                  When John Fiske is not discussing legal topics on television, including
                  programming on Fox, ABC, KPBS, and KUSI, he spends time riding horseback,
                  snorkeling, hiking and camping. He’s stays fit by racing in the Spartan Beast,
                  Ragnar Relay and Tough Mudder competitions.
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                  In 2016, Mr. Fiske founded the San Diego Farm Animal Rescue, a 501(c)3 non-
                  profit organization dedicated to rescuing horses, pigs, hens, and roosters. As
                  relayed by the Los Angeles Times and San Diego Union Tribune, SDFA Rescue
                  educates people about the environmental impacts of large scale animal agriculture
                  while providing a unique interactive experience for visitors. In 2016, San Diego
                  Magazine named Mr. Fiske’s rescue organization San Diego’s “Best Animal
                  Encounter Experience.” Baron & Budd is extremely proud to have this dedicated
                  public servant and compassionate human being in our San Diego office.

                  Farsheed Fozouni is an associate in Baron & Budd’s Employment Law Group,
                  where he advocates for hard working people who are not properly paid for their
                  labor or are let go from their jobs without fair notice. Mr. Fozouni received his law
                  degree in 2015 from Southern Methodist University’s Dedman School of Law in
                  Dallas, Texas, where he served as the executive editor of the SMU Law Review.

                  Farsheed Fozouni joined Baron & Budd’s Employment Law Group in 2016
                  because he felt a strong desire to help ordinary people fight for their hard-earned
                  compensation and to protect workers from unlawful termination without notice. “I
                  love representing industrious people who are the backbone of our country’s
                  prosperity, and that prosperity derives in large part from receiving the proper
                  compensation and continued employment these workers deserve.”

                  Mr. Fozouni did his undergraduate work at Austin College, where he received a
                  bachelor’s degree in international relations. Though he spent most of his
                  childhood and early college years planning to go to medical school, a sudden
                  change of passion in wanting to advocate for people led him to law school, a
                  decision he has never regretted. Mr. Fozouni received his law degree from the
                  Southern Methodist University Dedman School of Law in Texas, where he won
                  awards for his legal research and writing skills, as well as for his advocacy and
                  speaking abilities.

                  While in law school, Mr. Fozouni served as Executive Editor of the SMU Law
                  Review Association, a position to which he was elected to create and administer
                  the writing competition that would select the next year’s staff editors. In addition
                  to participating in various academic events such as the New York City Bar
                  Association’s National Moot Court Competition, Mr. Fozouni interned for the
                  Honorable Richard Schell of the Eastern District of Texas. This experience
                  convinced him that litigation was the only path forward for his career.

                  A Dallas native, born and raised, Farsheed Fozouni is a first generation Iranian-
                  American, fluent in Farsi, who is deeply passionate about his cultural roots and
                  heritage. He remains actively engaged in the Iranian-American community and
                  loves to travel. He is proud to join Baron & Budd’s team of dedicated advocates
                  for the rights of workers.

                  Bryan Green devotes his practice to the representation of individuals and families
                  who have suffered catastrophic injuries and the loss of loved ones as a result of
                  accidents involving commercial motor vehicles. His in-depth understanding of the
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                  trucking industry, particularly from a litigation and legal standpoint, is an asset to
                  his clients that separates Baron & Budd from other law firms.

                  Bryan Green joined the trucking litigation department at Baron & Budd in August
                  2015 where he serves as lead counsel in numerous cases involving catastrophic
                  injuries and wrongful deaths. Simply put, he represents individuals and families
                  who have been badly hurt by the wrongful acts of others, aggressively pursues
                  justice for them, and ensures wrongdoers are held accountable.

                  Mr. Green brings to the table a wealth of knowledge of the trucking industry,
                  particularly from a legal and litigation standpoint, as he previously spent years
                  representing commercial drivers and trucking companies on the defense side. This
                  experience gives him a unique perspective and understanding when it comes to
                  case investigation and analysis and identifying breaches of the duties and
                  standards of care owed by those in the trucking and commercial transportation
                  industry. He uses that knowledge and experience to advance his clients' cases and
                  enhance the value of their claims. Mr. Green is also an accomplished trial
                  attorney, having tried dozens of cases to verdict in courts throughout Texas.

                  In addition to trucking litigation, Mr. Green has extensive experience dealing with
                  drunk driving accidents and the liability of bars and other dram shops for the
                  unlawful service of alcohol to obviously intoxicated individuals, as well as the
                  liability of governmental entities and police departments for the excessive use of
                  force and violation of civil rights by law enforcement officers.

                  Mr. Green graduated from Texas Tech School of Law in 2009 and obtained his
                  Texas law license that same year. He is also admitted to practice law in the U.S.
                  District Courts for the Northern, Southern, Eastern, and Western Districts of Texas
                  and is a member of the State Bar of Texas and the Dallas Bar Association. Prior to
                  law school, he received his B.A. in International Studies from the University of
                  Denver where he was a 2003 Academic All-Conference selection for the
                  university’s NCAA Division I Men's Soccer team.

                  When not practicing law, Mr. Green enjoys spending time with his family, is an
                  avid fan of the Dallas Mavericks, and is a member of the Zion Lutheran School
                  Board, currently serving as its Chairman.

                  Ann Harper has spent her career representing workers who have developed
                  mesothelioma and other serious illnesses caused by exposure to asbestos. She is an
                  attorney in Baron & Budd’s settlement department, where she works through the
                  issues necessary to get the firm’s clients compensation in their lawsuits and to
                  pursue their claims through bankruptcy trust funds.

                  Ms. Harper says, “In my job, I am often able to get people compensation that
                  offers a measure of security for their families and brings them some peace of
                  mind. It’s wonderful when I can do something like that for a client.”

                  When she is not working for her clients, Ms. Harper enjoys reading and traveling
                  to new destinations.
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                  Matthew Haynie is an attorney in Baron & Budd’s Pharmaceutical Group, where
                  he represents individuals who have suffered serious injuries after taking a
                  dangerous prescription drug or having a defective medical device implanted. His
                  litigation experience stems from cases involving transvaginal mesh, testosterone
                  therapy, Risperdal, Xarelto, and several other prescription drugs and medical
                  devices. Though Mr. Haynie developed a keen interest in representing mass tort
                  plaintiffs in pharmaceutical litigation while he was attending law school, he knew
                  early in life that he wanted to dedicate his career to helping others.

                  As an undergraduate student, Mr. Haynie interned for Andrew Laming, a
                  Queensland House Representative in the Parliament of Australia, who was
                  instrumental in gaining access to healthcare for indigenous Australians. Mr.
                  Haynie also worked on an award-winning documentary about exiled Tibetans
                  living in refugee camps and monasteries across India. Both of these encounters
                  opened his eyes to the atrocities human beings experience and strengthened his
                  resolve to pursue a career in law that would allow him to seek justice for those
                  who are injured by the wrongful acts of others.

                  Mr. Haynie graduated with his Juris Doctor from Southern Methodist University’s
                  Dedman School of Law in Dallas, Texas. He also holds a Bachelor of Arts degree
                  in Political Science and Journalism from the University of Arkansas, where he
                  graduated magna cum laude and was a recipient of the Senior Honor Citation, an
                  award given to the top graduating male and female student in each class.

                  Peter Klausner is an attorney at Baron and Budd, specializing in consumer class
                  actions cases involving unfair and deceptive practices. Over the course of his
                  career, he has handled cases involving toxic torts, birth injuries, auto defects,
                  surgical implantation devices, banking and mortgage frauds, pharmaceuticals, and
                  wrongful deaths.

                  Peter Klausner has spent the entirety of his career representing and helping to
                  restore the victims of fraud, malpractice and negligence. He has advocated on
                  behalf of numerous injured clients at all phases of litigation, including multiple
                  jury trials that have gone to verdict. The breadth of his career has spanned cases
                  involving banking fraud, auto-defects, surgical implantation devices, hazardous
                  materials (PCBs, lead, ethylene/propylene glycol ethers, tetragenic solvents), big
                  pharma and birth injuries. More importantly, Mr. Klausner has had the honor of
                  appearing in court while standing next to hard-working men and women from all
                  over the country who would otherwise have found themselves overmatched by the
                  moneyed interests that harmed them and now deny responsibility.

                  Mr. Klausner obtained his undergraduate degree from the University of Southern
                  California and earned his J.D. from Loyola Law School of Los Angeles. In his
                  second year at Loyola, he competed on behalf of the school’s prestigious mock
                  trial team, winning the 2009 AAJ regional tournament, while also serving as a
                  chair of his school’s Public Interest Law Forum, where he helped disadvantaged
                  Los Angeles residents obtain their public assistance benefits. In his final year, Mr.
                  Klausner interned at the Los Angeles County District Attorney’s Office (hardcore
                  gang division), while simultaneously competing on Loyola’s Moot Court team,
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                  during which time he was ranked as one of the top three oralists in the nation at
                  the ABA’s 2010 National Moot Court Competition.

                  Following law school, Mr. Klausner worked as an associate at Waters, Kraus &
                  Paul, LLP, where he represented numerous victims of toxic exposures and faulty
                  surgical devices. In one such instance, he obtained a multi-million dollar verdict
                  from a San Diego jury on behalf of a technician who had been exposed to asbestos
                  while serving in the United States Navy. In addition, he obtained several multi-
                  million dollar settlements in cases involving birth defects that resulted from
                  mothers’ exposure to industrial solvents, while also litigating on behalf of cancer
                  survivors whose illnesses could be linked to PCBs manufactured by the Monsanto
                  Company.

                  Mr. Klausner has continued handling cases in numerous fields, but always
                  involving consumers and victims who have been injured through no fault of their
                  own, and who would otherwise find themselves powerless in the fight against big
                  businesses, negligent corporations and well-financed adversaries. He currently
                  specializes in banking fraud, auto-defects and big pharma.

                  When not practicing law, Mr. Klausner enjoys marathon training, going to the
                  movies, watching Laker games and exploring the cosmos with his telescope.

                  Sangeeta Kuruppillai first worked for Baron & Budd in 2010 as a attorney in the
                  firm’s Environmental Litigation group, reviewing discovery documents for cases
                  involving atrazine, an herbicide used for weed control in farm crops which has
                  been linked to prostate and breast cancer and is thought to be causing declines of
                  endangered amphibians. In 2012, Ms. Kuruppillai worked on pharmaceutical
                  cases related to the drug Avandia, thought to increase the risk of serious heart
                  problems in diabetes patients for whom the drug was prescribed. She specializes
                  in the electronic review (eDiscovery) of documents in mass tort litigation.

                  Ms. Kuruppillai spent twelve years as an Assistant City Attorney at the Dallas
                  City Attorney’s Office in Texas, defending city management in race and other
                  employment discrimination cases. She also worked as a Claims Attorney for
                  Great American Insurance Group. Before joining Baron & Budd, Ms. Kuruppillai
                  also worked as Manager of the Civil Division and Chief Deputy in the Dallas
                  County Clerk’s Office. At Baron & Budd, she also worked for a year and a half in
                  our Employment group, preparing motions and performing pre-trial and trial work
                  relating to the Fair Labor Standards Act (FLSA), using the skills she honed as an
                  assistant city attorney to represent clients at Baron & Budd who have been hurt by
                  large companies.

                  In late 2014, Ms. Kuruppillai re-joined Baron & Budd’s Environmental Litigation
                  Group, where she currently reviews discovery documents for the MyFord Touch
                  litigation, an in-car communication system thought to put drivers at risk of an
                  accident, and Trichloropropane (TCP) cases, representing victims of groundwater
                  and soil contamination in several California cities. “I enjoy helping put the pieces
                  of a puzzle together to establish a case against offenders of mass tort, like water
                  contamination or defective products”.
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                  Sangeeta Kuruppillai chose a career in law because she wanted to make a
                  constructive difference in people’s lives. Her work in our Environmental
                  Litigation Group allows Sangeeta to make a significant impact in the lives of our
                  clients and to positively affect our fragile environment at the same time.

                  Brett Land joined Baron & Budd’s Environmental Law Group in 2014 after
                  graduating from Emory University School of Law. Prior to joining the firm, Brett
                  worked as a summer associate at Baron & Budd for several years, concentrating
                  on cases related to PCE, TCP, MTBE and Atrazine groundwater contamination.

                  Prior to joining the firm, Mr. Land worked as a summer associate at Baron &
                  Budd for several years, concentrating on cases related to Perchloroethylene (PCE),
                  Trichloropropane (TCP), Methyl tertiary-butyl ether (MTBE) and Atrazine
                  groundwater contamination. This work strengthened his resolve to help public
                  entities seek justice for wrongful contamination and force the companies
                  responsible to pay for cleanup.

                  During those summers, Mr. Land had the opportunity to work on a number of
                  major water contamination cases. He performed diligent research and offered
                  invaluable assistance in obtaining positive results for the firm’s clients. He also
                  met with and assisted numerous victims of the 2010 Gulf oil spill by filing their
                  legal claims.

                  Brett Land grew up in Midlothian, Texas, considered by some to be the “cement
                  capital” of the state for its three gigantic cement plants providing a backdrop to
                  practically every childhood memory of his hometown. Mr. Land says that when
                  the cement company closest to his home billowed smoke from its towering
                  smokestacks at night, the chimneys’ floodlights bathed a good part of his
                  neighborhood in a thick, orange, otherworldly haze. As a youth, Mr. Land often
                  wondered what might be in the smoke that filled the air he and his family were
                  breathing. This concern instilled in the young man a keen desire to make sure that
                  every manufacturer’s by-products are safe and, when they’re not, to stop those
                  harmful contaminants in their tracks. Baron & Budd is proud to have an attorney
                  on staff with such a passion for his craft and for the safety of our citizens.

                  Daniel MacDonald is an associate with the firm who works primarily on
                  litigation against manufacturers of dangerous drugs and medical devices,
                  representing clients who have been harmed by the very things that should have
                  made them well. Inspired by the example of his grandfather—a small-town lawyer
                  who provided legal services to his neighbors—Daniel knew from an early age that
                  he wanted to practice law with the goal of helping others.

                  Prior to joining Baron & Budd, Daniel MacDonald clerked for the Honorable
                  Royce C. Lamberth of the U.S. District Court for the District of Columbia. During
                  his clerkship, Mr. MacDonald drafted numerous opinions in civil cases on
                  complex legal issues, including claims against state sponsors of terrorism brought
                  under the Foreign Sovereign Immunities Act and claims against the United States
                  brought under the Federal Tort Claims Act.
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                  Mr. MacDonald received his juris doctor from the George Washington University
                  Law School, where he explored his interest in federal constitutional law through
                  participation in GW’s Institute for Constitutional History and the American
                  Constitution Society. Mr. MacDonald received his undergraduate degree from the
                  University of Texas at Austin, where he studied history and political science.
                  Throughout his education, Mr. MacDonald undertook internships in all three
                  branches of federal government, working for the House of Representatives, the
                  National Archives, and the federal courts, learning just what it means to serve the
                  people. Now at Baron & Budd, Daniel MacDonald works to give his clients that
                  same devotion to truth, justice, and what is right.

                  Jonas P. Mann, an attorney in the class action group at Baron & Budd’s Los
                  Angeles office, has spent the majority of his legal career helping consumers who
                  have suffered as a result of wrongful business practices. He represents clients
                  nationwide in matters involving defective products, banking fraud, and false
                  advertising. He has been selected for inclusion in “Super Lawyers – Rising Stars
                  Edition” for six consecutive years (Thompson Reuters, 2011 – 2016).

                  Mr. Mann has exclusively represented plaintiffs during his legal career. Mr. Mann
                  discovered early on that representing people in class actions is especially
                  rewarding because it helps to level the playing field for consumers, who typically
                  would not be able to obtain justice individually.

                  Prior to joining Baron & Budd, Mr. Mann worked at a plaintiff’s firm in San
                  Francisco where he represented clients in a number of consumer fraud,
                  employment, and data privacy class actions as well as pharmaceutical mass torts.
                  He has successfully litigated numerous class action cases involving defective
                  homebuilding materials, including shingles, siding, windows, and decking.
                  Additionally, Mr. Mann has litigated consumer fraud cases against some of the
                  biggest names in Silicon Valley and a false labeling case against one of the
                  country’s largest food companies.

                  Mr. Mann is a West Coast transplant; he was born and raised in Pennsylvania. He
                  earned his J.D. from Temple University’s James E. Beasley School of Law in
                  Philadelphia where he was an editor of the Temple Political and Civil Rights Law
                  Review and a Beasley Scholar. During law school Mr. Mann participated in the
                  school’s death penalty litigation clinical program and served as a research
                  assistant. He graduated from law school in 2007 and was admitted to the bars of
                  Pennsylvania and New Jersey that year. Following a clerkship at the Superior
                  Court of New Jersey in Atlantic City, he moved to San Francisco and was
                  admitted to the California bar.

                  Before entering law school, Mr. Mann earned his B.A. in International Affairs
                  cum laude and with Departmental Honors from the George Washington University
                  in Washington, D.C.

                  Mitchell McCrea is an attorney in Baron & Budd’s Environmental Litigation
                  Group. Mr. McCrea has always been intensely aware of the need for access to
                  clean water. He grew up among farmers and ranchers in southern New Mexico,
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                  southern California and southwest Texas, where water was a scarce and precious
                  commodity.

                  Although he loved ranch life, his family—aware of the inherent uncertainty of
                  agriculture—encouraged Mr. McCrea to apply himself to his studies. After
                  earning a bachelor’s degree with honors in history from Principia College, Mr.
                  McCrea earned a master’s degree from the University of New Mexico, focusing
                  on the history of the American West and culminating in his thesis, “The Cowboy
                  and the Crow: Anglo Cattle Ranching on the Crow Indian Reservation.” His
                  studies cemented his belief in the importance of fair access to clean water.

                  “As I was listening to my family’s struggles for water for their farming and
                  ranching operations, witnessing and taking an active interest in the growing
                  conflicts over water in the arid Southwest, and studying the history of Western
                  agriculture and environment, I determined water was a—if not the—key to
                  success,” says Mr. McCrea. “Armed with a law degree, I could position myself to
                  make a positive impact for those who depend on Earth’s most precious resource.”

                  Mr. McCrea earned his law degree cum laude from Texas Tech School of Law,
                  where he met his future wife, Kim. Despite early plans to move to New Mexico to
                  work in natural resources law, the couple moved to Dallas to begin their legal
                  careers. With six years of litigation and trial experience under his belt, Mr.
                  McCrea found the chance he had been waiting for to use that experience to pursue
                  his passion.

                  “As part of Baron & Budd’s Environmental Litigation Group, I am involved in
                  litigation every day that motivates me deeply,” says Mr. McCrea. “Every day, I
                  fight for clients who endeavor to provide clean water to the public, and I can’t
                  think of a better way to spend my time.”

                  But the legal fight hasn’t completely subsumed Mr. McCrea s love of ranch life
                  and the American West. In fact, he continues to run cattle and grow corn, alfalfa,
                  and chili peppers with his brother in southern New Mexico. Mr. McCrea also
                  serves on the boards of the Texas Stampede Rodeo, which is held each November
                  and serves a network of children’s charities in north Texas, and the Texas Horse
                  Park, which is an equestrian center being developed near downtown Dallas as part
                  of the city’s Trinity River Corridor Project.

                  Marty A. Morris was an attorney with a well-known commercial litigation firm
                  for several years before joining Baron & Budd in 1999. He now works with the
                  firm’s asbestos litigation group, representing people with mesothelioma and other
                  asbestos-related diseases and assisting with the oversight of the firm’s intake
                  department and other firm-wide special projects.

                  As a Baron & Budd attorney, Mr. Morris values the firm’s teamwork approach to
                  the practice of law and an opportunity to make a difference in society. “The firm is
                  passionate about helping people and places that as its highest priority,” he says.
                  “The clients I meet and the positive impact we can make on their lives is the best
                  part of the practice of law for me.”
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                  Mr. Morris was honored with the distinguished Order of the Coif for his
                  outstanding academic record in law school, where he was also a member of the
                  South Texas Law Review and the Advocacy Program. He also provides pro bono
                  legal assistance through the Dallas Volunteer Attorney Program. Mr. Morris is an
                  avid Texas Rangers fan who also enjoys golf, tennis, and Batman trivia.

                  Lydia Murphy is an attorney in Baron & Budd’s Pharmaceutical Litigation
                  Group, where she advocates for clients who have been seriously harmed by
                  prescription medications or medical devices. Ms. Murphy offers compassionate
                  and dedicated representation inspired by her work with indigent clients and
                  immigrants from around the world.

                  Lydia Murphy earned her Juris Doctor from Western Michigan University Cooley
                  Law School. While at Western Michigan University, Ms. Murphy served as
                  secretary of the Hispanic Latino Law Society and worked closely with the non-
                  profit organization “Justice For Our Neighbors” in order to provide legal services
                  to immigrants throughout the Midwest. During law school, she was awarded the
                  Certificate of Appreciation for her service in the Access to Justice Clinic for her
                  advocacy on behalf of indigent clients facing a variety of family law matters.

                  Prior to joining Baron & Budd, Ms. Murphy practiced family-based immigration
                  law where she represented immigrant survivors of domestic violence seeking
                  benefits under the Violence Against Women Act and helped many families stay
                  together by successfully proving eligibility to remain in the United States under
                  the Immigration and Nationality Act §212. As a result of her work in family and
                  immigration law, Ms. Murphy has witnessed firsthand how compassionate legal
                  representation can transform lives and change the trajectory of generations to
                  come.

                  Today, Lydia Murphy is committed to advocating for clients who have been
                  harmed by unsafe pharmaceuticals. As a member of the Pharmaceutical Litigation
                  Group at Baron & Budd, Ms. Murphy is truly honored to be part of a dynamic
                  team of talented attorneys who sets out to change lives and right wrongs every
                  day.

                  Staci Olsen is a member of Baron & Budd’s Environmental Litigation Group,
                  where she specializes in the management of electronic information and people in
                  mass litigation. This skill makes her a critical part of the Group, which focuses on
                  large-scale complex environmental torts. She particularly enjoys putting her
                  talents to work for public entity clients facing contamination issues: “Organizing
                  all the evidence to support a client’s case is rewarding because I know that my
                  work provides a tangible result for the client.”

                  Ms. Olsen has accrued several years of experience dealing with compiling the
                  evidence necessary to make a solid environmental case. She has worked on
                  atrazine, PCE, and TCP cases, and she works closely with clients who have been
                  harmed by the 2010 Gulf Oil Spill. In addition, she is currently working on
                  MyFord Touch litigation.
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                  Ms. Olsen wanted to be an attorney ever since she was a young girl growing up in
                  rural Colorado on a ranch where water and the environment impacted her daily
                  life. She has traveled extensively, including in law school when she lived in
                  Mexico and attended a summer course to learn the Mexican legal system. Ms.
                  Olsen loves the outdoors and spends her summers in Alaska fishing. She also
                  devotes a lot of time to charity work, including her favorite charity, C.A.R.E., a
                  local organization dedicated to saving exotic large cats.

                  Mark Pifko has made a name for himself as a staunch advocate for consumers’
                  rights. Mr. Pifko has more than ten years of experience litigating complex, multi-
                  party, multi-district and class action cases. Mr. Pifko spent the first seven years of
                  his career representing some of the world’s largest companies, but in 2010, he left
                  his position at Arnold & Porter LLP so that he could devote his entire practice to
                  representing the interests of plaintiffs. Mr. Pifko brings his extensive defense side
                  knowledge and a passion for plaintiffs to every case.

                  Since joining Baron & Budd’s Los Angeles office in 2011, Mark Pifko has taken
                  on powerful corporations in class action cases concerning a wide range of
                  products and services, including, banking, motor vehicles, food products and
                  cosmetics. Mr. Pifko’s experience on both sides of the courtroom encompasses
                  more than fifty significant complex and class action lawsuits. In addition to his
                  litigation work, Mr. Pifko is a talented writer whose articles on class action law
                  and consumer advocacy have been published in California Lawyer magazine and
                  the Daily Journal newspaper.

                  Kathryn Pryor joined Baron & Budd’s Mesothelioma Litigation Group in June
                  2015. The focus of her career has been representing individuals across the United
                  States who have been diagnosed with preventable asbestos-related diseases.

                  Ms. Pryor was born in Barrington, Illinois, and raised in Dallas, Texas. She
                  attended college and law school in Tulsa, Oklahoma, after being accepted into the
                  University of Tulsa’s six-year B.A./J.D. joint degree program. During law school
                  she served as Attorney General and Delegate of the Student Bar Association. Ms.
                  Pryor started her legal career in 2009 at Simon Greenstone Panatier Bartlett,
                  working on behalf of individuals who have been injured when companies placed
                  profits over safety, specifically in asbestos and pharmaceutical litigation. Ms.
                  Pryor is proud to be a part of Baron & Budd’s Litigation Group, where she can
                  continue that important work.

                  “I enjoy being able to provide some peace of mind to our clients in what is
                  arguably one of the most difficult times of their lives”, says Ms. Pryor. “Knowing
                  that manufacturers, distributors and suppliers of the asbestos-containing products
                  to which our clients were exposed are being held accountable for the injuries they
                  caused and, more importantly, that they could have prevented, gives me immense
                  satisfaction.”

                  Natalie Rabenhorst joined the Dallas office of Baron & Budd in 2008. While
                  working for a plaintiff’s firm during her undergraduate studies, she became
                  intrigued with the litigation process. Ms. Rabenhorst quickly realized she had a
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                  passion for the practice of law and for helping injured workers who might not
                  always have the resources or means to help themselves.

                  Ms. Rabenhorst works in Baron & Budd’s settlement department, helping asbestos
                  victims and their families navigate the sometimes complicated lawsuit settlement
                  process. Every day, in ways big and small, she is part of the difference Baron &
                  Budd makes for its clients.

                  Ms. Rabenhorst was a dean’s scholarship recipient at Southern Methodist
                  University’s Dedman School of Law. While at SMU, she was selected to the
                  Oxford Summer Program which allowed her to spend a semester studying
                  international law at University College of Oxford in the United Kingdom. After
                  graduating from law school, Ms. Rabenhorst was certain Baron & Budd was the
                  place she wanted to be. “I knew Baron & Budd was a reputable firm with the
                  resources and expertise to truly make a difference and protect those who have
                  been wronged,” she says. “If I can play even a small role in helping rebuild the
                  families affected by a corporation’s misconduct, I know my work has been a
                  success.”

                  Anna Rol is an attorney in Baron & Budd’s Pharmaceutical Group, where she
                  represents individuals who have suffered serious injuries after taking a dangerous
                  prescription drug or having a defective medical device implanted.

                  Throughout her legal career, Ms. Rol has been dedicated to giving a voice to those
                  not in a position to speak for themselves. During law school, Ms. Rol was
                  awarded the 2012 Squire Patton Boggs Public Policy Fellowship for her work with
                  The Nature Conservancy’s policy department, where she researched best practices
                  to mitigate habitat damage caused by energy development. Since relocating to
                  Texas, Ms. Rol has volunteered with the Dallas Volunteer Attorney Program and
                  Clemency Project 2014, a working group of lawyers and advocates providing pro
                  bono assistance to federal prisoners who would likely have received a significantly
                  shorter sentence had they been sentenced today. Since joining Baron & Budd, Ms.
                  Rol continues to speak out for those in need by representing people who have been
                  gravely harmed by drugs and devices manufactured by large corporations.

                  Ms. Rol graduated with her Juris Doctor from the University of Denver, Sturm
                  College of Law. She also earned a Bachelor of the Arts with Distinction in 2008
                  from the University of Virginia.

                  Cristina Sanchez had originally planned to go to medical school, but her work at
                  a small plaintiffs’ firm after college inspired her to instead pursue a career in law.
                  She works primarily with clients who have been harmed by the BP oil spill that
                  severely impacted her hometown of New Orleans.

                  Ms. Sanchez joined Baron & Budd in 2005 to follow the firm’s mission in
                  protecting public and individual rights. She carries out that mission daily in her
                  work as an attorney with the firm’s Environmental Litigation Group. Ms.
                  Sanchez’ work at Baron & Budd draws on her background in science. As an
                  undergraduate, she majored in biological sciences and minored in chemistry.
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                  Ms. Sanchez currently leads the Group’s work helping Gulf Coast businesses and
                  individuals harmed by the 2010 BP oil spill in the Gulf of Mexico. In addition to
                  helping individual victims, she represents a variety of businesses, including a
                  number of complex publicly-traded companies. Working on the BP oil spill
                  litigation has been a way to serve those in the community and the surrounding area
                  where she grew up.

                  Ms. Sanchez has also represented hundreds of municipalities and public water
                  providers, as well as private well owners seeking solutions for polluted drinking
                  water supplies in cases arising from MTBE, TCP, and PCE contamination.

                  Ms. Sanchez has been named a Texas Rising Star by Super Lawyers Magazine (a
                  Thompson Reuters organization) for the years 2012, 2013, and 2014. According to
                  Super Lawyers magazine, this honor is for the top 2.5% of attorneys practicing in
                  Texas who are under the age of 40.

                  While at Southern Methodist University, Ms. Sanchez was recognized as a
                  nationally ranked moot court competitor. In 2002, she was the national champion
                  for Best Brief and was the second place Oralist in the Hispanic National Bar
                  Association Moot Court Competition. She also won the SMU Client Counseling
                  Competition in 2001 and served as Chief Counsel for SMU’s Criminal Defense
                  Legal Clinic in 2002.

                  In addition to her law practice, Ms. Sanchez served as the 2005 Region XII
                  Deputy of the Hispanic National Bar Association, Co-Chair for the 2005 Hispanic
                  National Bar Association Moot Court Competition and Midyear Conference, and
                  Silent Auction Committee for Attorneys Serving the Community in 2009.

                  Zack Sandman joined Baron & Budd’s Dallas office in September 2015. He
                  currently works in the Environmental Litigation Group, assisting in complex torts
                  ranging from water and air contamination to negligently caused wildfires. Prior to
                  joining the firm, Mr. Sandman spent the summer of his second year at law school
                  working as a law clerk for Baron & Budd, helping state governments and city
                  municipalities recover damages from big oil companies for Methyl tertiary-butyl
                  ether (MTBE) water contamination.

                  Zach Sandman was born and raised in Boston, Massachusetts, where he attended
                  law school at Boston College. Following his second year of law school, Mr.
                  Sandman joined Baron & Budd’s Environmental Litigation Group as a summer
                  associate. In this role he assisted in several of the nation’s largest water
                  contamination cases, representing public entities, both at the state and city level, in
                  water contamination litigation. Mr. Sandman also helped secure payment from the
                  BP claims department for many fisherman affected by the BP oil spill.

                  After law school, Mr. Sandman eagerly re-joined Baron & Budd as an associate
                  and returned to working in the Environmental Litigation Group. He immediately
                  began assisting with a groundwater case in California involving the exposure of
                  hundreds of students and faculty to the toxic substance Trichloroethylene (TCE)
                  and other dangerous heavy metals. Following the historic Butte Wildfire, which
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                  burned more than 7,000 acres and destroyed nearly 500 homes near San Andreas,
                  California, Baron & Budd sent Mr. Sandman into the heart of fire country to meet
                  with those devastated by an apparent failure of Pacific Gas and Electric to
                  properly maintain their electrical wires in thickly wooded areas. Mr. Sandman
                  successfully filed the first Butte Wildfire lawsuit in San Francisco in November,
                  2015, and expects to file many more claims in the coming months.

                  While living in China working as a writer for the China Economic Review
                  between undergrad and law school, Mr. Sandman was deeply disturbed by the
                  Chinese Government’s indifference to the widespread pollution that plagued
                  Shanghai. Although Mr. Sandman had always planned on attending law school,
                  seeing one of his favorite cities in the world caked in soot and debris inspired him
                  to pursue a career in environmental law. Mr. Sandman hopes to one day use his
                  experience at Baron & Budd to assist in pro-bono environmental advocacy in
                  China.

                  In addition to his law degree, Mr. Sandman holds a B.A. in Political Science from
                  Vanderbilt University in Nashville, Tennessee, where he graduated with honors in
                  2009.

                  Holly Werkema joined Baron & Budd in May of 2012 in the firm’s General
                  Litigation Group, representing homeowners throughout the southeast affected by
                  toxic Chinese drywall installations in their homes. After settlement with the
                  drywall manufacturer, Ms. Werkema continues to assist hundreds of the firm’s
                  clients in navigating the claims process that will ultimately lead to repair and/or
                  replacement of the toxic drywall in their homes.

                  Ms. Werkema is a also a member of the firm’s Pharmaceutical Litigation Group,
                  where she represents clients and their families adversely affected by Granuflo, a
                  product used in dialysis that has caused countless deaths due to misleading and
                  inadequate use instructions provided to health care professionals by its
                  manufacturer.

                  Prior to joining Baron & Budd, Ms. Werkema served the State of Florida
                  Department of Financial Services as an attorney in the Prosecution and
                  Enforcement Litigation Group. There she developed her litigation skills
                  representing the Department in enforcement proceedings, rule challenges, property
                  claim denials and garnishments.

                  Evan Zucker works in Baron & Budd’s Los Angeles office. He specializes in
                  consumer class action litigation and insurance bad faith cases. Mr. Zucker is
                  dedicated to fighting for the rights of consumers who have been harmed by the
                  systematic and uniform practices of unscrupulous corporations.

                  Before joining Baron & Budd in 2014, Evan Zucker represented clients in matters
                  which had positive ramifications across the country for those who had been
                  victims of improper mortgage and loan-service fees. He has been appointed class
                  counsel or co-class counsel in more than a dozen state and nationwide class action
                  matters dealing with such corporate malfeasance. In three such cases, Mr. Zucker
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                  successfully recovered compensation for mortgage holders in California, New
                  Jersey and Massachusetts who had been improperly charged late fees and
                  mortgage-related servicing fees.

                  Earlier in 2014, Mr. Zucker worked as part of a trial team which won a verdict on
                  behalf of an elderly couple against a home insurance company in a matter
                  stemming from the total destruction of their dwelling during the 2009 Los Angeles
                  wildfire known as the Station fire. In that case, the jury made a finding that
                  allowed punitive damages against the insurer for acting with malice toward the
                  couple, essentially forcing them to live in a cramped hotel room for two and a half
                  years while the insurance company repeatedly and fraudulently denied them the
                  full value of their insurance claim.

                  Before starting work at Baron & Budd, Mr. Zucker also represented several
                  individuals in civil rights cases against various state and local law enforcement
                  entities, receiving several favorable settlements for these citizens. Additionally, he
                  worked with California senators to pass legislation protecting the privacy of
                  Californians who were victimized by online extortion schemes which posted
                  consumers’ personal information. He was instrumental in furthering litigation
                  aimed at shutting down these cyber-thieves.

                  Mr. Zucker was in middle school when his family’s home was devastated by the
                  Northridge earthquake in 1994. At the time he saw the tremendous impact that
                  industry-wide insurance practices could have on middle class families, especially
                  after a natural disaster. As a result of this experience, even before deciding to
                  attend law school, Mr. Zucker gravitated toward work in law firms that handled
                  cases against insurance companies, including those against insurers who engaged
                  in malicious claims handling practices. Ultimately, Mr. Zucker found himself
                  working to recover hundreds of millions of dollars on behalf of commercial and
                  residential policyholders faced with catastrophic losses after that same 1994
                  Northridge earthquake. As a result of these experiences, he was inspired to seek a
                  career in law. Mr. Zucker has been representing citizen plaintiffs ever since, and
                  will continue that work as a part of Baron & Budd’s Banking Fraud and
                  Automotive Defect team.

                  In his spare time, Mr. Zucker enjoys playing basketball and likes to snowboard in
                  winter. And although he learned to juggle balls in the air as a youth, these days he
                  prefers to concentrate his multitasking skills on giving Baron & Budd’s clients the
                  best representation possible.
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                        Exhibit 19
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   JEFFREY S. GIBSON, is a partner with Cohen & Malad, LLP, located in Indianapolis, Indiana.

   Education: Indiana University (BA 1997), and Indiana University School of Law Indianapolis (JD
   2000).

   Jurisdictions Admitted to Practice: State of Indiana; U.S.D.C., Northern District of Indiana; U.S.D.C.,
   Southern District of Indiana; and Seventh Circuit Court of Appeals; U.S.D.C., District of Colorado;
   U.S.D.C., Western District of Michigan; U.S.D.C., Eastern District of Wisconsin.

   Professional and Bar Association Memberships: American Association for Justice; Indiana Trial Lawyers
   Association; Top 40 Under 40; Indiana Bar Association, Indianapolis Bar Association.

   Professional Achievements: Indiana Rising Star, Thomson Reuters 2010, 2012, 2013, Indiana Super
   Lawyer, Thomson Reuters 2014- 2016, National Trial Lawyer Association, 40 Under 40 Indiana State
   Chair, 2014-2015

   Practice Areas: Product Liability and Personal Injury Litigation, focusing primarily on representing
   Plaintiffs in product liability litigation in nation-wide matters involving pharmaceutical drugs and medical
   devices as well as complex consumer litigation.

   Cohen & Malad, LLP has successfully litigated and resolved a wide range of complex litigation matters,
   serving on the executive committee in the historic litigation brought against Swiss banks on behalf of
   Holocaust survivors, In re Holocaust Victim Assets Litigation, as well as recent antitrust actions involving
   the ready mixed concrete industry in Indiana and in Iowa, In re Ready-Mixed Concrete Antitrust
   Litigation, and In re Iowa Ready-Mix Concrete Antitrust Litigation. The firm also has extensive
   experience with complex litigation against Indiana state agencies, Raab v. R. Scott Wadell, in his official
   capacity as Commissioner of The Indiana Bureau of Motor Vehicles et al., and Moss v. Mary Beth
   Bonaventura, in her official capacity as Director of the Department of Child Services et al.

   Mr. Gibson has served in a leadership role for Cohen & Malad, LLP’s national participation in drug and
   device litigation including: Plaintiff’s Steering Committee and chair of the non-party discovery committee
   In re Prempro Products Liability Litigation, MDL No. 4:03-CV-1507; Plaintiff’s Steering Committee
   and chair of the bellwether discovery program In re Consolidated Fresenius Cases (GranuFlo) pending in
   the Commonwealth of Massachusetts, Middlesex County, MICV2013-3400-O; and national coordinating
   counsel in infusion pain pump cases, where no MDL existed. He is currently a member of the Plaintiff’s
   Steering Committee for Zofran (Ondansetron) Products Liability Litigation MDL No. 2657.

   In addition to pharmaceutical and medical device litigation, Mr. Gibson served on the medical
   malpractice litigation team representing approximately 282 clients who were patients of former ENT
   surgeon Dr. Mark Weinberger. Weinberger was accused and convicted of performing unnecessary and
   improper sinus surgeries on hundreds of patients.

   Mr. Gibson has written articles that have been published in nationally recognized legal journals. He has
   also served as a lecturer at local and national conferences. He has spoken at Mass Torts Made Perfect;
   American Association for Justice national conferences; Indiana Trial Lawyers Association seminars;
   National Business Institute Continuing Legal Education seminars; and a Massachusetts Women’s Bar
   Association conference on mass torts. He has repeatedly been selected as a member of Indiana’s Super
   Lawyers® and currently serves as the Indiana chair for the National Trial Lawyers “Forty Under Forty.”

   Mr. Gibson is currently representing plaintiffs around the country who have been injured by the following
   dangerous products:
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       •   Vaginal Mesh
       •   GranuFlo use in Kidney Dialysis
       •   Talcum Powder
       •   Testosterone Replacement Therapy
       •   Metal on Metal Implants

   Mr. Gibson has also represented victims of torts in many state courts, including Indiana, California and
   Florida. His practice also includes representing victims of medical malpractice in Indiana and other
   states.
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                           Firm Biography
                                       For

        COHEN & MALAD, LLP
                       ONE INDIANA SQUARE, SUITE 1400

                         INDIANAPOLIS, INDIANA 46204

                                  (317) 636-6481

                             www.cohenandmalad.com
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   COHEN & MALAD, LLP was founded in 1968 by former Indiana Attorney General, John J.
   Dillon, Louis F. Cohen and others. Cohen & Malad’s complex litigation practice involves mass
   torts and class actions, as well as other civil actions in Courts throughout the United States.

   Cohen & Malad has the experience and resources to litigate complex litigation cases. Cohen &
   Malad has served in leadership and plaintiff steering committees in In re Bridgestone/Firestone,
   Inc., Tires Prods. Liab. Litig.; In re Prempro Prods. Liab. Litig.; In re Guidant Corp.
   Implantable Defibrillators Prods. Liab. Litig; and In re Consolidated Fresenius Cases
   (GranuFlo), Zofran (Ondansetron) Products Liability Litigation, and has served as national
   coordinating counsel in pain pump litigation as well as lead counsel in medical malpractice mass
   tort matters. Cohen and Malad has served as lead counsel in antitrust matters, In re Ready-Mixed
   Concrete Antitrust Litig., No. 1:05-cv-979-SEB-JMS (S.D. Ind.) (settlements provided for a
   recovery of $59 million, which allowed for a net distribution to class members of approximately
   100% of their actual damages); In re Iowa Ready-Mix Concrete Antitrust Litig., No. C 10-4038-
   MWB (settlement totaled $18.5 million, which allowed for a net distribution to class members of
   approximately 100% of their actual damages); and in consumer matters, In re Indiana
   Construction Industry Trust, (Marion Superior Court) (action against an insolvent health benefits
   provider where Cohen & Malad recovered approximately $24 million for enrollees, providing
   nearly 100% recovery to victims); Price v. BP Prods. N. Am., Inc., No.1: 12-cv-06799 (N.D. Ill.)
   (action on behalf of motorists that purchased contaminated gasoline recalled by BP where a
   settlement of $7 million was achieved); among dozens of other matters. The firm also has
   extensive experience with complex litigation against Indiana state agencies, Raab v. R. Scott
   Wadell, in his official capacity as Commissioner of The Indiana Bureau of Motor Vehicles et al.,
   and Moss v. Mary Beth Bonaventura, in her official capacity as Director of the Department of
   Child Services et al.

   Cohen & Malad is also committed to achieving social justice, with it being selected as one of ten
   firms from the United States to serve on the executive committee in the prosecution of a world-
   wide class action against three major Swiss banks to recover assets from the Nazi era. This
   litigation resulted in a $1.25 billion settlement in favor of Holocaust survivors.
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                        Exhibit 20
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   KRISTIE M. HIGHTOWER
                                                                                          501 Broad Street
                                                                                    Lake Charles, LA 70601
                                                                                            (337) 439-0707
                                                                                 khightower@lundylawllp.com



   EDUCATION

         Mississippi College School of Law, Jackson, Mississippi
         Juris Doctorate, December 2007
         Louisiana State University, Baton Rouge, Louisiana
         Bachelor of Arts Degree, May 1991

   WORK HISTORY

         Partner
         Lundy, Lundy, Soileau & South, LLP, Lake Charles, Louisiana, January 2016 - present

         Associate/Senior Associate
         Lundy, Lundy, Soileau & South, LLP, Lake Charles, Louisiana/Jackson, Mississippi, 2008 - 2015

         Mass Tort Litigation Paralegal
         Lundy, Lundy, Soileau & South, LLP, Lake Charles, Louisiana/Jackson, Mississippi, 1996-2008

         Assistant Director
         LSU Alumni Association, Baton Rouge, Louisiana, 1991-1996

   BAR ADMISSIONS

         Louisiana and Mississippi Supreme Courts
         All Mississippi Federal Courts
         United States District Court for the Eastern District of Louisiana
         United States District Court for the Western District of Louisiana
         United Sates Court of Appeals for the Fifth Circuit

   PROFESSIONAL ORGANIZATIONS

         American Association for Justice              Mississippi Bar Association
         American Bar Association                      Capital Area Bar Association
         Louisiana State Bar Association               Madison County Bar Association
         Louisiana Association for Justice             Bar Association of the Fifth Federal Circuit
         Southwest Louisiana Bar Association
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   PROFESSIONAL EXPERIENCE

         Throughout her employment with Lundy, Lundy, Soileau & South, LLP counsel has assisted
         in the litigation of numerous consumer, pharmaceutical and environmental matters in both
         federal and state courts including the following:

   •     In Re: Benicar (Olmesartan) Products Liability Litigation, MDL 2606.
   •     In Re: Roundup Products Liability Litigation, MDL 2741.
   •     In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010, MDL
         No. 2179
   •     In Re: Fresenius Granuflo/Naturalyte Dialysate Products Liability, MDL No. 2428.
   •     Murray v. Motorola, In the Superior Court for the District of Columbia, Case No. 2001 CA
         008479 B, products liability action as to cell phone radiation.
   •     Cynthia Paige, et al. v. Durawood, LLC, et al., 9th Judicial District Court, Parish of Rapides, State
         of Louisiana, No. 214,913-F, creosote contamination action.
   •     Willie Buard, et al. v. Colfax Treating Co., et al., 9th Judicial District Court, Parish of Rapides,
         State of Louisiana, No. 214,915-F, creosote contamination action.
   •     Fred Beck, et al. v. Koppers, Inc., et al., United States District Court for the Northern District of
         Mississippi, C.A. No. 3:03CV-60-P-D, creosote contamination action.
   •     Hope Ellis, et al. v. Koppers Industries, et al., United States District Court for the Northern
         District of Mississippi, C.A. No. 3:04 CV160-P-D, creosote contamination action.
   •     Williams, et al. v. Kuhlman Corporation, et al., Hinds County Circuit Court, First Judicial District,
         Civil Action No. 251-03-000102-CIV, contamination action involving PCBs.
   •     Paul Kellum, et al. v. Kuhlman Corporation, et al., Circuit Court of Copiah County, Mississippi,
         Civil Action Nos. 2001-0313 thru 2001-0324, consolidated contamination action involving
         PCBs.
   •     Lilith Jackson, et al. v. Johnson Electric Automotive, et al., Circuit Court of Lowndes County,
         Mississippi, Civil Action No. 2201-1024CIV, suit involving perchloroethylene (PCE)
         contamination directed at personal injury and property loss.
   •     Avoca, Pennsylvania Kerr-McGee related litigation including Mary Beth Marriggi, et al. v. Kerr-
         McGee Corporation, et al., Court of Common Pleas of Luzerne County, CA No. 6894C2001,
         actions regarding creosote contamination.
   •     Shirlean Taylor, et al. v. Kerr- McGee Corporation, et al., In the United States District Court for the
         Western District of Louisiana, Shreveport Division, CA No. 00-2102, creosote
         contamination action.
   •     Robert Conner, et al. v. Kerr-McGee Corporation, et al., In the United States District Court for the
         Northern District of Mississippi, Eastern Division, CA No. 1:01cv77-D-A, class action
         involving creosote contamination.
   •     Major Andrews, III et al. v. Kerr-McGee Corporation, et al., In the United States District Court for
         the Southern District of Mississippi, Jackson Division Civil Action No. 3:99CV655BN,
         creosote contamination action.


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   •     Craig West, et al. v. G& H Seed and Rhone-Poulenc Ag Company, Inc., 27th Judicial District Court,
          Parish of St. Landry, State of Louisiana, No. 99-4984-A, class action in connection with
         pesticide that damaged the Louisiana crawfish industry.
   •     Gwendolyn Guillory, et al. v. Union Pacific Corporation, et al., 14th Judicial District Court, Calcasieu
         Parish, Louisiana, Suit No. 98-5405, matter involving the contamination of soil, ground and
         groundwater where approximately 12,000 gallons of perchloretholyne (PCE) was spilled into
         a community.
   •     Sally Comeaux, et al. v. Vista Chemical Company, et al, 14th Judicial District Court, Calcasieu
          Parish, Louisiana, Suit No. 95-6359, ethylene dichloride (EDC) groundwater contamination
         action, resulting in the relocation of community.

   PAPERS AND/OR PRESENTATIONS

   •     “Cell Phones and Brain Cancer,” Harris Martin’s Emerging Toxic Tort Litigation
         Conference, Long Beach, California, December 11, 2015.
   •     “The Continued Effort to Deny Justice,” Co-author, Louisiana Association for Justice
         Conference, New Orleans, Louisiana, December 10-11, 2015.
   •     “To Boldly Go Where No Litigator Has Gone Before - A New Litigation Frontier, An
         Overview of the Developing Science,” American Association for Justice Conference,
         Montreal July 2015.
   •     “Cell Phone Radiation – The Next Asbestos or A Boondoggle,” Co-author, American
         Association for Justice Conference, Chicago, Illinois, 2012.
   •     “Document Control and Litigation Support,” IPE Seminar, Jackson, Mississippi, September,
         2008.
   •     “Document Control and Litigation Support,” IPE Seminar, Overland Park, Kansas,
         November, 2008.

   AWARDS

         Super Lawyers Rising Star, 2017
         The National Trial Lawyers Top 100, 2015-2016
         Mass Tort Trial Lawyers Top 25, 2016




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                              LUNDY, LUNDY, SOILEAU & SOUTH, LLP

                                              FIRM PROFILE

          Lundy, Lundy, Soileau & South, LLP (“LLS&S”) is a full service law firm located in Lake
   Charles, Louisiana. The firm was begun in 1986 by senior partner, Hunter W. Lundy and is
   compromised of nine attorneys: Hunter W. Lundy, Matthew E. Lundy, Rudie R. Soileau, Jackey
   W. South, Kristie M. Hightower, Daniel A. Kramer, T. Houston Middleton IV, Nicholas J. Kohrs
   and Max E. Guthrie.

           Before consolidating the firm’s efforts to one office in Lake Charles, Louisiana, the firm had
   offices in Jackson, Mississippi, Houston, Texas, New Orleans, Louisiana and Fayetteville, Arkansas.
   With today’s technology and resources, the firm operates its practice out of Louisiana, but performs
   professional services throughout the country. LLS&S has multiple lawyers rated by Super Lawyers®
   and the five members of the partnership have more than one hundred combined years of trial
   experience. The firm is listed by Martindale-Hubbell in the Bar Register of Preeminent Lawyers,
   recognized as a Top 1% Litigator Award Winner TM and designated one of U.S. News & World
   Report Best Law Firms©. In addition, LLS&S partners have been acknowledged as Top 100 Trial
   Lawyers by The National Trial Lawyers Association.

           LLS&S is dedicated to improving communities, safety procedures and consumer products,
   and represents clients across the United Sates. With an emphasis on trial work and civil litigation
   both in state and federal courts, LLS&S has been on the cutting edge of providing services to
   thousands of families who have been victims of personal injuries or suffered property damage as a
   result of industrial and chemical contamination. Over the last decades, the firm has focused not only
   on toxic and mass tort litigation, but also consumer products liability and personal injury cases.

          The firm has served on numerous MDLs/PSCs including:

          •   In re: High Sulphur Content Gasoline Products, MDL No. 1632;
          •   In re: Vioxx Products Liability Litigation, MDL No. 1657;
          •   In re: Bextra and Celebrex Marketing and Sales Practices and Product Liability
              Litigation, MDL No. 1669;
          •   In re: Ortho Evra Products Liability Litigation, MDL No. 1742;
          •   In re: Genetically Modified Rice Litigation, MDL No. 1811;
          •    In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on
              April 20, 2010, MDL No. 2179;
          •   In re: Fresenius Granuflo/Naturalyte Dialysate Products Liability, MDL No.
              2428;
          •   Spitzfadden, et al. v. Dow Corning Corp., et al., Civil District Court for the
              Parish of Orleans, State of Louisiana, Docket No. 92-2589, Div. “F”;
          •   Conner, et al. v. Kerr-McGee Corp., et al., USDC, Northern District of
              Mississippi, CA No. 1:01 CV 77-DA;
          •   Kaleel, et al. v. Division Transport, et al., 33rd Judicial District Court, Parish of
              Allen, State of Louisiana; and
          •   Craig West, et al v. G&H Seed Company, et al., 27th Judicial District Court,
              Parish of St. Landry, State of Louisiana, Docket No. 99-4984-A.
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           Members of LLS&S have been trial counsel in many mass torts and class actions, having
   tried cases in Arkansas, Mississippi, Louisiana and Texas, and litigated cases in California, Ohio
   and Pennsylvania including the following:

          •   Lead Trial Counsel in Louis Boullion, et al. v. PPG Industries, Inc., et al., 14th
              Judicial District Court, Parish of Calcasieu, State of Louisiana. Discharge of
              toxic chemicals into the waterways, impacting shrimp population.
          •   Lead Trial Counsel in Sally Comeaux, et al. vs. Vista Chemical Company, et
              al.,14th Judicial District Court, Parish of Calcasieu, State of Louisiana.
              Groundwater contamination caused by leakage and spills.
          •   Co-Lead Counsel in Haltom v. Bayer Corp., Texas District Court, Neuces
              County, Texas. First Baycol trial in the United States. Thereafter member of
              discovery committee for Texas 8th Region consolidated cases, which ultimately
              concluded in settlements for victims throughout the country.
          •   Lead Trial Counsel in Mary E. Green, et al. v. Alpharma, Inc., et al., Circuit
              Court, Washington County, Arkansas. Contamination and personal injuries
              caused by spreading of chicken litter containing arsenic on neighboring farmland
              that caused leukemia cluster in the area.
          •   Lead Counsel in Lilith Jackson, et al. v. Johnson Electric Automotive, et al.,
              Circuit Court, Lowndes County, Mississippi. Groundwater contamination and
              personal injuries caused by leakage and spills.
          •   Lead Trial Counsel in Fred Beck, et al. vs. Koppers Ind., Inc., et al., United
              States District Court, Northern District of Mississippi. Community contaminated
              and personal injuries caused by creosote.
          •   Lead Trial Counsel in Kerr-McGee Creosote Plant contamination actions in
              Louisiana, Mississippi and Pennsylvania. Communities contaminated and
              personal injuries caused by pesticides/creosote from Kerr-McGee facilities.
          •   Trial Team Member in Kellum, et al. v. Kuhlman Corp., et al., Circuit Court,
              Copiah County, Mississippi. Community affected by PCB contamination and
              personal injuries.
          •   Lead Trial Counsel in Willie Buard, et al. v. Colfax Treating Company, LLC, et
              al.; Docket No. 214,915, 9th JDC, Rapides Parish, LA. Pesticide/creosote
              contamination and personal injuries.
          •   Lead Trial Counsel in Cynthia Paige, et al. v. Dura-Wood, LLC et al.; Docket
              No. 214,913, 9th Judicial District Court, Parish of Rapides, State of Louisiana.
              Pesticide/creosote contamination and personal injuries
          •   Lead Trial Counsel for Yellow Rock, LLC, et al. v. Sasol North America, Inc., et
              al., 14th Judicial District Court, Parish of Calcasieu, State of Louisiana. Well
              blowout due to unexpected high pressures resulting from leaking underground
              storage cavern.
          •   Lead Counsel in Gwendolyn Guillory, et al. v. Union Pacific Corp., et al., 14th
              Judicial District Court, Parish of Calcasieu, State of Louisiana. Community
              contaminated by spills leaked from a railroad tank car storage area.




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          •   Counsel in Carolyn Baker, et al. v. Chevron USA, Inc., et al., United States
              District Court, Southern District of Ohio. Groundwater contamination caused by
              leakage and spills of leaded gasoline and diesel.
          •   Lead Counsel in Bradley Benoit, et al. v. Citgo Petroleum Corp., et al., 38th
              Judicial District Court, Parish of Cameron, State of Louisiana; Lead Counsel in
              Antoine Semien, Jr., et al. v. Citgo Petroleum Corp., et al., 14th Judicial District
              Court, Parish of Calcasieu, State of Louisiana. Refinery released over three
              millions gallons of oil into Calcasieu Estuary.
          •   Co-Lead Counsel in Murray v. Motorola, In the Superior Court for the District
              of Columbia, Case No. 2001 CA 008479 B. Cell phone radiation exposure
              causing brain tumors.

           LLS&S has extensive experience leading and participating in MDLs generally, and is
   comprised of experienced trial attorneys with vast experience in mass torts and bellwether trials.
   LLS&S has a proven track record of working collaboratively and efficiently in large, complex cases,
   with both co-counsel and opposing counsel and has the resources available to prosecute such matters
   in a timely manner.




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                        Exhibit 21
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                                       Daniel R. Lapinski
                                       (Professional Bio)

   Daniel R. Lapinski is a shareholder and a member of the Mass Tort Class Action team
   at Wilentz, Goldman & Spitzer. Dan concentrates his practice on mass tort cases,
   representing victims who have been harmed by dangerous pharmaceutical products
   and defective medical devices. As a former surgical representative for a major medical
   device manufacturer, Dan brings a unique perspective to the analysis of cases involving
   defective drugs and medical devices. He understands not only the law, but the products
   and injuries that can be associated with those products.

   For over 15 years Dan has been fighting for the rights of clients in mass tort cases.
   Dan’s active participation in these cases after coordination enable him to have an
   instrumental voice in the litigation and effectively advise his clients, even though their
   cases may have been transferred to courts in different parts of the country. Dan
   presently serves on Plaintiffs’ Steering Committees or plays an active role in many
   ongoing mass torts, including:

       •   In re Zimmer NexGen Knee Implant Prods. Liab. Litig., pending in United States
           District Court for the Northern District of Illinois;
       •   In re Mirena Litigation, pending in the Superior Court of New Jersey;
       •   In re DePuy ASR Hip Implants Litigation, pending in the Superior Court of New
           Jersey;
       •   In re Zimmer Durom Hip Cup Prods. Liab. Litig., pending in United States District
           Court for the District of New Jersey;
       •   In re Stryker Rejuvenate & ABG II Modular Hip Implant Litigation, pending in the
           Superior Court of New Jersey.

   Dan’s experience and expertise also extends to complex consumer actions. Wearing
   this hat, Dan has successfully argued federal preemption issues before the United
   States Court of Appeals for the Third Circuit and continues to be or has been actively
   involved in noteworthy cases, including:

       •   DeMarco v. AvalonBay Communities, Inc., an ongoing class action pending in
           the United States District Court for the District of New Jersey, wherein the Court
           appointed Mr. Lapinski co-lead counsel for the class. The consolidated cases
           allege that defendant’s negligence caused a massive fire that destroyed an entire
           apartment building at the residential complex known as Avalon at Edgewater;
       •   D.C.G. & T., et al., v. Knight, et al., a $12 million settlement of a shareholder
           derivative action to the interests of pre-merger Apple REIT Nine, Inc. in
           connection with the merger of two other Apple REITs into Apple REIT Nine;
       •   In re Ford Explorer Cases, a California class action that was settled on behalf of
           nearly one million vehicle owners residing in California, Connecticut, Illinois and
           Texas following 50 days of trial in Sacramento, California;




   #8318384.2
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       •   Alexander v. Solvay Pharmaceuticals, Inc., a $30 million class settlement on
           behalf of California purchasers of a pharmaceutical product alleged to have been
           falsely and deceptively advertised;
       •   Slaughter v. Unilever United States, Inc., a nationwide settlement on behalf of a
           class of consumers who purchased Super Shots, a fruit blend product
           deceptively alleged to help control blood pressure;

   After completing his undergraduate education at Rutgers University, Dan obtained his
   J.D. from Seton Hall University School of Law. He is admitted to practice before the
   Supreme Court of the United States, the United States Courts of Appeals for the First,
   Third, Fourth and Tenth Circuits, and the state and federal courts of New Jersey, New
   York and Pennsylvania. Dan is a member of the American Association for Justice
   (AAJ), the New Jersey Association for Justice (NJAJ), the New Jersey State Bar
   Association and the New York State Bar Association He has been selected for
   inclusion in New Jersey Super Lawyers® - Rising Stars for 2011 and New Jersey Super
   Lawyer for 2013, 2014 and 2015.

   Dan’s active participation in both mass tort and class action litigations have made him a
   sought after speaker at both the local and national level. He has presented on the topic
   of class actions at the New Jersey State Bar annual conference, served as a panelist for
   the State Bar’s class action committee, presented on mass tort issues for both Harris
   Martin Publishing and the American Association of Justice, and has been a regular
   speaker at NJAJ’s Annual Boardwalk Seminar.




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   Wilentz Firm Profile    Wilentz, Goldman & Spitzer, P.A., (Wilentz) is one of the largest
                           law firms in the State of New Jersey, tracing its historical roots to
                           the law practice founded by David T. Wilentz in 1919 in the City
                           of Perth Amboy. Our main offices are located in the Wilentz
                           Building at 90 Woodbridge Center Drive in Woodbridge, New
                           Jersey, near the junction of Routes 1 and 9, the Garden State
                           Parkway, New Jersey Turnpike, and Interstate Highway I-287.
                           Wilentz also has offices located at Meridian Center 1, Two
                           Industrial Way West, Eatontown, New Jersey; 110 William Street,
                           26th Floor, New York, New York; and Two Penn Central Plaza,
                           Suite 910, Philadelphia, Pennsylvania.

                           Wilentz attorneys have served the judicial system, government,
                           and the community, dating back to David T. Wilentz’s prosecution
                           of the Lindbergh baby kidnapping case as New Jersey State
                           Attorney General in 1935. Managing partner and son of the
                           firm’s founder, Robert N. Wilentz, was named Chief Justice of the
                           New Jersey Supreme Court in 1979, and lead one of the most
                           respected courts in the nation until his retirement in 1996. Wilentz
                           partner, Barry T. Albin, was named to the New Jersey Supreme
                           Court in 2002. Former Associate Justice of the New Jersey
                           Supreme Court, Alan B. Handler, joined Wilentz as counsel in
                           1999.
                           Wilentz partner, Edward Kole, currently serves as the Second Vice
                           President of the Association of the Federal Bar of New Jersey.
                           Other Wilentz partners currently serve, or have served, as Trustees
                           of the Association of the Federal Bar of New Jersey, members of
                           the Court’s Lawyer’s Advisory Committee, and Chair of the
                           Federal Practice and Procedure Section of the New Jersey State
                           Bar Association. Two Wilentz partners have also served as
                           President of the New Jersey State Bar Association, Matthias D.
                           Dileo and Stuart A. Hoberman.
   Mass Tort and           The Wilentz firm’s pioneering work in Mass Tort and Class
   Class Actions           Action litigation began more than three decades ago. Wilentz was
                           among the first firms in the country to file asbestos personal injury
                           cases, dating back to 1977, and has litigated asbestos talc cases
                           since the 1980’s. During this time Wilentz has recovered in
                           excess of a billion and a half dollars for its clients, and uncovered
                           numerous asbestos industry frauds and cover-ups about the
                           hazards of asbestos. It brought the first personal injury case
                           against big tobacco, and was instrumental in the formation of one
                           of the first specialized state mass tort courts in Middlesex County,
                           New Jersey.


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                           Wilentz’s Mass Tort / Class Action Group was recognized as
                           National First Tier by U.S. News & World Report, Best Lawyers –
                           Best Law Firms for Mass Tort Litigation/Class Action Plaintiffs
                           for each year from 2010 through 2016. Many of the team’s
                           attorneys are recognized as Super Lawyers, Best Lawyers in
                           America and other distinctions.

                           The Mass Tort / Class Action Team at Wilentz has years of
                           experience handling a wide variety of mass torts and class actions
                           including consumer fraud, products liability, occupational and
                           environmental exposure, securities fraud, antitrust, healthcare,
                           insurance bad faith, and employment. Some of the
                           accomplishments of the team and its partners are as follows:

                              •   Co-lead trial counsel in the first New York Consolidated
                                  Brooklyn Navy Yard Asbestos Trial in 1990, and in the
                                  first New York Powerhouse Consolidation in 1993,
                                  recovering $17.9 million and $110 million, respectively.

                              •   Class Counsel in the pioneering Johns Manville Asbestos
                                  Bankruptcy Class Action litigation.

                              •   Plaintiffs’ Steering Committee for National MDL 875
                                  Asbestos Litigation.

                              •   Represented the State of New Jersey against the tobacco
                                  industry and, with co-counsel, generated a landmark $7.6
                                  billion settlement for the citizens of New Jersey.

                              •   Served as Class Counsel in the New Jersey Diet Drug
                                  Litigation and Special Counsel to all State Court Litigants
                                  in the National Diet Drug MDL. Served on the litigation
                                  team that negotiated a $3.75 billion landmark class action
                                  settlement for those injured by the diet drugs Pondimin and
                                  Redux, commonly known as Fen-Phen.

                              •   Served on Plaintiffs’ Steering Committee for National TMJ
                                  MDL litigation, National Rezulin MDL Litigation, and
                                  lead counsel for NJ state wide Propulsid Litigation.

                              •   Represented the City of Newark and the City of New York
                                  in novel litigation against the lead paint industry.

                              •   Co-lead counsel in some of the largest environmental
                                  contamination litigations in New Jersey, including the

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                                  Ciba-Geigy, Toms River, New Jersey litigation for
                                  personal injury, property damage and medical monitoring
                                  claims, and the DuPont, Pompton Lakes, New Jersey
                                  litigation that resulted in one of the largest private sector
                                  environmental contamination settlements, $38.5 million.

                              •   Co-lead counsel in In re DePuy ASR Hip Implants
                                  Litigation, pending in the Superior Court of New Jersey
                                  (Nationwide settlement, in excess of $250 million, against
                                  Johnson & Johnson subsidiary, related to claims of
                                  defective metal-on-metal hip implants.)

                              •   Member of Plaintiffs’ Steering Committee, In re Zimmer
                                  NexGen Knee Implant Prods. Liab. Litig., pending in
                                  United States District Court for the Northern District of
                                  Illinois. Mass tort litigation related to alleged defects in
                                  Zimmer “Flex” knee implants.




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   Victoria Maniatis, Esq.
   Sanders Viener Grossman, LLC
   100 Garden City Plaza, Ste. 500
   Garden City, NY 11530
   516.640.3913/516.491.4665
   vmaniatis@thesandersfirm.com




                        Victoria J. Maniatis graduated with a BA from the Pennsylvania
   State University in 1990, a J.D. from Hofstra University School of Law in 1993 and
   has been admitted to practice law in New York and New Jersey since 1994. After
   a 5 year career as a general negligence defense attorney, Vicki started practicing
   in the field of Plaintiffs’ Mass Tort in 1998 at Kreindler & Kreindler litigating
   Aviation disasters. Currently she is a partner at The Sanders Firm where she works
   on mass tort cases involving pharmaceuticals and medical devices, the field she
   has worked in for fifteen years. She is a frequent invited lecturer and moderator
   on a wide variety of pharmaceutical and mass tort cases and has published
   articles on pharmaceuticals and vaccines.

   Ms. Maniatis has been appointed by State and Federal Judges to serve as lead
   counsel and on Plaintiffs' steering committees. She currently acts as lead counsel
   in the New Jersey Propecia Multi County Litigation, Fosamax Femur PSC (under
   appeal), the Transvaginal Mesh MDL PSC’s in the Bard, Boston Scientific,
   American Medical Systems (all in settlement) and Ethicon cases (bellwether
   phase), as well as the Benicar (Olmesartan) MDL PSC. Vicki has also performed an
   abundance of valuable common benefit work outside her PSC appointments. She
   and her firm have the time and resources necessary to serve on the Talc MDL PSC,
   if selected. Regardless, she expects to contribute her efforts to the litigation.

   Ms. Maniatis has directed her attention on developing bellwether cases for trial,
   expert development and focus groups. Her firm members also have expertise in
   discovery matters, including ESI, Plaintiff Fact Sheet creation and electronic
   management, and review (training, hosting, managing and performing).
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   BELLWETHER TRIAL WORK-UP

   Vicki performs all levels of bellwether trial case specific work up including ,
   plaintiff, spouse and family member depositions, implanting, explanting, treating
   physicians, sales representative and expert depositions, for at least 30 cases in
   TVM, Mirena and Propecia cases.
          Vicki also serves on the Benicar MDL Bellwether committee and Propecia
   MDL Bellwether Committee where she assisted the Teams by reviewing and
   evaluating cases for potential bellwether selection.

   EXPERTS

   Vicki has taken part in researching, meeting, retaining, working with experts for
   depositions and all levels of preparation in several litigations she has worked on
   and can provide additional information in this regard (subject to strategy and
   attorney work product). Ms. Maniatis also has resources of Dr. John Restaino, a
   J.D. consultant to the firm. Dr. Restaino is very helpful in assisting with Expert
   development in the various litigations.
          Ms. Maniatis is also a co-founder of a program, Mass Tort Med School, that
   focuses on the medical and science issues in new and developed Mass Torts. The
   program includes numerous physician speakers and cutting edge medical issues.

   FOCUS GROUPS

   Vicki has participated in focus group/mock trial scenarios for medical malpractice,
   aviation disasters, and pharmaceutical cases. She has presented as counsel and
   witnesses for both Plaintiff and defense in Mock trials, and focus groups.

   HONORS AND ACTIVITIES
   Vicki has been recognized as a Top Attorney of the New York Metro Area and a
   Top Women Attorney in the New York Metro Area (2013 to date). She is an
   active participant in the American Association for Justice (AAJ), New Jersey
   Association for Justice and New York State Trial Lawyers Association (NYSTLA).
   Ms. Maniatis serves as one of the founding members of the Mass Tort Med
   School’s annual medical seminar for Plaintiffs’ attorneys and has served as a
   committee co-chair for the Women En Mass group.
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                                    Sanders Viener Grossman, LLP
                                            Attorneys at Law
                                       www.TheSandersFirm.com
                                     100 Garden City Plaza, Ste. 500
                                      Garden City, New York 11530
                                          Tel. (516) 741-5600


   The Sanders Firm is one of the largest personal injury firms in New York, and with over 45 years
   of trial experience; it is also among the most aggressive and successful firms in the state.

   Founded in 1967 by Stanley Sanders, The Sanders Firm has grown into a large, thriving
   organization of attorneys, paralegals, medical consultants, and supporting staff- all committed to
   providing the highest level of legal representation to those injured as a result of negligence,
   medical malpractice, defective products, and dangerous drugs. Through the years, we have
   consistently achieved significant settlements and jury verdicts on behalf of those victims. As a
   result of that success, the firm has been able to expand its practice areas and physical presence
   throughout the state of New York, with office locations in Manhattan, Queens, Brooklyn, and
   Long Island.

   Sanders Firm Senior Partner, Marc Grossman, joined the firm in 2003. Like Mr. Sanders, Mr.
   Grossman had always placed greater value on the needs of his clients over any self-motivated
   desire for profits. As a result, Mr. Grossman brought a loyal following with him to the Sanders
   team. His commitment to that ideal along with his proven track record of excellence led to his
   recent inclusion on the list of the top 100 trial lawyers in the state of New York.

   In 2004, Mr. Grossman and Mr. Sanders formed a practice dedicated exclusively to the needs of
   victims who have suffered at the hands of the world’s largest pharmaceutical companies. Within
   a short time the new entity achieved record success with its pursuit of justice against Merck,
   maker of the now recalled Vioxx. Today, Sanders Viener Grossman, LLP continues to pursue
   claims against those corporations who recklessly and deliberately expose consumers to serious
   health risks.
   Sanders Viener Grossman, LLP is a national law firm representing consumers who have been
   harmed by defective drugs and medical devices. Our lawyers have been holding pharmaceutical
   companies responsible and protecting victims’ rights for over 30 years. Defective drugs are
   pharmaceuticals with side effects that potentially harm, injure, or kill the patient to the point that
   they outweigh the drug’s intended benefits. Defective devices, such as faulty prosthetics,
   implants, pacemakers or surgical instruments can harm patients when the product is defective in
   the manufacturing process, design or marketing strategy.

   Our attorneys have extensive knowledge of pharmaceutical and medical device regulations. We
   have working knowledge of pharmaceutical product pre-approval development, with detailed
   understanding on Non-Clinical Studies and Clinical Trials, and post-approval obligations and
   requirements, including Safety Surveillance and Pharmacovigilance and ongoing Clinical Trials.
   We understand the FDA-drug sponsor relationships which enable us to tailor successful
   strategies and arguments in discovery battles in order to procure materials Plaintiffs and their
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   experts need. We have held leadership roles in all facets of litigation in coordinated proceedings,
   with a particular focus on developing the building blocks to establish General Causation, which
   is often times the most difficult obstacle to hurdle in a pharmaceutical case.

   SOME OF OUR EXPERTISE INCLUDES:
      • Liaison to the media as a member of the Vioxx PSC’s Public Relations Committee, and
        as a liaison for the Committee to many financial institutions and governmental agencies.
      • Lead the Trial Team in Rosenberg v. Merck, the first New Jersey ONJ Bellwether Trial,
        Atlantic County Superior Court, after an $8 million verdict in Boles v. Merck.
      • Lead Counsel in the New Jersey and MDL Propecia Litigations against Merck
      • Lead Counsel against Janssen Pharmaceuticals in the California JCCP
   ESI
      • Led and assisted in negotiations for the Electronic Discovery Protocol for the Propecia
        MDL in the Eastern District of New York, Benicar MDL District of New Jersey and
        Zimmer Nexgen Knee Litigation in the Northern District of Illinois, Mirena Litigation in
        the Southern District of New York and Superior Court of New Jersey.
      •
   PLAINTIFFS STEERING COMMITTEES

   Our lawyers have been appointed to serve in the following mass tort litigations:
             • In Re Avandia, Eastern District of Pennsylvania
             • In Re Chantix, Northern District of Alabama
             • In Re Zicam, District Court of Arizona
             • In Re Fosamax (Femur Fractures), District of New Jersey
             • In Re Propecia, Eastern District of New York
             • In Re Transvaginal Mesh -American Medical Systems, Boston Scientific, C.R.
                 Bard and Ethicon, Southern District of West Virginia
             • In Re Benicar, District of New Jersey
             • In Re Zimmer Nexgen Knee Multi-District litigation, Northern District of Illinois
             • In Re Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation,
                 District of Massachusetts.
             • In Re Incretin Mimetics Product Liability Litigation MDL 2452, Southern District
                 of California
             • In Re MirenaSouthern District of New York.
             • In Re Fluoroquinolones, District of Minnesota

            In addition to these appointments, our lawyers have served to assist counsel preparing
   litigations up to the point of trial in many cases outside of PSC appointments.

   OTHER LEADERSHIP ROLES:
     • New York Chantix Coordination, Co-Lead Counsel,
     • Reglan Coordination MCL, New Jersey, Co- Lead Counsel
     • Propecia Coordination MCL, New Jersey, Lead Counsel.
     • Levaquin Coordination MCL, New Jersey, Co-Lead Counsel
     • Risperdal and Invega Product Liability Cases JCCP California, Co-Lead Counsel
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      •   In Re Infusion Pain Pump JCCP, California, Plaintiff’s Liaison Counsel
      •   In Re Zoloft Birth Defect Cases JCCP, California Plaintiff’s Steering Committee
      •   In Re Fresenius Granuflo/Naturalyte Dialysate Products MDL, Science Com.
      •   Benicar MDL District of New Jersey, Bellwether and ESI Committees
      •   Mirena MDL Litigation in New York and New Jersey MCL, Science Committee and ESI
          Committee
      •   In Re Zimmer Nexgen Knee, ESI Committee, Bellwether Committee, Discovery
          Committee

   Legal commentator for several years on COURT TV – appearing on CATHERINE CRIER &
   COMPANY, TRIAL HEAT and BOTH SIDES
   Lectured for the Justices of the Supreme Court Appellate Terms, First and Second Departments,
   at the New York State Judicial Institute

   The personal injury lawyers of Sanders Viener Grossman, LLP have built a solid reputation as
   leaders in the field. We do this by working with only the most talented and brightest litigators
   and by utilizing our expansive network of researchers, medical experts, and engineers to greatest
   effect. At the same time, we never lose sight of our client to whom we pledge the utmost
   integrity, sensitivity, and diligence.

   Our record speaks for itself. In just the last five years, we have utilized our abundant resources
   to achieve maximum results, procuring over one hundred million dollars on behalf of our clients
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    With a focus on women's products, Carmen Scott represents victims of medical negligence, harmful
    medical drugs and devices and corporate misconduct.

    Carmen helps lead Motley Rice's mass tort pharmaceutical litigation by managing complex personal injury and
    economic recovery damages cases. She has been on the forefront of national contraceptive litigation involving
    products such as Xarelto® and Essure®, and previously litigated Nuvaring®, Yaz® and Yasmin®. She served
    on the Plaintiffs’ Steering Committee in In re NuvaRing Products Liability Litigation, serves as co-lead counsel
    in In re Mirena Product Liability state court consolidation in New Jersey, and is Co-Chair of the AAJ
    Mirena® IUD Litigation Group. She was also appointed to the Plaintiffs’ Steering Committee for the
    multidistrict litigation In re Power Morcellator Products Liability Litigation. Carmen currently represents clients in a
    variety of drug product matters in state and federal courts, including talcum powder.

    Prior to joining Motley Rice in 2005 and concentrating her efforts on the medical practice area, Carmen
    represented numerous clients in jury trials, working on products liability, personal injury and business cases
    for both plaintiffs and defendants.

    Carmen is a frequent speaker on medical litigation and topics involving women's products, regularly lecturing
    at both legal seminars and public advocacy events on such issues as plaintiffs' rights in medical negligence and
    dangerous drug cases. She has been quoted in numerous national media outlets and publications, including
    The Associated Press, NBC News New York, Marie Claire, and MotherJones.

    A South Carolina native and active in the community, Carmen is currently a College of Charleston alumni
    board member. She also proudly served on the Board of the South Carolina chapter of Make-A-Wish for
    many years, fundraising and promoting the organization's mission, as well as serving as a "wish-granter" for
    selected families and has served as a board member for the nonprofit organization Charleston County
    Friends of the Library.

    Education
•   J.D., University of South Carolina School of Law, 1999
•   B.A., College of Charleston, 1996

    Associations
•   American Association for Justice, Exchange Advisory Committee;
    Section and Litigation Group Coordination Committee
•   American Bar Association
•   South Carolina Association for Justice
•   South Carolina Women Lawyers Association

    Licensed In
•   South Carolina

    Litigation Areas
•   Medical Devices
•   Medical Drugs

    Awards and Accolades
•   Super Lawyers®
    2015, 2016 South Carolina Super Lawyers® list
    Personal injury – products: plaintiff; Class action/mass torts
    2013–2014 South Carolina Super Lawyers® Rising Stars list

•   Charleston Regional Business Journal
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   2013 Forty Under 40
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                                                             FIRM RESUME
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FIRM OVERVIEW



Founded on April 28, 2003, by Ronald L. Motley (1944–2013) and      Our lawyers continue to be selected to lead federal and state
Joseph F. Rice, Motley Rice LLC is one of the nation’s largest      medical device and drug litigation brought by injured people
plaintiffs’ law firms. Our attorneys, assisted by more than 200     alleging medical manufacturers put profits before safety. Our
support personnel, possess extensive experience in a wide           catastrophic injury lawyers fight for adults and children seriously
variety of civil litigation.                                        injured or killed by defective products such as dangerous toys
                                                                    or in tragic events such as devastating fires.
Motley Rice lawyers initially gained national recognition for
their work representing asbestos victims in the 1970s and           In 2010, our environmental team began representing people
1980s, conducting some of the first successful representations      and businesses harmed by the Deepwater Horizon oil spill
of injured persons against the asbestos industry. Motley            in the Gulf of Mexico and our attorneys had a central role in
Rice remains deeply involved in asbestos litigation in various      negotiating the two class action settlements reached between
jurisdictions across the country. The firm continues to represent   BP and the litigation Plaintiffs’ Steering Committee, one of
clients through involvement on numerous asbestos bankruptcy         which is the largest civil class action settlement in U.S. history.
trust committees and is active in other workers’ rights and toxic   We continue our efforts to hold responsible national and
tort cases.                                                         international corporations and organizations that willfully and
In the 1990s, Motley Rice attorneys took on the tobacco             knowingly harm people and have expanded our other practice
industry. Armed with evidence acquired from whistleblowers,         areas to seek protections for shareholders, seek change in
individual smokers’ cases, and tobacco liability class actions,     corporate cultures and bring to light issues that affect safety,
the attorneys led the campaign of 26 states’ Attorneys General      security and rights of consumers, investors and the public.
and several municipalities to recoup state healthcare funds         The firm’s lawyers regularly litigate complex cases involving
and exact marketing restrictions from cigarette manufacturers.      multiple parties in state and federal jurisdictions throughout
Through the litigation, “a powerful industry was forced by U.S.     the United States, either as sole counsel for the plaintiffs or
courts to reveal its internal documents that explain what nine      in association with local counsel and other firms. Additionally,
tobacco companies knew, when they knew it and what they             Motley Rice lawyers maximize the use of alternative dispute
concealed from the public about their dangerous product.”*          resolution where appropriate, such as negotiation, mediation
The effort restricted cigarette marketing to children and           and arbitration, making it possible to avoid protracted litigation
culminated in the $246 billion Master Settlement Agreement,         in some cases. Motley Rice employs state-of-the-art technology
the largest civil settlement in U.S. history.                       by using video conferencing, extranet access, and a document
Following the Sept. 11, 2001 terrorist attacks, Motley Rice         management system that enables the firm to process and enter
lawyers brought a landmark lawsuit against the alleged private      into the database thousands of articles, liability documents
and state sponsors of al Qaeda and Osama bin Laden. Motley          and all other information and documents used in litigation
Rice has undertaken a global investigation into terrorism           proceedings.
financing. In the course of this investigation, Motley Rice         The firm has offices in Mt. Pleasant, SC; Providence, RI;
created an entire anti-terrorism and human rights practice          Hartford, CT; New York, NY; Morgantown, WV; Charleston, WV;
which includes cases against defendants involved in terrorist       Washington, D.C.; New Orleans, LA; and Kansas City, Missouri.
acts by Libya, Hamas suicide bombers in Israel, and other
corrupt regimes’ human rights abuses. Motley Rice attorneys
also held a crucial role in executing the strategic mediations      *World Health Org., The Tobacco Industry Documents: What
and/or settlements in 56 aviation liability and damages cases         They Are, What They Tell Us, and How to Search Them (July
against multiple defendants on behalf of families of the victims      2004), available at www.who.int/tobacco/communications/
of the 9/11 attacks who opted out of the VCF.                         TI_manual_content.pdf.




Prior results do not guarantee a similar outcome.                                        Motley Rice LLC • Attorneys at Law        3
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LITIGATION PROFILES                    Motley Rice has held leadership roles in numerous cases. Highlights include:


DEFECTIVE DRUGS AND DEVICES                                           Plaintiffs’ Steering Committee and co-lead counsel of In re
                                                                      Digitek Products Liability Litigation, MDL 1968
Plaintiffs’ Steering Committee of In re Power Morcellator
Products Liability Litigation, MDL No. 2652                           Plaintiffs’ Steering Committee of In re Avandia Marketing, Sales
                                                                      Practices and Products Liability Litigation, MDL 1871
Co-lead counsel In re Zofran (Ondansetron) Products Liability
Litigation, MDL No. 2657                                              Plaintiffs’ Steering Committee of In re Hydroxycut Marketing
                                                                      and Sales Practice Litigation, MDL 2087
Plaintiffs’ Leadership Counsel of In re Bard IVC Filters Products
Liability Litigation, MDL 2641                                        Plaintiffs’ Steering Committee of In re Zicam Cold Remedy
                                                                      Marketing, Sales Practices and Products Liability Litigation,
Plaintiffs’ Steering Committee of In re Lipitor® (Atorvastatin
                                                                      MDL 2096
Calcium) Marketing, Sales Practices and Products Liability
Litigation, MDL 2502.                                                 Plaintiffs’ Steering Committee and co-lead counsel of In re
                                                                      Human Tissue Products Liability Litigation, MDL 1763
Co-lead plaintiffs’ counsel and liaison counsel In re Kugel Mesh
Hernia Patch Products Liability Litigation, MDL No. 07-1842           In re Temporomandibular Joint (TMJ) Implants Products Liability
(D.R.I.), Rhode Island federal court’s first consolidated MDL,        Litigation, MDL 1001
on behalf of thousands of people alleging injury by the hernia        In re Abbott Laboratories Omniflox Products Liability Litigation,
repair patch manufactured by Davol, Inc., as well as liaison          MDL 1004
counsel for the nearly 2,000 lawsuits consolidated in Rhode
Island state court.                                                   In re Viagra Products Liability Litigation, MDL 1724

Co-lead coordinating counsel of In re Ethicon, Inc., Pelvic Repair    Plaintiffs’ Steering Committee and liaison counsel of In re
Systems Products Liability Litigation, MDL 2327 (S.D.W.Va.)           Showa Denko K.K. L-tryptophan Products Liability Action, MDL
                                                                      No. 865
Co-lead counsel in the In re American Medical Systems, Inc.,
Pelvic Repair Systems Products Liability Litigation, MDL 2325
(S.D.W.Va.)                                                           TOXIC TORTS AND OCCUPATIONAL DISEASE
Co-liaison counsel In re C.R. Bard, Inc., Pelvic Repair Systems       Bongani Nkala & Others v. Harmony Gold Mining Company
Products Liability Litigation, MDL 2187 (S.D.W.Va.)                   Limited & Others, No. 48226/12 (South Gauteng High Court,
Co-lead counsel In re Boston Scientific Corp., Pelvic Repair          Johannesburg). Motley Rice has been retained as a consultant
Systems Products Liability Litigation, MDL 2326, (S.D.W.Va.)          by South African human rights lawyer Richard Spoor in his
                                                                      effort to take on leading global gold producers and seek justice
Co-liaison counsel In re Pelvic Mesh Litigation/Bard, No. L-6339-     for tens of thousands of exploited gold mine workers suffering
10 in New Jersey state court.                                         from silicosis.
State court liaison counsel of In re Bard Litigation in               Travelers Statutory Direct Action Settlement (Bankr. Court,
Massachusetts and Delaware                                            S.D.N.Y.), an eleven-state asbestos settlement with Travelers
Co-lead counsel of the Mirena MDL (S.D.N.Y.)                          Insurance.
Co-lead counsel in the In re Mirena Product Liability state court     Chair, Plaintiffs’ Steering Committee and liaison counsel for
consolidation in New Jersey                                           plaintiffs, In re Asbestos Products Liability Litigation, MDL 875
                                                                      (E.D. Pa.).
Plaintiffs’ Steering Committee of In re Zoloft (Sertraline
Hydrochloride) Products Liability Litigation, MDL 2342                Plaintiffs’ Steering Committee and coordinating counsel,
                                                                      Linscomb v. Pittsburgh Corning Corporation, No. 1:90cv-05000
Plaintiffs’ Steering Committee of In re NuvaRing Products
                                                                      (E.D. Tex.), a national class action on behalf of asbestos victims
Liability Litigation, MDL 1964
                                                                      nationwide.
Plaintiffs’ Steering Committee of In re DePuy Orthopaedics, Inc.
                                                                       xecutive committee member in In re Asbestos School
                                                                      E
ASR Hip Implant Products Liability Litigation, MDL 2197
                                                                      Litigation, No. 94-1494 (E.D. Pa.), a national school asbestos
Plaintiffs’ Steering Committee of In re DePuy Orthopaedics, Inc.      class action.
Pinnacle Hip Implant Products Liability Litigation, MDL 2244
                                                                      Lead plaintiffs’ counsel in Central Wesleyan College v. W.R.
In re A.H. Robins Co., Inc., “Dalkon Shield” IUD Products Liability    Grace & Co., No. 2:87-1860-8 (D.S.C.), a national asbestos
Litigation (No. II), MDL 631                                           property damage class action.
Plaintiffs’ Steering Committee of In re Medtronic, inc., Sprint       Lead plaintiffs’ counsel in In re Raymark Asbestos Exposure
Fidelis Leads Products Liability Litigation, MDL 1905                  Cases, No. 87-1016-K (D. Kan.), a national asbestos personal
Plaintiffs’ Steering Committee of In re Trasylol Products Liability    injury class action in which 19,684 claims were resolved.
Litigation, MDL 1928                                                  Co-lead plaintiffs’ counsel in Cimino v. Pittsburgh Corning
Plaintiffs’ Steering Committee of In re Levaquin Products             Corporation, No. 1:85-CV-00676 (E.D. Tex.), an asbestos personal
Liability Litigation, MDL 1943


 4      Motley Rice LLC • Attorneys at Law                                          Prior results do not guarantee a similar outcome.
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injury class action on behalf of approximately 2,300 plaintiffs.    Lead plaintiffs’ counsel in Bates v. Tenco Services Inc.,132
                                                                    F.R.D. 160 (D.S.C. 1990), a jet fuel pollution case involving the
Co-lead plaintiffs’ counsel in Chatham v. AC&S, et al., a
                                                                    consolidated property damage and personal injury claims of
consolidated asbestos personal injury action involving 300
                                                                    multiple plaintiffs in the Gold Cup Springs subdivision.
plaintiffs in the Circuit Court of Harris County, Texas.
                                                                    ANTI-TERRORISM AND HUMAN RIGHTS
 o-lead plaintiffs’ counsel in Abrams v. GAF Corporation,
C
No. 88-5422(1) (Jackson Cty., Miss.), a consolidated asbestos       Lead counsel in In re Thomas E. Burnett, Sr., et al. v. Al Baraka
personal action involving more than 6,000 plaintiffs.               Investment & Development Corp., et al., Case No. 03-CV-9849
                                                                    (GBD); In re Terrorist Attacks on September 11, 2001, 03 MDL
 o-liaison plaintiffs’ counsel in 3,000 asbestos personal injury
C
                                                                    1570 (S.D.N.Y), a landmark lawsuit against the alleged sponsors
cases in the Third Judicial Circuit of Illinois, Madison County,
                                                                    of al Qaeda and Osama bin Laden in an action filed on behalf
Illinois.
                                                                    of more than 6,500 family members, survivors, and those killed
Co-lead plaintiffs’ counsel in a consolidated asbestos personal     on 9/11.
injury action involving 540 plaintiffs pending in the Superior
                                                                    Linde et al. v. Arab Bank PLC, No. 1:04-cv-02799 (E.D.N.Y.) and
Court of Alameda County, California.
                                                                    Almog v. Arab Bank, PLC, No. 1:04-cv-05564-NG-VVP (E.D.N.Y.),

Counsel  in numerous consolidated asbestos trials including 87      one of the first lawsuits brought against an international bank
consolidated cases in Danville, Illinois; 300 consolidated cases    for its alleged role in financing terrorism.
in U.S. District Court, Western District of New York, Rochester,
                                                                    Mark McDonald, et al. vs. The Socialist People’s Libyan Arab
New York; 42 consolidated cases in State Court in Mississippi;
                                                                    Jamahiriya, et al.; No. 06-CV-0729-JR (DC 04/21/06), a high-
and 315 consolidated cases in the Circuit Court of Kanawha
                                                                    profile case involving Libya’s longtime alleged sponsorship of
County, West Virginia.
                                                                    IRA acts of terror.
Plaintiffs’ lead counsel in In re Kansas Asbestos Cases in U.S.
                                                                    Cummock, et al. v. Socialist People’s Libyan Arab Jamahiriya,
District Court for the District of Kansas, In re Madison County
                                                                    et al., No. 96-CV-1029 (D.D.C.). Victoria Cummock, Motley Rice’s
Illinois Asbestos Litigation
                                                                    client, sought full accountability and a public trial as the only
Plaintiffs’ lead counsel in In re Wayne County Michigan Asbestos    opt-out of the no-fault Pan Am 103/Lockerbie settlement.
Cases.
                                                                    Krishanthi, et al. vs. Rajaratnam, et al.; No. 09-CV-5395(D.N.J.),
John Schumacher v. Amtico, et al., No. 2:10-1627 (E.D.Pa.), the     terrorist financing litigation against alleged financiers of the
first federal court mesothelioma case to go to trial before         Tamil Tigers terrorist organization in Sri Lanka.
Eduardo C. Robreno, the judge who oversees the entire Federal
                                                                    Plaintiffs’ Steering Committee and lead counsel for Verizon
Asbestos MDL, In re Asbestos Products Liability Litigation, MDL
                                                                    plaintiffs in In re National Security Agency Telecommunications
875.
                                                                    Records Litigation, MDL 1791
Co-lead counsel, In re KBR, Inc. Burn Pit Litigation, MDL 2083
                                                                    Ng v. Central Falls Detention Facility Corporation, et al., No.
(D. Md.), representing hundreds of U.S. soldiers and personnel.
                                                                    09-53 (D. R.I.), a human rights case that alleged the defendants
Plaintiffs’ Steering Committee of In re Welding Fume Products       subjected a Chinese immigration detainee to extreme physical
Liability Litigation, MDL 1535                                      and mental abuse and torture while in U.S. custody.
                                                                    Harris, et al. v. Socialist People’s Libyan Arab Jamahiriya, et
ENVIRONMENTAL CONTAMINATION                                         al., No. 1:06-cv-00732-RWR (D.D.C.), a case filed against Libya
                                                                    involving the 1986 bombing of Berlin’s LaBelle Discotheque.
Plaintiffs’ Steering Committee of In re Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico on April 20, 2010,
MDL 2179, (E.D.La.), and lead settlement negotiators of the two     ANTITRUST/COMPETITION LAW
class action settlements reached with BP, one of which is the
                                                                    Interim Co-Lead Counsel in antitrust class action In re Keurig
largest civil class action settlement in U.S. history.
                                                                    Green Mountain Single-Serve Coffee Antitrust Litigation, MDL
Lead trial counsel in The People of the State of California v.      No. 2542 (S.D.N.Y.).
Atlantic Richfield Company, et al. No. 1-00-CV-788657 (Santa
                                                                    Appointed to the Executive Committee in antitrust class action
Clara Cnty. Super. Ct.) Resulting in 2014 verdict holding
                                                                    In re Lidoderm Antitrust Litigation, MDL No. 2521 (N.D.Cal.).
Sherwin-Williams Company, ConAgra Grocery Products and NL
Industries Inc. liable for creating a public nuisance and ordered   Interim Liaison Counsel In Re Aggrenox Antitrust Litigation,
abatement of lead paint from homes within 10 California cities      MDL No. 2516 (D.Conn.).
and counties.                                                       Co-lead counsel in antitrust class action In re Loestrin 24 Fe
Michelle McMunn, et al. vs. Babcock & Wilcox Power Generation       Antitrust Litigation, MDL 2472 (D.R.I.).
Group, Inc., et al., Civil Action No. 10-143 2:10-cv-00143-DSC-     Co-lead counsel in antitrust class action In re Suboxone
RCM




Prior results do not guarantee a similar outcome.                                       Motley Rice LLC • Attorneys at Law        5
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(Bupreorphine Hydrochloride         and     Naloxone)     Antitrust   Court for the District of South Carolina, Greenville Division.
Litigation, MDL 2445 (E.D. Pa.).                                      In re Graniteville Train Derailment, No. 2006-CP-02-1032 (Ct.
Co-lead counsel in antitrust class action In re Niaspan Antitrust     of Common Pleas, Second Jud. Cir.). served in a leadership
Litigation, MDL 2460 (E.D. Pa.).                                      role for both individual and class action cases in connection
                                                                      with the January 2005 railroad derailment and chemical spill in
Co-lead counsel in antitrust class action In re Effexor XR
                                                                      Graniteville, S.C.
Antitrust Litigation, No. 11-cv-05590 (D.N.J.).
Co-lead counsel for the end-payor antitrust class action In re
Actos Antitrust Litigation, (S.D.N.Y.).                               AVIATION DISASTERS AND PASSENGER RIGHTS
Co-lead counsel in antitrust class action In re Lipitor Antitrust     Plaintiffs’ liaison counsel in In re September 11 Litigation, No.
Litigation, MDL 2332 (D.N.J.).                                        21-MC-97-AKH (S.D.N.Y), representing 56 of the 96 families
                                                                      that opted out of the no-fault federal September 11 Victim
                                                                      Compensation Fund in liability and damages cases claims
CONSUMER PROTECTION, CATASTROPHIC INJURY                              against the airlines and aviation security companies for their
AND WRONGFUL DEATH                                                    alleged failure to implement basic security measures.
Plaintiffs’ Steering Committee of In re Volkswagen “Clean             Amanda Tuxworth v. Delta Air Lines, Inc., No. 2:10-cv-03212-RMG
Diesel” Marketing, Sales Practices, and Products Liability            (D.S.C), an aviation passenger rights case involving a Delta
Litigation, MDL No. 2672 CRB (JSC)                                    passenger.
Plaintiffs’ Executive Committee of In re General Motors LLC           Chris Turner, Individually and as Personal Representative of The
Ignition Switch Litigation, MDL 2543                                  Estate of Tracy Turner v. Ramo LLC, a Florida Limited Liability
Hoover, et al. v. NFL, et al., MDL #2:12-cv-05209-AB (E.D. Pa.).      Company, No. 11-14066 (Ct. of Appeals, 11th Cir.), an aviation
                                                                      case involving fraudulent transfer allegations in connection
Lead counsel in Charleston Firefighter Litigation v. Sofa Super       with a fatal plane crash.
Store, Inc., et.al., No. 07-CP-10-3186 (Ct. of Common Pleas, Ninth
Jud. Cir.), consolidated complex litigation involving the families    Counsel for victims of Asiana Airlines Flight 214
of nine firefighters who died in a furniture store disaster.          Counsel for families of victims of Malaysia Airlines Flight MH370
Clifton Chesnut, a minor v. Waupaca Elevator Company, Inc., et
al., No. 2013-CP-10-2060 (Ct. of Common Pleas, Ninth Jud. Cir.).
                                                                      SECURITIES FRAUD
Veronica Lynne Tario v. SOCO, Holding, LLC et al., No. 2013-cp-
26-2499 (Ct. of Common Pleas, Fifteenth Jud. Cir.).                   Co-class counsel in Alaska Electrical Pension Fund v. Pharmacia
                                                                      Corp., No. 03-1519 (D.N.J.). federal securities fraud litigation
Satterfield et al. v. Napa Home & Garden Inc., et al., No. 7:11-
                                                                      alleging that the defendants misrepresented clinical trial results of
1514-JMC (D.S.C.).
                                                                      Celebrex® to make its safety profile appear better than rival drugs.
Plaintiffs’ Steering Committee and multiple plaintiffs’ counsel,
In re San Juan DuPont Plaza Hotel Fire Litigation, MDL 721            Co-lead counsel in Ross v. Career Education Corp. No. 1:12-cv-
(D.P.R.).                                                             00276 (N.D. Ill.).

Strother v. John Wieland Homes and Neighborhoods of the               Co-lead counsel representing a group of institutional shareholders
Carolinas, et al., No. 09-CO-29-1783 (Ct. of Common Pleas, Sixth      In re Allion Healthcare, Inc. Shareholders Litigation, No. 5022-cc
Jud. Cir.), an individual catastrophic personal injury/premise        (Del. Ch.).
liability case involving life-altering brain injury.
                                                                      Co-lead counsel representing investors in Robert Freedman v. St.
Plaintiffs’ Steering Committee and Discovery Committee in In          Jude Medical, Inc., No. 0:2012cv03070 (D. Minn.).
re Bridgestone/Firestone, Inc. Tires Products Liability Litigation,
MDL 1373                                                              Co-lead counsel representing investors in In re Hewlett-Packard
                                                                      Co. Securities Litigation, No. SACV 11-1404 AG (RNBx) (C.D. Cal.).
In re Ford Motor Co. E-350 Van Products Liability Litigation (No.
II), MDL 1687                                                         Co-lead counsel in In re UBS AG Securities Litigation, No.07 Cov.
                                                                      11225 (RJS) (S.D.N.Y.).
Class counsel in Carol Lee Whitfield, et al., v. Sangamo Weston,
No. 6:84-3184 (D.S.C.), a PCB personal injury and property            Co-lead counsel representing institutional investors in Hill v. State
damage class action settled while pending before U.S. District        Street Corporation, No. 09-cv-12146-NG (D. Mass.).
                                                                      Sole lead counsel representing lead plaintiffs in City of Brockton
                                                                      Retirement System v. Avon Products, Inc., No. 11 Civ. 4665 (PGG)
                                                                      (S.D.N.Y.).
                                                                      Co-lead counsel on behalf of stockholders in Marsden v. Select
                                                                      Medical Corporation, No. 04-cv-4020 (E.D. Pa.).


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Co-lead counsel on behalf of a class of investors in South Ferry LP       Co-lead counsel in Louisiana class action In re The Shaw Group,
#2 v. Killinger, No. C04-1599C-(W.D. Wash.) (regarding Washington         Inc. Shareholders Litigation, No. 614399 (19th Jud. Dist. La.).
Mutual).                                                                  Co-lead counsel, In re Atheros Communications Inc. Shareholder
Sole lead counsel representing the lead plaintiff in class action,        Litigation, No. 6124-VCN (Del. Ch.), merger litigation involving
In re NPS Pharmaceuticals, Inc. Securities Litigation, No. 2:06-cv-       Qualcomm Incorporated’s proposed acquisition of Atheros
                                                                          Communications, Inc.
00570-PGC-PMW (D. Utah), concerning the drug PREOS.
                                                                          BANKRUPTCIES
Co-lead counsel for co-lead plaintiffs Drywall Acoustic Lathing
and Insulation Local 675 Pension Fund and Metzler Investment              Claimants’ committee in In re A.H. Robins, a Chapter 11
GmbH in In re Molson Coors Brewing Co. Securities Litigation, No.         Reorganization involving Dalkon Shield victims nationwide
1:05-cv-00294 (D. Del.).                                                  Claimants Committee in the Camall Chapter 11, the first bankruptcy
                                                                          associated with the Fen-Phen litigation
Co-lead plaintiffs’ counsel in shareholder class action In re The
DirecTV Group, Inc. Shareholder Litigation, No. 4581-VCP (Del.            Motley Rice attorneys currently serve as a member of the trust
Ch.).                                                                     advisory committee for several of the asbestos bankruptcy trusts
                                                                          formed under 524(g) of the federal bankruptcy code:
Sole lead counsel in Manville Personal Injury Settlement Trust v.
Gemunder, No. 10-CI-01212 (Ky. Cir. Ct.) (regarding Omnicare,             AC&S , Inc. Bankr., No. 02-12687 (D. Del.)
Inc.), a shareholder derivative complaint stemming from federal           Armstrong World Industries, Inc., Bankr. No. 00-4471 (D. Del.)
investigations into three kickback schemes.
                                                                          Babcock & Wilcox Co. Bankr., No. 00-10992 (E.D. La.)
Co-lead plaintiffs’ counsel in City of Sterling Heights General
Employees’ Retirement System v. Hospira, Inc., No. 11 C 8332 (N.D.        Celotex Corp. Bankr., Nos. 90-10016-8B1, 90-10017-8B1 (M.D. Fla.)
Ill.), a securities fraud class action.                                   Dresser II Bankr., No. 03-35592 (W.D. PA.)
Co-lead counsel in In re Rehabcare Group, Inc. Shareholders               Federal Mogul Bankr., No. 01-10578 (D. Del)
Litigation, No. 6197-VCL (Del. Ch.), merger litigation involving
the acquisition of healthcare provider RehabCare Group, Inc., by          G-I Holdings Bankr., Nos. 01-30135 and 01-38790 (D.N.J.)
Kindred Healthcare, Inc.                                                  Johns-Manville Corp., No.82-B11656 through 82 B 11676 (S.D.N.Y.,
Class counsel in Brown v. Charles Schwab & Co., No. 2:07-cv-              E.D.N.Y.)
03852-DCN (D.S.C.), one of the first cases to interpret the civil         Kaiser Aluminum Corp. Bankr., No.02-10429 (D. Del.)
liabilities provision of the Uniform Securities Act of 2002.
                                                                          Keene Bankr., No. 93B 46090,96 CV 3492 (S.D.N.Y.)
Co-lead counsel in class action Bennett v. Sprint Nextel
                                                                          MH Detrick Bankr., No. 98 B 01004 (N.D. Ill.)
Corporation, No. 2:09-cv-02122-EFM-KMH (D. Kan.), representing
the PACE Industry Union-Management Pension Fund (PIUMPF)                  Owens Corning Corp. Bankr., No. 00-03837 (D. Del.)
and several other institutional investors.                                Rock Wool Bankr., Nos. CV-99-J-I589-S.BK -96-08295-TBB-11 (N.D.
Co-lead counsel in securities class action settlement In re MBNA          Ala.)
Corporation Securities Litigation, No. 05-CV-00272-GMS (D.Del.).          Rutland Fire Clay Bankr., No. 99-11390 (D. Vt.)
Lead counsel for lead plaintiffs in a securities class action             Shook & Fletcher Bankr., No. 02-02771-BGc-11 (N.D. Ala.)
involving a group of shareholders who purchased publicly-traded
Dell securities in In re Dell, Inc. Securities Litigation, No. A-06-CA-   United States Gypsum Corp. Bankr., No. 01-2094 (D. Del.)
726-SS (W.D. Tex.).                                                       W.R. Grace Co. Bankr., No.s 01-1139, 01-1140 (D. Del.)
Co-lead counsel in Minneapolis Firefighters’ Relief Association v.        Motley Rice attorneys have served as lead or co-lead trial counsel
Medtronic, Inc., No. 08-6324 (PAM/AJB) (D. Minn.), representing a         on behalf of The Asbestos Claims Committee:
class of investors who purchased Medtronic common stock.
                                                                          Armstrong World Industries, Inc., Bankr. No. 00-4471 (D. Del.)
Co-lead counsel in In re Synovus Financial Corporation, No. 1:09-         (estimation trial and plan confirmation trial)
cv-01811 (N.D. Ga.), for co-lead plaintiff Sheet Metal Workers’
                                                                          Federal Mogul Bankr., No. 01-10578 (D. Del.) (estimation trial and
National Pension Fund, investors in Georgia bank Synovus
                                                                          plan confirmation trial)
Financial Corp.
                                                                          Owens Corning Corp. Bankr., No. 00-03837 (D. Del.) (estimation
Plaintiffs’ Steering Committee and plaintiffs’ liaison counsel, In
                                                                          trial and substantive consolidation trial)
re Policy Management Systems Corporation, No. 3:93-0807-JFA
(D.S.C.).                                                                 Pittsburgh Corning Corp. Bankr., No. 00-22876 (W.D. Pa.) (plan
                                                                          confirmation trial)
Sole lead counsel, In re Coventry Health Care, Inc. Securities
Litigation, No. 7905-CS (Del. Ch. ), a shareholder class action           W.R. Grace Co. Bankr., Nos. 01-1139, 01-1140 (D. Del.) (estimation
challenging the $7.2 billion acquisition of Coventry Health Care,         trial and plan confirmation trial)
Inc., by Aetna, Inc.


Prior results do not guarantee a similar outcome.                                               Motley Rice LLC • Attorneys at Law         7
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Motley Rice attorneys have served on The Asbestos Claims
Committee involved in the formation and confirmation of various
asbestos bankruptcy trusts.
AC&S Bankr., No. 02-12687 (D. Del)
Babcock & Wilcox Bankr., No. 00-10992 (E.D. La.)
Celotex Bankr., Nos. 90-10016-8B1, 90-10017-8B1 (M.D. Fla.)
Combustion Engineering Bankr., D. Del. No. 03-10495 (D. Del.)
Congoleum Corp. Bankr., No.03-51524 (D.N.J.)
Durabla Corp. Bankr., No. 09-14415 (D. Del)
Federal Mogul Bankr., No. 01-10578 (D. Del.)
G-I Holdings Bankr., Nos. 01-30135 and 01-38790 (D. N.J.)
Johns-Manville Corp., No.82-B11656 through 82 B 11676 (E.D.N.Y.)
Keene Bankr., No. 93B 46090,96 CV 3492 (S.D.N.Y.)
MH Detrick Bankr., No. 98 B 01004 (N.D. Ill.)
North American Refractories Corp. Bankr., No. 02-20198 (W.D. Pa.)
Owens Corning Corp. Bankr., No. 00-03837 (D. Del.)
Pittsburgh Corning Corp. Bankr., No. 00-22876 (W.D. Pa.)
Rock Wool Bankr., Nos. CV-99-J-I589-S.BK-96-08295-TBB-11 (N.D.
Ala.)
Rutland Fire Clay Bankr., No. 99-11390 (D. Vt.)
Shook and Fletcher Bankr., No. 02-02771-BGc-11 (N.D. Ala.)
United States Gypsum Corp. Bankr., No. 01-2094 (D. Del.)
W.R. Grace Co. Bankr., No.s 01-1139, 01-1140 (D. Del.)




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ACCOLADES FOR THE FIRM




                               The Plaintiffs’ Hot List
                               The National Law Journal
                               2006 • 2012 • 2013 • 2014 • 2015 • 2016


                              “Best Law Firm”
                               U.S. News – Best Lawyers®
                               mass tort litigation/class actions-plaintiffs
                               2010 • 2011 • 2012 • 2013 • 2014 • 2015 • 2016


                               The Legal 500 United States Litigation editions
                               mass tort and class action: plaintiff representation–toxic tort
                               2007 • 2009 • 2011 • 2012 • 2013 • 2014 • 2015 • 2016


                              “Elite Trial Lawyers”
                                The National Law Journal
                                2014 • 2015


                              “Most Feared Plaintiffs Firm”
                               Law360
                               2013 • 2015




For full methodologies and selection criteria, visit www.motleyrice.com/award-methodology
Please remember that every case is different. Although they endorse certain lawyers, The Legal 500 United States and Chambers
USA and other similar organizations listed above are not Motley Rice clients. Any result we achieve for one client in one matter does
not necessarily indicate similar results can be obtained for other clients.


Prior results do not guarantee a similar outcome.                                        Motley Rice LLC • Attorneys at Law      9
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OUR LEGACY

Ronald L. Motley (1944–2013)                                           Recognized as an AV®-rated attorney by Martindale-Hubbell®,
                                                                       Ron served on the AAJ Board of Governors from 1977 to 2012
EDUCATION:                                                             and was chair of its Asbestos Litigation Group from 1978 to
J.D., University of South Carolina School of Law, 1971                 2012. In 2002, Ron founded the Mark Elliott Motley Foundation,
B.A., University of South Carolina, 1966                               Inc., in loving memory of his son to help meet the health,
Ron Motley fought for greater justice, accountability and              education and welfare needs of children and young adults in
recourse, and has been widely recognized as one of the most            the Charleston, S.C. community.
accomplished and skilled trial lawyers in the U.S. During a career
that spanned more than four decades, his persuasiveness                PUBLICATIONS:
before a jury and ability to break new legal and evidentiary           • Ron authored or co-authored more than two dozen
ground brought to justice two once-invincible giant industries           publications, including:
whose malfeasance took the lives of millions of Americans—             • “Decades of Deception: Secrets of Lead, Asbestos and
asbestos and tobacco. Armed with a combination of legal and              Tobacco” (Trial Magazine, October 1999)
trial skills, personal charisma, nose-to-the-grindstone hard           • “Asbestos Disease Among Railroad Workers: ‘Legacy of the
work and record of success, Ron built Motley Rice into one of            Laggin’ Wagon’” (Trial Magazine, December 1981)
the nation’s largest plaintiffs’ law firms.                            • “Asbestos and Lung Cancer” (New York State Journal of
Noted for his role in spearheading the historic litigation against       Medicine, June 1980; Volume 80: No.7, New York State
the tobacco industry, Ron served as lead trial counsel for 26            Medical Association, New York)
State Attorneys General in the lawsuits. His efforts to uncover        • “Occupational Disease and Products Liability Claims” (South
corporate and scientific wrongdoing resulted in the Master               Carolina Trial Lawyers Bulletin, September and October 1976)
Settlement Agreement, the largest civil settlement in U.S.
history and in which the tobacco industry agreed to reimburse
                                                                       FEATURED IN:
                                                                       • Shackelford, Susan. “Major Leaguer” (South Carolina Super
states for smoking-related health care costs.                            Lawyers, April 2008)
Through his pioneering discovery and collaboration, Ron                • Senior, Jennifer. “A Nation Unto Himself” (The New York Times,
revealed asbestos manufacturers and the harmful and disabling            March 2004)
effects of occupational, environmental and household asbestos          • Freedman, Michael. “Turning Lead into Gold,” (Forbes, May
exposure. He represented thousands of asbestos victims and               2001)
achieved numerous trial breakthroughs, including the class             • Zegart, Dan. Civil Warriors: The Legal Siege on the Tobacco
actions and mass consolidations of Cimino, et al. v. Raymark, et         Industry (Delacorte Press, 2000)
al. (U.S.D.C. TX); Abate, et al. v. ACandS, et al. (Baltimore); and    • Ansen, David. “Smoke Gets in Your Eyes” (Newsweek, 1999)
In re Asbestos Personal Injury Cases (Mississippi).
                                                                       • Mann, Michael & Roth, Eric. “The Insider” (Blue Lion
In 2002, Ron once again advanced cutting-edge litigation as lead         Entertainment, November 5, 1999)
counsel for the 9/11 Families United to Bankrupt Terrorism with        • Brenner, Marie. “The Man Who Knew Too Much” (Vanity Fair,
a lawsuit filed by more than 6,500 family members, survivors and         May 1996)
those who lost their lives in the Sept. 11, 2001, terrorist attacks.   • Reisig, Robin. “The Man Who Took on Manville” (The American
The suit seeks justice and ultimately bankruptcy for al Qaeda’s          Lawyer, January 1983)
financiers, including many individuals, banks, corporations
and charities that provided resources and monetary aid. He             AWARDS AND ACCOLADES:
also served as lead counsel in numerous individual aviation            Ron won widespread honors for his ability to win justice
security liability and damages cases under the In re September         for his clients and for his seminal impact on the course of
11 Litigation filed against the aviation and aviation security         civil litigation. For his trial achievements, BusinessWeek
industries by victims’ families devastated by the security             characterized Ron’s courtroom skills as “dazzling” and The
failures of 9/11.                                                      National Law Journal ranked him, “One of the most influential
                                                                       lawyers in America.”
Ron brought the landmark case of Oran Almog v. Arab Bank
against the alleged financial sponsors of Hamas and other              South Carolina Association for Justice
terrorist organizations in Israel and was a firm leader in the         2013 Founders’ Award
BP Deepwater Horizon litigation and claims efforts involving           American Association for Justice
people and businesses in Gulf Coast communities suffering as           2010 Lifetime Achievement Award
a result of the oil spill. Two settlements were reached with BP,       2007 David S. Shrager President’s Award
one of which is the largest civil class action settlement in U.S.      1998 Harry M. Philo Trial Lawyer of the Year
history.




 10      Motley Rice LLC • Attorneys at Law                                          Prior results do not guarantee a similar outcome.
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                                                                       TEAM BIOGRAPHIES
                                                                       THE FIRM’S MEMBERS
The Trial Lawyer Magazine
2012 inducted into Trial Lawyer Hall of Fame                           Joseph F. Rice
2011 The Roundtable: America’s 100 Most Influential Trial              LICENSED IN: DC, SC
Lawyers                                                                ADMITTED TO PRACTICE BEFORE:
The Best Lawyers in America®                                           U.S. Supreme Court
1993–2013 mass tort litigation/class actions – plaintiffs,             U.S. Court of Appeals for the Second, Third, Fourth and Fifth
personal injury litigation – plaintiffs product liability litigation   Circuits
– plaintiffs                                                           U.S. District Court for the District of Nebraska and the District
                                                                       of South Carolina
Best Lawyers®                                                          EDUCATION:
2012 Charleston, SC “Lawyer of the Year” mass tort litigation/         J.D., University of South Carolina School of Law, 1979
class actions – plaintiffs                                             B.S., University of South Carolina, 1976
2010 Charleston, SC “Lawyer of the Year” personal injury               Motley Rice co-founder Joe Rice is recognized as a skillful
Benchmark Plaintiff                                                    and innovative negotiator of complex litigation settlements,
2012–2013 National “Litigation Star”: civil rights/human rights,       having served as the lead negotiator in some of the largest civil
mass tort/product liability, securities                                actions our courts have seen in the last 20 years. Corporate
2012–2013 South Carolina “Litigation Star”: human rights,              Legal Times reported that national defense counsel and legal
product liability, securities, toxic tort                              scholars described Joe as one of the nation’s “five most feared
                                                                       and respected plaintiffs’ lawyers in corporate America.” As the
SC Lawyers Weekly
                                                                       article notes, “For all his talents as a shrewd negotiator ... Rice
2011 Leadership in Law Award
                                                                       has earned most of his respect from playing fair and remaining
The Legal 500 United States                                            humble.”
2011–2013 Mass tort and class action: plaintiff representation
                                                                       Joe was recognized by some of the nation’s best-regarded
– toxic tort
                                                                       defense lawyers as being “the smartest dealmaker they ever sat
Chambers USA                                                           across the table from,” Thomson Reuters has reported. Professor
2007, 2010–2012 Product liability and mass torts: plaintiffs.          Samuel Issacharoff of the New York University School of Law, a
“...An accomplished trial lawyer and a formidable opponent.”           well-known professor and expert in class actions and complex
2008–2013 South Carolina Super Lawyers® list                           litigation, has commented that he is “the best strategic thinker
2008 Top 10 South Carolina Super Lawyers list                          on the end stages of litigation that I’ve ever seen.”
2008, 2009, 2011, 2012 Top 25 South Carolina Super Lawyers list        Since beginning to practice law in 1979, Joe has continued
The Lawdragon™ 500                                                     to reinforce his reputation as a skillful negotiator, including
2005–2012 Leading Lawyers in America list – plaintiffs’                through his involvement structuring some of the most significant
                                                                       resolutions of asbestos liabilities on behalf of those injured by
National Association of Attorneys General                              asbestos‐related products. He negotiates for the firm’s clients at
1998 President’s Award—for his “courage, legal skills and              all levels, including securities and consumer fraud, anti-terrorism,
dedication to our children and the public health of our nation.”       human rights, environmental, medical drugs and devices, as well
The Campaign for Tobacco-Free Kids                                     as catastrophic injury and wrongful death cases
1999 Youth Advocates of the Year Award                                 Most recently, Joe served as one of the lead negotiators in the
                                                                       $15 billion proposed Volkswagen Diesel Emissions Fraud class
ASSOCIATIONS:
                                                                       action settlement, the largest auto-related consumer class
American Association for Justice
                                                                       action settlement in U.S. history. He also has led negotiations on
South Carolina Association for Justice
                                                                       behalf of thousands of women in the transvaginal mesh litigation
American Bar Association
                                                                       that has five MDLs pending in the state of West Virginia. Joe is
South Carolina Bar Association
                                                                       a member of the Plaintiffs’ Steering Committee for the Lipitor®
Civil Justice Foundation
                                                                       multidistrict litigation and the Plaintiffs’ Executive Committee for
Inner Circle of Advocates
                                                                       In re General Motors LLC Ignition Switch Litigation.
International Academy of Trial Lawyers
                                                                       Other notable litigation and cases that have benefited from Joe’s
*Although it endorses this lawyer, The Legal 500 United States is
not a Motley Rice client.                                              involvement include:

                                                                       BP OIL SPILL:
                                                                       Joe served as a co-lead negotiator for the Plaintiffs’ Steering
                                                                       Committee in reaching the two settlements with BP, one of
                                                                       which is the largest civil class action settlement in U.S. history.
                                                                       The Economic and Property Damages Rule 23 Class Action
                                                                       Settlement is estimated to make payments totaling between



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$7.8 billion and $18 billion to class members. Joe was also one      AWARDS AND ACCOLADES:
of the lead negotiators of the $1.028 billion settlement reached     The Lawdragon™
between the Plaintiffs’ Steering Committee and Halliburton           2016 500 Leading Lawyers in America: Plaintiffs’ litigation
Energy Services, Inc., for Halliburton’s role in the disaster.       Chambers USA
                                                                     2016 Product Liability: Plaintiffs –Nationwide, Band 2
9/11:
Joe held a crucial role in executing strategic mediations and/or     Law360
resolutions on behalf of 56 families of 9/11 victims who opted out   2015 “Product Liability MVP”
of the government-created September 11 Victim Compensation           Best Lawyers®
Fund. In addition to providing answers, accountability and           2013 “Lawyer of the Year” Charleston, SC: mass tort litigation/
recourse to victims’ families, the resulting settlements with        class actions – plaintiffs
multiple defendants shattered a settlement matrix developed          2007–2017 Mass tort litigation/class actions plaintiffs
and utilized for decades. The litigation also helped provide
                                                                     Benchmark Litigation
public access to evidence uncovered for the trial.
                                                                     2012–2013 National “Litigation Star”: mass tort/product
TOBACCO:                                                             liability
As lead private counsel for 26 jurisdictions, including numerous     2012–2016 South Carolina “Litigation Star”: environmental,
State Attorneys General, Joe was integral to the crafting and        mass tort/product liability
negotiating of the landmark Master Settlement Agreement,             South Carolina Super Lawyers® list
in which the tobacco industry agreed to reimburse states for         2008–2016 Class action/mass torts; Securities litigation;
smoking-related health costs. This remains the largest civil         General litigation
settlement in U.S. history.
                                                                     SC Lawyers Weekly
ASBESTOS:                                                            2012 Leadership in Law Award
Joe held leadership and negotiating roles involving the              University of South Carolina School of Law Alumni Association
bankruptcies of several large organizations, including AWI,          2011 Platinum Compleat Lawyer Award
Federal Mogul, Johns Manville, Celotex, Garlock, W.R. Grace,
                                                                     The Legal 500 United States, Litigation edition
Babcock & Wilcox, U.S. Gypsum, Owens Corning and Pittsburgh
                                                                     2011, 2012, 2014, 2015, 2016 Mass tort and class action: plaintiff
Corning. He has also worked on numerous Trust Advisory
                                                                     representation – toxic tort
Committees. Today, he maintains a critical role in settlements
involving asbestos manufacturers emerging from bankruptcy            The National Trial Lawyers
and has been recognized for his work in structuring significant      2010 Top 100 Trial Lawyers™ – South Carolina
resolutions in complex personal injury litigation for asbestos       National Association of Attorneys General
liabilities on behalf of victims injured by asbestos-related         1998 President’s Award
products. Joe has served as co-chair of Perrin Conferences’
Asbestos Litigation Conference, the largest national asbestos-       MUSC Children’s Hospital
focused conference.                                                  2010 Johnnie Dodds Award: in honor of his longtime support of
                                                                     the annual Bulls Bay Golf Challenge Fundraiser and continued
Joe is often sought by investment funds for guidance on litigation   work on behalf of our community’s children
strategies to increase shareholder value, enhance corporate
governance reforms and recover assets. He was an integral            University of South Carolina
part of the shareholder derivative action against Omnicare, Inc.,    2011 Garnet Award: in recognition of Joe and his family for
Manville Personal Injury Settlement Trust v. Gemunder, which         their passion for and devotion to Gamecock athletics
resulted in a significant settlement for shareholders as well as     SC Junior Golf Association Programs
new corporate governance policies for the corporation.               2011 Tom Fazio Service to Golf Award: in recognition of
Joe serves on the Board of Advisors for Emory University’s           promotional efforts
Institute for Complex Litigation and Mass Claims, which
                                                                     COMMUNITY INVOLVEMENT:
facilitates bipartisan discussion of ways to improve the civil
                                                                     Dee Norton Lowcountry Children’s Center, Co-chair for
justice system through the hosting of judicial seminars, bar
                                                                     inaugural Campaign for the Next Child
conferences, academic programs, and research. In 1999 and
                                                                     First Tee of Greater Charleston, Board of Advisors
2000, he served on the faculty at Duke University School of Law
as a Senior Lecturing Fellow, and taught classes on the art of       ASSOCIATIONS:
negotiating at the University of South Carolina School of Law,       American Association for Justice
Duke University School of Law and Charleston School of Law.          American Bar Association
In 2013, he and the firm created the Ronald L. Motley Scholarship    American Inns of Court
Fund at The University of South Carolina School of Law in memory     American Constitution Society for Law and Policy
and honor of co-founding member and friend, Ron Motley.              South Carolina Association for Justice



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John A. Baden IV                                                       Kimberly Barone Baden
LICENSED IN: SC                                                        LICENSED IN: CA, SC
ADMITTED TO PRACTICE BEFORE:                                           ADMITTED TO PRACTICE BEFORE:
U.S. Court of Appeals for the Second Circuit, U.S. Bankruptcy          U.S. Court of Appeals for the Third Circuit
Court for the Southern District of New York and Western                U.S. District Court for the Central, Northern and Southern
District of North Carolina                                             Districts of California and District of South Carolina
EDUCATION:                                                             EDUCATION:
J.D., University of South Carolina School of Law, 2002                 J.D., California Western School of Law, 1999
B.A., College of Charleston, 1996                                      B.A. cum laude, Clemson University, 1996
John Baden represents clients harmed by asbestos exposure in           As a strong advocate for the most defenseless members of
individual and mass tort forums, as well as in complex asbestos        society, Kimberly Barone Baden seeks accountability and
bankruptcies, handling complete case management and                    compensation for victims of corporate misconduct, medical
settlement negotiations for individuals and families suffering         negligence and harmful medical drugs. She manages mass tort
from mesothelioma and other asbestos-related diseases.                 pharmaceutical litigation through complex personal injury and
                                                                       economic damages cases.
Working closely with Joe Rice, John also handles the negotiation
and complex case resolution of asbestos bankruptcies,                  Kimberly represents children with birth defects allegedly caused
including development of structured settlements with viable            by antidepressants, including Zoloft®, Effexor® and Wellbutrin®;
asbestos manufacturers and those emerging from bankruptcy.             as well as Zofran® which is used to prevent pregnancy-
His work with the bankruptcy courts and settlement trusts              related nausea and vomiting. She previously litigated against
aims to hold asbestos companies accountable and provide                GlaxoSmithKline in the Paxil® birth defect litigation. She serves
due compensation to asbestos victims. John has lectured on             as co-lead counsel for In re Zofran (Ondansetron) Products
asbestos bankruptcy issues at a number of legal seminars.              Liability Litigation MDL 2657 and is on the Plaintiffs’ Executive
                                                                       Committee for In re Viagra (Sildenafil Citrate) Products Liability
John is involved in the settlement negotiations of medical drug
                                                                       Litigation MDL 2691 and on the Plaintiffs’ Steering Committee In
and device MDLs, including the transvaginal mesh litigation In re
                                                                       re Zoloft (sertraline hydrochloride) Products Liability Litigation
American Medical Systems, Inc., Pelvic Repair Systems Products
                                                                       MDL 2342. She also manages the firm’s pharmaceutical
Liability Litigation, MDL 2325. He continues to be involved in
                                                                       litigation regarding Crestor®, Lipitor®, Actos®, Risperdal®,
negotiations related to additional TVM manufacturers. John
                                                                       incretin mimetics, and dialysis products GranuFlo® Powder and
also played a role in settlement negotiations for In re Avandia
                                                                       NaturaLyte® Liquid acid concentrates.
Marketing, Sales Practices and Products Liability Litigation,
MDL 1871.                                                              Kimberly also represents elderly victims of abuse and neglect,
                                                                       litigating cases for nursing home and assisted living facility
John has additionally been actively involved with the firm’s
                                                                       residents.
representation of people and businesses in Gulf Coast
communities suffering as a result of the BP Deepwater Horizon          Kimberly has spoken at numerous seminars, legal gatherings,
oil spill. He held a central role in the negotiation process           CLEs and conferences across the U.S., including the American
involving the two settlements reached with BP, one of which is         Association for Justice, Mass Torts Made Perfect and the
the largest civil class action settlement in U.S. history.             National Business Institute. She has addressed a broad range of
                                                                       topics related to pharmaceutical drugs and elder law litigation,
John began his legal career as a litigation trial paralegal for Ron
                                                                       focusing on MDL procedures, birth defects, nursing home
Motley in 1997, working with the State Attorneys General on
                                                                       litigation, discovery, trial strategy and mediation. Kimberly is
the landmark tobacco litigation primarily in Florida, Mississippi
                                                                       currently the Treasurer of the American Association for Justice’s
and Texas. He also supported occupational litigation in several
                                                                       Section on Toxic, Environmental and Pharmaceutical Torts.
states, including the exigent trial dockets of Georgia and West
Virginia. John served as a judicial intern for Judge Sol Blatt, Jr.,   Prior to joining Motley Rice, Kimberly worked on the Fen-Phen
of the U.S. District Court of South Carolina and Judge Jasper M.       diet drug litigation and served as an attorney with the California
Cureton of the South Carolina Court of Appeals.                        District Attorney’s Office in San Diego. Kimberly is recognized
                                                                       as an AV® rated attorney by Martindale-Hubbell®.
ASSOCIATIONS:
American Association for Justice                                       AWARDS AND ACCOLADES:
South Carolina Association for Justice                                 South Carolina Super Lawyers® Rising Stars list
                                                                       2013–2014 Personal injury plaintiff: products; elder law

                                                                       ASSOCIATIONS:
                                                                       American Association for Justice, Treasurer – Section on Toxic,
                                                                       Environmental and Pharmaceutical torts
                                                                       American Bar Association
                                                                       South Carolina Association for Justice



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Frederick C. Baker                                                    appeals on complex issues involving products liability,
                                                                      Medicaid lien reimbursements, constitutional rights, and civil
LICENSED IN: NY, SC
                                                                      liberties. At Motley Rice, Lou continues his focus on appellate
ADMITTED TO PRACTICE BEFORE:
                                                                      issues and mass torts, further enhancing the firm’s active and
U.S. Court of Appeals for the First, Second, Third, Fourth, Fifth,
                                                                      growing complex litigation practice.
Tenth and Eleventh Circuits
U.S. District Court for the Southern District of New York and         Prior to joining Motley Rice, Lou served as an appellate advocate
the District of South Carolina                                        and Chief Litigation Counsel for the Center for Constitutional
EDUCATION:                                                            Litigation where he led work in mass torts, the Class Action
J.D. / LL.M., Duke University School of Law, 1993                     Fairness Act, and dispositive motions concerning consumer
B.A., University of North Carolina at Chapel Hill, 1985               protection and products liability. Lou argued for plaintiffs
A veteran litigator with strong roots in complex litigation, Fred     before the U.S. Supreme Court regarding federal preemption
Baker has worked on a broad range of environmental, medical           of claims against generic drug manufacturers in Pliva, Inc. v.
costs recovery, consumer and products liability cases and             Mensing and has also participated in numerous other Supreme
holds numerous leadership roles within the firm. He represents        Court cases as counsel for petitioners, respondents, and amici
individuals, institutional investors, and governmental entities in    curiae.
a wide variety of cases.                                              Lou has spoken on various legal topics at many seminars, CLE
After representing a state government in a case against               programs, and legal conferences across the country sponsored
poultry integrators alleging that poultry waste polluted natural      by, among others, the American Association for Justice, state
resources, Fred was involved with the firm’s representation of        trial lawyers associations, and Mass Torts Made Perfect. Lou
people and businesses in Gulf Coast communities suffering as          has also presented at judicial education programs sponsored
a result of the BP Deepwater Horizon oil spill. He held a central     by the Pound Institute, the Brookings Institution, the American
role in the negotiation process involving the two settlements         Enterprise Institute, the Northwestern University School of Law,
reached with BP, one of which is the largest civil class action       and the George Mason University School of Law.
settlement in U.S. history.                                           Lou’s legal career began at Arnold & Porter LLP in Washington,
A member of the legal team that litigated the groundbreaking          D.C., where he managed and directed work on transfusion-
tobacco litigation on behalf of several State Attorneys General,      associated HIV/AIDS cases on behalf of the American Red
Fred has also participated in the litigation of individual tobacco    Cross. He subsequently served on the American Civil Liberties
cases, entity tobacco cases and a tobacco class action. Fred          Union Foundation’s national legal staff and as the legal director
currently heads the firm’s tobacco litigation team.                   of the Alliance for Justice. Lou has also taught advanced
                                                                      torts and products liability law as an Adjunct Professor at the
Fred has served as counsel in a number of class actions,
                                                                      University of Kentucky College of Law.
including the two class action settlements arising out of the
2005 Graniteville train derailment chlorine spill. He has also        SELECTED PUBLICATIONS:
been closely involved in the on-going litigation surrounding          • Louis M. Bograd & Andre M. Mura, Buckman Stops Here!
the statutory direct action settlement reached in the Manville          Limits on Preemption of State Tort Claims Involving
bankruptcy court and a related West Virginia unfair trade               Allegations of Fraud on the PTO or the FDA, 41 Rutgers L. J.
practices insurance class action.                                       309 (2009)
Fred began practicing with Motley Rice attorneys in 1994 and          • Louis M. Bograd, Be Careful What You Wish For: Drugmakers,
chairs the firm’s attorney hiring committee.                            the First Amendment, and Preemption, 51 TRIAL 24 (Nov. 2015)
                                                                      • Louis M. Bograd, Preemption’s Uncertain Path, 47 TRIAL 20
AWARDS AND ACCOLADES:                                                   (Nov. 2011)
South Carolina Lawyers Weekly                                         • Louis M. Bograd, W(h)ither Preemption?, 45 TRIAL 24 (Nov.
2016 Leadership in Law Award                                            2009)
                                                                      • Louis M. Bograd, Taking on Big Pharma- and the FDA, 43 TRIAL
                                                                        30 (Mar. 2007)
Louis M. Bograd
LICENSED IN: DC, KY                                                   ASSOCIATIONS:
ADMITTED TO PRACTICE BEFORE:                                          American Association for Justice Chair, Preemption Litigation
U.S. Supreme Court; U.S. Court of Appeals for the First, Third,       Group; Member, Legal Affairs Committee
Fourth, Fifth, Sixth, Eighth, Ninth, Tenth, and D.C. Circuits; U.S.
District Court for the District of Columbia
EDUCATION:
J.D., Yale Law School, 1984
A.B., Princeton University, 1981
Louis Bograd is a nationally recognized authority on issues of
federal preemption, drug and device litigation, and jurisdiction.
He has devoted much of his professional career to litigating


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Michael M. Buchman                                                      of Lloyd’s of London and their Names; Humm v. Lombard World
                                                                        Trade, Inc., Vol. 4, Issue 10 International Insurance Law Review
LICENSED IN: CT, NY
                                                                        314 (1996).
ADMITTED TO PRACTICE BEFORE:
U.S. Supreme Court                                                      Michael is active in his community, serving as a member of the
U.S. Court of Appeals for the Second Circuit                            Flood and Erosion Committee for the Town of Westport, Ct., and
U.S. District Court for the Districts of Connecticut and                as pro bono counsel in actions involving the misappropriation
Southern and Eastern Districts of New York                              of perpetual care monies. He has also coached youth ice
U.S. Court of International Trade                                       hockey teams at Chelsea Piers in New York City.
EDUCATION:
LL.M., International Antitrust and Trade Law, Fordham                   AWARDS AND ACCOLADES:
University School of Law, 1993                                          New York Metro Super Lawyers® list
J.D., The John Marshall Law School, 1992                                2014–2016 Antitrust litigation
B.A. cum laude, Alfred University, 1988                                 Best Lawyers®
Michael Buchman has more than 20 years of experience,                   2017 Mass tort litigation/class actions – plaintiffs
primarily litigating antitrust, consumer protection and privacy
class actions in trial and appellate courts. Michael has a diverse
antitrust background, having represented as lead or co-lead             Samuel B. Cothran Jr.
counsel a variety of plaintiff clients, from Fortune 500 companies      General Counsel
to individual consumers, in complex cases covering matters              LICENSED IN: NC, SC
such as restraint of trade, price-fixing, generic drug antitrust        ADMITTED TO PRACTICE BEFORE:
issues and anticompetitive “reverse payment” agreements                 U.S. District Court for the Western District of North Carolina
between brand name pharmaceutical companies and generic                 and District of South Carolina
companies. Michael leads Motley Rice’s antitrust team.                  EDUCATION:
Michael served as an Assistant Attorney General in the New York         J.D., cum laude, University of South Carolina School of Law,
State Attorney General’s Office, Antitrust Bureau, after receiving      1998
his LL.M. degree in International Antitrust and Trade Law. Also         M.B.A., Duke University, 1994
prior to joining Motley Rice, he was a managing partner of the          B.S., summa cum laude, University of South Carolina, 1981
antitrust department at a New York-based class action law firm.         Sam Cothran creatively addresses the many challenges
He played an active role in resolving two of the largest U.S.           and opportunities inherent in the cutting-edge practice of
multi-billion dollar antitrust settlements since the Sherman Act        a dynamic, multi-jurisdictional law firm. As leader of Motley
was enacted, In re NASDAQ Market-Makers Antitrust Litigation            Rice’s legal department, Sam directs and advises the firm’s
and In re Visa Check/Mastermoney Antitrust Litigation, as               management on diverse in-house legal matters regarding
well as litigated numerous multi-million dollar antitrust cases.        governmental compliance, contracts and legal defense, as well
Today, he represents the largest retailer class representative          as labor and employment, marketing, financial and operational
in the $7.2 billion case In re Payment Card Interchange Fee and         issues.
Merchant Discount Antitrust Litigation, MDL 1720.*                      After working for an international accounting firm as a certified
Michael has more than thirteen years of experience representing         public accountant and for several Fortune 1,000 companies as a
consumers, union health and welfare plans, and health insurers          financial manager, Sam attended law school to complement his
in “generic drug” litigation such as In re Augmentin Antitrust          background in business management and finance and joined
Litigation, In re Buspirone Antitrust Litigation, In re Ciprofloxacin   Motley Rice attorneys shortly after graduation.
Antitrust Litigation, In re Flonase Antitrust Litigation, In re K-Dur   Recognized as a BV® rated attorney by Martindale-Hubbell®,
Antitrust Litigation, In re Relafen Antitrust Litigation, In re         Sam is the author of Dischargeability of Consumer Credit
Tamoxifen Antitrust Litigation, In re Toprol XL Antitrust Litigation    Card Debt in Bankruptcy After Anastas v. American Savings
and In re Wellbutrin SR Antitrust Litigation. He also has               Bank, 48 S.C.L. Rev. 915 (1997). As a law student, Sam served
experience litigating a large aviation antitrust matter, as well as     as Managing Editor of the South Carolina Law Review. He was
aviation crash, emergency evacuation and other aviation cases           named a Carolina Legal Scholar and awarded both the Order of
in federal and state court.                                             the Coif and Order of the Wig and Robe.
Michael completed the intensive two-week National Institute for         Sam is active in his community, serving on the board of Directors
Trial Advocacy National Trial Training program in Boulder, Colo.,       for the Dee Norton Lowcountry Children’s Center.
in 2002. An avid writer, he has authored and co-authored articles
on procedure and competition law, including a Task Force on             ASSOCIATIONS:
Dealer Terminations for The Association of the Bar of the City          American Bar Association
of New York, Committee on Antitrust and Trade Regulation,               Association of Professional Responsibility Lawyers
entitled Dealer Termination in New York dated June 1,1998 and           American Institute of Certified Public Accountants
What’s in a Name - the Diversity Death-Knell for Underwriters           South Carolina Association of Certified Public Accountants



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Kevin R. Dean                                                        Hubbell®, Kevin co-authored “Dangerous Doors and Loose
                                                                     Latches,” published in Trial Magazine (2004) for the American
LICENSED IN: GA, MS, SC
                                                                     Association for Justice, and authored “The Right to Jury Trial in
ADMITTED TO PRACTICE BEFORE:
                                                                     ERISA Civil Enforcement Actions” published in The American
U.S. Court of Appeals for the Third, Fourth, Fifth and Eleventh
                                                                     Journal of Trial Advocacy (1989).
Circuits, U.S District Court for the Middle, Northern and
Southern Districts of Georgia, Central District of Illinois,
                                                                     AWARDS AND ACCOLADES:
Northern and Southern Districts of Mississippi and District of
                                                                     Best Lawyers®
South Carolina
                                                                     2017 Charleston, S.C. Personal injury litigation – plaintiffs
EDUCATION:
J.D., Cumberland School of Law, 1991                                 South Carolina Super Lawyers® list
B.A., Valdosta State University, 1989                                2015–2016 Personal injury – general: plaintiff; Personal injury
Focusing his litigation efforts on catastrophic injury, products     – products: plaintiff; Personal injury – medical malpractice:
liability, and wrongful death cases, Kevin Dean represents           plaintiff
victims and families affected by hazardous consumer products,        Benchmark Plaintiff
occupational and industrial accidents, fires, premise injuries       2012–2013 National “Litigation Star”: mass torts/product
and other incidents of negligence.                                   liability
Kevin currently represents people allegedly harmed by                2012–2013 South Carolina “Litigation Star”: product liability
defective Takata airbags and GM’s misconduct regarding its
defective vehicles in In re General Motors LLC Ignition Switch       ASSOCIATIONS:
Litigation. He has litigated numerous vehicle defect cases,          American Association for Justice
including against “the Big Three” automotive manufacturers in        Georgia Trial Lawyers Association
cases involving defective brakes, door locks, door latches, seat     South Carolina Association for Justice, Tort & Negligence Chair
belts and roll overs. He served as trial co-counsel in Guzman v.     Southern Trial Lawyers Association
Ford (2001), the first case brought to trial regarding a defective   Attorneys Information Exchange Group, Board of Directors
outside door latch handle, as well as in the vehicle rollover case
Hayward v. Ford (2005). He was also a member of the plaintiffs’      Michael E. Elsner
litigation team in the defective seat belt case, Malone v. General
Motors Corporation (1998) prior to joining Motley Rice.              LICENSED IN: NY, SC, VA
                                                                     ADMITTED TO PRACTICE BEFORE:
He served as lead plaintiffs’ counsel in In re Charleston            U.S District Court for the Eastern and Southern Districts of
Firefighter Litigation, a wrongful death and negligence case         New York
against Sofa Super Store, contractors and multiple furniture         EDUCATION:
manufacturers on behalf of the families of the nine firefighters     J.D., University of Memphis Cecil C. Humphreys School of Law,
lost in the June 2007 warehouse fire in Charleston, S.C.             1997
Since the 2010 explosion of the Deepwater Horizon, Kevin has         B.A., John Carroll University, 1993
been helping people and businesses pursuing litigation, as well      Michael Elsner uses the U.S. civil justice system to seek social
as those needing help filing and negotiating their claims. He        change and improved protection of Americans at home and
served as a member of the oil spill MDL’s GCCF Jurisdiction          abroad. He litigates complex civil matters on behalf of people
& Court Oversight Workgroup and is now helping victims file          and businesses victimized by commercial malfeasance,
claims through the new claims programs established by the            violations of human rights, inadequate security measures and
two settlements reached with BP.                                     state-sponsored terrorism, managing cross-border litigation
                                                                     and intricate investigations of infringement and abuse of human
Kevin is actively involved with malpractice, defective medical
                                                                     rights, multi-layered financial transactions and due diligence.
devices and drug litigation. His experience also includes the
health insurance fraud and post-claims underwriting case Clark       Michael’s understanding of the complex legal challenges of
v. Security Life Insurance Company, the largest civil RICO case      international matters is critical to litigating cases involving
in Georgia history, and Wiggins v. Parsons Nursery, one of the       human rights and financial dealings. He uses legal mechanisms
largest environmental and health contamination cases in South        to track illicit finances, and his investigations through the maze
Carolina. Kevin also served as a County Commissioner on the          of international banking and financial regulations continue to
Early County Georgia Board of Commissioners and still holds          uncover violations that have allowed money laundering and
the honor of having been the youngest elected commissioner           terrorist financing. Michael is building upon legal theories and
in county history.                                                   case precedents to represent plaintiffs harmed by financial
                                                                     crimes and actions and hold the global institutions and
Kevin frequently appears in local and national broadcast and
                                                                     organizations accountable.
print media discussing legal matters of workplace safety, fire
prevention and other products liability, as well as specific         Michael was a lead plaintiffs’ counsel in Linde et al. v. Arab
casework and efforts for changes and improvements in various         Bank, a suit brought on behalf of victims of terrorist attacks
industries. Recognized as an AV® rated attorney Martindale-          in Israel. In September 2014, a jury found Jordan-based Arab


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Bank plc liable for financing terrorist activity, including            ASSOCIATIONS:
funneling financial support to top Hamas leaders and to the            American Association for Justice
families of suicide bombers. Michael also leads the worldwide          American Bar Association
investigation for liability evidence in the 9/11 Families United       New York Bar Association
to Bankrupt Terrorism civil action against al Qaeda’s alleged          South Carolina Bar Association, International Law Committee
financiers and supporters. In this capacity, Michael meets             Virginia Bar Association
with U.S. and foreign intelligence officers, witnesses, and            National Crime Victims Bar Association
informants, who have already helped him gather more than two           Public Justice Foundation
million pages of documents in numerous languages identifying
the activities of al Qaeda and its financiers. He is a member of       Nathan D. Finch
the Plaintiffs’ Steering Committee for this multidistrict litigation
filed on behalf of more than 6,500 families and survivors of           LICENSED IN: DC, VA
the 9/11 attacks. He also served as a member of the Plaintiffs’        ADMITTED TO PRACTICE BEFORE:
Committee in In re September 11th Litigation, a suit brought           U.S. Court of Appeals for the Third, Fourth, Fifth, Sixth and
against the airline industry alleging that it failed to detect and     Tenth Circuits, U.S. District Court for the District of Columbia
prevent the attacks.                                                   and the Eastern District of Virginia
                                                                       EDUCATION:
Michael’s work with financial transaction litigation includes          J.D., University of Virginia School of Law, 1992
commercial, securities fraud and shareholder derivative cases          B.A., University of Virginia, 1989
such as his extensive work on behalf of domestic and foreign           With a diverse background in complex civil litigation, Nate
investors in In re Vivendi Universal, S.A. Securities Litigation.      Finch brings almost twenty years of trial experience and strong
Michael is also leading the firm in its role as consultants to         negotiation skills to Motley Rice. He represents clients in
South African human rights lawyer Richard Spoor in his effort to       various asbestos, toxic tort, commercial, securities fraud and
take on leading global gold producers and seek justice for tens        other complex cases.
of thousands of exploited gold mine workers who are suffering          Nate has served as the lead trial attorney for his clients in many
from silicosis. Few class actions have been brought in South           federal and state courts and is sought after by co-counsel for
Africa, and none have been filed for sick workers. If approved         advice on challenging cases and complex legal matters. His
as a class, the suit would generate an unprecedented means             thorough knowledge of asbestos and medical issues is an
of recovery for the country and ensure meaningful access to            asset to the firm’s occupational disease and toxic tort clients.
justice for the indigent and rural workers who are dying from          He has obtained plaintiffs’ verdicts in cases against asbestos
this entirely preventable yet incurable disease.                       product manufacturer defendants and cigarette makers. He has
Michael began his career with the Manville Personal Injury             extensive experience trying cases involving a wide variety of
Trust and then practiced complex civil litigation in New York in       asbestos-containing products, including gaskets, automotive
the areas of toxic torts, security, personal injury, bankruptcy,       brakes, floor tiles, joint compounds, and various forms of
and whistleblower protections prior to joining Motley Rice             insulation. He also has years of experience representing
attorneys in 2002.                                                     individuals, companies and creditors’ committees in personal
                                                                       injury litigation, mass torts products liability litigation, securities
Sharing his experience and insight as a lecturer and consultant,
                                                                       and financial fraud litigation and an array of other complex
Michael has discussed anti-terrorism and human rights litigation
                                                                       litigation cases ranging from single plaintiffs’ products liability
on several national and international news outlets, including
                                                                       cases to high-stakes business disputes.
CNN, MSNBC, NPR and the BBC, as well as international anti-
money laundering and anti-terrorism industry conferences.              Prior to joining Motley Rice, Nate was a partner for more
                                                                       than ten years in a Washington, D.C.-based law firm and
AWARDS AND ACCOLADES:                                                  frequently collaborated with Motley Rice attorneys in trials and
Public Justice Foundation                                              negotiations to resolve large asbestos product manufacturers’
2016 Trial Lawyers of the Year                                         bankruptcies. He tried numerous cases in federal district courts
                                                                       focusing on the medical and scientific factors associated with
Benchmark Litigation
                                                                       asbestos-related diseases and asbestos exposure. During this
2016 South Carolina “Litigation Star”: personal Injury, product
                                                                       time, he also tried and helped to resolve in favor of his clients
Liability, general commercial, professional liability
                                                                       five asbestos bankruptcy cases, each having more than $1
South Carolina Lawyers Weekly                                          billion at stake. In addition, Nate worked closely with Motley
2014 Leadership in Law Award                                           Rice attorneys on behalf of investors in In re MBNA Securities
The Lawdragon                                                          Litigation and In re Vivendi Universal, S.A. Securities Litigation.
2014–2015 Lawdragon 500 Leading Lawyers in America                     Nate’s understanding of the factual and legal challenges
2010 Lawdragon™ 3,000                                                  inherent in complex cases, combined with his trial experience,
                                                                       has positioned him as a considerable resource within many




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practice areas. A frequently invited speaker regarding a variety       counties, including San Francisco, Santa Clara, Los Angeles
of legal matters, he has spoken at many asbestos litigation and        and San Diego, in litigation against national lead paint pigment
bankruptcy conferences and has been a guest lecturer at the            manufacturers. In January 2014, the court ruled that three lead
Georgetown University, George Washington University, George            paint pigment companies had created a public nuisance by
Mason University and the University of Baltimore law schools           concealing the dangers of lead when they campaigned against
on topics relating to civil procedure, mass tort litigation and the    its regulation and actively promoted lead for use in homes
differences between litigating in Article III and Article I courts.    despite knowing that it was highly toxic. The $1.15 billion*
He has been an invited speaker at several judicial conferences         verdict will be paid to the state’s abatement fund for the removal
on the topic of asbestos litigation.                                   of lead paint pigment from homes throughout California,
Recognized as a Martindale Hubbell® AV® rated attorney, Nate           particularly those occupied by lower-income families in inner-
has served his community for many years through volunteer              city and community housing. This will help protect the health
activities coordinated by Greater D.C. Cares, an organization          and safety of thousands of children.
committed to connecting volunteers with community service              Fidelma held a central role in the state of Rhode Island’s trial
groups. Nate was a member of the Virginia Law Review and the           against former corporate manufacturers of lead paint pigment.
Order of the Coif, and is a former scholarship track and cross         She continues to manage cases seeking to hold the lead paint
country athlete at UVA.                                                pigment industry accountable for the childhood lead poisoning
                                                                       crisis and provide restitution and compensation to affected
AWARDS AND ACCOLADES:                                                  children and families. As a result of her work for lead poisoning
American Association for Justice                                       victims, the Wisconsin State Supreme Court became the first
2013 Wiedemann & Wysocki Award                                         to recognize the legal rights of poisoned children to sue lead
Benchmark Litigation                                                   paint pigment manufacturers.
2013–2016 Washington, D.C. “Litigation Star”: bankruptcy,              She also played a lead role in representing the community
general commercial, product liability, securities, white collar        of Tallevast, Florida, in a lawsuit against Lockheed Martin
crime                                                                  Corporation involving the pollution of the community’s
Washington, D.C., Super Lawyers® list                                  groundwater with PCE and TCE. Fidelma is litigating nuclear
2012–2015 Personal injury – products: plaintiff; Personal injury       contamination cases on behalf of Pennsylvania residents who
– general: plaintiff; Securities litigation                            allege that local nuclear facilities exposed them to hazardous
                                                                       levels of toxic or radioactive material in the surrounding air, soil
Chambers USA
                                                                       and water. Those cases, involving both personal injuries and
2009–2010 “Top Lawyer”: bankruptcy and restructuring
                                                                       property damage, are pending in federal court.
ASSOCIATIONS:                                                          Fidelma also represents hundreds of women allegedly harmed
American Association for Justice                                       by pelvic mesh/sling products in filed cases against defendants
The Barristers                                                         that include American Medical Systems, Boston Scientific, C.R.
                                                                       Bard, Inc., and Ethicon. In 2012, Fidelma was appointed co-
Fidelma L. Fitzpatrick                                                 lead counsel of the pelvic mesh MDL In re American Medical
                                                                       Systems, Inc., Pelvic Repair Systems Products Liability Litigation
LICENSED IN: DC, MA, NY, RI                                            pending in the Southern District of West Virginia. She also holds
ADMITTED TO PRACTICE BEFORE:                                           leadership roles in pelvic mesh state court litigations, including
U.S. Court of Appeals for the First, Seventh and Eleventh              serving as liaison counsel in the American Medical Systems
Circuits, U.S. District Court for the District of Columbia, District   cases consolidated in Delaware and the Boston Scientific cases
of Massachusetts, District of Rhode Island and Eastern District        consolidated in Massachusetts.
of Wisconsin
EDUCATION:                                                             Fidelma began working with Motley Rice attorneys in 1997 on
J.D., cum laude, American University, 1994                             the Massachusetts, New York and Rhode Island lawsuits against
B.A., Canisius College, 1991                                           the tobacco industry. She serves on the Board of Regents at
Fidelma Fitzpatrick represents people and communities in toxic         Canisius College and frequently speaks on environmental and
tort and environmental matters, including property damage              mass tort topics at conferences for federal and state court
and personal injury claims. Her experience with complex civil          judges, attorneys, academic professionals and law students.
litigation has led her to represent other victims of corporate
                                                                       PUBLISHED WORKS:
malfeasance, including hundreds of women allegedly injured
                                                                       “Painting Over Long-Standing Precedent: How the Rhode
by medical devices such as Essure® and pelvic mesh/sling
                                                                       island Supreme Court Misapplied Public Nuisance Law in State
products.
                                                                       v. Lead Industries Association” Roger Williams University Law
Fidelma was co-lead trial counsel in the billion dollar lead paint     Review (Summer 2010)
pigment case, The People of California v. Atlantic Richfield
                                                                       “Access to Justice: The Use of Contingent Fee Arrangements
Company et al., in which Motley Rice represented cities and
                                                                       by Public Officials to Vindicate Public Rights” Cardozo J.L. &
                                                                       Gender (Spring 2008)


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                                                                     litigated a wide range of cases involving tobacco, asbestos,
                                                                     lead pigment, aviation disasters and vehicle defects, as well as
                                                                     terrorist financing and human rights violations.
“Negligence in the Paint: The Case for Applying the                  In the vehicle defect multidistrict litigation, In re General Motors
Risk Contribution Doctrine to Lead Litigation” in Pace               LLC Ignition Switch Litigation, Jodi is working on cases related to
Environmental Law Review (Fall 2008)                                 economic loss due to faulty ignition switches installed in more
                                                                     than 14 million recalled GM vehicles. Previously, she worked
AWARDS AND ACCOLADES:                                                to demonstrate the necessary minimum contacts within the
National Law Journal
                                                                     U.S. for the exercise of personal jurisdiction over Bridgestone
2015 Outstanding Women Lawyers
                                                                     Corporation in the class action for damages allegedly caused
The Lawdragon                                                        by vehicle and tire defects, In re Bridgestone/Firestone, Inc.,
2014–2016 Lawdragon 500 Leading Lawyers in America                   ATX, ATX II and Wilderness Tire Products Liability Litigation,
The Legal 500 United States                                          Case No. 00-MDL-1373-SEB (S.D.Ind.).
2013, 2014 Mass tort and class action: plaintiff representation      Jodi also handles a variety of cases regarding the state-
– toxic tort                                                         sponsorship of international terrorism, as well as human rights
The National Trial Lawyers                                           litigation involving violations of international law and human
2010–2013 Top 100 Trial Lawyers™ – Rhode Island                      rights abuses. Jodi now leads the legal team founded by Ron
                                                                     Motley that brought the groundbreaking litigation against the
Rhode Island Super Lawyers® list                                     financiers and material supporters of al Qaeda. Representing
2008, 2010–2016 Environmental litigation; Personal injury –          thousands of family members and survivors of Sept. 11, 2001, in a
products: plaintiff; Class action/mass torts                         pioneering civil action to hold al Qaeda’s sponsors accountable
Best Lawyers®                                                        and cut off the terror support pipeline, she serves on the
2008–2017 Mass tort litigation/class actions – plaintiffs            Plaintiffs’ Executive Committee for the In re Terrorist Attacks on
                                                                     September 11, 2001 litigation consolidated by the Multidistrict
Rhode Island Lawyers Weekly                                          Litigation Panel. Jodi is currently involved in processing claims
2006 Rhode Island Lawyer of the Year                                 for the new Victims’ Compensation Fund for first responders,
Public Justice Foundation                                            area residents, and anyone whose health may have been
2014 Trial Lawyers of the Year                                       affected by exposure to environmental toxins released in the
2006 Finalist: Trial Lawyers of the Year award                       terrorist attacks. She was also an integral member of the Motley
                                                                     Rice aviation security litigation team seeking accountability
ASSOCIATIONS:                                                        and change in aviation security following the 9/11 attacks.
American Association for Justice
                                                                     Jodi also played a key role in Linde et al. v. Arab Bank PLC, in
American Bar Association
                                                                     which a jury found Jordan-based Arab Bank liable for financing
American Civil Liberties Union, Volunteer attorney
                                                                     terrorist activity, including funneling financial support to top
Public Justice Foundation, Rhode Island State Coordinator
                                                                     Hamas leaders and to the families of suicide bombers. This
Rhode Island Association for Justice
                                                                     case marked the first time that a financial institution has been
Rhode Island Women’s Bar Association
                                                                     brought to trial under the Anti-Terrorism Act.
* Please remember that every case is different. Although it
                                                                     She served as the lead negotiator in the last hold-out of the
endorses this lawyer, The Legal 500 United States is not a Motley
                                                                     individual cases against Libya for the Lockerbie bombing of
Rice client. Any result we achieve for one client in one matter
                                                                     Pan Am Flight 103, and continues to seek justice for victims of
does not necessarily indicate similar results can be obtained
                                                                     Libyan sponsored terrorism during Qadhafi’s reign. Jodi also
for other clients.
                                                                     authored an amicus brief, supporting section 1502 of the Dodd-
                                                                     Frank Act, regarding the trade regulation of conflict minerals in
Jodi Westbrook Flowers                                               the Democratic Republic of the Congo.
LICENSED IN: SC                                                      Jodi has worked on environmental contamination cases in the
ADMITTED TO PRACTICE BEFORE:                                         Virgin Islands involving leaking gas tanks, and she is currently
U.S. Supreme Court; U.S. Court of Appeals for the Second,            representing clients in advancing their Deepwater Horizon
Fourth, and District of Columbia Circuits; U.S. District Court for   oil spill claims through the programs established by the two
the District of South Carolina                                       settlements reached with BP. Jodi has served on numerous MDL
EDUCATION:                                                           Executive Committees and Subcommittees, and holds several
J.D., University of South Carolina School of Law, Carolina Legal     leadership positions within the firm.
Scholar, 1993
B.A. magna cum laude, College of Charleston, 1989                    Jodi began her career applying restitution and fraud theories
A veteran of the courtroom, Jodi Westbrook Flowers seeks to          to the litigation against the tobacco industry which resulted in
protect the health, safety and rights of consumers, families,        the historic Master Settlement Agreement between the state
investors, workers, and victims of crime and terrorism. Jodi has     attorneys general and the tobacco industry. She developed


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expert and whistleblower testimony and synthesized millions of      negotiations and settlements. Vin’s legal efforts led to his
pages of documents for trial. She prepared the false-marketing      critical role in defeating tort reform legislation in Rhode Island,
and child targeting case against the tobacco industry which         utilizing testimony, analysis and grassroots outreach to push
resulted in restrictions on cartoon ads and the retirement of       passage of a bill that helped prevent childhood lead poisoning
Joe Camel.                                                          without infringing on victims’ rights. For his numerous efforts
                                                                    and accomplishments, the Childhood Lead Action Project
Jodi has been interviewed by various media outlets, including
                                                                    honored him with its Beyond the Call of Duty Award in 2001.
U.S. and foreign television, radio and print media. She provides
pro bono work on a variety of global, national and community        Currently, Vin represents workers and families suffering from
issues and helped establish the firm’s Charitable Contributions     mesothelioma and other asbestos-related diseases as a result
Committee.                                                          of occupational, environmental or household exposure to
                                                                    asbestos. He has managed asbestos cases and negotiations
PUBLISHED WORKS:                                                    on behalf of hundreds of individuals, including arguing before
“Remarks on the GJIL Symposium on Corporate Responsibility          the Supreme Courts of Ohio and Rhode Island.
and the Alien Tort Statute,” Georgetown Journal of International
                                                                    Vin began working with Motley Rice attorneys in 1997 on the
Law, Volume 43–Issue 4, Summer 2012. (43 Geo. J. Int’l. L. 1601)
                                                                    landmark litigation against the tobacco industry and medical
AWARDS AND ACCOLADES:                                               malpractice cases. Named a Motley Rice member in 2008, Vin
Public Justice Foundation                                           is recognized as an AV® rated attorney by Martindale-Hubbell®.
2016 Trial Lawyers of the Year
                                                                    AWARDS AND ACCOLADES:
The Legal 500 United States, Litigation edition                     Best Lawyers®
2016 Mass tort and class action: plaintiff representation –         2017 Product liability litigation – plaintiffs
toxic tort
                                                                    Rhode Island Super Lawyers® lists
The Best Lawyers in America®                                        2014–2016 Personal injury – products: plaintiff; Class action/
2015–2017 Mass tort litigation/class actions – plaintiff            mass torts; Environmental litigation
Benchmark Plaintiff                                                 Benchmark Plaintiff
2014 Top 150 Plaintiff Women in Litigation: South Carolina          2012–2014 Rhode Island “Litigation Star”: environmental,
2012–2013 National “Litigation Star”: civil rights/human rights     medical malpractice, toxic tort
and mass tort/product liability
                                                                    The Legal 500 United States, Litigation edition
2012–2014 South Carolina “Litigation Star”: environmental,
                                                                    2010 Mass tort and class action: plaintiff representation –
human rights, mass tort and securities
                                                                    toxic tort
The Lawdragon™
2010–2016 500 Leading Lawyers in America: Plaintiffs’ litigation    ASSOCIATIONS:
                                                                    American Association for Justice
ASSOCIATIONS:                                                       American Civil Liberties Union
American Association for Justice                                    Rhode Island Association for Justice, Past President
South Carolina Association for Justice
                                                                    *Although it endorses this lawyer, The Legal 500 United States
American Bar Association, Center for Human Rights Advisory
                                                                    is not a Motley Rice client.
Council
South Carolina Bar Association, International Law Committee
Charleston Bar Association                                          John E. Herrick
Daughters of the American Revolution
                                                                    LICENSED IN: MD, SC
The Fellows of the American Bar Foundation
                                                                    ADMITTED TO PRACTICE BEFORE:
*Although it endorses this lawyer, The Legal 500 United States is   U.S. District Court for the Central District of Illinois, District
not a Motley Rice client.                                           of Maryland, District of South Carolina, Eastern and Western
                                                                    Districts of Wisconsin
Vincent L. Greene IV                                                EDUCATION:
                                                                    J.D., University of South Carolina School of Law, 1988
LICENSED IN: RI
                                                                    B.A., University of South Carolina, 1983
ADMITTED TO PRACTICE BEFORE:
                                                                    John Herrick has spent more than 20 years representing
U.S. District Court for the District of Rhode Island
                                                                    victims of asbestos exposure suffering from mesothelioma
EDUCATION:
                                                                    and other asbestos-related diseases. As a leader of the firm’s
J.D., George Washington University, 1998
                                                                    occupational disease practice, John continues to fight for the
B.A., College of the Holy Cross, 1995
                                                                    rights of those harmed by asbestos and other occupational
Vin Greene works on behalf of victims of lead poisoning and
                                                                    diseases and assists in managing the firm’s asbestos litigation
asbestos-related diseases. He represents children and families
                                                                    teams. A senior trial lawyer with years of courtroom experience,
poisoned by exposure to lead paint and pigments in trials,
                                                                    John represents individuals and families against defendants

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which manufactured and sold defective and unreasonably              involving catastrophic burns, brain injury, loss of limb and
dangerous asbestos-containing products and equipment, as            paralysis, as well as wrongful death cases resulting from
well as premise owners and contractors who specified and            negligence, industrial accidents and defective products.
installed those products.
                                                                    David represents victims suffering from mesothelioma and
John has litigated asbestos cases resulting from occupational,      other asbestos-related diseases as well as Canadian provincial
environmental and household exposure, receiving verdicts in         workers’ compensation boards bringing U.S. civil actions.
hundreds of matters. Most recently, John was lead trial counsel     He also represents people and businesses in Gulf Coast
in a welding fume verdict for the plaintiff on behalf of a welder   communities that suffered economic loss, property damage
who developed manganism from exposure to welding fumes.             and physical injuries due to the Deepwater Horizon oil spill.
He won the first affirmed jury verdict in the United States for
                                                                    Following the conviction of a South Carolina child predator,
a domestic, asbestos- exposed mesothelioma victim in the
                                                                    David litigated the claims of victims against the predator’s
Marie Granski case and achieved the first verdict in the United
                                                                    former employer, Pinewood Preparatory School, negotiating
States against SCAPA US, the former manufacturer of asbestos-
                                                                    a resolution that includes the implementation of a new Child
containing dryer felts. John also worked as lead trial counsel
                                                                    Protection Policy that includes the enforcement of stricter
in the Harlow trial group, cited as a top 100 case of the year by
                                                                    procedures and a decade of outside monitoring. David also
The National Law Journal, and litigated a personal injury case
                                                                    litigated the claims of a rape victim against the owner of a self
against a tobacco company for a plaintiff harmed by the use of
                                                                    storage facility and negotiated a resolution that included the
asbestos in cigarette filters.
                                                                    business changing its security practices.
John is recognized as an AV® rated attorney by Martindale-
                                                                    An AV® rated attorney in Martindale-Hubbell®, David has handled
Hubbell® and frequently serves as a guest speaker at asbestos
                                                                    all aspects of litigation, from initial client meetings to jury trials
litigation-related seminars.
                                                                    and appellate oral arguments. David has presented at seminars
AWARDS AND ACCOLADES:                                               on a diverse range of topics, such as NFL concussion litigation,
The Best Lawyers in America®                                        the economic loss rule in environmental cases, ethical issues
2015–2017 Product liability litigation – plaintiffs                 involving social media and asbestos disease awareness. He is
                                                                    the author of “Seal of Disapproval: International Implications of
The Legal 500 United States                                         South Carolina’s Notary Statute,” 3 S.C.J.Int’l. L. & Bus. 1 (2006).
2007, 2009, 2010, 2011, 2012, 2015 Mass tort and class action:
plaintiff representation – toxic tort                               David is active in the community, providing pro bono
                                                                    legal services to the Magdalene House of Charleston and
ASSOCIATIONS:                                                       volunteering with the Lowcountry AIDS Legal Clinic. He is a
American Association for Justice                                    member of the Ecclesiastical Court of The Episcopal Church in
American Bar Association                                            South Carolina, and has also been appointed to The Episcopal
American Board of Trial Advocates                                   Church Province IV Court of Review. In 2007, David helped
South Carolina Association for Justice                              lead the efforts of young alumni to establish the Elizabeth B.
                                                                    and Larry T. McGehee Endowed Scholarship Fund at Wofford
*Although it endorses this lawyer, The Legal 500 United States is
                                                                    College in honor of a former professor and his wife. The annual
not a Motley Rice client.
                                                                    earnings are awarded for the purchase of textbooks and other
                                                                    course-related materials.
T. David Hoyle
LICENSED IN: FL, GA, SC                                             AWARDS AND ACCOLADES:
ADMITTED TO PRACTICE BEFORE:                                        South Carolina Super Lawyers® Rising Stars list
Georgia Supreme Court; U.S. Court of Appeals for the Fourth         2012–2016 Personal injury plaintiff: general; Civil rights;
and Eleventh Circuits; Georgia Court of Appeals; U.S. District      Environmental litigation
Court for the Middle, Northern and Southern Districts of            The National Trial Lawyers
Florida, Middle and Northern Districts of Georgia, District of      2012 Top 100 Trial Lawyers™– South Carolina
South Carolina, and the Western District of Wisconsin
EDUCATION:                                                          ASSOCIATIONS:
J.D., cum laude, University of South Carolina School of Law,        American Association for Justice
2005                                                                American Bar Association
B.A., Wofford College, 2002                                         South Carolina Association for Justice
David Hoyle works to change corporate conduct through
the civil justice system, representing victims of corporate
wrongdoing and negligence in litigation ranging from
catastrophic incidents to asbestos exposure and environmental
contamination. He focuses on complex personal injury cases




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James M. Hughes, Ph.D.                                               and life-altering injuries, workplace injuries, severe burns, brain
                                                                     damage, loss of limb and paralysis, as well as wrongful death
LICENSED IN: SC
                                                                     resulting from negligence and defective products.
ADMITTED TO PRACTICE BEFORE:
U.S. Supreme Court, U.S. Court of Appeals for the First, Fourth,     Anne works closely with victims and their families, often
and Eighth Circuits, U.S. District Court for the District of South   meeting with them in their homes for consultations. She
Carolina                                                             strives to provide each client with personalized attention and
EDUCATION:                                                           individual justice, whether the case is part of a class action or
J.D., University of South Carolina School of Law, 1993               stands alone. Anne believes in building relationships with co-
Ph.D., University of Illinois, Chicago, 1983                         counsel and often collaborates with other attorneys, including
M.A., University of Illinois, Chicago, 1976                          estate and probate counsel, in order to approach each case
B.A., University of Minnesota, 1975                                  from a team perspective.
Jim Hughes develops strategic legal arguments, drafts and            Anne represents workers diagnosed with the devastating
argues motions, and litigates cases involving securities fraud.      disease mesothelioma caused by asbestos exposure in the
Jim has also represented industrial workers exposed to silica        chemical, electric power generation, steel or construction
and asbestos in the workplace, arguing before appellate courts       industries. She also represents victims of household exposure—
in Illinois and Minnesota on behalf of occupational disease          children and spouses who developed mesothelioma or other
victims. He has shared his experience with silica litigation         asbestos-related diseases after being exposed to asbestos
and product identification at several national conferences,          fibers that a family member unwittingly brought home from work
addressing the plaintiff’s perspective and other pertinent           on clothes or belongings. Anne has tried several noteworthy
issues.                                                              asbestos cases, including Cox vs. A&I Company, West Virginia’s
                                                                     first household asbestos exposure case, and the 2002 West
A published author on several legal and academic themes, Jim’s
                                                                     Virginia Consolidated Asbestos Trial against Union Carbide
law review article, “Informing South Carolina Capital Juries
                                                                     in which unsafe working conditions were found at its plants
About Parole” (44 S.C. Law Review 383, 1993) was cited in 2000 by
                                                                     throughout the state. In addition to maintaining an active trial
U.S. Supreme Court Justice John Paul Stevens in his dissenting
                                                                     schedule, Anne represents Canadian Workers’ Compensation
opinion in Ramdass v. Angelone. His reported opinions include
                                                                     Boards in U.S. courts to recoup benefits they paid Canadian
Ison v. E.I. DuPont de Nemours & Co. (Del. 1999), In re Minnesota
                                                                     asbestos victims.
Asbestos Litigation (Minn., 1996), W.R. Grace & Co. v. CSR Ltd.,
(Ill. App. Ct. 1996) and In re Tutu Wells Contamination Litigation   While in law school, Anne supported the team representing
(D.V.I. 1995).                                                       the State Attorneys General in the historic lawsuit against Big
                                                                     Tobacco, which resulted in the largest civil settlement in U.S.
A former professor of philosophy, Jim began his legal career
                                                                     history. After graduation, she was a member of the trial team
with the plaintiffs’ bar after clerkships with the South Carolina
                                                                     that litigated Falise v. American Tobacco Company.
Office of Appellate Defense and a business, employment and
intellectual property defense firm. He is recognized as an AV®       Well-versed in navigating complex litigation, Anne holds
rated attorney by Martindale-Hubbell®.                               several leadership positions within the firm, managing legal
                                                                     teams associated with occupational disease, toxic exposure
ASSOCIATIONS:                                                        and severe personal injury. Anne has written several articles of
American Association for Justice                                     interest to the plaintiffs’ bar and frequently speaks on asbestos
South Carolina Association for Justice                               litigation, general product liability, legal ethics and tort reform
                                                                     at seminars across the country. She has been published
Anne McGinness Kearse                                                on major legal issues, including forum non conveniens and
                                                                     defective products abroad, corporate misconduct, medicolegal
LICENSED IN: DC, SC, WV
                                                                     aspects of asbestos litigation and mass tort litigation. Anne co-
ADMITTED TO PRACTICE BEFORE:
                                                                     authored the 12th chapter of the book, “Pathology of Asbestos-
U.S. District Court for the Eastern District of New York, Eastern
                                                                     Associated Diseases” (Medicolegal Aspects of Asbestos-
and Western Districts of Pennsylvania and District of South
                                                                     Related Diseases: A Plaintiff’s Attorney’s Perspective, 3rd ed.,
Carolina
                                                                     2014). Edited by Victor L. Roggli, MD; Tim D. Oury, MD, PhD;
EDUCATION:
                                                                     and Thomas A. Sporn, MD, this publication is a comprehensive
J.D. cum laude, University of South Carolina School of Law,
                                                                     asbestos reference book used by both physicians and attorneys.
1998
B.S., Syracuse University, 1983                                      Anne currently serves as the President Elect of the Public Justice
With a passion for justice, Anne McGinness Kearse has spent          Foundation, a charitable organization focused on protecting
more than a decade seeking to hold accountable numerous              people and the environment and increasing access to justice.
corporations that put profits before safety. Through litigation,     In 2011, Anne served on the Executive Board for a local chapter
Anne seeks the implementation of better safety practices and         of Safe Kids USA, advocating for childhood injury prevention.
corporate governance measures for those corporations, as well        Anne was a University of South Carolina School of Law bronze
as just compensation for victims of toxic exposure, extreme          Compleat Award recipient in 1998 and is recognized as a BV®
                                                                     rated attorney by Martindale-Hubbell®.

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AWARDS AND ACCOLADES:                                               Communications, Inc., Shareholder Litigation; In re Celera
Benchmark Plaintiff                                                 Corporation Shareholder Litigation; In re RehabCare Group,
2013 National “Litigation Star”: mass tort/product liability –      Inc. Shareholders Litigation and In re Coventry Healthcare, Inc.,
plaintiffs                                                          Shareholder Litigation.
2012–2014 South Carolina “Litigation Star”: mass tort/product
                                                                    In addition to securities fraud litigation, Marlon has also
liability – plaintiffs
                                                                    represented victims of catastrophic personal injury, asbestos
2014 Top 150 Women in Litigation list: South Carolina: mass
                                                                    exposure, and aviation disasters. He has litigated commercial
tort/product liability – plaintiffs
                                                                    and charter aviation cases with clients, defendants and
The Best Lawyers in America®                                        accidents involving multiple countries. He has also represented
2016 Charleston, S.C. “Lawyer of the Year”: Mass tort               people and businesses that need help filing their claims under
litigation/class actions – plaintiffs                               the new claims programs established by the two Deepwater
2011–2017 Mass tort litigation/class actions – plaintiffs           Horizon BP oil spill settlements.
The National Trial Lawyers                                          Marlon currently serves as South Carolina State Senator of
2010 Top 100 Trial Lawyers™: South Carolina                         District 42, representing citizens of Charleston and Dorchester
The Legal 500 United States                                         Counties. A frequent speaker, Marlon has presented at seminars
2007, 2009, 2010, 2011, 2012, 2016 Mass tort and class action:      and conferences across the country, including the Public Funds
plaintiff representation – toxic tort                               Summit, the National Association of State Treasurers, the South
                                                                    Carolina Black Lawyers’ Association, the National Conference
South Carolina Super Lawyers® list                                  on Public Employee Retirement Systems (NCPERS) and the
2013–2016 Class action/mass torts; Personal injury – products:      National Association of Securities Professionals (NASP).
plaintiff; Personal injury – general: plaintiff
                                                                    After five years in commercial banking, Marlon entered the field
ASSOCIATIONS:                                                       of law and served as a law clerk to Judge Matthew J. Perry of
Public Justice Foundation, President – Board of Directors           the U.S. District Court of South Carolina. His legal work and
American Association for Justice, Chair – Committee on              volunteer service also earned him the University of South
Asbestos Education                                                  Carolina School of Law bronze Compleat Award. Martindale-
American Bar Association                                            Hubbell® recognizes Marlon as a BV® rated attorney.
South Carolina Association for Justice, Board of Governors;         Marlon is active in his community and formerly served on the
Chair – Women’s Caucus                                              Board of Directors for the Peggy Browning Fund. He has also
Litigation Counsel of America Trial Lawyer Honorary Society         held leadership roles with the University of South Carolina
Order of the Coif                                                   Board of Visitors, the Charleston Black Lawyers Association
Order of the Wig and Robe                                           and the South Carolina Election Commission. He is a lifetime
John Belton O’Neal Inn of Court                                     member of the NAACP and a member of Sigma Pi Phi Boulé and
American Inns of Court, James L. Petigru Chapter                    Omega Psi Phi fraternity.
*Although it endorses this lawyer, The Legal 500 United States is
not a Motley Rice client.                                           AWARDS AND ACCOLADES:
                                                                    The Best Lawyers in America®
                                                                    2015–2017 Mass tort litigation/class actions – plaintiffs
Marlon E. Kimpson
                                                                    Benchmark Plaintiff
LICENSED IN: SC                                                     2012 National “Litigation Star”: mass tort/product liability
ADMITTED TO PRACTICE BEFORE:                                        2012–2014 South Carolina “Litigation Star”: environmental,
U.S. District Court for the District of South Carolina, Eastern     mass tort, securities
District of Michigan
EDUCATION:                                                          ASSOCIATIONS:
J.D., University of South Carolina School of Law, 1999              American Association for Justice
B.A., Morehouse College, 1991                                       South Carolina Association for Justice
Marlon Kimpson represents victims of corporate malfeasance,         National Association of Public Pension Attorneys
from investors in securities fraud cases to people injured          American Bar Association
or killed in catastrophic incidents. Building upon the firm’s       National Bar Association
relationships with unions and governmental entities, Marlon
represents individuals, state and municipality pension funds,
multi-employer plans, unions and other institutional investors in
securities fraud class actions and mergers and acquisition cases
to help recover assets and improve corporate governance.
Marlon has worked on shareholder derivative litigation and
on mergers and acquisitions cases that include: In re Atheros



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James W. Ledlie                                                       The National Trial Lawyers
                                                                      2016 Top 100 Trial Lawyers™– South Carolina
LICENSED IN: DC, SC, WV
ADMITTED TO PRACTICE BEFORE:                                          2012–2013 South Carolina Super Lawyers® Rising Stars list
U.S. Court of Appeals for the Fourth and Eleventh Circuits, U.S.
District Court for the District of South Carolina                     ASSOCIATIONS:
EDUCATION:                                                            American Association for Justice, former New Lawyers Division
J.D., University of South Carolina School of Law, 2000                Board of Governors member
B.A., Wofford College, 1996                                           South Carolina Association for Justice, former Board of
Recognized for his litigation skills and client advocacy, James       Governors member
Ledlie focuses his practice on occupational disease, worker           South Carolina Bar Association, Past Chairman – Torts and
safety, products liability, consumer fraud and complex litigation     Insurance Practice Section
matters. He has represented clients in jury trials and hearings       Charleston Bar Association
across the country and takes pride in his work advocating for         Public Justice Foundation
compensation for people who have suffered serious injury
or wrongful death as the result of corporate misconduct,              Gregg S. Levin
negligence and defective product design.
                                                                      LICENSED IN: DC, MA, SC
James fights for clients suffering from mesothelioma and              ADMITTED TO PRACTICE BEFORE:
other asbestos-related diseases caused by occupational or             U.S. Court of Appeals for the First, Second, Third, Fifth, Ninth
household asbestos exposure. He also played a key role in             and Eleventh Circuits
the firm’s efforts to hold the tobacco industry responsible           U.S. District Court for the District of Colorado
for intentionally creating addictive products that can later          EDUCATION:
cause lung cancer, COPD, and other fatal diseases. James              J.D., Vanderbilt University School of Law, 1987
has obtained sizable plaintiff verdicts and settlements in both       B.A., University of Rochester, 1984
state and federal courts on behalf of smokers killed or severely      With more than two decades of legal experience, Gregg Levin
injured by the actions of the cigarette industry.*                    represents domestic and foreign institutional investors and union
In addition, he has represented whistleblowers in qui tam             pension funds in corporate governance, directorial misconduct
actions alleging fraud against the federal government. James          and securities fraud matters. His investigative, research and
is currently representing businesses, citizens and municipal          writing skills have supported Motley Rice as lead or co-lead
entities that suffered loss as a result of the Deepwater Horizon      counsel in numerous securities and shareholder derivative
oil spill in the Gulf of Mexico. He has spent many years              cases against Dell, Inc., UBS AG and Cintas Corporation. Gregg
representing numerous provincial workers’ compensation                manages complaint and brief writing for class action deal cases,
boards and private Canadian citizens in U.S. civil actions            shareholder derivative suits and securities fraud class actions.
brought against U.S. manufacturers of dangerous products sold         Prior to joining Motley Rice, Gregg was an associate with Grant
in Canada. He is also a vocal advocate for safe products and for      & Eisenhofer in Delaware, where he represented institutional
holding corporations accountable for negligent or intentional         investors in securities fraud actions and shareholder derivative
misconduct.                                                           actions in federal and state courts across the country, including
Prior to joining Motley Rice, James served as a Law Clerk to          the WorldCom, Telxon and Global Crossing cases. He also
the Honorable John C. Few, then a South Carolina Circuit Court        served as corporate counsel to a Delaware Valley-based retail
Judge. He later served as Law Clerk to the Honorable G. Ross          corporation from 1996-2003, where he handled corporate
Anderson, Jr., of the U.S. District Court for the District of South   compliance matters and internal investigations.
Carolina. James is proud of his service in the U.S. Army Judge        Appearing in the media to discuss a variety of securities matters,
Advocate General Corps (JAG) Reserve and has represented              Gregg has also presented in educational forums, including at the
injured veterans in wrongful death and serious personal injury        Ethics and Transparency in Corporate America Webinar held by
cases.                                                                the National Association of State Treasurers.
James has spoken at numerous legal conferences, medical
conferences and continuing education seminars on asbestos             PUBLISHED WORKS:
litigation, trial advocacy, jury selection and professionalism. He    Gregg is a published author on corporate governance and
is recognized as an AV® rated attorney by Martindale-Hubbell®.        accountability issues, having written significant portions of the
                                                                      treatise Shareholder Activism Handbook (Aspen Publishers,
AWARDS AND ACCOLADES:                                                 November 2005), as well as several other articles of interest to
American Association for Justice                                      institutional investors, including:
2010 F. Scott Baldwin Award: in honor of his significant              • “In re Cox Communications: A Suggested Step in the Wrong
contribution to the New Lawyers Division and the attainment             Direction” (Bank and Corporate Governance Law Reporter,
of outstanding trial verdicts                                           September 2005)




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• “Does Corporate Governance Matter to Investment Returns?”          tobacco litigation team representing multiple state attorneys
  (Corporate Accountability Report, September 23, 2005)              general, which resulted in the historic Master Settlement
• “In re Walt Disney Co. Deriv. Litig. and the Duty of Good          Agreement between the states and the tobacco industry.
  Faith under Delaware Corporate Law” (Bank and Corporate            Highly active in the Rhode Island community, Bob serves
  Governance Law Reporter, September 2006)
                                                                     as board vice chairman of The Institute for the Study and
• “Proxy Access Takes Center Stage: The Second Circuit’s             Practice of Nonviolence, an organization that seeks to promote
  Decision in American Federation of State County and                nonviolence among young people in Rhode Island’s inner cities.
  Municipal Employees, Employees Pension Plan v. American
                                                                     He is also a board member for the George Wiley Center, which
  International Group, Inc.” (Bloomberg Law Reports, February
  5, 2007)                                                           advocates for the rights of low income Rhode Island citizens,
                                                                     and the Fund for Community Progress, an organization that
• “Investor Litigation in the U.S. -- The System is Working”
  (Securities Reform Act Litigation Reporter, February 2007)         supports 26 grassroots organizations working for long-term
                                                                     community change.

Robert J. McConnell                                                  Bob frequently speaks about lead paint litigation to local and
                                                                     regional groups such as the Rhode Island Bar Association
LICENSED IN: MA, RI                                                  and the Northeast Conference of Attorneys General. He is
ADMITTED TO PRACTICE BEFORE:                                         recognized as an AV® rated attorney by Martindale-Hubbell®.
U.S. District Court for the District of Massachusetts, District of
Rhode Island                                                         AWARDS AND ACCOLADES:
EDUCATION:                                                           Best Lawyers®
J.D., Suffolk University School of Law, 1987                         2009–2017 Mass tort litigation/class actions – plaintiffs
A.B., Brown University, 1979
                                                                     Rhode Island Super Lawyers® lists
Bob McConnell’s practice concentrates on lead pigment
                                                                     2008–2016 Plaintiff: Class action/mass torts; Environmental
litigation, childhood lead poisoning cases, groundwater and soil
                                                                     litigation; Personal injury: general
contamination cases and other toxic environmental litigation.
He represents victims seeking corporate accountability as a          Benchmark Plaintiff
result of personal injury, property damage and economic loss         2012–2014 Rhode Island “Litigation Star”: environmental and
as a result of negligent environmental practices.                    toxic tort
Bob was a member of the trial team in the landmark trial             The Legal 500 United States
on behalf of the state of Rhode Island against corporate             2015 Mass tort and class action: plaintiff representation –
defendants from the lead paint industry. He secured the largest      toxic tort
lead paint poisoning settlement in Rhode Island on behalf of
a child and continues to represent children injured by lead          ASSOCIATIONS:
poisoning against property owners, governmental agencies             American Association for Justice
and lead pigment companies. He also played a leading role            American Bar Association
in a statewide lobbying effort to defeat legislation that would      *Although it endorses this lawyer, The Legal 500 United States is
have denied lead-poisoned children and their families the right      not a Motley Rice client.
to seek justice. Through testimony, analysis and grassroots
outreach, he helped the Rhode Island legislature pass a bill         Donald A. Migliori
helping to prevent childhood lead poisoning without infringing
on victims’ rights.                                                  LICENSED IN: MA, MN, NY, RI, SC
                                                                     ADMITTED TO PRACTICE BEFORE:
In 2005, he successfully argued the precedent-setting case           U.S. Court of Appeals for the First and Fourth Circuits, U.S.
Thomas v. Mallett 285 Wis 2d 236 as part of the Motley Rice          District Court for the District of Rhode Island, District of
trial team applying risk contribution theory to the lead paint       Massachusetts and Northern, Southern and Eastern Districts
industry before the Wisconsin Supreme Court. More recently,          of New York
Bob represented more than 100 residents of Tiverton, R.I., in        EDUCATION:
an environmental contamination lawsuit against a major New           M.A./J.D., Syracuse University, 1993
England utility company.                                             A.B., Brown University, 1988
With more than two decades of experience in asbestos                 Building upon his experience in complex asbestos cases, the
litigation, Bob also represents victims of asbestos exposure         historic tobacco lawsuits and 9/11 litigation, Don Migliori is a
suffering from mesothelioma and other asbestos-related               multifaceted litigator who can navigate both the courtroom
diseases. He has managed large consolidation trials in several       and the negotiating table. He represents victims of defective
states including Maryland, Mississippi and West Virginia.            medical devices and drugs, occupational diseases, terrorism,
                                                                     aviation disasters, antitrust, and securities and consumer fraud
After beginning his career as a teacher, Bob earned a law degree
                                                                     in mass torts and other cutting-edge litigation that spans the
and clerked for the Honorable Donald F. Shea of the Rhode
                                                                     country.
Island Supreme Court. He joined Motley Rice attorneys on the


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Don serves in leadership roles for a number of multi-district          “Distinguished Practitioner in Residence” at Roger Williams
litigations, including playing a key role in negotiations on behalf    University School of Law for the 2010-2011 academic year, Don
of tens of thousands of women allegedly harmed by pelvic               taught mass torts as an adjunct professor for more than 10
mesh/sling products and serving as co-liaison counsel in the           years. Don is an AV® rated attorney by Martindale-Hubbell®.
N.J. Bard pelvic mesh litigation in Atlantic County. .Hundreds
of cases have been filed in federal and states courts against          AWARDS AND ACCOLADES:
multiple defendants.                                                   Best Lawyers®
                                                                       2011–2017 Mass tort litigation/class actions – plaintiffs
He is also a member of the Plaintiffs’ Steering Committee for
In re Bard IVC Filters Products Liability Litigation, as well as the   Rhode Island Super Lawyers® lists
Depuy® Orthopaedics, Inc. ASR™ and Pinnacle® Hip Implant               2012–2013 Top 10 “Best of the Best”
MDLs. Don has litigated against C.R. Bard previously in the            2009–2016 Class action/mass torts; Personal Injury – products:
pelvic mesh litigation as well as in the Composix® Kugel® Mesh         plaintiff; Aviation and aerospace
multidistrict litigation, In re Kugel Mesh Hernia Patch Products       The National Trial Lawyers
Liability Litigation, the first MDL before the federal court of        2010–present Top 100 Trial Lawyers™: Rhode Island
Rhode Island. Don also serves as co-lead plaintiffs’ counsel and
liaison counsel in the federal MDL, and as liaison counsel for         Rhode Island Lawyers Weekly
the Composix® Kugel® Mesh lawsuits consolidated in Rhode               2011 Lawyers of the Year
Island state court on behalf of thousands of individuals alleging      Massachusetts Lawyers Weekly
injury by the hernia repair patch.                                     2011 Lawyers of the Year
Don played a central role in the extensive discovery, mediations       Benchmark Plaintiff
and settlements of more than 50 cases of 9/11 aviation liability       2012–2014 Rhode Island “Litigation Star”: human rights and
and damages against numerous defendants. He represented                product liability
families of the victims of the September 11, 2001, attacks who
                                                                       2010 Lawdragon™ 3,000
opted out of the Victim Compensation Fund to seek greater
answers, accountability and recourse, and served as liaison            Providence Business News
counsel for all wrongful death and personal injury cases in the        2005 Forty Under 40
9/11 aviation security litigation. Additionally, he manages anti-
terrorism litigation associated with the 9/11 terrorist attacks as a   ASSOCIATIONS:
lead attorney of the 9/11 Families United to Bankrupt Terrorism,       American Association for Justice, Board of Governors; former
a groundbreaking case designed to bankrupt the financiers of           Executive Committee member
al Qaeda.                                                              American Bar Association
                                                                       Rhode Island Association for Justice, former President
Don contributed his experience in connection with the                  The Fellows of the American Bar Foundation
commencement of and strategy for shareholder derivative
litigation brought on behalf Chiquita Brands International,
Inc., alleging the defendants breached their fiduciary duties          William H. Narwold
by paying bribes to terrorist organizations in violation of U.S.       LICENSED IN: CT, DC, NY, SC
and Columbian law. He also served as trial counsel for PACE            ADMITTED TO PRACTICE BEFORE:
Industry Union-Management Pension Fund in a securities case            U.S. Supreme Court, U.S. Court of Appeals for the First,
against Forest Laboratories, Inc., and was involved in the initial     Second, Third, Fourth, Fifth, Sixth, Eighth, Ninth, Tenth,
liability discovery and trial strategy in an ongoing securities        Eleventh, D.C., and Federal Circuits, U.S. District Court for
fraud class action involving Household International, Inc.             the District of Colorado, District of Connecticut, Eastern and
Don began working with Motley Rice attorneys in 1997 on behalf         Southern Districts of New York, District of South Carolina
of the State Attorneys General in the historic lawsuit against         EDUCATION:
Big Tobacco, resulting in the largest civil settlement in U.S.         J.D. cum laude, University of Connecticut School of Law, 1979
history. He tried several noteworthy asbestos cases on behalf          B.A., Colby College, 1974
of mesothelioma victims, including the state of Indiana’s first        Bill Narwold has advocated for corporate accountability
contractor liability verdict and first premises liability verdict      and fiduciary responsibility for nearly 35 years, representing
for wrongful exposure to asbestos. He continues to manage              consumers, governmental entities, unions and institutional
asbestos cases and actively litigates mesothelioma lawsuits            investors. He litigates complex securities fraud, shareholder
and individual tobacco cases in the courtroom.                         rights and consumer fraud lawsuits, as well as matters involving
                                                                       unfair trade practices, antitrust violations, whistleblower/qui
Don is a frequent speaker at legal seminars across the
                                                                       tam claims and intellectual property matters.
country and has appeared on numerous television and radio
programs, as well as in print media to address legal issues
related to terrorist financing, aviation security, class action
litigation, premises liability and defective medical devices. A



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Bill leads Motley Rice’s securities and consumer fraud litigation   Lance Oliver
teams and manages the firm’s appellate group. His experience        LICENSED IN: AL, DC, FL, SC
includes being involved in more than 200 appeals before the         ADMITTED TO PRACTICE BEFORE:
U.S. Supreme Court, U.S. Courts of Appeal and multiple state        U.S. Court of Appeals for the District of Columbia, Second,
courts.                                                             Fifth and the Eleventh Circuits; U.S. District Court for the
Prior to joining Motley Rice in 2004, Bill directed corporate,      District of Columbia, and the Middle and Southern Districts of
financial, real estate, trust and estate litigation on behalf of    Florida
private and commercial clients for 25 years at Cummings &           EDUCATION:
Lockwood in Hartford, Connecticut, including 10 years as            J.D., Duke University School of Law, 2004
managing partner. Prior to his work in private practice, he         B.A., Samford University, 2001
served as a law clerk for the Honorable Warren W. Eginton of        Lance Oliver focuses his practice on class actions, mass
the U.S. District Court, District of Connecticut from 1979-1981.    torts and other complex litigation. He represents institutional
                                                                    investors in securities fraud class actions and merger and
Bill often acts as an arbitrator and mediator both privately and
                                                                    acquisition litigation, and has experience in trial and appellate
through the American Arbitration Association. He is a frequent
                                                                    courts, as well as arbitration and mediation. His recent
speaker on legal matters, including class actions. Named one
                                                                    experience includes:
of 11 lawyers “who made a difference” by The Connecticut
Law Tribune, Bill is recognized as an AV® rated attorney by         • Serving as trial counsel representing individual smokers and
Martindale-Hubbell®.                                                  families of deceased smokers against tobacco manufacturers
                                                                      in the Engle-progeny litigation pending in Florida
Bill has served the Hartford community with past involvements
                                                                    • Litigating and resolving shareholders’ breach of fiduciary
including the Greater Hartford Legal Assistance Foundation            duty claims in In re Coventry Health Care, Inc. Shareholder
and Lawyers for Children America. For more than twenty years,         Litigation
Bill served as a Director and Chairman of Protein Sciences
                                                                    • Serving as co-class counsel in Alaska Electrical Pension Fund,
Corporation, a biopharmaceutical company in Meriden,                  et al. v. Pharmacia Corp., et al., a securities fraud class action
Connecticut.                                                          that settled for $164 million dollars*
AWARDS AND ACCOLADES:                                               • Litigating and resolving shareholders’ breach of fiduciary duty
                                                                      claims in In re Rehabcare Group, Inc. Shareholder Litigation,
The Best Lawyers in America®
                                                                      which resulted in creating a $2.5 million settlement fund for
2017 Hartford, Conn. “Lawyer of the Year”: Banking and                Rehabcare shareholders*
Finance
2013 Hartford, Conn. “Lawyer of the Year”: litigation – banking     Lance has devoted a substantial amount of time to litigating
& finance                                                           securities fraud class actions and played a key role in
2005–2016 Banking and finance, mergers and acquisitions,            documenting and administering the following class action
securities                                                          settlements: In re Select Medical Corp. Sec. Litig. (settled for
                                                                    $5 million*); In re NPS Pharm., Inc. Sec. Litig. (settled for $15
Connecticut Super Lawyers® and New England Super                    million*); In re MBNA Sec. Litig. (settled for $25 million*); In re
Lawyers® lists                                                      Dell Sec. Litig. (settled for $40 million*).
2009–2015 Securities litigation; Class action/mass torts
                                                                    Prior to joining Motley Rice in 2007, Lance served as an
2008 The Best of the U.S. list                                      associate in the Washington, D.C., office of a national law firm,
Connecticut Bar Foundation                                          where he worked on complex products liability litigation at
2008 Legal Services Leadership Award                                both the trial and appellate levels. Lance also has experience in
                                                                    SEC whistleblower actions.
ASSOCIATIONS:                                                       Lance is an active member of the National Conference on Public
American Bar Association                                            Employee Retirement Systems (NCPERS) and the International
National Association of Consumer Advocates                          Foundation of Employee Benefit Plans (IFEBP). After graduating
Connecticut Bar Foundation, Past President                          from Duke Law School, he served as a law clerk to the Honorable
University of Connecticut Law School Foundation, past Board         James Hughes Hancock of the U.S. District Court, Northern
of Trustees member                                                  District of Alabama. He is recognized as an AV® rated attorney
* For full Super Lawyers selection methodology visit: www.          by Martindale-Hubbell®.
superlawyers.com/about/selection_process.html
For current data visit: www.superlawyers.com/connecticut/           AWARDS AND ACCOLADES:
selection_details.html For Best Lawyers selection criteria:         South Carolina Super Lawyers® Rising Stars list
www.motleyrice.com/sites/default/files/award-BL-CT12-15.pdf         2013–2016 Securities litigation; Class action/mass torts

                                                                    ASSOCIATIONS:
                                                                    American Bar Association




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Mary F. Schiavo                                                         U.S. Attorney General’s Advocacy Institute and the Federal Bureau
                                                                        of Investigation Academy. Her work earned her an appointment
LICENSED IN: DC, FL, MD, MO, SC
                                                                        as the Assistant U.S. Secretary of Labor in 1989, where she led
ADMITTED TO PRACTICE BEFORE:
                                                                        the Office of Labor Management Standards, supervising union
U.S. Supreme Court
                                                                        elections and investigations on election and financial irregularities.
EDUCATION:
J.D., New York University School of Law, 1980 (Root-Tilden              A frequent on-air contributor or consultant for several networks,
Scholar)                                                                Mary has appeared on CNN, ABC, CBS, Fox News, NBC, BBC,
M.A., The Ohio State University, 1977 (University Fellow)               the History Channel and Discovery Channel. Named by Glamour
B.A. cum laude, Harvard University, 1976                                magazine as a 1997 Woman of the Year, 1987 Working Woman of
A CNN Analyst and former U.S. Department of Transportation              the Year and a Top Ten College Student in 1975, she has spoken
Inspector General, Mary Schiavo seeks accountability and industry       about aviation safety on 20/20, 60 Minutes, Good Morning
change from corporations, institutions and the government so that       America, Larry King Live, Nancy Grace, Nightline, Oprah, The
they may meet their obligation to protect the safety and security       O’Reilly Factor, Today, and Your World with Neil Cavuto, among
of the traveling public. With years of experience in transportation     others. Mary is the author of Flying Blind, Flying Safe, a New York
litigation, Mary represents victims and their families suffering        Times bestseller, featured in Time magazine for exposing the poor
from negligence of airline, automotive, commercial trucking,            safety and security practices of the airlines and the failures of the
motorcoach and rail companies.                                          federal government to properly regulate the aviation industry. She
                                                                        contributed to Aviation Security Management (Volume One, 2008)
A leader of the firm’s aviation team, Mary has represented
                                                                        and Supply Chain Security (Volumes One and Two, 2010).
passengers and crew of most major U.S. air crashes, as well as
pilots and passengers on private or charter planes. She represents      Mary received her pilot’s license soon after her driver’s license,
passengers, pilots, flight attendants and select owners and             and later completed private and commercial flight training at The
operators. Her experience with major, complex aviation litigation       Ohio State University. She returned to The Ohio State University
includes more than 50 cases on behalf of the family members of          as the McConnell Aviation Chair and professor from 1998-2002
the passengers and crew of all the planes hijacked on Sept. 11,         and as the Enarson Professor of Public Policy from 1997-1998. She
2001.                                                                   has also served as a practitioner in residence at the New York
                                                                        University School of Law.
Mary has held numerous government appointments under three
U.S. Presidents, including that of Inspector General of the U.S.
                                                                        AWARDS AND ACCOLADES:
Department of Transportation from 1990 to 1996. Under Mary’s
                                                                        Best Lawyers®
direction, the agency investigated air safety, crimes and disasters;
                                                                        2017 Charleston, S.C. “Lawyer of the Year”: Mass tort
secured more than 1,000 criminal convictions; and exposed
                                                                        litigation/class actions – plaintiffs
billions of dollars of fraud, waste and abuse of taxpayer money.
                                                                        2010–2016 Mass tort litigation/class actions – plaintiffs
She testified before Congress multiple times on transportation
safety, security, budgeting and infrastructure. In recognition of her   National Law Journal
work combating the use of bogus aircraft parts worldwide, Mary          2015 Outstanding Women Lawyers
was honored by Aviation Week with its Aviation Laurel Award in          Aviation Week
1992 and 1995 and was inducted into the Aviation Laurel Hall of         1997 Inducted to the Aviation Laureates Hall of Fame
Fame in 1997.                                                           1992, 1995 Aviation Laurel Award in recognition of her work
As an Assistant U.S. Attorney early in her career, Mary litigated       combating the use of bogus aircraft parts
civil cases and prosecuted federal white-collar crimes, bank            Benchmark Plaintiff
and securities fraud, mail and wire fraud, drug trafficking and         2014 Top 150 Women in Litigation list: South Carolina – mass
counterfeiting. During her appointment, she also served on the          tort, securities, aviation
U.S. Department of Justice’s Organized Crime and Racketeering           2012–2014 South Carolina “Litigation Star”: mass tort,
Strike Force, prosecuting high-profile criminal cases of bank and       securities, aviation
securities fraud and related mail and wire fraud, including a large     2012–2013 National “Litigation Star”: mass tort/product
investigation of a bank and securities fraud scheme that resulted       liability
in the federal takeover of banks, savings and loans throughout the
Midwest.                                                                ASSOCIATIONS:
In 1987, Mary was selected as a White House Fellow and assigned         American Association for Justice
to the U.S. Attorney General, where she worked as the Special           American Bar Association, First Female Assembly Delegate,
Assistant for Criminal Affairs. In this role, she reviewed high         House of Delegates 1986–1989
security prosecutions, prepared Foreign Intelligence Surveillance       International Society of Air Safety Investigators, affiliate
Act Requests, attended foreign legal summits with the Attorney          member
General and worked on international prisoner and evidence               International Air and Transportation Safety Bar
exchanges. During this time, she also taught trial technique at the




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Carmen S. Scott                                                       Fred Thompson III
LICENSED IN: SC                                                       LICENSED IN: SC
EDUCATION:                                                            ADMITTED TO PRACTICE BEFORE:
J.D., University of South Carolina School of Law, 1999                U.S. Supreme Court, U.S. Court of Appeals for the Fourth
B.A., College of Charleston, 1996                                     Circuit, U.S. District Court for the District of South Carolina
With a focus on women’s products, Carmen Scott represents             EDUCATION:
victims of harmful medical drugs and devices, medical                 J.D. with distinction, Duke University School of Law, 1979
negligence, and corporate misconduct.                                 B.A. cum laude, Yale University, 1973
Carmen helps lead Motley Rice’s mass tort pharmaceutical              With more than two decades of diverse experience in personal
litigation by managing complex personal injury and economic           injury, commercial and toxic tort law, Fred Thompson represents
recovery damages cases. She has been on the forefront of              people harmed by negligence, product defects or misconduct.
national contraceptive litigation involving products such as          As a leader of the medical litigation team, Fred manages cases
Essure®, Mirena® IUD, Nuvaring®, Yaz® and Yasmin®. She served         related to defective medical devices, harmful pharmaceutical
on the Plaintiffs’ Steering Committee in In re NuvaRing Products      drugs, medical malpractice, and nursing home abuse.
Liability Litigation, serves as co-lead counsel in In re Mirena       His work has led to his appointment to numerous leadership
Product Liability state court consolidation in New Jersey, and        positions, including:
is Co-Chair of the AAJ Mirena® IUD Litigation Group. She was          • Co-lead coordinating counsel for the pelvic mesh lawsuits
also appointed to the Plaintiffs’ Steering Committee for the            consolidated in the U.S. District Court for the Southern
multidistrict litigation In re Power Morcellator Products Liability     District of West Virginia
Litigation. Carmen currently represents clients in a variety of       • Plaintiffs’ co-lead counsel for the Mirena® IUD multidistrict
drug product mattersin state and federal courts.                        litigation in the U.S. District Court for the Southern District of
Prior to joining Motley Rice in 2005 and concentrating her efforts      New York
on the medical practice area, Carmen represented numerous             • Plaintiffs’ co-lead counsel for the federal Digitek®
clients in jury trials, working on products liability, personal         consolidation.
injury and business cases for both plaintiffs and defendants.         • Plaintiffs’ Steering Committee member for the Medtronic
                                                                        Sprint Fidelis® defibrillator lead
Carmen is a frequent speaker on medical litigation and topics
involving women’s products, regularly lecturing at both legal         • Plaintiffs’ Steering Committee member for the Avandia®
seminars and public advocacy events on such issues as                   federal multidistrict litigation
plaintiffs’ rights in medical negligence and dangerous drug           • Plaintiffs’ Steering Committee member for the Trasylol®
cases. She has been quoted in numerous national media outlets           federal multidistrict litigation
and publications, including The Associated Press, NBC News            • Chairman of the American Association for Justice’s Digitek®
New York, Marie Claire, MotherJones and The Safety Report.              Litigation Group
                                                                      • Co-chairman of the AAJ’s Kugel® Mesh Litigation Group.
A South Carolina native and active in the community, Carmen
proudly serves on the Board of the South Carolina chapter of          Fred is also active with the firm’s consumer fraud, commercial
Make-A-Wish, fundraising and promoting the organization’s             and economic damage litigation. He has represented clients in
mission, as well as serving as a “wish-granter” for selected          litigation involving bond issues and securities fraud in federal,
families. She has also served as a board member for the               state and bankruptcy forums as well as through alternative
nonprofit organization Charleston County Friends of the Library,      dispute resolution. Additionally, Fred has practiced commercial
and is currently a College of Charleston alumni board member.         transaction work, including contracting, corporate, partnership
                                                                      and limited liability company formation, and capital acquisitions.
AWARDS AND ACCOLADES:                                                 Recognized as an AV® rated attorney by Martindale-Hubbell®,
South Carolina Super Lawyers® list                                    Fred frequently speaks on medical litigation topics at legal
2015–2016 Personal injury plaintiff: products; Class action/          seminars throughout the country. He co-authored “Composix®
mass torts                                                            Kugel® Mesh: A Primer” for the Spring 2008 AAJ Section on
South Carolina Super Lawyers® Rising Stars list                       Toxic, Environmental & Pharmaceutical Torts newsletter. Fred
2013–2014 Personal injury plaintiff: products; Class action/          serves his local community as a Board Member for the East
mass torts                                                            Cooper Community Outreach organization.
Charleston Regional Business Journal                                  ASSOCIATIONS:
2013 Forty Under 40                                                   American Association for Justice
ASSOCIATIONS:
American Association for Justice, Exchange Advisory
Committee
American Bar Association
South Carolina Association for Justice
South Carolina Women Lawyers Association

Prior results do not guarantee a similar outcome.                                           Motley Rice LLC • Attorneys at Law        29
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ASSOCIATES AND COUNSEL


Andrew P. Arnold                                                        the family of a pilot who was one of six people killed when a
                                                                        Cessna Citation 550 aircraft on a life-saving transplant mission
LICENSED IN: NY, SC
                                                                        crashed into Lake Michigan shortly after takeoff. He also
EDUCATION:
                                                                        represents the families of passengers who were killed in the July
J.D., with honors, University of North Carolina School of Law,
                                                                        7, 2013 DeHavilland DHC-3 Otter charter plane crash in Soldotna,
2013
                                                                        Alaska.
B.A., with highest honors, University of North Carolina at
Chapel Hill, 2002                                                       An advocate for the rights of the traveling public, Jim took
Andrew Arnold represents institutional investors and individuals        passenger rights case, Amanda Tuxworth v. Delta Air Lines, Inc.,
in complex securities, corporate governance and shareholder             to trial and, after a hung jury that was nine to one in his client’s
litigation.                                                             favor, used his negotiation skills to resolve the case in mediation
                                                                        prior to a re-trial. In another passenger rights case alleging
He concentrates his practice on investigating and developing
                                                                        negligence, breach of contract and negligent misrepresentation,
securities fraud class actions, shareholder derivative lawsuits,
                                                                        Sandie Mallard v. Airtran Airways, Inc., he played a central role in
and merger and acquisition litigation.
                                                                        achieving a confidential settlement. The U.S. District Court for
Prior to joining Motley Rice, Andrew practiced commercial               the Southern District of Florida ruled in favor of his client in Chris
litigation and investor-state dispute settlement in the                 Turner v. Ramo, LLC, a case involving the crash of an international
Washington, D.C. office of a large international law firm. He was       charter flight. This ruling was upheld by the U.S. Eleventh Circuit
recognized on the 2014 Capital Pro Bono High Honor Roll for             Court of Appeals in February 2012. Jim also represented numerous
serving 100 pro bono hours in the D.C. area. While attending            families of those who lost their lives in the 2009 Continental
the University of North Carolina School of Law, Andrew was              Airlines/Colgan Air Flight 3407 crash, which took the lives of all
a member of the North Carolina Law Review and served as                 49 passengers and crew, as well as one person on the ground.
a judicial intern for the North Carolina Court of Appeals and
                                                                        Prior to joining Motley Rice, Jim worked for nearly a decade as
as a research assistant for Professor Thomas Lee Hazen, a
                                                                        a trial attorney representing clients injured or killed in vehicle
prominent securities regulation scholar.
                                                                        collisions. His ability to present complex matters to a jury has
Andrew also has an extensive background in software                     served him in previous transportation cases.
development, primarily in the healthcare industry, where he
                                                                        Jim served as a navigator in the United States Air Force from
designed and developed software to ensure compliance with
                                                                        1991 to 2001. He was one of only five people in the entire Air
government regulations.
                                                                        Force simultaneously qualified as a C-141 Special Operations
                                                                        navigator, flight instructor and examiner and was often
James R. Brauchle                                                       selected to fly high visibility missions, both in the United States
LICENSED IN: SC                                                         and abroad. Additionally, he was hand-selected to brief and
EDUCATION:                                                              demonstrate special operations capabilities to the Air Mobility
J.D., Rutgers University School of Law, 2001                            Command’s Director of Operations and represented the 437th
B.S., Lemoyne College, 1990                                             Air Wing at RODEO 1996, the United States Air Force’s airlift
A former U.S. Air Force navigator, Jim Brauchle brings years            flying competition.
of flying experience, leadership skills and knowledge of the            Jim is recognized as an AV® rated attorney by Martindale-
aviation industry to his litigation work. Jim represents victims        Hubbell®.
of aviation disasters and passenger rights violations in cases
against the airline industry. With more than a decade of                ASSOCIATIONS:
courtroom experience that includes both bench and jury trials,          American Association for Justice
Jim has handled civil, domestic, and criminal defense cases from        South Carolina Association for Justice
pre-trial practice through trial, post-trial motions and appeals.       International Society of Air Safety Investigators, affiliate
He not only works closely with clients and co-counsel but also          member
with pilots, engineers and experts in such areas as wreckage
inspection and flight reconstruction.
                                                                        Matthew D. Camm
Jim had the honor of supporting the firm’s work in Bavis v. United
                                                                        LICENSED IN: LA
Airlines Corporation et al., the last aviation security case to be
                                                                        ADMITTED TO PRACTICE BEFORE:
resolved in the nearly decade-long consolidated litigation, In
                                                                        U.S. District Court for the Eastern District of Louisiana
re September 11 Litigation, involving 56 of the 96 families who
                                                                        EDUCATION:
opted out of the Victim Compensation Fund in an effort to
                                                                        J.D., Louisiana State University Paul M. Herbert Law Center,
force accountability and generate answers related to the 9/11
                                                                        2014
terrorist attacks. He is an integral member of the aviation team
                                                                        B.A. cum laude, Carleton College, 2004
representing the families of the five Italian tourists who lost their
                                                                        Matthew Camm represents individuals, small businesses, and
lives when a helicopter tour and small private plane collided in
                                                                        public pension funds and other institutional investors harmed
mid-air over the Hudson River on Aug. 8, 2009. Litigating multiple
                                                                        by securities and consumer fraud, environmental disasters,
crash cases involving small private planes, he also represents
                                                                        toxic exposure, and dangerous or defective products.

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Matthew has assisted working people along the Gulf Coast               products, premise injuries and other incidents of negligence,
seeking compensation for economic losses suffered in the               including working on In re Graniteville Train Derailment.
wake of the BP oil spill. He has also contributed to discovery
                                                                       At the University of South Carolina School of Law, Meghan was
and motion practice in securities fraud litigation against St.
                                                                       a research editor for the South Carolina Law Review, the chief
Jude Medical, Inc.; Barrick Gold Corporation; and Aegerion
                                                                       justice of the University of South Carolina Moot Court Bar, and
Pharmaceuticals, Inc.; and in product liability litigation involving
                                                                       a member of the John Belton O’Neill Inns of Court. She was also
Takata airbags and the blood thinner Xarelto®, among other
                                                                       appointed to the Order of the Wig and Robe and the Order of
matters.
                                                                       the Barristers. She received the Sherod H. Eadon Scholarship
While in law school, Matthew founded and served as president           Award which is awarded to a student who exhibits outstanding
of the LSU Law Association for Justice, completed externships          ability in trial advocacy.
with the Louisiana Attorney General and the Honorable Trudy
M. White of the Nineteenth Judicial District Court, and clerked        ASSOCIATIONS:
for three Baton Rouge law firms. He was also a three-year              American Association for Justice
Chancellor’s Scholarship recipient and a graduate editor of the        American Bar Association
Journal of Civil Law Studies.                                          South Carolina Association for Justice
                                                                       South Carolina Bar Association
Prior to law school, Matthew worked for a state-funded
                                                                       Charleston County Bar Association
organization in New Orleans that represents indigent criminal
defendants in state post-conviction and federal habeas corpus
proceedings. He also worked in the Washington, D.C. office of          Meredith Kay Clark
a global law firm and as a contract reporter for a Pulitzer Prize-     LICENSED IN: DC, SC
winning newspaper.                                                     EDUCATION:
                                                                       J.D., Elon University School of Law, 2011
ASSOCIATIONS:
                                                                       B.A., Elon University, 2008
American Association for Justice
                                                                       Meredith Clark litigates for people suffering from mesothelioma
Louisiana Association for Justice
                                                                       and other asbestos-related diseases resulting from exposure in
South Carolina Association for Justice
                                                                       the workplace and secondhand exposure at home.
                                                                       Meredith brings a solid understanding of the legal and factual
Meghan Johnson Carter
                                                                       issues critical to asbestos cases. She has coordinated the
LICENSED IN: SC                                                        drafting and filing of hundreds of motions and responses
EDUCATION:                                                             related to the maritime docket (MARDOC) in In re Asbestos
J.D., University of South Carolina School of Law, 2007                 Products Liability Litigation (MDL 875), and has assisted on
B.S., University of North Carolina at Chapel Hill, 2003                numerous other matters involving toxic exposure.
Meghan Johnson Carter litigates cases on behalf of victims
                                                                       While attending the Elon University School of Law, Meredith
of allegedly dangerous pharmaceutical drugs and defective
                                                                       volunteered as a student attorney with the Elon Humanitarian
medical devices. Meghan has been involved in a variety of cases
                                                                       Immigration Law Clinic, where she represented refugees
related to negligence, corporate misconduct and defective
                                                                       and asylum-seekers in citizenship and immigration hearings
products, including cases involving Accutane®, Advair®/
                                                                       before the United States Customs and Immigration Services.
Serevent®, Avandia®, Fosamax®, Paxil® and Zicam®. She was
                                                                       She also gained experience as a law clerk for a North Carolina
appointed Negotiating Plaintiffs’ Counsel in the Southern
                                                                       firm where she prepared documentation for social security
District of West Virginia by the Honorable Joseph R. Goodwin
                                                                       disability insurance hearings before the Employment Security
for purposes of settlement coordination and administration
                                                                       Commission.
in In re Digitek Products Liability Litigation, a federal MDL
involving people who suffered from digoxin toxicity allegedly          Active in student organizations, Meredith was a Moot Court
caused by recalled Digitek®.                                           Board Member, a semi-finalist in the Intramural Moot Court
                                                                       Competition and recipient of the Best Team Brief award. She
Meghan currently represents clients who have suffered from
                                                                       served as a member of the Elon Law Review, President of
osteonecrosis and femur fracture cases allegedly related to
                                                                       the Women’s Law Association, and Founding Executive Vice
the osteoporosis drug Fosamax®. Meghan currently represents
                                                                       President of the Family Law Society. In 2011, Meredith was
clients who have been harmed by pelvic mesh/sling products.
                                                                       the recipient of the National Association of Women Lawyers
She has also represented women in national contraceptive
                                                                       Outstanding Law Student Award.
litigation involving Mirena®, NuvaRing®, Yaz® and Yasmin®.
Other cases she is involved in include Pradaxa®, Talcum Powder
                                                                       ASSOCIATIONS:
and Tylenol® litigation and laparoscopic power morcellation.
                                                                       American Association for Justice
Meghan has experience in various other product liability               American Bar Association
actions. Early in her career, she represented victims and families     South Carolina Association for Justice
affected by tragic events caused by hazardous consumer                 South Carolina Women Lawyers Association


Prior results do not guarantee a similar outcome.                                         Motley Rice LLC • Attorneys at Law     31
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Breanne Vandermeer Cope                                               Dennis A. Costigan
LICENSED IN: CA, MN, TX                                               LICENSED IN: MA, RI
ADMITTED TO PRACTICE BEFORE:                                          EDUCATION:
U.S. Supreme Court; U.S. District Court for the Central,              J.D., Roger Williams University School of Law, 2013
Northern, Eastern and Southern Districts of California; District      B.A. cum laude, University of Rhode Island, 2009
of Colorado; District of Minnesota; and the Western District of       Dennis Costigan litigates for patients suffering from the painful,
Wisconsin                                                             life-altering injuries associated with allegedly faulty medical
EDUCATION:                                                            devices and works to hold accountable those responsible for
LL.M., University of Texas, 2011                                      inadequate product testing, research and warning.
J.D., Loyola Law School, 2008
                                                                      While in law school, Dennis served as a legal intern with the
B.A., Wellesley College, 2003
                                                                      Rhode Island Department of Health and Human Services
Breanne Cope seeks justice for the thousands of women
                                                                      performing detailed discovery and research into departmental
allegedly harmed by medical devices such as Essure® and pelvic
                                                                      legislation, including Medicare bankruptcy claims research. He
mesh. She handles several aspects of medical drug and device
                                                                      also acquired research and writing experience as an intern at a
litigation as part of the Motley Rice medical team including trial,
                                                                      Rhode Island law firm and as a law clerk for Motley Rice.
expert witness interviews and medical document reviews. She
was part of the trial team for Barba v. Boston Scientific Corp., a    Dennis draws from a history of involvement in federal, state and
transvaginal mesh case that resulted in a $10M award.*                local election campaigns, and was acknowledged with a CALI
                                                                      Excellence for the Future award in Judicial Behavior and Social
Breanne also works on environmental contamination claims on
                                                                      Change during law school.
behalf of various states, cities, counties and individuals.
Prior to joining Motley Rice, Breanne worked on complex
litigation, class actions and medical litigation, managing            Sara O. Couch
dockets of more than 1,400 consolidated transvaginal mesh
                                                                      LICENSED IN: FL, SC
cases and 22 individual personal injury cases concerning pelvic
                                                                      EDUCATION:
mesh. From 2010 to 2011, she served as a policy intern for Texas
                                                                      J.D., University of North Carolina School of Law, 2013
State Senator Wendy Davis.
                                                                      A.B., Duke University, 2009
She has authored several articles including “Finding Meaning          Sara Couch represents institutional investors, government
Outside of the Courtroom,” published in the American                  entities and consumers in securities and consumer fraud
Association for Justice’s Women Trial Lawyers Caucus newsletter       litigation. Sara also assists in the litigation of individual tobacco
in summer 2015, and “Finding the Foreign Defendant,” published        cases.
in Trial Magazine, May 2015.
                                                                      Prior to joining Motley Rice, Sara served as a law clerk with the
Apart from her litigation work, Breanne volunteers for many           North Carolina Department of Justice, where she researched
organizations and is active in her community. In 2015, she served     and drafted briefs and memoranda regarding the False Claims
on the Planning and Marketing Committee for the National              Act and Stark Law for the North Carolina Medicaid Civil
Association of Women Lawyers’ mid-year meeting, and is on             Enforcement Division. She also investigated allegations of
the Global Education Fund committee for Ms. JD, supporting a          healthcare fraud and presented findings to the division.
scholarship fund for Ugandian women in law school. She also
                                                                      During law school Sara was a certified student practitioner
serves on the board of directors for Trial Lawyers Care and
                                                                      with the University of North Carolina Civil Litigation Clinic. As a
actively volunteers with the Silicon Valley Pet Project and Austin
                                                                      student practitioner, Sara represented clients in administrative
Pets Alive!
                                                                      hearings, obtaining successful outcomes and needed relief. She
ASSOCIATIONS:                                                         also represented several inmates in an action against the North
American Association for Justice, Co-chair – Women Trial              Carolina prison system, conducting depositions and assisting
Caucus Publications and Scholarship Committees                        in obtaining a preliminary injunction against the prison.
National Association of Women Lawyers                                 While attending the University of North Carolina School of
                                                                      Law, Sara competed in the Kilpatrick Townsend 1L Mock Trial
                                                                      Competition and was awarded best oral advocate during
                                                                      the preliminary round. She was a staff member of the First
                                                                      Amendment Law Review and was a member of the Carolina Law
                                                                      Ambassadors.
                                                                      Sara also volunteered with Legal Aid of North Carolina, assisting
                                                                      advocates for Children’s Services with a school-to-prison
                                                                      pipeline project by researching education policy issues, North
                                                                      Carolina case law and education data to be used in education




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litigation. Sara completed a total of 50 hours of pro bono service   Natalie Deyneka
while a student at UNC School of Law.                                LICENSED IN: SC, WV
An avid rower, Sara was a varsity member of the NCCA                 ADMITTED TO PRACTICE BEFORE:
Division-I Duke University’s rowing team and is a classically-       U.S. District Court for the Southern District of West Virginia
trained pianist.                                                     EDUCATION:
                                                                     J.D. with honors, University of North Carolina School of Law,
                                                                     Chapel Hill, 2015
John C. Duane                                                        B.A., University of North Carolina, Chapel Hill, 2010
LICENSED IN: SC                                                      Through her efforts to help workers and workers’ families
ADMITTED TO PRACTICE BEFORE:                                         suffering from asbestos-related diseases, Natalie Deyneka
U.S. Court of Appeals for the Fourth Circuit, U.S. District Court    works to hold industries and corporations accountable through
for the District of South Carolina                                   the civil justice system while also advocating for health and
EDUCATION:                                                           safety improvements in the workplace.
J.D., University of South Carolina School of Law, 1998               Natalie is involved in a number of asbestos-related cases,
B.A., College of Charleston, 1994                                    assisting in drafting motions and responses and conducting
Former federal prosecutor John Duane applies his experience          extensive research.
prosecuting criminal matters to his work representing clients
harmed by defective medical devices, implants and drugs,             Before joining Motley Rice, Natalie interned with the Human
as well as a variety of cases related to negligence, defective       Rights First Refugee Protection Program in New York and
products and vehicle incidents.                                      served as a regular volunteer at the Durham Crisis Response
                                                                     Center, focusing on assisting victims of domestic violence and
John works with co-counsel to represent clients in national          sexual assault.
litigation who have been injured after receiving allegedly
defective hip replacement devices, including DePuy®                  While at the University of North Carolina School of Law,
ASR™, DePuy® Pinnacle®, Biomet M2a-Magnum™, Stryker®                 Natalie served as president of the school’s Immigration Law
Rejuvenate, Wright Medical Conserve® and Zimmer Durom®.              Association and served on the Carolina Student Legal Services’
He was actively involved in the In re Medtronic, Inc. Sprint         Board of Directors. She also volunteered as co-chair and
Fidelis Leads Products Liability Litigation, a federal MDL           logistics coordinator with the UNC Law student organization
involving people who suffered from injuries allegedly caused         “The Conference on Race, Class, Gender and Ethnicity,” where
by heart defibrillator lead wires. He was also an integral part of   she helped organize a large-scale public conference to address
the litigation involving the drugs Advair®/Serevent®, Trasylol®,     social justice issues. She also served as a research assistant to
Zicam® and Fen Phen®.                                                UNC Law Professors Maxine Eichner and Deborah Weissman.
As an Assistant U.S. Attorney for the District of South Carolina,    Natalie is fluent in her native Russian and speaks advanced
John prosecuted cases in a variety of areas, including financial     French.
crimes, wire and mail fraud, corporate fraud and violent
crimes. In this role, he also served as the lead trial attorney      ASSOCIATIONS:
on several jury trials and trained new prosecutors in caseload       Charleston County Bar Association
management, procedures and trial technique.
Previuosly, John served as a law clerk to Senior United States       Elizabeth Cooke Elsner
District Judge C. Weston Houck, assisting with all phases of civil   Counsel
and criminal trials, including pre-trial and post-trial motions,
evidentiary rulings and research in class actions, transportation    LICENSED IN: NC, SC
and design defect cases, shareholder derivative actions and          ADMITTED TO PRACTICE BEFORE:
whistleblower actions.                                               U.S. District Court for the Middle, Eastern and Western
                                                                     Districts of North Carolina and District of South Carolina
Active in his community, John volunteers as a children’s soccer      EDUCATION:
coach and contributes his time to various youth programs at          J.D. cum laude, University of South Carolina School of Law,
his church.                                                          1999
                                                                     B.A., University of North Carolina at Chapel Hill, 1995
AWARDS AND ACCOLADES:                                                Liza Elsner’s practice ranges from helping clients injured by
2004 Assistant U.S. Attorney of the Year, Charleston Division        acts of corporate negligence to seeking improvements in
                                                                     worker and environmental health and safety. She is heavily
ASSOCIATIONS:
                                                                     involved in the firm’s consultation work for South African human
American Association for Justice
                                                                     rights lawyer Richard Spoor in the effort to take on leading
American Bar Association
                                                                     global gold producers, seeking justice for tens of thousands of
South Carolina Association for Justice
                                                                     exploited gold mine workers suffering from silicosis. Few class
South Carolina Bar Association
                                                                     actions have been brought in South Africa, and none have been
Charleston County Bar Association
                                                                     filed for sick workers. If approved as a class, the suit would

Prior results do not guarantee a similar outcome.                                        Motley Rice LLC • Attorneys at Law      33
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generate an unprecedented means of recovery for the country            the role of bioethics in clinicians’ moral reasoning, specifically
and ensure meaningful access to justice for the indigent and           examining clinicians at three Charleston hospitals. This project
rural workers who are dying from this entirely preventable yet         was ultimately chosen to be part of Yale University’s Experiment
incurable disease.                                                     Month contest. She continues to hold each of these positions
                                                                       as a complement to her work in the legal field.
Liza is also part of the team representing individual smokers and
families of deceased smokers against tobacco manufacturers             During law school, Ann worked as an intern for Washington
in the Engle-progeny litigation pending in Florida.                    Governor, Christine O. Gregoire. She also served as a summer
                                                                       special project research assistant with Duke University School
Liza redirected her career to plaintiffs’ law after working
                                                                       of Law and focused her research on exploring whether the law
several years with large defense firms. At Motley Rice, she
                                                                       imposes barriers or obligations to medical providers who wish
has represented welders harmed as a result of corporate
                                                                       to treat illegal immigrants for ethical reasons.
malfeasance and conducted client relations and trial
preparation for welding rod cases. In 2008, Liza was a member          Ann has volunteered for organizations that include the Palmetto
of the trial team that obtained the first welding fume plaintiff       Health Richland Memorial Hospital, Relay-for-Life, Meals on
verdict in Mississippi state court since 2003.                         Wheels, The Angel Tree and Project Clean Carolina. She also
                                                                       actively supports the Dee Norton Lowcountry Children’s
Liza has advocated for domestic violence victims’ rights by
                                                                       Center. An equestrian since 1988 and national level competitor
participating in training programs and pro bono litigation. She
                                                                       in the hunters/jumpers division since 1994, she has been ranked
served as articles editor for the South Carolina Law Review
                                                                       in the national top 50 of her division for the past 15 years.
while a law student at the University of South Carolina School
of Law and is a member of the Order of the Wig and Robe.               ASSOCIATIONS:
                                                                       American Bar Association
AWARDS AND ACCOLADES:
                                                                       American Association for Justice
Public Justice Foundation
                                                                       South Carolina Association for Justice
2016 Trial Lawyers of the Year
                                                                       Charleston County Bar Association
                                                                       South Carolina Bar Association
Ann E. Rice Ervin
LICENSED IN: SC                                                        John M. Eubanks
ADMITTED TO PRACTICE BEFORE:
                                                                       LICENSED IN: MD, SC
U.S. District Court for the District of South Carolina
                                                                       ADMITTED TO PRACTICE BEFORE:
EDUCATION:
                                                                       U.S. Supreme Court, U.S. Court of Appeals for the Second,
M.A., New York University, 2012
                                                                       Third, Fourth, Fifth and Eleventh Circuits
J.D., University of South Carolina School of Law, 2009
                                                                       EDUCATION:
B.A., University of South Carolina, 2006
                                                                       J.D., Georgetown University Law Center, 2003
Ann E. Rice Ervin represents victims injured by harmful
                                                                       B.S., Georgetown University, 1996
pharmaceutical drugs and defective medical devices,
                                                                       With extensive experience investigating terrorist organizations
working to hold accountable those responsible for corporate
                                                                       and terrorist financing in the Middle East, John Eubanks
wrongdoing and inadequate product warning, research and
                                                                       represents victims, survivors and their families in litigation
testing.
                                                                       designed to bankrupt the financiers of terror, crippling their
Ann joined Motley Rice as an associate after first serving for         ability to recruit, train, supply and dispatch terrorist operatives.
two years as a law clerk for a New York plaintiffs’ law firm
                                                                       John is substantially involved in the firm’s litigation on behalf of
while simultaneously earning a Master of Arts degree in
                                                                       foreign terror victims and victims of international human rights
Bioethics from New York University. As a law clerk, she gained
                                                                       abuses. He was a key member of the litigation team prosecuting
experience conducting legal research and analysis for complex
                                                                       Linde et al. v. Arab Bank Plc, the first litigation against a financial
environmental litigation involving landfills, toxic spills, vapor
                                                                       institution brought to trial under the Anti-Terrorism Act. In
intrusion and water contamination. The combination of her
                                                                       September 2014, a jury found Jordan-based Arab Bank Plc liable
legal skill and knowledge of the bioethics field, specifically as it
                                                                       for financing terrorist activity, including funneling financial
relates to the world of medicine, makes her an asset to Motley
                                                                       support to top Hamas leaders and to the families of Hamas
Rice’s efforts on behalf of its medical clients.
                                                                       suicide bombers. John is also pursuing Alien Tort Statute claims
While earning her bioethics degree, Ann interned with the              against Arab Bank for a separate class of plaintiffs.
Medical University of South Carolina’s Ethics Committee and
                                                                       John is also a member of the team pursuing a civil action against
Ethics Consultation Service, which she joined in 2012 as a
                                                                       al Qaeda’s alleged financiers and supporters arising out of the
Community Representative to help facilitate discussions among
                                                                       9/11 terrorist attacks. He has pursued litigation against Libya for
patients, families and hospital staff in an effort to resolve
                                                                       allegedly providing material resources to the Provisional Irish
ethical conflicts. In 2011, Ann began working as a research
                                                                       Republican Army, resulting in the death and injury of citizens
assistant on an experimental philosophy study determining
                                                                       of the United States and United Kingdom. John plays a key role
                                                                       in Krishanthi, et al. v. Rajaratnam, a case brought under the

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Alien Tort Statute involving allegations of American-sourced          Jeanette M. Gilbert
financing for dozens of terrorist attacks in Sri Lanka carried out    LICENSED IN: NY, SC
by the Liberation Tigers of Tamil Eelam. He was also extensively      ADMITTED TO PRACTICE BEFORE:
involved in an Alien Tort Statute case on behalf of young boys        U.S. District Court for the Eastern and Southern Districts of
allegedly kidnapped for enslavement as camel jockeys in the           New York
United Arab Emirates.                                                 EDUCATION:
Prior to joining Motley Rice in 2004, John served as counsel in       J.D., Pace University School of Law, 1984
a case brought under the Anti-Terrorism Act against various           B.A., Hofstra University, 1979
charitable organizations and political groups in the U.S. for         Jan Gilbert has spent her legal career assisting those who
supplying Hamas with material support and financial resources         cannot speak for themselves due to age or illness. Since
in the groundbreaking Boim v. Quranic Literacy Institute.             joining Motley Rice in 2006, she continues that advocacy
                                                                      through asbestos bankruptcy litigation and management of
John has drafted various “friend of the court” briefs to the
                                                                      claims processing. Jan is one of the attorneys responsible for
Supreme Court on issues related to anti-terrorism and
                                                                      analyzing complex bankruptcy documents and advising clients
customary international law on behalf of a broad range of
                                                                      and co-counsel lawyers on the claims facilities and asbestos
individuals and organizations.
                                                                      personal injury trusts established by the bankruptcy courts for
John has also handled multiple personal injury and wrongful           the benefit of asbestos victims.
death cases involving tour bus and commercial truck crashes,
                                                                      Prior to her work at Motley Rice, Jan directed the estate
both domestic and international. In 2010, a tour bus operated
                                                                      department at a New-York based law firm, where she was
by Boston-based Grand Circle Travel crashed near Aswan,
                                                                      responsible for the finance management and administration of
Egypt, killing eight passengers and injuring numerous others.
                                                                      multi-million dollar estates and trusts. She provided investment
John and the Motley Rice litigation team filed suit on behalf of
                                                                      and tax analysis to ensure compliance with federal regulations
seven of the victims of the crash against the tour operator and
                                                                      and reviewed documentation for proper bank and accounting
negotiated a settlement for our clients in 2015.*
                                                                      statements. Jan currently utilizes this background to provide
A former independent terrorism consultant for the Washington,         legal research for complex securities fraud and shareholder
D.C.-based think tank, The Investigative Project on Terrorism,        derivative cases with the Motley Rice securities litigation team.
John served as a liaison and researcher working with the FBI,
                                                                      Jan served on the Ethics Committee of the South Carolina Bar
INS, and U.S. Customs on terrorism financing investigations
                                                                      from 2010–2013 and has also served a two-year term as the
related to Hamas and the Palestinian Islamic Jihad terrorist
                                                                      Continuing Legal Education Seminar Committee Chair for the
organizations.
                                                                      South Carolina Bar. She has also served on several educational
John is a published author on counterterrorism and security           and ethics committees with the Nassau County Bar Association
and was a central contributor to the non-fiction work American        of New York, serving as a dean and board member developing
Jihad: The Terrorists Living Among Us (Free Press 2002), which        programming when Mandatory Continuing Legal Education
details the activities of organizations and individuals within the    was instituted in New York. Jan taught courses on legal ethics,
U.S. who provide material support and/or resources to Middle          legal research and real estate as an adjunct professor at Long
Eastern and Islamic terrorist organizations abroad.                   Island University. She sat on the executive council of the
John lives in Mount Pleasant, S.C., with his wife and two children,   New York State Conference of Bar Leaders and served as a
and serves as a deacon in his church.                                 delegate to New York State Chief Judge Judith Kaye’s Institute
                                                                      of Professionalism in the Law.
AWARDS AND ACCOLADES:
Public Justice Foundation                                             ASSOCIATIONS:
2016 Trial Lawyers of the Year                                        American Association for Justice
                                                                      New York State Bar Association
ASSOCIATIONS:                                                         South Carolina Bar Association
American Association for Justice                                      Charleston County Bar Association
American Bar Association, Section of International Law                Nassau County Bar Association
South Carolina Association for Justice
Charleston County Bar Association




Prior results do not guarantee a similar outcome.                                         Motley Rice LLC • Attorneys at Law      35
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Max N. Gruetzmacher                                                 filing new cases, and working through the consolidation
                                                                    to trial. With more than 12 years of experience in asbestos
LICENSED IN: SC
                                                                    litigation, his role as a trial lawyer and negotiator emphasizes
ADMITTED TO PRACTICE BEFORE:
                                                                    the product identification aspect of occupational disease law
U.S. District Court for the District of South Carolina
                                                                    and demonstrates an in-depth knowledge of the medical and
EDUCATION:
                                                                    scientific aspects of occupational disease.
J.D., Marquette University Law School, 2008
B.A., University of Wisconsin-Madison, 2004                         Familiar with the life of an industrial worker, Rett served as a
Max Gruetzmacher focuses his practice on securities and             United States Coast Guard licensed tugboat captain prior to
consumer fraud, representing large public pension funds,            his law career, earning a commendation from the Department
unions and other institutional investors in securities and          of the Navy for Meritorious Service to the Charleston Naval
consumer fraud class actions and shareholder derivative suits.      Shipyard during Hurricane Hugo. He is a published writer on
                                                                    maritime law and the author of Maritime Wrongful Death: A
Max has represented clients in a variety of complex litigation
                                                                    Primer, a piece published in The University of South Carolina
cases, including the following: City Of Sterling Heights
                                                                    School of Law’s South Carolina Journal of International Law and
Retirement System v. Hospira, Inc.; In re Coventry Health
                                                                    Business that explores the potential legal options available to
Care, Inc. Shareholders Litigation; In re Force Protection,
                                                                    those injured in a maritime setting with specific reference to the
Inc. Litigation; Minneapolis Firefighter’s Relief Association v.
                                                                    High Seas Act, Jones Act, Longshoreman and Harbor Workers’
Medtronic, Inc.; In re NYSE EURONEXT Shareholder Litigation;
                                                                    Compensation Act and General Maritime Law.
In re Par Pharmaceutical Companies, Inc. Shareholders
Litigation; In re Synovus Financial Corp.; In re The Shaw Group     Recognized as an AV® rated attorney in Martindale-Hubbell®,
Shareholders Litigation; and In re Winn-Dixie Stores, Inc.          Rett is active in the local Charleston community as a member of
Shareholders Litigation.                                            the Hibernian Society and St. Paul’s Lutheran Church. He served
                                                                    as a member of the Board of Directors for the Cougar Club at
Prior to joining Motley Rice, Max gained experience working on
                                                                    the College of Charleston from 2000 to 2006.
a variety of complex discovery matters as a project attorney.
He served as a legal intern during law school for the Wisconsin
                                                                    ASSOCIATIONS:
State Public Defender, Appellate Division, where he aided
                                                                    American Association for Justice
assistant public defenders in appellate criminal defense and
                                                                    American Bar Association
handled legal research and appellate brief writing projects.
                                                                    Charleston County Bar Association
Max was also a member of the Pro Bono Society and conducted
                                                                    South Carolina Association for Justice
research for the Legal Aid Society of Milwaukee.

ASSOCIATIONS:                                                       Robert T. Haefele
South Carolina Bar Association
Charleston County Bar Association                                   LICENSED IN: DC, NJ, NY, PA, SC
                                                                    ADMITTED TO PRACTICE BEFORE:
                                                                    U.S. Court of Appeals for the Second, Third, Fourth and
John (Rett) E. Guerry III                                           Eleventh Circuits, U.S. District Court for the District of
LICENSED IN: SC                                                     Columbia, District of New Jersey and Southern District of New
ADMITTED TO PRACTICE BEFORE:                                        York
U.S. District Court for the District of South Carolina              EDUCATION:
EDUCATION:                                                          J.D., Rutgers University School of Law – Camden, 1989
J.D., University of South Carolina School of Law, 1993              B.A., Rutgers College, 1986
B.A., College of Charleston, 1990                                   Robert Haefele has spent more than twenty years practicing in
Charleston native Rett Guerry represents railroad and other         complex civil litigation, including asbestos, tobacco and other
industrial workers in personal injury, products liability and       mass tort and product liability litigation. His area of primary
Federal Employers Liability Act (FELA) litigation. He currently     emphasis involves anti-terrorism and human rights, analyzing
manages the firm’s FELA cases, representing workers in              and litigating complex, domestic and international matters
occupational injury lawsuits, including cases of exposure to        to meet clients’ goals of justice and accountability while
asbestos, silica and chemical solvents. He is on the forefront of   simultaneously achieving positive social change.
second injury FELA litigation, addressing the development of a      Robert’s current focus is on aiding the more than 6,500 family
second injury or disease in former FELA plaintiffs.                 members and survivors of the 9/11 terrorist attacks Motley
Rett litigates asbestos occupational exposure cases on behalf       Rice represents. He is an active member of the Personal Injury
of individuals suffering from mesothelioma and other asbestos-      and Wrongful Death Plaintiffs’ Steering Committee in In re
related diseases. As Plaintiffs’ Liaison Counsel for the Fulton     Terrorist Attacks on September 11, 2001, U.S.D.C., S.D.N.Y., MDL
County State Court Asbestos Consolidation in Georgia, Rett          1570, lawsuits filed by Motley Rice’s clients and others seeking
remains involved with the Fulton County asbestos docket,            to expose and bankrupt the alleged financiers and other
                                                                    supporters of al Qaeda terrorist activity.



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Robert also played a central role in In re September 11th                 Scott B. Hall
Litigation, Case No. 21-MC-97-AKH (S.D.N.Y.), involving more              LICENSED IN: MO
than 50 personal injury and wrongful death clients against the            ADMITTED TO PRACTICE BEFORE:
aviation and aviation security industries for their alleged failure       U.S. Supreme Court; U.S. Court of Appeals for the Eighth,
to detect and prevent the 9/11 terrorist attacks. For both the            Ninth and Tenth Circuits; U.S. District Courts for the District of
9/11 multidistrict terrorist financing litigation and 9/11 mass           Colorado and District of Kansas
consolidations of the aviation security liability cases, Robert           EDUCATION:
has appeared before the court for multiple hearings and oral              J.D., University of Texas at Austin, 1998
arguments, directed and engaged in complex formal discovery,              L.L.M. with Distinction, University of Nottingham, 1998
and managed informal investigative efforts involving, among               B.S.J., University of Kansas, 1993
other things, aviation security, designation of foreign terrorist         An advocate for people harmed by toxic exposure, chemical-
individuals and entities, and elaborate webs of financial                 related cancers and other occupational diseases and smoking-
transactions.                                                             related illnesses, Scott Hall has spent more than 15 years
In addition to traditional litigation efforts, Robert has provided        working to hold accountable corporations that put profits
substantial pro bono and other support to the survivors and               before people.
families of those killed in the 9/11 attacks. From 2001-2004, he          Today, he continues to represent people suffering from work-
provided pro bono representation for more than 30 individuals,            related illnesses such as lung diseases in cases against the
preparing and presenting their claims to the September 11th               companies that allegedly harmed them.
Victim Compensation Fund. Working with Motley Rice clients,
legislators and leading experts in various industries, Robert also        Scott advocates for workers and consumers harmed by inhaling
works to encourage legislative changes to help meet clients’              flavoring chemicals such as diacetyl and acetyl propionyl,
goals of justice, accountability and positive social change. He           which have been associated with severe lung diseases often
has represented victims of other terrorist attacks and human              collectively referred to as “Popcorn Workers’ Lung,” even
rights violations in litigation including Oran Almog v. Arab Bank,        though many workers, not just those in microwave popcorn
a landmark lawsuit filed by victims of terrorist bombings in Israel       manufacturing, have been affected.
against Arab Bank for its alleged role in financing Hamas and             In the early 2000s, Scott successfully represented workers
other Israeli terrorist organizations and Krishanti v. Rajaratnum         who had developed serious lung diseases after exposure to
et al., 09-cv-5395 (D. N.J.), litigation against alleged financiers of    airborne flavoring chemicals in some of the first cases of their
the Tamil Tigers terrorist organization in Sri Lanka.                     kind.* Since then, he has tried more than a dozen lawsuits
Representing Motley Rice clients in an array of other complex             against the flavoring industry that resulted in plaintiffs’ verdicts.
litigation matters, Robert worked on World Holdings LLC, v. The           Additionally, Scott participated in the resolution of more than
Federal Republic of Germany, a suit filed to collect unpaid pre-          100 cases for people who alleged wrongful death or injuries as
WWII German bonds. He has collaborated with members of the                a result of exposure to dangerous chemical flavorings.*
firm’s securities team, litigating such cases as In re MBNA Corp.         His early work in toxic exposure included taking cases to trial
Sec. Litig., No. 05-272 (D. Del.), and with the toxic exposure            as well as settling tobacco cases. His work led to multi-million
team to litigate cases brought by individuals and businesses              dollar verdicts in tobacco-related personal injury and wrongful
suffering as a result of the BP oil spill in In re Oil Spill by the Oil   death cases.* He was also contracted by the Canadian
Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010.         government to represent the Provinces of Newfoundland and
Prior to joining Motley Rice in 2003, Robert developed a strong           Labrador in a cost-recovery action against the tobacco industry.
co-counsel relationship with Motley Rice attorneys through                Scott has also taken cases to trial and settled environmental
complex litigation involving corporate wrongdoing, including              contamination cases, including cases involving air pollution
the State of New Jersey’s tobacco lawsuit and other tobacco,              and groundwater pollution by industrial chemicals.
asbestos and occupational disease and injury cases. Practicing            In 1997, Scott wrote one of the first peer-reviewed articles on
product liability, toxic and mass tort, and occupational injury           the regulation of genetically modified organisms (GMO) and
law, he represented individuals and union members injured                 their impact on the environment. The article, titled “The Genie in
by defective products or toxic substances and authored “The               the Bottle: The International Regulation of Genetically Modified
Hidden Truth About Asbestos Disease” in the New Jersey Law                Organisms,” was published in the Journal of International
Journal (December 2002). He clerked with Judge Neil F. Deighan            Wildlife Law & Policy.
of the Appellate Division of the Superior Court of New Jersey
                                                                          *Prior results do not guarantee future results. Every case is
in 1990.
                                                                          different and must be judged on its own merits. The choice of a
ASSOCIATIONS:                                                             lawyer is an important decision and should not be based solely
American Association for Justice                                          upon advertisements.
American Bar Association
New Jersey State Bar Association, Past Chairman – Product
Liability and Toxic Tort Section
Public Justice Foundation

Prior results do not guarantee a similar outcome.                                              Motley Rice LLC • Attorneys at Law        37
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AWARDS AND ACCOLADES:                                                Ashley J. Hornstein
Missouri Super Lawyers® Rising Star list                             LICENSED IN: RI
2009 Personal injury – products: plaintiff; Environmental            EDUCATION:
litigation                                                           J.D., Roger Williams University School of Law, 2012
Selection criteria: www.superlawyers.com/about/selection_            B.A., University of Kansas, 2008
process.html                                                         Ashley Hornstein represents people and families suffering from
                                                                     mesothelioma and other asbestos-related diseases caused
ASSOCIATIONS:
                                                                     by occupational, environmental and household asbestos
American Bar Association
                                                                     exposure, as well as victims of lead poisoning and other toxic
Missouri Bar Association
                                                                     environmental exposures.
Kansas City Metropolitan Bar Association
                                                                     Ashley began working with Motley Rice as a law clerk in 2010,
                                                                     supporting various trial teams in their efforts to hold major
Kristen M. Hermiz
                                                                     corporations accountable. She contributed legal research
LICENSED IN: MA, RI, SC                                              and case preparation for litigation against C.R. Bard claiming
ADMITTED TO PRACTICE BEFORE:                                         defective medical devices, and Georgia-Pacific for claims of
U.S. District Court for the Northern District of Ohio, District of   asbestos-related diseases caused by asbestos exposure.
Rhode Island, District of South Carolina
                                                                     In 2013, Ashley joined the firm as an attorney focusing on
EDUCATION:
                                                                     illnesses and injuries caused by toxic exposure.
J.D., magna cum laude, Roger Williams University School of
Law, 2010
                                                                     ASSOCIATIONS:
B.A., magna cum laude, University of Connecticut, 2007
                                                                     American Association for Justice
Kristen Hermiz represents individuals and families suffering
                                                                     Rhode Island Association for Justice
from mesothelioma and other asbestos-related diseases
                                                                     Rhode Island Bar Association
caused by occupational, environmental and household
                                                                     Rhode Island Women’s Bar Association
asbestos exposure. On behalf of asbestos victims, she handles
complex litigation against manufacturers, property owners
and contractors who sold or installed defective or hazardous         John D. Hurst
asbestos-containing products.                                        LICENSED IN: NC, PA, SC, WV
Prior to joining Motley Rice, Kristen gained courtroom               ADMITTED TO PRACTICE BEFORE:
experience as an associate for a Rhode Island-based firm,            U.S. District Court for the Eastern, Middle and Western
arguing motions in various civil actions on behalf of the city       Districts of North Carolina, Northern District of Ohio, District
of Providence and handling housing, zoning, employment and           of South Carolina, and the Northern and Southern Districts of
civil rights litigation. She gained additional experience as a law   West Virginia
clerk at Brown University, where she prepared memoranda for          EDUCATION:
counsel regarding legal and administrative issues affecting the      J.D., University of North Carolina, School of Law, 2006
University.                                                          B.A. highest distinction, University of North Carolina, Chapel
                                                                     Hill, 2002
A Roger Williams Scholarship recipient and CALI Award winner,
                                                                     John Hurst works to hold corporations accountable for the harm
Kristen served as a member of The Roger Williams University
                                                                     they do to individuals and society, developing and executing
Law Review and was a legal intern for the Honorable Daniel A.
                                                                     case strategies in toxic tort, occupational disease, catastrophic
Procaccini of the Rhode Island Superior Court. Also a judicial
                                                                     injury, and product liability cases.
extern for the Honorable Jacob Hagopian of the U.S. District
Court for the District of Rhode Island, Kristen drafted judicial     John represents workers and their family members injured
reports and made recommendations for pro se prisoner                 by occupational, environmental or household exposure
petitions. She additionally served as a research assistant to law    to asbestos, including numerous mesothelioma victims. A
professor Edward Eberle before serving in the same capacity to       central member of the West Virginia team, he also manages
retired Rhode Island Superior Court Justice Stephen Fortunato,       large, complex multi-party litigation and works extensively in
conducting statutory and case law research for a constitutional      federal, state, and bankruptcy court at both trial and appellate
law manuscript involving race, poverty, gender discrimination        levels. John litigates legal issues under product, premises, and
and civil rights reform efforts.                                     employer liability theories.
                                                                     John represents merchant mariners with Jones Act claims
ASSOCIATIONS:                                                        against their shipowner employers in the federal asbestos
Rhode Island Bar Association                                         MDL-875 and in the Northern District of Ohio and has presented
                                                                     on this topic. In 2014, John was a key member of a trial team
                                                                     that obtained a compensatory and punitive damages verdict




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in Massachusetts federal court against a manufacturer of            Prior to joining Motley Rice in 2009, Mathew practiced complex
asbestos-containing fireproofing.                                   commercial and business litigation at a large defense firm.
John’s experience goes beyond occupational disease litigation.      He began his legal career as a law clerk for Justice David M.
He represented victims of a 2009 explosion at the ConAgra           Borden (ret.) of the Connecticut Supreme Court. During law
facility in Garner, N.C., and negotiated the resolution of those    school, Mathew served as executive editor of the Connecticut
claims against industrial contractors.                              Law Review and judging director of the Connecticut Moot
                                                                    Court Board. He placed first in various moot court and mock
John published the first academic analysis of credit counseling     court competitions, including the Boston region mock trial
agencies, “Protecting Consumers from Consumer Credit                competition of the American Association for Justice. As an
Counseling,” 9 N.C. Banking Inst. 159 (2005), and co-authored       undergraduate, Mathew served on the board of associate
“Premises Liability Update: Employee Cases,” for Emerging           directors for the University of Connecticut’s honors program
Trends in Asbestos Litigation, (March 9-11, 2009), and “The         and was recognized with the Donald L. McCullough Award for
Changing Landscape of Single Sex Education,” School Law             his student leadership.
Bulletin (2006).
                                                                    Mathew continues to demonstrate civic leadership in the local
AWARDS AND ACCOLADES:                                               Hartford community. He is a member of the board of directors
West Virginia Super Lawyers® Rising Stars list                      for the Hartford Symphony Orchestra and is a commissioner
2014–2016 Personal injury – general: plaintiff; Personal injury –   of the Hartford Parking Authority. Previously, Mathew served
products: plaintiff; Class action/mass torts                        on the city’s Charter Revision Commission and its Young
                                                                    Professionals Task Force, an organization focused on engaging
ASSOCIATIONS:                                                       young professionals and positioning them for future business
American Association for Justice                                    and community leadership.
American Bar Association
Charleston County Bar Association                                   PUBLISHED WORKS:
South Carolina Association for Justice                              “On the Causes and Consequences of and Remedies
                                                                    for Interstate Malapportionment of the U.S. House of
                                                                    Representatives” (Jasinski and Ladewig, Perspectives on
Mathew P. Jasinski                                                  Politics, Vol. 6, Issue 1, March 2008)
LICENSED IN: CT, NY
                                                                    “Hybrid Class Actions: Bridging the Gap Between the Process
ADMITTED TO PRACTICE BEFORE:
                                                                    Due and the Process that Functions” (Jasinski and Narwold),
U.S. Supreme Court, U.S. Court of Appeals for the First
                                                                    The Brief, Fall 2009
and Second Circuits, U.S. District Court for the District of
Connecticut and Southern District of New York                       AWARDS AND ACCOLADES:
EDUCATION:                                                          Connecticut Super Lawyers® Rising Stars list
J.D. with high honors, University of Connecticut School of Law,     2013–2016 Business litigation; Class action/mass torts;
2006                                                                Appellate
B.A. summa cum laude, University of Connecticut, 2003
Mathew Jasinski represents consumers, businesses, and               Hartford Business Journal
governmental entities in class action and complex cases             2009 “Forty Under 40”
involving consumer protection, unfair trade practices,
commercial, environmental and securities litigation.                ASSOCIATIONS:
                                                                    American Association for Justice
Mathew currently represents the plaintiffs in several putative      American Bar Association
and certified class actions involving such claims as breach         Connecticut Bar Association
of contract and unfair trade practices. He has experience in        Oliver Ellsworth Inn of Court
complex commercial cases regarding claims of fraud and              Phi Beta Kappa
breach of fiduciary duty and has represented an institutional
investor in its efforts to satisfy a judgment obtained against      * For full Super Lawyers selection methodology visit: www.
the operator of a Ponzi scheme. Mathew recently obtained a          superlawyers.com/about/selection_process.html
seven-figure arbitration award in a case involving secondary        For 2013 CT data visit: www.superlawyers.com/connecticut/
liability for an investment advisor’s conduct under the Uniform     selection_details.html
Securities Act. Please remember that every case is different.
Any result we achieve for one client in one matter does not
necessarily indicate similar results can be obtained for other
clients.
Mathew additionally serves the firm’s appellate group. He has
worked on numerous appeals before several state and federal
appellate courts throughout the country.



Prior results do not guarantee a similar outcome.                                      Motley Rice LLC • Attorneys at Law     39
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Laura N. Khare                                                       Taylor has been representing Deepwater Horizon oil spill victims
Associate General Counsel                                            since shortly after the disaster occurred in 2010 and is now
                                                                     helping victims file claims through the new claims programs
LICENSED IN: SC                                                      established by the two settlements reached with BP.
EDUCATION:
J.D., University of South Carolina School of Law, 1996               Taylor also litigates on behalf of victims hurt by defective
M.A., University of Virginia, 1993                                   consumer products, fires and premises liability incidents, as
B.A., Agnes Scott College, 1992                                      well as catastrophic motorcycle, automotive and trucking
As Associate General Counsel at Motley Rice, Laura Khare             collisions. He additionally works with the firm’s securities and
manages the firm’s legal matters, including employment issues,       consumer fraud team to represent individual and institutional
ethics, marketing, commercial contracts and legal defense. She       investor clients in complex securities fraud and shareholder
advises the firm’s nearly 65 attorneys on ethical matters, as well   claims.
as develops appropriate compliance and risk management               As a law student, Taylor served as student research editor of
measures for the firm. In addition, Laura represents a diverse       the A.B.A. Real Property, Trust & Probate Journal, received
client base, including victims of sexual abuse and environmental     multiple CALI awards and was inducted into the Order of the
contamination.                                                       Wig and Robe. He studied comparative law and history at
Laura joined Motley Rice in 2004 after several years as a civil      University College, Oxford, and The University of Virginia,
rights attorney for the U.S. Equal Employment Opportunity            and transnational dispute resolution at Gray’s Inn in London.
Commission in Washington, D.C. She began her tenure as a             Taylor was a research assistant and student editor for Carolina
political appointee for President William J. Clinton. In addition,   Distinguished Professor of Law David G. Owen, assisting with
Laura served as Deputy Director of Research at the State             the final preparations of Professor Owen’s Products Liability
Affairs Company, a consulting firm in Arlington, Virginia, and as    Law treatise.
a legal fellow for the U.S. House of Representatives Judiciary
Committee. She began her career as a staff attorney at the           ASSOCIATIONS:
                                                                     American Association for Justice
South Carolina Court of Appeals.
                                                                     American Bar Association
Laura has served on the Board of Directors for the Dee Norton        Charleston County Bar Association
Lowcountry Children’s Center, the Board of Directors for the         South Carolina Association for Justice
Next Child Fund and the Charleston County Board of Zoning
Appeals. In her spare time, she enjoys participating on local
and national political campaigns, including as a volunteer for       Patricia J. Lawson
multiple national Democratic conventions, most recently in           LICENSED IN: KY, WV
2012 as a member of the convention’s script writing team.            ADMITTED TO PRACTICE BEFORE:
                                                                     U.S. District Court for the Northern and Southern Districts of
AWARDS AND ACCOLADES:                                                West Virginia
Charleston Regional Business Journal                                 EDUCATION:
2008 Forty Under 40                                                  J.D., West Virginia University College of Law and West Virginia
                                                                     Graduate School of Business & Economics, 1991
ASSOCIATIONS:                                                        M.A., Clarion University of Pennsylvania, 1982
American Association for Justice                                     Patti Lawson seeks to protect the safety, health and rights of
Association of Professional Responsibility Lawyers                   people suffering from mesothelioma and other asbestos-
South Carolina Association for Justice                               related diseases, and brings more than a decade of experience
South Carolina Women Lawyers’ Association                            in West Virginia government to Motley Rice. Additionally, she
                                                                     strives to protect the rights of those suffering from catastrophic,
W. Taylor Lacy                                                       permanent injuries due to negligence, and works on their behalf
                                                                     to pursue justice and just compensation.
LICENSED IN: SC
ADMITTED TO PRACTICE BEFORE:                                         For nearly 15 years, Patti served as a trial attorney for the West
U.S. Court of Appeals for the Second Circuit, U.S. District          Virginia Division of Highways, representing the Division in
Court for the Western District of Arkansas and the District of       state and federal court as well as handling complex litigation
South Carolina                                                       involving issues such as employment, contracts and financial
EDUCATION:                                                           matters.
J.D., University of South Carolina School of Law, 2006               Following her service with the WV Division of Highways, Patti
B.A., University of Virginia, 2003                                   presided over appellate hearings as an Administrative Law
Taylor Lacy focuses his practice on catastrophic injury,             Judge for the West Virginia Department of Health and Human
products liability and securities litigation against diverse         Resources before opening a sole practice focusing on personal
corporate defendants. His primary responsibilities include           injury, family law and animal law. She was also previously a staff
developing legal theories, conducting legal research, and            attorney for West Virginia Legislative Services’ Committee on
drafting discovery, pleadings and motions.                           Finance and Government.

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Patti completed the Department of Justice’s National Advocacy         Active in her community, Tope serves on the Board of
Center’s Trial Advocacy, The Jury and Prosecutor Boot Camp            Directors for HALOS, an organization which provides support
programs. She has also participated in West Virginia’s Settlement     and advocacy to abused and neglected children and kinship
Week Alternative Resolution by Mediation (S.W.A.R.M.) program;        caregivers. Previously, she volunteered with the Virginia
an organization consisting of lawyers who volunteer their time        Innocence Project Student Group, a student legal research
on a bi-annual basis to serve as mediators in an effort to settle     group that assists with the investigation and screening of
circuit court cases before they go in front of a judge or jury.       cases involving prisoners convicted of serious crimes where
                                                                      cognizable claims of actual innocence exist.
An award-winning author, Patti has written two books, The
Dog Diet: A Memoir, What My Dog Taught Me About Shedding              ASSOCIATIONS:
Pounds, Licking Stress and Getting a New Leash on Life and            American Association for Justice
What Happens to Rover When the Marriage is Over and Other             American Bar Association
Doggone Legal Dilemmas. The anticipated release date of her           South Carolina Association for Justice
second book is early 2016. She has been a columnist for the           South Carolina Bar Association
Charleston Gazette, a blogger for the Charleston Daily Mail and
has written articles for the Huffington Post.
                                                                      Joshua Littlejohn
Patti served as an Assistant Special Prosecutor for the Fraud
Prosecution Unit of the West Virginia Insurance Commission,           LICENSED IN: SC
as a circuit court mediator and as a Supreme Court-approved           ADMITTED TO PRACTICE BEFORE:
mediator for family court. She is also a writing award recipient      U.S. Court of Appeals for the Third Circuit; U.S. District Court
from the National College Showcase and placed in the 1991             for the District of Colorado, District of South Carolina
National Appellate Advocacy Competition.                              EDUCATION:
                                                                      J.D., Charleston School of Law, 2007
ASSOCIATIONS:                                                         B.A., University of North Carolina at Asheville, 1999
West Virginia Association for Justice                                 With a broad base of experience in complex litigation—including
                                                                      securities fraud, breach of fiduciary duty, mass tort and
Temitope O. Leyimu                                                    catastrophic injury matters—Josh Littlejohn plays a leading role in
                                                                      many of Motley Rice’s most complex securities cases, particularly
LICENSED IN: SC                                                       those involving healthcare.
ADMITTED TO PRACTICE BEFORE:
U.S. District Court for the District of South Carolina                Josh represents public pension funds, unions and institutional
EDUCATION:                                                            investors in both federal and state courts. He also represents
J.D., University of Virginia School of Law, 2013                      individuals with catastrophic injuries, victims of medical
B.A. with honors, University of Central Florida, 2009                 malpractice and corporate whistleblowers. Josh works directly
Tope Leyimu focuses her practice on people and families whose         with clients and has been involved in all aspects of the litigation
lives have been affected by catastrophic injuries or death as         process, including initial case evaluation, discovery, resolution
a result of corporate wrongdoing, occupational hazards and            and trial.
environmental negligence. She is also actively involved in the        Among other complex matters, Josh has litigated securities fraud
firm’s asbestos litigation involving victims of mesothelioma and      actions against St. Jude Medical, Inc.; Pharmacia Corporation
other asbestos-related diseases.                                      and NPS Pharmaceuticals. Early in his career at Motley Rice, Josh
While a law student at the University of Virginia School of Law,      worked on discovery in product liability cases against Merck &
Tope interned with the Legal Aid Justice Center of Charlottesville,   Co., Inc., related to the drug Vioxx.
Va., and participated in the family mediation clinic mediating        More recently, Josh has helped Motley Rice expand its shareholder
disputes between parties. Tope worked as a law clerk at a firm        derivative practice, litigating cases against boards of directors of
in the Jacksonville, Fla., area, where she gained experience          publicly traded companies including Lululemon, Inc.; Omnicare,
drafting legal memoranda, complaints and pre-trial motions            Inc.; Chemed Corporation; Walgreen Co.; Cintas Corporation; The
on evidentiary issues. She also helped prepare for mediations         South Financial Group, Inc.; among others. Josh has experience
involving probate and products liability issues stemming from         handling several types of shareholder cases, including corporate
wrongful death cases.                                                 takeover cases litigated through and beyond the preliminary
Tope served as a Lile Moot Court Competitor at the University         injunction phase and books & records cases litigated through trial.
of Virginia School of Law, and also served on the board of the
                                                                      AWARDS AND ACCOLADES:
Virginia Sports and Entertainment Law Journal, as the President
                                                                      South Carolina Super Lawyers® Rising Stars list
of Phi Alpha Delta, the Vice President of Communications of
                                                                      2013–2016 Securities litigation; Class action/mass torts;
ABLE (Action for a Better Living Environment), and on the Policy
                                                                      General litigation
Council for the Black Law Student Association.
                                                                      ASSOCIATIONS:
                                                                      American Bar Association
                                                                      South Carolina Association for Justice

Prior results do not guarantee a similar outcome.                                          Motley Rice LLC • Attorneys at Law       41
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Miles Loadholt                                                        P. Graham Maiden
Of Counsel                                                            LICENSED IN: SC
LICENSED IN: SC                                                       EDUCATION:
EDUCATION:                                                            J.D., Charleston School of Law, 2011
J.D., cum laude, University of South Carolina School of Law,          B.S., College of Charleston, 2007
1968                                                                  Graham Maiden represents victims and family members who
B.S., University of South Carolina, 1965                              have suffered due to negligence, dangerous products, and
Miles Loadholt has practiced law for over four decades in the         corporate misconduct in domestic and international cases
areas of occupational disease, worker safety and business             ranging from product liability and vehicle defects to anti-
litigation. He has worked with Motley Rice attorneys on               terrorism and occupational disease.
occupational injury and asbestos litigation since the early           Graham is part of the litigation and trial team representing
1970s, representing victims of asbestos, radiation and beryllium      individual smokers and families of deceased smokers against
exposure. He has also represented workers suffering from              tobacco manufacturers in the Engle-progeny litigation
hearing loss caused by exposure to loud machinery on the              pending in Florida. In addition, he represents workers and
job and managed hundreds of workers’ compensation cases.              families suffering from mesothelioma and other asbestos-
Additionally, Miles has practiced business litigation including       related diseases as a result of occupational, environmental or
contract disputes and business torts.                                 household exposure to asbestos. Graham has also assisted
A longtime advocate of higher education, Miles was elected            the team consulting with South African human rights lawyer
chairman of the University of South Carolina Board of Trustees        Richard Spoor in his efforts to seek justice for exploited gold
in January 2009. With more than 12 years of service on the Board,     mine workers suffering from silicosis.
Miles is planning for the institution’s future capital campaign       In addition to working on several catastrophic personal injury
and building endowments. His involvement with the University          cases involving premises liability and negligence, Graham has
of South Carolina and higher education programs includes              contributed to cases filed on behalf of clients injured by Takata
his appointment to the South Carolina Commission on Higher            airbags.
Education by Governor Jim Hodges, serving as a member of the
                                                                      Graham previously supported the firm’s work in Linde v. Arab
Western Carolina Higher Education Commission and more than
                                                                      Bank, a landmark case filed by victims of terrorist bombings in
20 years on the Executive Committee of the Gamecock Club.
                                                                      Israel against Arab Bank for its alleged role in financing Hamas
For his contributions to education in South Carolina, Miles           and other Israeli terrorist organizations. In the first case that
received the Order of the Palmetto in 2002, the highest civilian      brought a financial institution to trial under the Anti-Terrorism
honor in the state. His portrait can be found in the law library of   Act, a Brooklyn, N.Y. jury found Arab Bank liable for financing
the University of South Carolina’s School of Law as recognition       terrorism through Hamas in 2014.
for his generosity and service.
                                                                      Graham joined Motley Rice as an associate after first serving as
Miles earned a Bachelor of Science and Juris Doctor from the          a summer law clerk for the firm, during which time he supported
University of South Carolina. As a law student, he was on the         litigation on behalf of people and businesses seeking to hold
editorial board of the South Carolina Law Review and was a            BP and other corporate defendants accountable for the BP oil
member of Phi Delta Phi and the Society of Wig and Robe.              spill.
Miles is recognized as an AV® rated attorney by Martindale-           While in law school, Graham held an internship with the Beverly
Hubbell®.                                                             Hills Sports Council, a California-based Major League Baseball
                                                                      player agency, where he handled research and writing projects,
ASSOCIATIONS:                                                         as well as salary arbitration preparation. Graham also brings
American Association for Justice                                      valuable business experience to Motley Rice, having previously
American Bar Association                                              worked for a large real estate and development company
Barnwell County Bar Association                                       assisting with the development and management of hotels and
South Carolina Association for Justice                                restaurants across the country.
                                                                      A former collegiate athlete at the College of Charleston,
                                                                      Graham played Division I baseball and proudly represented his
                                                                      school as a member of the All-Southern Conference Team in
                                                                      2007.

                                                                      ASSOCIATIONS:
                                                                      American Association for Justice
                                                                      South Carolina Association for Justice
                                                                      South Carolina Bar Association
                                                                      Charleston Bar Association



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Michaela Shea McInnis                                                  for the Rhode Island Supreme Court Law Clerk Department,
                                                                       where she served as the sole law clerk to the Honorable Stephen
LICENSED IN: MA, NY, RI
                                                                       P. Nugent of the Rhode Island Superior Court. She was also a
EDUCATION:
                                                                       research assistant to Chief Justice Frank J. Williams (Ret.).
L.L.M., Boston University School of Law, 1985
J.D., Suffolk University Law School, 1980                              A magna cum laude graduate and scholarship recipient, Katie was
B.A., Providence College, 1977                                         recognized with the CALI Excellence award as the highest scoring
Michaela McInnis represents individuals, states, cities and other      student in Legal Methods I, Advanced Criminal Procedure and
municipalities in environmental litigation involving harmful           Private International Law. Additionally, she served as a member
exposure to lead paint or other sources of environmental               of the Roger Williams University Law Review and published two
contamination.                                                         papers, “The Impact of Pretrial Publicity on an Indigent Capital
                                                                       Defendant’s Due Process Right to a Jury Consultant” and a survey
She was a member of the trial team in the State of Rhode
                                                                       of Rhode Island Law concerning City of East Providence v. Int’l
Island’s landmark lead paint suit against the lead pigment
                                                                       Ass’n of Firefighters Local.
industry, conducting discovery and overseeing the case
management order. Her role with the Environmental practice
                                                                       ASSOCIATIONS:
group also includes toxic tort work, including cases of personal
                                                                       Rhode Island Bar Association
injury, property damage or economic loss as a result of water
or land contamination. Michaela also represented more than
100 residents of Tiverton, Rhode Island, against a major utility       Meredith B. Miller
company for environmental contamination of residential                 LICENSED IN: SC, TX
property.                                                              ADMITTED TO PRACTICE BEFORE:
Michaela began her legal career as an attorney with the appellate      U.S. District Court for the Northern, Southern, Eastern and
staff of the Rhode Island Supreme Court, later transitioning to a      Western Districts of Texas
diverse tax practice in New York. Her legal work extended outside      EDUCATION:
of the office as a volunteer to the IRS Volunteer Income Tax           J.D., University of Texas School of Law, 2011
Assistance and Tax Counseling for the Elderly programs in Rhode        B.A., with distinction, University of North Carolina, Chapel Hill,
Island. Additionally, Michaela volunteered for several years           2008
with the Ethics Committee of the Visiting Nurse Association of         Meredith Miller represents public pension funds, unions and
Newport County, where she offered case reviews and guidance            other institutional investors in both federal and state courts.
to the staff of the VNA regarding ethical issues.                      She also represents victims of medical malpractice. Meredith
                                                                       works directly with clients and is typically involved in the initial
A former adjunct professor at the University of Rhode Island,
                                                                       case evaluation, discovery, and various motion practice.
Michaela has taught both undergraduate and graduate level
courses on the American legal system and constitutional law.           Meredith is a member of the team representing investors in
She is a former law clerk for the Honorable Joseph R. Weisberger       securities fraud class actions filed against Advanced Micro
of the Rhode Island Supreme Court.                                     Devices, Barrick Gold and SAC Capital. She is also part of the
                                                                       team bringing claims for breach of fiduciary duty against current
Kate E. Menard                                                         and former directors of Lululemon for failing to investigate
                                                                       potential insider trades allegedly made by the company’s
LICENSED IN: MA, NY, RI                                                founder and former chairman.
EDUCATION:
J.D. magna cum laude, Roger Williams University School of              Prior to joining Motley Rice, Meredith gained trial and settlement
Law, 2011                                                              experience as an associate at a Dallas, Texas, law firm working
B.A. magna cum laude, Quinnipiac University, 2008                      in business and construction litigation. While attending the
Katie Menard is committed to helping people harmed by allegedly        University of Texas School of Law, she clerked for an Austin
defective medical devices, including women suffering from              firm, represented victims in court as a student attorney in the
painful and serious injuries caused transvaginal mesh and pelvic       UT Law Domestic Violence Clinic and was a Staff Editor of the
mesh devices.                                                          Review of Litigation journal. During her undergraduate and
                                                                       law school career, Meredith studied abroad in Paris, France,
Katie initially joined Motley Rice as a law clerk in 2013, providing   Geneva, Switzerland and Puebla, Mexico.
support to the medical device litigation team, including preparing
motions, evaluating client records, and preparing for trials and       ASSOCIATIONS:
settlements.                                                           Charleston County Bar Association
As a law student at Roger Williams University School of Law, Katie
was a research assistant to Professor Kathleen Miller, a judicial
extern for the Honorable Chief Justice Paul A. Suttell and an intern
in the Special Prosecutions Division of the Westchester County
District Attorney’s Office in New York. After graduation, she worked



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Christopher F. Moriarty                                              William S. Norton
LICENSED IN: SC                                                      LICENSED IN: MA, NY, SC
ADMITTED TO PRACTICE BEFORE:                                         ADMITTED TO PRACTICE BEFORE:
U.S. District Court for the District of Colorado, Northern           U.S. Supreme Court; U.S. Court of Appeals for the First
District of Illinois, District of South Carolina                     and Second Circuits; U.S. District Court for the District of
EDUCATION:                                                           Colorado, Northern District of Illinois, Eastern and Southern
J.D., Duke University School of Law, 2011                            Districts of New York, and District of South Carolina
M.A., Trinity College, University of Cambridge, 2007                 EDUCATION:
B.A., Trinity College, University of Cambridge, 2003                 J.D., Boston University School of Law, 2004
Christopher was a member of the litigation teams representing        B.A./B.S. magna cum laude, University of South Carolina, 2001
investors as lead counsel in securities fraud litigation involving   Bill Norton litigates securities fraud, corporate governance,
Hill v. State Street Corporation ($60 million recovery*); In re      and other complex class-action and commercial litigation. Bill
Hewlett-Packard Co. Securities Litigation ($57 million recovery*);   has represented public retirement systems, union pension
and Ross v. Career Education Corp. ($27.5 million recovery*).        funds, investment companies, banks, and other institutional and
In addition, Christopher represented institutional investors in      individual investors before federal, state, and appellate courts
shareholder derivative litigation in In re Walgreen Co. Derivative   throughout the country. He also has experience representing
Litigation, which secured corporate governance reforms to            whistleblowers who report violations of the law to the U.S.
ensure compliance with the Controlled Substances Act*.               Securities and Exchange Commission under the Dodd-Frank
                                                                     Whistleblower Program.
Christopher is currently a member of the teams representing
investors in the following cases: Första AP-Fonden and Danske
                                                                     FEDERAL SECURITIES FRAUD LITIGATION
Invest Management A/S v. St. Jude Medical, Inc.; In re Medtronic,
                                                                     Bill is a member of the litigation teams representing institutional
Inc. Securities Litigation; City of Brockton Retirement System v.
                                                                     investors as lead counsel in litigation involving Advanced Micro
Avon Products, Inc.; In re Barrick Gold Securities Litigation; and
                                                                     Devices, Inc.; International Business Machines Corporation;
In re Conn’s, Inc. Securities Litigation.
                                                                     Investment Technology Group, Inc.; and GNC Holdings, Inc. He
While in law school, Christopher was a member of the Moot            also played a key role in the following cases:
Court Board, served as an Executive Editor of the Duke Journal       • Bennett v. Sprint Nextel Corp. ($131 million recovery*)
of Constitutional Law and Public Policy, and taught a course on
                                                                     • City of Brockton Retirement System v. Avon Products, Inc. ($62
constitutional law to LL.M. students. Christopher has also drafted
                                                                       million recovery*)
amicus curiae briefs in numerous constitutional law cases before
the U.S. Supreme Court, which has cited his work.                    • Hill v. State Street Corporation ($60 million recovery*)
                                                                     • City of Sterling Heights General Employees’ Retirement System
Christopher was called to the Bar in England and Wales by the          v. Hospira, Inc. ($60 million recovery*)
Honourable Society of the Middle Temple.
                                                                     • In re Hewlett-Packard Company Securities Litigation ($57
                                                                       million recovery*)
AWARDS AND ACCOLADES:
South Carolina Super Lawyers® Rising Stars list                      • Ross v. Career Education Corporation ($27.5 million recovery*)
2016 Securities litigation                                           SHAREHOLDER DERIVATIVE LITIGATION
                                                                     Bill is a member of the teams representing institutional investors in
ASSOCIATIONS:
                                                                     shareholder derivative litigation on behalf of Chemed Corporation.
American Bar Association
                                                                     He was also a member of the teams that litigated the following
South Carolina Bar Association
                                                                     cases:
Charleston County Bar Association
South Carolina Association for Justice                               • Manville Personal Injury Settlement Trust v. Gemunder ($16.7
                                                                       million payment to the company and significant corporate
                                                                       governance reforms*)
                                                                     • In re Walgreen Co. Derivative Litigation (corporate governance
                                                                       reforms ensuring compliance with Controlled Substances
                                                                       Act*)

                                                                     MERGER AND ACQUISITION LITIGATION
                                                                     Bill has represented institutional shareholders in litigation
                                                                     concerning corporate mergers and acquisitions, including the
                                                                     following cases:
                                                                     • In re Allion Healthcare, Inc. Shareholders Litigation ($4 million
                                                                       payment to shareholders*)




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• In re RehabCare Group, Inc., Shareholders Litigation ($2.5             Meghan S. B. Oliver
  million payment, modification of merger agreement, and
  additional disclosures to shareholders*)                               LICENSED IN: DC, SC, VA
• In re Atheros Communications Shareholder Litigation                    EDUCATION:
  (preliminary injunction delaying shareholder vote and requiring        J.D., University of Virginia School of Law, 2004
  additional disclosures to shareholders in $3.1 billion merger*)        B.A. with distinction, University of Virginia, 2000
• Maric Capital Master Fund, Ltd. v. PLATO Learning, Inc.                Meghan Oliver’s practice includes work on securities fraud
  (preliminary injunction requiring additional disclosures to            cases, antitrust litigation, general commercial litigation,
  shareholders in $143 million private-equity buyout*)                   and consumer fraud litigation. She is actively involved in In
• In re The Shaw Group Shareholders Litigation (class-wide, opt-         the Matter of Bayer Corp., Case No. 07-CI-00148, pending in
  in appraisal right and additional disclosures to shareholders in       Franklin Circuit Court in Kentucky. Meghan’s securities fraud
  $3 billion merger*)                                                    work includes cases involving Medtronic, Inc., Hospira, Inc.,
                                                                         and several others. Her antitrust experience at Motley Rice has
OTHER SECURITIES, CONSUMER FRAUD, AND                                    focused on generic drug cases.
COMMERCIAL LITIGATION
                                                                         Prior to joining Motley Rice, Meghan worked as a business
Bill has also represented clients in a wide variety of securities,
                                                                         litigation and antitrust associate in Washington, D.C. There, she
consumer fraud, and commercial litigation, including the following
                                                                         assisted in the trial of a multidistrict litigation antitrust case and
cases:
                                                                         assisted in multiple corporate internal investigations. She is a
• Class action on behalf of municipal-bond investors in an               member of Phi Beta Kappa.
  alleged 38-state Ponzi scheme
• Class action against DirecTV regarding early cancellation fees         ASSOCIATIONS:
• Class action on behalf of satellite retailers against EchoStar         American Bar Association
  Corporation, resulting in settlement valued at approximately
  $83 million*
                                                                         John David O’Neill
• Litigation on behalf of a German bank concerning investments
  in mortgage-backed collateralized debt obligations                     LICENSED IN: SC
• Federal and state lawsuits regarding variable life insurance           EDUCATION:
  investments funneled to the Madoff Ponzi scheme                        J.D., University of South Carolina School of Law, 2013
                                                                         B.S., Clemson University, 2008
• Litigation on behalf of real-estate investors regarding luxury
  real-estate development                                                John David O’Neill practices multidistrict litigation on behalf of
                                                                         clients affected by toxic exposure, defective medical devices,
Prior to joining Motley Rice, Bill practiced securities and commercial   and vehicle defects and recalls. He also assists with qui tam
litigation in the New York office of an international law firm. While    whistleblower litigation. With a background in engineering,
attending law school, Bill served as an Editor of the Boston             John brings a technical approach to case review and analysis.
University Law Review and was a G. Joseph Tauro Distinguished
Scholar. He served as a law clerk in the United States Attorney’s        John has consulted as an engineer on projects involving
Office for the District of Massachusetts, represented asylum             manufacturing, transportation, institutional, municipal and
seekers at Greater Boston Legal Services, and studied law at the         residential construction. Prior to attending law school, he was
University of Oxford. Prior to law school, Bill worked for the United    a lead manufacturing engineer with an international aerospace
States Attorney’s Office for the District of South Carolina and          corporation where he was responsible for planning repairs
with the Neighborhood Legal Assistance Program of Charleston             for damaged parts and other components that did not meet
through a grant program. Bill graduated Phi Beta Kappa from the          specifications.
University of South Carolina Honors College. Bill is recognized as       John was also a member of the engineering team that performed
an AV®-rated attorney by Martindale-Hubbell®.                            quality inspections of structural installations on behalf of the
                                                                         S.C. DOT on the Arthur Ravenel Jr. Bridge in Charleston, S.C.,
AWARDS AND ACCOLADES:                                                    one of the longest cable-stayed bridges in North America.
South Carolina Super Lawyers® Rising Stars list                          John was formerly a South Carolina property attorney, having
2013–2016 Securities litigation; class action/mass torts;                worked on construction defect claims, negotiated commercial
general litigation                                                       property deals in Charleston, and provided representation in
                                                                         Circuit Court and Municipal Court on criminal and civil matters.
ASSOCIATIONS:
Federal Bar Association                                                  ASSOCIATIONS:
American Bar Association                                                 South Carolina Bar Association
American Association for Justice                                         American Society of Civil Engineers
New York State Bar Association
South Carolina Bar Association
Charleston County Bar Association




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Jonathan D. Orent                                                       AWARDS AND ACCOLADES:
LICENSED IN: MA, RI, WI                                                 Rhode Island Super Lawyers® Rising Stars list
ADMITTED TO PRACTICE BEFORE:                                            2014–2016 Business litigation; Class action/mass torts;
U.S. District Court for the District of Massachusetts                   Appellate
EDUCATION:
J.D., Washington University School of Law, 2004
                                                                        ASSOCIATIONS:
                                                                        American Association for Justice
B.A., University of Rochester, 2001
                                                                        American Bar Association
Jonathan Orent litigates for people alleging harm by defective
medical devices and pharmaceutical drugs, including all
aspects of discovery and expert development. He represents              Michael J. Pendell
women suffering from painful side effects associated with
pelvic mesh/sling products in hundreds of filed cases against           LICENSED IN: CT, NY
multiple corporations.                                                  ADMITTED TO PRACTICE BEFORE:
                                                                        U.S. District Court for the District of Connecticut, Southern
Jonathan serves as co-liaison counsel in the In re Bard Litigation      and Eastern Districts of New York
in New Jersey state court and as state court liaison counsel in         EDUCATION:
Massachusetts.                                                          J.D., summa cum laude, Albany Law School, 2007
Jonathan also represents communities and people facing                  B.A., cum laude, Emerson College, 2000
personal injury, property damage and economic loss as a result          Michael Pendell focuses his practice on representing workers
of negligence, environmental hazards or groundwater and soil            and their families, as well as pension fund trustees and other
contamination. He represents clients in Pennsylvania’s Apollo-          institutional investors in securities, consumer fraud and
Parks area who allege they suffered severe illnesses after being        complex class action.
exposed to dangerous levels of toxic or radioactive materials           Michael, along with other Motley Rice attorneys, represented
released into the air, water and soil by local nuclear facilities. In   a union pension fund as co-lead counsel in a securities fraud
2008, he litigated against a large New England utility company          class action to recoup losses against a telecom provider
on behalf of more than 100 Tiverton, R.I., residents who                that allegedly provided false information regarding its
claimed they suffered damages resulting from environmental              financial results, causing artificially inflated stock prices that
contamination of their residential property. More recently,             subsequently plummeted when the truth was made known. The
Jonathan played a role in the settlement of contamination               settlement is pending court approval.
litigation between members of the Tallevast, Fla., community
and a major aerospace defense contractor involving property             Michael also has experience representing institutional and
damage and emotional distress claims resulting from the                 individual investors in claims involving common law fraud
alleged release of trichloroethylene (TCE), perchloroethylene           pursuant to state securities laws. Michael recently played a
(PCE) and other chemicals into the groundwater.                         central role on the litigation team that obtained a seven-figure
                                                                        arbitration award in a case involving secondary liability for an
Jonathan has worked on complex litigation against the lead              investment advisor’s conduct under the Uniform Securities Act.
paint industry on behalf of government entities in California,          Michael also has experience in complex commercial cases
New York, Rhode Island and Wisconsin, as well as lead poisoning         regarding claims of fraud, breach of contract, and tortuous
cases for individual children and families against property             interference. He represents plaintiffs in a wide array of personal
owners. He also assists with discovery and trial preparation of         injury actions, and serves as trial counsel representing
the firm’s asbestos cases.                                              individual smokers and families of deceased smokers against
Prior to joining Motley Rice in 2005, Jonathan served as a law          tobacco manufacturers in the Engle-progeny litigation pending
clerk with the Missouri State Public Defender Youth Advocacy            in Florida.
Unit and a legal intern for Senator Richard Durbin of Illinois.         Michael joined Motley Rice after serving as an associate with a
A frequent speaker, he has made numerous presentations                  Connecticut-based law firm, where he first gained experience in
on a variety of legal matters involving environmental law. He           both federal and state courts in such areas as commercial and
serves on the Rhode Island Advisory Committee to the U.S.               construction litigation, media and administrative law, personal
Commission on Civil Rights, a group whose mission is to                 injury defense and labor and employment matters. Michael
address key community issues and discrimination matters, such           previously taught business law to BA and MBA candidates as an
as foreclosure scams and the disparate treatment of minority            adjunct professor at Albertus Magnus College.
youth, through research and initiatives. Jonathan is also a
member of the board of the Rhode Island Toxic Action Center.            Michael served as a legal intern for the Honorable Randolph F.
                                                                        Treece of the U.S. District Court for the Northern District of New
                                                                        York and as a law clerk for the Major Felony Unit of the Albany
                                                                        County District Attorney’s Office. He served as the executive
                                                                        editor for the New York State Bar Association Government Law
                                                                        & Policy Journal and senior editor for the Albany Law Review,



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which published his 2008 article entitled, “How Far is Too Far?     Before joining Motley Rice, Caroline gained experience in
The Spending Clause, the Tenth Amendment, and the Education         case management strategy as a law clerk with the Southern
State’s Battle Against Unfunded Mandates.”                          Environmental Law Center, working on issues involving complex
                                                                    federal and state environmental statutes and regulations.
AWARDS AND ACCOLADES:                                               Caroline also worked as a law clerk at a Charleston, S.C.-based
Connecticut Super Lawyers® Rising Stars list                        law firm where she assisted with client interviews, hearings and
2013–2016 Securities litigation; Business litigation; Personal      mediations.
injury – products: plaintiff
                                                                    Caroline’s political experience includes internships with Senator
ASSOCIATIONS:                                                       Lindsey Graham’s Columbia, S.C., office and the Conservation
American Association for Justice                                    Voters of South Carolina. She also worked with the District of
Connecticut Bar Association                                         Columbia Bar Association’s Attorney/Client Relations Program
New York State Bar Association                                      in Washington, D.C., assisting in the resolution of fee disputes
                                                                    through arbitration, committee meetings and case summaries.
* Prior results do not guarantee a similar outcome. For
full Super Lawyers selection methodology visit: www.                Along with receiving the top score in appellate oral advocacy
superlawyers.com/about/selection_process.html                       in products liability litigation at the Charleston School of Law,
For 2013–14 CT data visit: www.superlawyers.com/                    Caroline was recognized by the school for providing more
connecticut/selection_details.html                                  than 100 hours of pro bono work. Additionally, she served
                                                                    as Treasurer to the Women in Law and as a member of the
                                                                    marketing committee for the Federal Court’s Law Review.
Laura W. Ray                                                        Caroline is active in the Charleston community and volunteers
LICENSED IN: CT                                                     as a mentor in the BRIDGE Program, an initiative to provide
EDUCATION:                                                          substance abuse rehabilitation services to people involved
J.D. with High Honors, University of Connecticut School of          in the federal criminal justice system. BRIDGE is a joint effort
Law, 1989                                                           between the U.S. Probation Office, Federal Public Defender’s
B.S.B.A. magna cum laude, Boston University, 1983                   Office, U.S. Attorney’s Office, and South Carolina’s U.S. District
Laura Ray handles complex securities litigation for victims of      Court.
corporate wrongdoing, including institutional investors and
union pension funds.                                                ASSOCIATIONS:
                                                                    American Bar Association
Laura is a member of the team leading a proposed class
                                                                    South Carolina Association for Justice
action alleging that Investment Technology Group (ITG)
                                                                    South Carolina Bar Environmental Law Section
defrauded shareholders by concealing the actions that led
                                                                    South Carolina Women Lawyers Association
to a regulatory sanction fine levied against it by the SEC. The
                                                                    Charleston County Bar Association
fine announcement, made in August 2015, allegedly resulted in
stockholders suffering a loss of more than 23 percent in share
value. The $20.3 million sanction is considered the largest fine    Ann K. Ritter
levied by the SEC against a private securities trading forum,       Senior Counsel and Securities Case
otherwise known as a dark pool.
                                                                    Coordination Manager
Prior to joining Motley Rice, Laura worked in commercial
                                                                    LICENSED IN: SC
litigation, handling trial and appellate litigation, arbitration
                                                                    ADMITTED TO PRACTICE BEFORE:
and mediation. Laura served as law clerk to Justice Robert J.
                                                                    U.S. Court of Appeals for the Third and Eleventh Circuits
Callahan of the Connecticut Supreme Court. Laura began her
                                                                    EDUCATION:
career as a certified public accountant.
                                                                    J.D., University of Tennessee, 1982
                                                                    B.S., Florida State University, 1980
Caroline Rion                                                       As Senior Counsel for Motley Rice, Ann Ritter plays a key role
LICENSED IN: SC                                                     on Motley Rice’s securities team, which represents domestic
EDUCATION:                                                          and foreign institutional investors in complex cases involving
J.D., Charleston School of Law, 2013                                shareholder rights, corporate governance, securities and
B.A., University of South Carolina, 2007                            consumer fraud. She possesses more than 25 years of experience
Caroline Rion practices in the areas of products liability          in complex litigation involving matters as varied as securities,
and occupational disease with a focus on asbestos-related           products liability and consumer protection.
diseases, helping clients tell their stories and seek the justice   Ann serves as a frequent speaker on legal topics such as worker
they deserve. She represents victims of mesothelioma in             safety, shareholder rights and corporate governance. In 2007, she
individual and consolidated cases and is responsible for pre-       addressed leading German institutional investors as a keynote
trial preparation, including responses to defendants’ motions.      speaker on the impact of U.S. class actions at the Deutsche



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Schutzvereinigung für Wertpapierbesitz e. V. Practical Workshop       Lisa M. Saltzburg
for institutional investors in Frankfurt, Germany.                    LICENSED IN: SC, CO
After earning a Bachelor of Science degree from Florida State         ADMITTED TO PRACTICE BEFORE:
University, Ann pursued a law degree from the University of           U.S. Court of Appeals for the Fourth, Fifth and Eleventh Circuits
Tennessee. She is the co-author of Asbestos in Schools, published     U.S. District Court for the District of South Carolina
by the National School Boards Association. Ann previously served      EDUCATION:
on the Advisory Committee for the Tobacco Deposition and Trial        J.D., Stanford Law School, 2006
Testimony Archives (DATTA) Project and currently serves on the        B.A. with high distinction, University of California, Berkeley,
Executive Committee of the Board of the South Carolina Special        2003
Olympics, the Advisory Board of the Medical University of South       Lisa Saltzburg represents individuals and institutional clients
Carolina Hollings Cancer Center and the Advisory Board of The         in complex securities and consumer fraud actions, merger and
University of Mississippi School of Law. She is recognized as a BV®   acquisition cases, shareholder derivative suits and a variety
rated attorney by Martindale-Hubbell®.                                of other consumer and commercial matters. Lisa also works
                                                                      closely with the BP Oil Spill litigation team, helping people
ASSOCIATIONS:                                                         and businesses in Gulf Coast communities file claims through
South Carolina Association for Justice                                the new claims programs established by the two settlements
                                                                      reached with BP.
Michael G. Rousseau                                                   Prior to joining Motley Rice, Lisa was an associate attorney
LICENSED IN: CA, MA, RI, WI                                           for a nonprofit advocacy organization, where she worked
EDUCATION:                                                            through law and policy to protect the environmental interests
J.D., Pepperdine University, 1999                                     of the Southeast. She drafted briefs and other filings in
B.S., Bentley College, 1996                                           South Carolina’s federal and state courts and worked with
Michael Rousseau handles discovery and expert testimony and           administrative agencies to prepare for hearings and mediation
analyzes data for settlement negotiations for the pelvic mesh         sessions. Lisa also served for two years as a judicial clerk for
litigation team. He also represents victims of mesothelioma and       the Honorable Karen J. Williams of the U.S. Court of Appeals for
works on the Composix® Kugel® Mesh legal team on discovery            the Fourth Circuit, where she developed valuable legal research
matters, document analysis and settlement.                            and writing skills and gained experience involving a wide range
                                                                      of issues arising in civil and criminal cases.
He has also litigated environmental lead poisoning cases
against paint manufacturing corporations and landlord                 Lisa held multiple positions in environmental organizations
defendants. Michael gathered evidence and participated                during law school, handling a broad array of constitutional,
in State of Rhode Island v. Lead Industries Association, et.          jurisdictional and environmental issues. She also served as
al., and more recently played a key role in trial preparation,        an editor of the Stanford Law Review and as an executive
discovery and document analysis in The People of California           editor of the Stanford Environmental Law Journal. A member of
v. Atlantic Richfield Company et al. In 2005, he served on the        numerous organizations and societies, including the Stanford
legal team that successfully advocated for an extension of the        Environmental Law Society, Lisa attended the National Institute
risk contribution theory of liability in Wisconsin, enabling lead-    for Trial Advocacy’s week-long Trial Advocacy College at the
poisoned children and families to seek compensation from              University of Virginia.
former manufacturers of lead paint. Prior to joining Motley Rice
in 2003, Michael represented consumers in insurance bad faith         AWARDS AND ACCOLADES:
class actions and handled wills, trusts and estates and elder         South Carolina Super Lawyers® Rising Stars list
law matters.*                                                         2016 Securities litigation, Class action/mass torts, Personal
                                                                      injury–products: plaintiff
As a law student, Michael provided volunteer representation
to autistic children to help them obtain special education
services and physical therapy pursuant to the Individuals with
                                                                      Hayleigh T. Stewart Santra
Disabilities Education Act (IDEA).                                    LICENSED IN: SC
                                                                      EDUCATION:
ASSOCIATIONS:                                                         J.D., University of North Carolina School of Law, 2012
American Bar Association                                              B.A. with honors, University of North Carolina at Chapel Hill,
                                                                      2008
                                                                      Hayleigh Stewart Santra represents victims harmed by
                                                                      dangerous prescription drugs and defective medical devices,
                                                                      working to hold accountable those responsible for corporate
                                                                      wrongdoing and inadequate product warning, research and
                                                                      testing. Hayleigh represents people allegedly harmed by
                                                                      transvaginal mesh, Crestor®, and Essure®. She was part of the



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trial team for Barba v. Boston Scientific Corp., a transvaginal      Elizabeth Smith
mesh case that resulted in a $10M award in 2015.* Previously,        LICENSED IN: DC, SC
she has been involved in litigation involving other potentially      ADMITTED TO PRACTICE BEFORE:
harmful medical drugs and devices such as Actos®, dialysis           U.S. Court of Appeals for the District of Columbia Circuit
products GranuFlo® powder and NaturaLyte® Liquid, Nuvaring®          U.S. District Court for the District of South Carolina
and Topamax®.                                                        EDUCATION:
Prior to joining Motley Rice, Hayleigh served as a summer law        J.D. cum laude, University of South Carolina School of Law,
clerk for Pisgah Legal Services, a nonprofit organization based      2000
in Asheville, N.C., that offers legal assistance to disadvantaged    B.A., Furman University, 1995
citizens of Western North Carolina. She gained experience            Elizabeth represents clients injured by corporate wrongdoing,
working with attorneys to provide legal aid to low-income            with an emphasis on anti-terrorism and human rights litigation.
victims of domestic violence, as well as homeowners facing           Her current practice includes aviation liability cases on behalf
foreclosure. During this time, Hayleigh also contributed to an       of victims and families of the September 11, 2001, airline
appellate brief on terminating parental rights.                      disasters, as well as the 9/11 Families United to Bankrupt
                                                                     Terrorism multidistrict litigation aiming to bankrupt financiers
Hayleigh’s background and interests are diverse and include
                                                                     of al Qaeda and other terrorist groups.
the field of education. She taught English in Madrid, Spain, for
nearly a year following her undergraduate studies, teaching          Elizabeth’s role in the 9/11-related litigation led to her
writing, reading, speaking and listening skills to both adults and   representing numerous families at hearings before the
children. While living in Spain, she complemented her teaching       September 11th Victim Compensation Fund with Special Master
work writing as a columnist for European Vibe Magazine, a            Kenneth Feinberg. She has also litigated personal injury and
monthly lifestyle magazine for the English-speaking community        consumer protection cases, including vehicle defect cases,
of Madrid.                                                           asbestos litigation and lead paint poisoning lawsuits, and has
                                                                     managed client relations, research and discovery, and trial
Hayleigh held multiple positions while at the University of North
                                                                     preparation for various litigation teams.
Carolina School of Law in Chapel Hill, including serving as a
Research, Reasoning, Writing, Advocacy Teacher’s Assistant,          As an undergraduate student, Elizabeth completed a Middle
the Treasurer of the Immigration Law Association and the co-         East and Africa Foreign Study Program, and traveled from
President of the American Constitution Society. She was also         Kenya to Israel. While in law school, she served on the editorial
a member of the First Amendment Law Review and North                 board of the ABA Real Property, Probate & Trust Journal. After
Carolina Student Bar Association. A member of Phi Beta Kappa         graduation, Elizabeth was a law clerk for the Honorable Diane
who graduated in the top third of her class, she additionally        S. Goodstein, Circuit Court Judge of the First Judicial Circuit for
competed as a Kilpatrick Stockton 1L Trial Competition Defense       South Carolina. She is recognized as a BV® rated attorney by
Attorney and helped domestic violence victims through her            Martindale-Hubbell®.
work with the Domestic Violence Clinic.
                                                                     ASSOCIATIONS:
Hayleigh has volunteered with both the North Carolina Driver’s
                                                                     American Association for Justice
License Restoration Project and the Lambda Law Students
                                                                     Federal Bar Association
Health Care Power of Attorney Clinic in Chapel Hill, N.C. She
                                                                     South Carolina Association for Justice
currently donates her time to the Charleston, SC chapter of Big
Brothers Big Sisters.
                                                                     W. Christopher Swett
AWARDS AND ACCOLADES:
                                                                     LICENSED IN: DC, MN, SC, WV
South Carolina Super Lawyers® Rising Stars list
                                                                     ADMITTED TO PRACTICE BEFORE:
2015–2016 Personal injury – products: plaintiff
                                                                     U.S. Court of Appeals for the Fourth Circuit; U.S. District Court
ASSOCIATIONS:                                                        for the Northern District of Ohio, District of South Carolina,
American Association for Justice                                     Southern District of West Virginia, and the Western District of
American Bar Association                                             Wisconsin
South Carolina Association for Justice                               EDUCATION:
South Carolina Bar Association, Young Lawyers Division Voices        J.D. cum laude, University of South Carolina School of Law,
Against Violence Committee; iCivics Committee                        2009
                                                                     B.A., B.S. summa cum laude, The Citadel, 2006
                                                                     Chris Swett focuses his efforts on assisting workers and
                                                                     families suffering from mesothelioma and other asbestos-
                                                                     related diseases due to occupational, environmental or
                                                                     household asbestos exposure. On behalf of asbestos victims,
                                                                     he handles litigation against manufacturers, property owners
                                                                     and contractors who sold or installed defective asbestos-
                                                                     containing products.

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Chris also represents victims and families in cases involving      William P. Tinkler
significant injuries caused by hazardous consumer products,        LICENSED IN: SC
fires, premises injuries and other incidents of negligence and     ADMITTED TO PRACTICE BEFORE:
misconduct. In the area of consumer protection, Chris has          U.S. Court of Appeals for the Fourth Circuit; U.S. District Court
represented clients alleging violations of the Unfair Trade        for the District of South Carolina
Practices Act and the Fair Debt Collection Practices Act. Chris    EDUCATION:
currently represents former and retired NFL players in the         J.D. cum laude, University of South Carolina School of Law,
National Football League Players’ Concussion Injury Litigation.    2010
Prior to joining Motley Rice, Chris served as a law clerk to       B.A., Emory University, 2005
the Honorable R. Bryan Harwell of the U.S. District Court for      William Tinkler works with public pension funds, unions and
the District of South Carolina. In this capacity, he conducted     other institutional investors to help secure governance reforms
complex research and prepared proposed orders involving            and achieve recoveries through strategic and targeted litigation.
numerous areas of the law, assisted with various phases of         He handles a wide range of complex cases, including securities
both civil and criminal trials and researched opinions for the     and consumer fraud litigation and shareholder derivative suits.
U.S. Court of Appeals for the Fourth Circuit.                      Before joining Motley Rice, William clerked with the Honorable
A recipient of the Citadel Scholar full academic scholarship and   R. Bryan Harwell of the U.S. District Court for the District of South
the Citadel Honors Program Gold Seal, Chris was honored with       Carolina and served as a staff attorney for the South Carolina
the University of South Carolina School of Law’s Cali Award for    Court of Appeals. His work with trial and appellate judges on
environmental law. Additionally, he served as Senior Associate     a diverse array of legal issues gave him valuable experience
Editor for the Southeastern Environmental Law Journal and is       in numerous areas of the law, as well as in legal research and
the author of published pieces concerning environmental law        writing. Additionally, he worked with several South Carolina
such as Politics, Money, and Radioactive Waste: The Savannah       law firms and the Charleston County Public Defender’s office
River Site Conundrum, 16.2 Se. Envtl. L.J. 391 (2008).             before his admission to the Bar.
Growing up in rural South Carolina with blue-collar parents,       While in law school, William served as the Peer Review Editor for
Chris quickly learned the value of hard work and giving back to    the South Carolina Law Review. During this time, he developed
the community. He volunteers as a Special Prosecutor for the       the Peer Reviewed Scholarship Marketplace, a consortium of
South Carolina Attorney General’s Office and assists with the      legal journals committed to incorporating peer review in their
prosecution of first offense domestic violence cases. Chris also   article selection process. William was honored with the CALI
proudly serves as class chairman for The Citadel Foundation,       award for Federal Practice. In 2010, he was selected as a “Next
helping to raise money for need-based scholarship funding          Generation Leader” by the American Constitution Society and
and is a former member of the Charleston County Library Board      served as President of his law school’s chapter. He was also a
of Trustees. Chris is recognized as an AV®-rated attorney by       member of the Order of the Wig and Robe.
Martindale-Hubbell®.                                               Active in his community, William, an Eagle Scout, has served
                                                                   as a Unit Commissioner with the Boy Scouts of America and
AWARDS AND ACCOLADES:
                                                                   participated in the Big Brothers, Big Sisters mentoring program.
The National Trial Lawyers
2013–present Top 100 Trial Lawyers™ – South Carolina
West Virginia Super Lawyers® Rising Stars list                     Kathryn A. Waites
2015–2016 Personal injury – products: plaintiff; Personal injury   LICENSED IN: SC
– general: plaintiff; Class action/mass torts                      ADMITTED TO PRACTICE BEFORE:
                                                                   U.S. District Court for the District of South Carolina
ASSOCIATIONS:                                                      EDUCATION:
American Association for Justice                                   J.D., University of South Carolina School of Law, 2009
South Carolina Association for Justice                             B.A. cum laude, Washington and Lee University, 2006
West Virginia Association for Justice                              Katie Waites represents victims and families harmed by
American Bar Association                                           hazardous consumer products, occupational and industrial
South Carolina Bar Association                                     accidents, premises injuries and other incidents involving
Charleston County Bar Association                                  negligence in products liability, personal injury and wrongful
Order of the Coif                                                  death cases. She is currently involved in a number of cases
Order of the Wig and Robe                                          against various corporate defendants and is responsible for
                                                                   developing legal theories, conducting legal research, and
                                                                   drafting discovery, pleadings and motions.
                                                                   Katie also works with the BP Oil Spill litigation team to assist
                                                                   individuals and businesses in their efforts to hold BP and other
                                                                   corporate defendants accountable for the Deepwater Horizon



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oil spill. She has been representing clients in the Gulf Coast areas
since shortly after the disaster occurred and has helped them
to pursue litigation and navigate the claims process pursuant to
the settlement agreement reached with BP. Additionally, Katie
has experience representing consumers, public pension funds,
unions, whistleblowers and institutional investors in securities
and consumer fraud class actions and shareholder derivative
suits and has assisted in the representation of smokers and the
families of deceased smokers against tobacco manufacturers
in the Engle-progeny litigation pending in Florida state and
federal courts.
Prior to joining Motley Rice, Katie served as a law clerk for the
Honorable Catharine R. Aron, U.S. Bankruptcy Judge for the
Middle District of North Carolina. In this capacity, she gained
experience writing complex legal memoranda, preparing
proposed orders and working with attorneys to handle and
resolve both consumer and business bankruptcies. She also
clerked for a number of law firms in the Charleston, S.C. area.
A South Carolina native, Katie pursued a Juris Doctor from the
University of South Carolina School of Law as a 3-year Merit
Scholarship Recipient. She served as a Student Editor of the
ABA Real Property Probate & Trust Journal, and was a competing
member of the University of South Carolina Moot Court Bar
and a Representative for the Legislative Council of the Student
Bar Association. Katie also demonstrated her commitment to
public service as a member of the University of South Carolina
Pro Bono Board, a student arbitrator with the Lexington County
Juvenile Arbitration Program, and a volunteer law clerk for South
Carolina Appleseed Legal Justice Center, where she worked to
affect change in low-income communities throughout the state
through education.
Katie continues to be active in her community, volunteering
her time to support the Susan G. Komen Race for the Cure, the
HALOS Back to School & Angel Tree Projects, and the South
Carolina Bar Young Lawyers Division’s Special Olympics and
Annual iCivics Day Projects each year. Katie has also served,
since becoming a lawyer, as a mentor for the Charleston County
Bar Association and has provided advice and aid to many young
lawyers entering the legal profession. Katie actively supports
the Dee Norton Lowcountry Children’s Center, the Charleston
Parks Conservancy, and the Coastal Community Foundation,
and also currently assists as a Sub-Committee Co-Chair for
the South Carolina Association for Justice’s newly founded
Women’s Caucus.

ASSOCIATIONS:
American Association for Justice
South Carolina Association for Justice
American Bar Association
South Carolina Bar Association
South Carolina Women Lawyers Association
Charleston County Bar Association




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                          28 Bridgeside Blvd. | Mt. Pleasant, SC 29464
                              SC | RI | CT | NY | WV | DC | LA | MO

            William H. Narwold (CT, DC, NY, SC) is the attorney responsible for this communication.
                              Prior results do not guarantee a similar outcome.
                                                 PD: 10.31.2016
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                          1 800.768.4026
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                        Exhibit 24
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      Eric H. Weinberg, Esq.

      Eric H. Weinberg is the principal of the Weinberg Law Firm, which has been based in
      New Brunswick, New Jersey, since 1984.

      Mr. Weinberg has more than thirty years of experience in the prosecution of complex
      civil cases. He has successfully represented victims of defective pharmaceutical drug and
      medical devices, medical malpractice, automobile and truck negligence, product liability,
      premises liability and construction matters.

      Mr. Weinberg has the unique experience in his long career as a trial lawyer of having
      prosecuted and defended cases in both the civil and criminal courts before juries and
      judges. The Firm is actively involved in the prosecution of medical malpractice, toxic
      tort, negligence and other matters.

      The Law Firm represented people who took the pharmaceutical drug Pradaxa and
      suffered serious injury or death as a result. Mr. Weinberg was appointed to the
      Multidistrict Litigation 2385 Pradaxa (Dabigatran Etexilate) Products Liability Litigation
      Plaintiffs' Steering Committee in the Southern District of Illinois. He served as Co-Chair
      of the Expert/Science Committee. These matters were settled with the manufacturer.

      The Firm represents the Attorney General of the State of Utah in a pending civil matter
      against Merck & Co., arising out of the purchase of Vioxx by the Utah Medicaid
      program. Mr. Weinberg represented hundreds of individuals, or their survivors, who
      suffered serious personal injuries or died as a consequence of taking the prescription drug
      Vioxx, in the consolidated state court litigation in Atlantic County, before the Honorable
      Carol A. Higbee. These matters were settled as a part of a $4.85 billion settlement with
      the manufacturer. Mr. Weinberg was awarded common benefit fees for his work
      benefitting all claimants in the litigation.

      The Firm has filed several hundred individual product liability matters in New Jersey
      state court involving defective vaginal mesh, as local counsel. Many of these matters
      have reached settlement.

      Mr. Weinberg played a leading role in discovery and expert development areas in
      consolidated litigation in Philadelphia involving the statin drug, Baycol. In 2003, Mr.
      Weinberg obtained a $68.5 million settlement of a significant number of cases on behalf
      of injured victims of Baycol.

      Mr. Weinberg was instrumental in obtaining a $670 million dollar class action settlement
      for individuals with hemophilia who were injured by defective pharmaceutical blood
      products. He was appointed as a member of the Steering Committee of Multi-District
      Litigation 986, In Re Factor VIII and Factor IX Blood Products, in the United States
      District Court for the Northern District of Illinois before Judge John Grady, and served
      on the Executive Committee of the Plaintiffs’ Steering Committee in that litigation. Mr.
      Weinberg also negotiated settlements in cases of individuals in New Jersey and New
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      York who suffered HIV infection. Mr. Weinberg developed the theory of liability that
      served as the basis of the class action litigation. He helped organize, fund and direct
      legislative strategies in New Jersey and New York that led to changes in the statutes of
      limitations in both jurisdictions, permitting injured persons to bring claims that might
      otherwise have been time-barred. These laws remain on the books.

      Mr. Weinberg served for many years as a Trustee of the Hemophilia Association of New
      Jersey. In 1995, the Association presented him with its President’s Award, given in
      recognition of extraordinary service to the Hemophilia Community.

      In 2009, Mr. Weinberg was jointly retained by a global pharmaceutical company and a
      consortium of plaintiff’s personal injury firms to mediate the resolution of approximately
      50 product liability claims arising from the use of an FDA approved antibiotic product.
      Mr. Weinberg, in his capacity as a neutral mediator of the issues, helped bring the matters
      to a settlement conclusion.

      In 1980, after graduation from law school, Mr. Weinberg was hired by the Somerset
      County, New Jersey Prosecutor as a Legal Assistant. Following a one year clerkship, he
      was appointed an Assistant County Prosecutor in 1981. He was appointed as Chief of
      Juvenile Prosecutions in 1981. He also handled adult prosecutions and supervised
      detective staff in major crime investigations.

      Mr. Weinberg left the Prosecutor’s Office in 1983, and was employed at the law firm of
      Franchino, Lenahan & Cross until late 1984. He served as an associate of the firm, whose
      primary clients were insurance companies. Mr. Weinberg tried several cases to verdict to
      juries across the state during his tenure as an insurance defense counsel, gaining valuable
      experience and insight to the workings of the insurance defense industry

      Since founding his own law firm in 1984, Mr. Weinberg has tried approximately thirty
      jury trials and over two hundred bench trials to verdict.

      He has served as a Visiting Lecturer at Cook College, Rutgers University, where he
      taught a Senior Honors Colloquium entitled, “AIDS, Blood and Litigation.” The course
      examined issues related to pharmaceutical drugs, from pharmaceutical research and
      development, through licensure, marketing, and post marketing; the interaction between
      industry and the regulatory authorities including the Food and Drug Administration; the
      impact of defective drugs and devices on public health; and legal remedies to the
      marketing and sale of dangerous and defective pharmaceutical and biological products.
      Mr. Weinberg has also been invited to teach Ph.D. candidates at the Rutgers School of
      Management and Labor Relations.

      Mr. Weinberg has been an invited speaker in many forums on topics relating to the
      prosecution and settlement of serious injury cases, including mass torts and catastrophic
      injury cases.
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      Public service has been an essential part of Mr. Weinberg’s life outside of his law
      practice. He served for many years as Chair of the Highland Park, New Jersey
      Recreation Advisory Committee. The father of four sons, he has coached hundreds of
      Highland Park kids in several sports. Eric and Diane Weinberg were honored by the
      Highland Park Conservative Temple and Center with the prestigious Chaver Award in
      2008, for service to the community.

      Mr. Weinberg graduated from Rutgers College, New Brunswick, New Jersey, in 1977,
      and from Boston University School of Law in 1980. He is admitted to the Bar of the
      States of New Jersey and New York, as well as numerous federal courts.
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      The Weinberg Law Firm Biography
      149 Livingston Avenue
      New Brunswick, New Jersey 08901

      November 2016


              The Weinberg Law Firm was founded in New Brunswick, New Jersey in 1984 by
      the principal of the firm, Eric H. Weinberg, Esq. The Firm has been and is currently
      focused upon complex litigation matters, including pharmaceutical drug litigation,
      medical malpractice litigation, and serious negligence matters.

             The Firm is comprised of two attorneys, Eric H. Weinberg, Esq. and Alan Jacob
      Weinberg, Esq. The Firm also employs paralegals, legal clerks and a Firm manager who
      oversees the Firm's marketing and operational tasks.

             The Firm has engaged in co-counsel agreements with several law firms across the
      country in a number of matters.

               The Firm has been involved since the late 1980s in litigation involving medical
      devices, biologic products, pharmaceutical products, and consumer products. The Firm
      has developed relationships with experts in various fields, including medicine, statistics
      and epidemiology, and science. The Firm has successfully retained world class experts in
      litigation matters.

               Eric Weinberg has been appointed to leadership positions in several complex
      litigations and in several individual cases, including Executive Committees, Science
      Committees and Expert Committees.
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                        Exhibit 25
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                     The Whitehead Law Firm, L.L.C.
                                          Petroleum Tower, Suite 303
                                       3639 Ambassador Caffery Parkway
                                          Lafayette, Louisiana 70503
                                            Telephone (337) 740-6006
                                            Facsimile (337) 205-7754
      ______________________________________________________________________________________
      C. Mark Whitehead III, M.D. *^                                     Lafayette, LA
      cmw@whiteheadfirm.com                                              Miami, FL

      Anna Katherine Higgins                                             *Licensed in Florida
      anna@whiteheadfirm.com                                             ^Licensed in District of Columbia


                                             INTRODUCTION

               Mark Whitehead has been practicing in the field of mass torts and class actions
      since 2001. He has been involved in numerous environmental cases involving class
      claims for property damage and medical monitoring. Mark also represents the
      Boilermakers’ Union Local 1814 in New Orleans, LA. He served on the plaintiff’s
      committee for consolidated Vioxx mass tort litigation in New Jersey and has served on
      the science committee of the Plaintiff’s Steering Committee in the PPA multi-district
      litigation, as well as serving similar roles in the Bextra/Celebrex, Vioxx, PPA, Fen-Phen,
      and Avandia MDLs. Mark is currently serving as a member of the science committee in
      the Xarelto MDL.

              Anna Katherine Higgins joined The Whitehead Law Firm in 2012. Since that time
      she has been involved in handling cases in numerous pharmaceutical mass torts including
      but not limited to NuvaRing, Actos, Transvaginal Mesh, and Avandia. She is currently
      working for the discovery committee in the Xarelto MDL.

              We are willing to commit our time and resources to this litigation including
      attending status conferences in New Jersey. Our only other current committee
      responsibilities are those mentioned in the above-referenced Xarelto MDL.

                                               EDUCATION

      Mark Whitehead

      B.S. – University of Georgia, 1991
      M.D. – Tulane University, 1995
      J.D. – Tulane University, 2000

      Anna Higgins

      B.S. – University of Georgia, 2008
      J.D. – Louisiana State University, 2011
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                     The Whitehead Law Firm, L.L.C.
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                                          Lafayette, Louisiana 70503
                                            Telephone (337) 740-6006
                                            Facsimile (337) 205-7754
      ______________________________________________________________________________________
      C. Mark Whitehead III, M.D. *^                                           Lafayette, LA
      cmw@whiteheadfirm.com                                                    Miami, FL

      Anna Katherine Higgins                                                   *Licensed in Florida
      anna@whiteheadfirm.com                                                   ^Licensed in District of Columbia
                                             BAR ADMISSIONS

      Mark Whitehead

      Federal Court Admissions:         Fifth Circuit Court of Appeals
                                        Eastern, Middle & Western District of Louisiana, 2001.
                                        Southern District of Florida, 2011.

      State Court Admissions:           Louisiana, 2001.
                                        Florida, 2002.
                                        District of Columbia, 2015.



      Anna Higgins

      Federal Court Admissions:         Western District of Louisiana, 2012.

      State Court Admissions:           Louisiana, 2011.




                                       PROFESSIONAL ASSOCIATIONS

      Mark Whitehead

      Association of Trial Lawyers of America
      Louisiana Trial Lawyers Association
      Florida Justice Association
      American Association for Justice
      Louisiana Bar Association
      Florida Bar Association
      District of Columbia Bar Association


      Anna Higgins

      Louisiana Bar Association
      American Association for Justice
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                     The Whitehead Law Firm, L.L.C.
                                          Petroleum Tower, Suite 303
                                       3639 Ambassador Caffery Parkway
                                          Lafayette, Louisiana 70503
                                            Telephone (337) 740-6006
                                            Facsimile (337) 205-7754
      ______________________________________________________________________________________
      C. Mark Whitehead III, M.D. *^                                           Lafayette, LA
      cmw@whiteheadfirm.com                                                    Miami, FL

      Anna Katherine Higgins                                                  *Licensed in Florida
      anna@whiteheadfirm.com                                                  ^Licensed in District of Columbia




                                   MASS TORT/CLASS ACTION EXPERIENCE


          1. Associate class counsel; Norwood v. Bayer CCA Industries, Inc., et al, Civil Action No.
             3:01-cv-2094 (WDWA), United States District Court for the Western District of
             Washington at Seattle.

          2. Associate class counsel; Sheila Brown v. American Home Products Corporation, Civil
             Action No. 99-20593, United States District Court for the Eastern District of
             Pennsylvania.

          3. Associate class counsel; Margaret Williams et. al., v. Conoco, Inc., et al., Civil Action
             No. 2001-CA-000866, The First Judicial Circuit, in and for Escambia County, Florida.

          4. Associate class counsel; In re Starlink Corn Products Liability Litigation, MDL Docket
             No. 1403, Master File No. 00 C 6865, In the United States District Court for the Northern
             District of Illinois Eastern Division.

          5. Associate class counsel; Precision Billing Services, Inc., et al., v. Microsoft Corporation;
             O’Sullivan, Hicks and Patton, LLP, v. Microsoft Corporation; Carl Conrad v. Microsoft
             Corporation, Consolidated, Cause No. 99-896-GPM, Cause No. 00-26-GPM, Cause No.
             0027-WDS, United States District Court for the Southern District of Illinois.

          6. Associate class counsel; Plumbers v. Pipefitters Local 572 Pension Fund, et al., v. Cisco
             Systems, Inc., et al., Case No. 5:01-cv-20418 JW, United States District Court for the
             Northern District of California.

          7. Class counsel; Adams et al., v. Ciba Specialty Chemicals Corporation, et al., Civil Action
             No. 1:03-cv-566, United States District Court for the Southern District of Alabama.

          8. Class counsel; Reed et al., v. Olin Corporation et al., Civil Action No. 1:03-cv-567,
             United States District Court for the Southern District of Alabama.

          9. Class counsel; Ware v. Ciba Geigy et al., Civil Action No. L-243-04, Superior Court of
             New Jersey Law Division Atlantic County.

          10. Co-liaison counsel; Pringle et al. v. Merck & Co., Inc., Civil Action No. 03-cv-3125,
              United States District Court for the Eastern District of Louisiana.
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          11. Associate class counsel; In Re: Diet Drugs (Phentermine/Fenfluramine/Dexfenfluramine)
              Product Liability Litigation, MDL No. 1203, United States District Court for the Eastern
              District of Pennsylvania.

          12. Science committee; In Re Vioxx Products Liability Litigation, MDL No. 1657, United
              States District Court for the Eastern District of Louisiana.

          13. Science committee; In Re: Bextra and Celebrex Marketing Sales Practices and Product
              Liability Litigation, MDL No. 1699, United States District Court for the Northern District
              of California.

          14. Science committee; In Re: Avandia Marketing, Sales Practices and Products Liability
              Litigation; MDL No. 1871, United States District Court for the Eastern District of
              Pennsylvania.

          15. Science committee: In Re: Phenlypropanolomine (PPA) Product Liability Litigation,
              MDL No. 1407, United States District Court for the Western District of Washington at
              Seattle.

          16. Science committee; In Re: Xarelto Products Liability Litigation, MDL No. 2592, United
              States District Court for the Eastern District of Louisiana.
